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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

In re
                                                      Chapter 11
ZOHAR III, CORP., et al.,1                            Bankruptcy Case No. 18-10512 (KBO)
                                                      (Jointly Administered)
                       Debtors.
PATRIARCH PARTNERS
MANAGEMENT GROUP, LLC,

                       Appellant,                     Civil Action No. 20-cv-1419 (MN)
          v.
ZOHAR III, CORP., et al.,
                       Appellees.



                                    APPENDIX OF APPELLANT

       Dated: December 18, 2020

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                                                         (Additional counsel on following page)


   1
     The Debtor-Appellees, and, where applicable, the last four digits of their taxpayer identification
   number, are as follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-
   1, Corp. (3724), Zohar III, Limited (9261) (“Zohar III”), Zohar II 2005-1, Limited (8297) (“Zohar
   II”), and Zohar CDO 2003-1, Limited (5119) (“Zohar I,” and together with Zohar II and Zohar III,
   the “Zohar Funds”). The Debtor-Appellees’ address is 3 Times Square, c/o FTI Consulting, Inc.,
   New York, NY 10036.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                 )   Chapter 11
In re:                                           )
                                                 )   Case No. 18-10512 (CSS)
Zohar III, Corp., et al.,                        )
                                                 )   Joint Administration Requested
                                Debtors.         )
                                                 )




                                DECLARATION OF LYNN TILTON
                            IN SUPPORT OF CHAPTER 11 PETITIONS




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         I, Lynn Tilton, hereby declare under penalty of perjury, pursuant to section 1746 of title

28 of the United States Code, as follows:

                                              I.       Introduction

         1.       I am the sole director and owner of each of Zohar CDO 2003-1, Limited (“Zohar

I”), Zohar II 2005-1, Limited (“Zohar II”), Zohar III, Limited (“Zohar III,” and together with

Zohar I and Zohar II, the “Zohar Funds”), each of which are Cayman Islands entities. I own the

Zohar Funds through entities I own (directly or indirectly)—Octaluna, LLC (“Octaluna I”),

Octaluna II, LLC (“Octaluna II”), and Octaluna III, LLC (“Octaluna III,” and collectively, the

“Octaluna Entities”)—that hold all of the preference shares of the Zohar Funds.1 Through my

ownership of the Zohar Funds, I am also the indirect owner of Zohar CDO 2003-1, Corp.

(“Zohar I Corp.”), Zohar II 2005-1, Corp. (“Zohar II Corp.”) and Zohar III, Corp. (“Zohar III

Corp.”), and together with Zohar I Corp. and Zohar II Corp., the “Zohar Corps”), each of which

are Delaware corporations. The Zohar Funds and the Zohar Corps (the “Debtors”) are

collectively the debtors and debtors-in-possession in the above-captioned cases (the “Chapter 11

Cases”).2 I am also the Zohar Funds’ creator and founder, and I own, through my wholly owned

entities, the Class A-3 and B notes in Zohar I, and the Class B Notes in Zohar II and Zohar III,

respectively.

         2.       The Zohar Funds are innovative distressed debt collateralized loan obligations

(“CLOs”). The Zohar Funds raised capital by issuing notes to noteholders who were, in




 1
     Specifically, Octaluna I holds the preference shares of Zohar I, Octaluna II holds the preference shares of Zohar
     II, and Octaluna III holds the preference shares of Zohar III.
 2
     The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
     Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
     (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 350
     Fifth Avenue, c/o Goldin Associates, LLC, New York, NY 10118.



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exchange, entitled to interest payments over time, plus return of their principal at the maturity

date.

        3.     The Zohar Funds’ assets are primarily loans to distressed companies (the

“Portfolio Companies”). The Zohar Funds originated loans to the Portfolio Companies and also

sometimes purchased distressed loans on the secondary market at a discount. These loans were

originated primarily to undervalued, iconic American brands in need of capital and a sound

management strategy, both of which were necessary to rescue the businesses and restore value,

creating and preserving jobs in America. These brands are comprised primarily of domestic

manufacturing companies that produce goods “made in the U.S.A.,” including MD Helicopters, a

defense contractor that manufactures and distributes helicopters and other military hardware to

the U.S. and foreign militaries. I obtained control over the Portfolio Companies, implemented a

long-term turnaround plan to create value and, in many cases, executed on such strategies,

resulting in highly successful and exceedingly valuable companies from assets that would have

otherwise been liquidated.

        4.     In addition, the Zohar Funds hold “equity upside” interests in the Portfolio

Companies. What this means is that, while I and my affiliates own all or almost all of the equity

in the Portfolio Companies, I directed that upon a sale of the Portfolio Companies, certain

percentages of the net proceeds would flow through the Zohar Funds’ waterfall. Those proceeds

flow through the waterfall to make outstanding principal and interest payments on the notes

before any residual value flows to me, personally, as the Zohar Funds’ owner, due to my ultimate

ownership (through various entities I own and control) of the Zohar Funds’ preference shares.

        5.     I am actively involved in the management of the Portfolio Companies, often

acting as CEO and as a board member or manager of the companies (in most cases, the sole



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board member or manager). My active involvement empowers me to best use my experience

and expertise in turning around distressed companies: to direct strategies and lead the rebuilding

and revitalization of the Portfolio Companies. In fact, I am the Manager and/or Director of

approximately 60 of these Portfolio Companies and CEO of several of the most successful. My

platform is one of the largest woman-owned businesses in the United States and comprises

Portfolio Companies headquartered across the United States and employing more than 50,000

people around the world. Despite these varied positions and the substantial time and effort

expended in connection therewith, I earn no salary as CEO or Manager of any Portfolio

Company, except at MD Helicopters where I am paid as the CEO.

       6.      The Zohar Funds’ assets, including the cash flows of principal and interest that

flow from the loans, and the cash flow from the monetization of “equity upside” interests in the

Portfolio Companies, have tremendous value. In fact, they are worth billions of dollars—far in

excess of the amount owed to the Zohar Funds’ noteholders (collectively, the “Noteholders”).

Nevertheless, Zohar I and Zohar II have already defaulted, and Zohar III will likely default on

loans maturing in March 2019, absent intervention from this Court. This substantial value is

locked up in the Portfolio Companies and cannot be monetized for the benefit of all stakeholders

as a consequence to the cloud of uncertainty and litigation tactics pursued by the Zohar Funds’

new Collateral Manager, Alvarez & Marsal Zohar Management (“AMZM”), at the direction of

Zohar I and Zohar II’s controlling creditor, MBIA Insurance Corporation (“MBIA”), and Zohar

III’s controlling class. Indeed, these litigations have directly interfered with my recent efforts to

sell at least one Portfolio Company and to obtain financing for several others. I understand from

my negotiations with potential buyers and lenders that though they are more than willing to




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engage in sale and refinancing transactions, they will only do so absent the ligation risk and with

certainty that assets and equity will be delivered to them free and clear with no ongoing risk.

       7.      Accordingly, in my capacity as the sole director of each of the Zohar Funds, and

after having been advised on relevant matters, I determined it was in the best interest of the

Zohar Funds and all the stakeholders to voluntarily file these Chapter 11 Cases to permit the

bankruptcy court to oversee an orderly process of unlocking the value in the Zohar Funds

through sales and refinancings of the Portfolio Companies. Only through this process will

Noteholders be made whole, and will the residual value in the Portfolio Companies inure to me

as the Zohar Funds’ preference shareholder.

       8.      The Portfolio Companies themselves, however, will not be debtors in bankruptcy

cases, as the selected companies to be monetized are no longer distressed but, rather, have seen

their fortunes reversed, and both their value and buyer base would be significantly diminished if

they were to be sold through a Chapter 11 process.

       9.      The Zohar Funds were placed into bankruptcy in order that Noteholders and all

other stakeholders can finally access the full value of the cash flows from Portfolio Companies

sales or refinancings. This value is locked as a result of protracted litigations. I have hired a

Chief Restructuring Officer, Marc Kirschner, to serve as an independent party to assist in further

developing and executing on a plan to monetize the Zohar Funds’ interests, as set forth in Mr.

Kirschner’s declaration.

       10.     I submit this declaration (this “First Day Declaration”), pursuant to Rule 1007 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to provide an overview of

the Debtors’ business and these Chapter 11 Cases. Except as otherwise indicated herein, all facts

set forth in this First Day Declaration are based upon my personal knowledge of the Debtors’



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operations and finances, information learned from my review of relevant documents, information

supplied to me by other members of the Debtors’ management, or my opinion based on my

experience, knowledge, and information concerning the Debtors’ operations and financial

condition. I have obtained this information in the course of my ownership and management of

the Debtors. To the extent that any information provided herein is materially inaccurate, we will

act promptly to notify the Court and other parties; however, I believe all information herein to be

true to the best of my knowledge. I am authorized to submit this First Day Declaration on behalf

of the Debtors and, if called upon to testify, I could and would testify competently to the facts set

forth herein.3

          11.      To familiarize the Court with the Debtors, and the Chapter 11 Cases, this First

Day Declaration provides a summary overview of the Debtors and the Chapter 11 Cases.

                      II.      My Role as Owner and Director of the Zohar Funds.

          12.      I am the owner and director of each of the Debtors.

          13.      In particular, as explained in greater detail below, I own the Zohar Funds through

my ownership, directly or indirectly, of the entities that own all of the Zohar Funds’ preference

shares. Those entities are the Octaluna Entities.

          14.      I am the sole director of each of the Zohar Funds. Specifically, on

January 25, 2017, pursuant to the Amended and Restated Articles of Association of the Zohar




  3
      The parties to these bankruptcy cases are currently involved in several litigations over the issue of who has
      proper ownership and control over the Portfolio Companies. Certain facts set forth in this declaration that are
      relevant to those litigations may be in dispute. However, as further described in Section IV of this Declaration,
      the results of these litigations are not relevant for purposes of executing a bankruptcy plan for the Zohar Funds
      because they do not impact the distribution of cash—through the Zohar Funds’ payment waterfall--of any
      proceeds and residual value from the monetization of the Portfolio Companies. The litigations also do not
      affect the parties’ reserved rights, upon the monetization of the Portfolio Companies, to dispute the manner in
      which sale proceeds and residual value are distributed.



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Funds, the Octaluna Entities removed the incumbent directors of Zohar I, Zohar II, and Zohar III,

respectively, and appointed me as the sole director.

          15.      I am also the founder and creator of each of the Zohar Funds. In particular, as

discussed in greater detail below, I created the Zohar Funds as CLO funds to invest in and

originate loans to distressed companies.

          16.      From the Zohar Funds’ inception until March 2016, my wholly-owned entities—

Patriarch VIII, LLC, Patriarch XIV, LLC, and Patriarch XV, LLC (collectively, “Patriarch”)—

served as the Zohar Funds’ Collateral Managers. Patriarch is a vertically-integrated investment

enterprise owned and managed by me. It focuses on the acquisition and invigoration of

undervalued, iconic American brands where time, capital, and sound strategy can rescue a

business and restore value, creating and preserving jobs in America and across the globe.

Pursuant to an agreement with MBIA, as described below, Patriarch resigned as Collateral

Manager of the Zohar Funds effective March 2016 to focus on managing and leading the

Portfolio Companies, and effectuating turnaround strategies that will ultimately generate

maximum value for all of their respective stakeholders. Shortly thereafter, AMZM was

appointed Collateral Manager of the Zohar Funds by Zohar I II’s controlling creditor, MBIA.4

                        III.     Overview of the Zohar Funds and My Enterprise.

A.        My First Funds – Formation of the Arks.

          17.      After nineteen years of experience on Wall Street, I founded Patriarch Partners in

2000 to develop innovative solutions for financial institutions with large portfolios suffering

  4
      As of January 20, 2017, AMZM’s role as Collateral Manager of Zohar I was terminated. As discussed in
      greater detail below, the collateral of Zohar I was liquidated in its entirety at auction and the proceeds of that
      auction were distributed by U.S. Bank, the Trustee of the Zohar Funds on January 20, 2017. In light of the
      liquidation of all of the Zohar I collateral and distribution of the proceeds therefrom, pursuant to Section 5.1 of
      Collateral Management Agreement among Zohar I and AMZM, dated March 3, 2016 (the “Zohar I CMA”), the
      Zohar I CMA has terminated. Accordingly, subject to Sections 5.5 and 5.6 of the Zohar I CMA, all of
      AMZM’s rights, duties, and obligations under the Zohar I CMA terminated on January 20, 2017.



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under the burden of nonperforming and distressed loans that were causing them accounting and

regulatory issues.

       18.     I created a ground-breaking model for investing in a portfolio of distressed loans,

through a CLO, that would use borrowed funds from investors to purchase a portfolio of

distressed loans at a discount and, through active management and restructuring, repay

noteholder investors their principal plus interest, with residual value flowing to me and my

partners.

       19.     In November of 2003, I was granted a business method patent, Patent No. US

6,654,727 B2 (Method of Securitizing a Portfolio of at Least 30% Distressed Commercial Loans)

for the CLO investment model I created and is the basis for the Zohar Funds’ model. My

investment method—that I utilized with respect to the Zohar Funds—was described by an

administrative law judge of the Securities and Exchange Commission (the “SEC”):

               Having become interested in distressed assets, Tilton developed a
               method of evaluating distressed loans – analyzing the potential
               cash flows and other factors; and determining on that basis whether
               to purchase, and an appropriate price for, each loan to make up a
               portfolio of varied loans that would generate sufficient cash flows
               to pay expenses, including interest and principal to investors in a
               vehicle that would hold the portfolio. A portion of the pool had to
               have a high likelihood of paying interest on a consistent basis, in
               order to pay investors; as Tilton explained, if all the loans were
               non-performing at the start, there would be no interest coming in to
               pay investors, while if all were higher quality, there would not be
               enough potential for profit because she would have to pay too
               much for them…Tilton obtained equity and became active in
               management of the Portfolio Companies. Since some of the
               Portfolio Companies were bound to fail, it was necessary for some
               to succeed in order to mitigate the risk of loss.

       20.     I initially created two CLO issuers in 2000 and 2001, respectively called Ark I

CLO 2000-1 Ltd (“Ark I”) and Ark II CLO 2001-1 Ltd (“Ark II”), each of which is a Cayman

Islands company (collectively, the “Arks”), based on this innovative investment strategy. The


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Arks were widely recognized as successful transactions, and the Arks repaid their noteholders

well ahead of their respective maturity dates.

         21.   My fund strategy involved my active management and control of the Portfolio

Companies, unlike many CLOs, which passively invest in debt. As a result, at the closing table

for Ark I, the rating agency (S&P) objected that, unlike most other CLO funds, my fund would

be engaged in U.S. trade or business for U.S. tax purposes, which would subject it to

unquantifiable tax liabilities such that the rating agency was not willing to rate the deal.

         22.   In order to obtain an investment grade rating from S&P, which was necessary for

the closing of the transaction, I formed a separate entity that actively managed Ark I’s assets,

allowing Ark I to remain a passive income vehicle that was not subject to U.S. trade or business

taxes.

B.       Structure of Subsequent Funds – Creation of the Zohar Funds.

         23.   The successes of the Arks, and Ark II in particular, which MBIA had insured,

prompted MBIA to reach out to me to request priority on any similar transactions in the future.

In 2002, facing a potential insurance liability shortfall of $200-300 million on a set of unrelated

CDOs, MBIA sought my help.

         24.   Patriarch became the replacement Collateral Manager for MBIA’s seven failing

CDOs (“MBIA Funds”), and I created a new CLO called Zohar I, modeled after the Ark

investment strategy and structure, to help remediate MBIA’s shortfall.

         25.   The ratings agencies had the same concern for Zohar I with respect to tax and

other liabilities as they did for the Arks. As a result, Zohar I was structured, like the Arks, as a

disregarded entity with a U.S. taxpayer (Octaluna I, the sole preference shareholder of Zohar I)

serving as the owner of the Zohar Funds and the active manager of Octaluna I’s assets.




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         26.    This structure was the essential element of closing the deal, so that Zohar I would

not be subject to U.S. tax liability.

         27.    After Zohar I closed, prices for distressed loans increased, and I felt that I would

no longer be able to ramp up Zohar I by purchasing distressed loans from the secondary market

alone.

         28.    Instead, I proposed a revised strategy to MBIA: Zohar I would continue to

purchase distressed senior secured loans, but the primary strategy would be for Zohar I to

originate loans to distressed Portfolio Companies, side-by-side with my personal investment

vehicles investing in the Portfolio Companies, so that I could gain control over the distressed

companies and implement a long-term turnaround strategy to create value.

         29.    MBIA chose to proceed with the revised investment strategy, and the governing

documents were amended accordingly.

         30.    After Zohar I had deployed and invested the majority of its capital, I created two

more entities to increase purchasing power and to extend additional loans to Portfolio

Companies. Zohar II and Zohar III were formed in 2005 and 2007, respectively, to loan side-by-

side with Zohar I and my personal investment vehicles, and to pursue the same investment

strategy.

         31.    I have personally invested approximately $218.5 million into the Zohar Funds:

$5.1 million in Zohar I, $50 million in Zohar II, and $60 million in Zohar III, respectively, to

own the preference shares of each of the Zohar Funds, and $103.4 million to own the A-3 Notes

in Zohar I. In addition, I have invested in and loaned more than $440 million to the various

Portfolio Companies.




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        32.     As noted above, each of the Zohar Funds raised capital by selling notes and

preference shares, which entitled Noteholders to interest payments and a return of principal at the

maturity date. Noteholders have no right to receive any payment beyond interest payments and a

return of their principal at maturity.

        33.     The fundamental investment strategy of the Zohar Funds differed markedly from

traditional CLOs. Most CLOs involve highly rated performing bank loans. The Zohar Funds

held primarily distressed loans purchased from the secondary market and loans originated at high

interest rates by the Zohar Funds, themselves, to distressed companies.

        34.     Given the nature of the Zohar Funds’ investment—loans to distressed

companies—the Noteholders and MBIA never expected that every Portfolio Company would

repay its loans in full. Instead, the strategy for interest payment and eventual note repayment

was premised on the following expectations: (1) Portfolio Companies would pay high interest on

loans the Zohar Funds originated; (2) distressed loans purchased on the secondary market would

repay the Zohar Funds in excess of the price the Zohar Funds paid for the loan; and (3) the Zohar

Funds would have an equity upside interest in the net proceeds from sales of the Portfolio

Companies.

        35.     Because of these unique features, the Zohar Funds’ success was predicated both

on me having the authority (as Collateral Manager) to control the terms of repayment on the

loans as well as the power (as equity owner of the Portfolio Companies) to direct the rebuilding

of the Portfolio Companies, serving as company director and often as an officer, working with

management to create value for the Portfolio Companies for all stakeholders.

        36.     That I took on multiple, active roles in the Zohar Funds enterprise was an

essential factor for MBIA when it invested.



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       37.     I am the principal and owner of several affiliated Patriarch entities, including

Patriarch VIII, Patriarch XIV, and Patriarch XV, that, as noted above, served as Collateral

Managers of the Zohar Funds. I, or entities owned by me, also served as administrative agent for

the lenders, Zohar Funds’ equity owner, and owner and manager of the Portfolio Companies.

This allowed me, for example, to renegotiate loan terms to prevent a Portfolio Company default.

These multiple roles—which were fully disclosed and any conflicts arising out of them waived—

ultimately benefited the Noteholders (as well as the Portfolio Companies) by ensuring that the

Portfolio Companies continued to pay their debts to the greatest extent possible, even when faced

with short-term liquidity shortfalls.

       38.     I had broad authority as Collateral Manager to control the repayment terms of the

Portfolio Companies and typically acquired a controlling interest in Portfolio Company equity,

allowing me to revive and rebuild the Companies. My equity stake in both the Zohar Funds and

the Portfolio Companies gave me a deep and broad personal interest in their success.

       39.     Although I retained the voting rights attendant to that Portfolio Company equity

and bore the tax and other liabilities inherent to that equity, I also granted the Zohar Funds a

limited interest in a sale of that equity as well. Specifically, as noted above, I decided that each

Fund would receive the first dollars of net proceeds from any sale of the Portfolio Companies for

its respective interest up to the amount needed to pay all outstanding interest and principal on its

notes. The equity upside interests were granted to the Zohar Funds to ensure that Noteholders

would be fully repaid even if some distressed Portfolio Companies were unable to repay their

loans (as expected).

       40.     To memorialize this arrangement, I listed the Zohar Funds as the record holders of

the Portfolio Company equity. The Zohar Funds’ governing documents established a waterfall



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through which Portfolio Company sales proceeds (as well as interest and principal payments

made to the Zohar Funds) flow: the proceeds run through the Zohar Funds waterfall, paying

Noteholders principal and interest due and paying the Zohar Funds’ expenses. Only after the

Noteholders are paid in full do the residual proceeds inure to me as the sole Zohar Funds

preference shareholder.

C.     The Zohar Funds’ Noteholders.

       41.     The Zohar Funds’ Notes are secured and were issued primarily in two classes—

Class A (with each Class A tranche having subclasses of notes) and Class B. The Class A

subclasses have an interclass priority waterfall and have differing applicable principal amounts,

interest rates, commitment fees, and other varying features. The Class B Notes are all held by

the Octaluna Entities (and therefore indirectly by me) and, while also secured, are subordinate in

right of payment to the Class A Notes. All of the Debtors’ obligations under the Zohar Funds’

Notes are non-recourse.

       42.     A summary of the Zohar Funds’ Note issuances and outstanding debt is as

follows:

Zohar I Notes Class    Principal Amount    Issued     Maturity     Approximate Outstanding
Class A-1              $150 million        2003       11/20/15     $0.00
Class A-2              $32 million         2003       11/20/15     $0.00
Class A-3a             $297.5 million      2003       11/20/15     $234 million
Class A-3b             $52.5 million       2003       11/20/15     $52.5 million
  Total Class A:       $532 million                                Total: $286.5 million
Class B                $150 million        2003       11/20/15     $150 million

Zohar II Notes Class  Principal            Issued     Maturity     Approximate Outstanding
                      Amount
Class A-1             $250 million         2005       1/20/17      $190 million
Class A-2             $550 million         2005       1/20/17      $418 million
Class A-3             $200 million         2005       1/20/17      $152 million
       Total Class A: $1 billion                                   Total: $760 million
Class B               $200 million         2005       1/20/20      $200 million



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Zohar III Notes Class Principal                  Issued     Maturity       Approximate Outstanding
                      Amount
Class A-1R            $200 million               2007       4/15/19        $136 million
Class A-1T            $150 million               2007       4/15/19        $102 million
Class A-1D            $350 million               2007       4/15/19        $237.5 million
Class A-2             $200 million               2007       4/15/19        $200 million
Class A-3             $116 million               2007       4/15/19        $116 million
       Total Class A: $1.016 billion                                       Total: $791 million
Class B               $196 million                          4/15/19        $196 million

        43.     The Zohar Funds’ Notes are held by highly sophisticated, institutional investors.

“The terms of the Zohar indentures and accompanying note forms and certificates show that the

notes were primarily intended for Qualified Institutional Buyers and Qualified Purchasers and

include strict restrictions on the transfer of the notes.”5 I am advised that the Securities Act Rule

144A defines a “Qualified Institutional Buyer” as a list of specified entities that “acting for its

own account or the accounts of other qualified institutional buyers, that in the aggregate owns

and invests on a discretionary basis at least $100 million in securities of issuers that are not

affiliated with the entity…” I am also advised that a “Qualified Purchaser” is defined in Section

2(a)(51) of the Investment Company Act of 1940 to include “(i) any natural person…who owns

not less than $5,000,000 in investments, (ii) any company that owns not less than $5,000,000 in

investments and that is [family-]owned, (iii) [certain kinds of trusts]; or (iv) any person, acting

for its own account or the accounts of other qualified purchasers, who in the aggregate owns and

invests on a discretionary basis, not less than $25,000,000 in investments.”

        44.     Of the $532 million in original Zohar I Notes, $350 million was raised from

Barclays Bank and the remaining $182 million was raised from Natixis Global Asset

Management and MBIA. The Zohar I Notes were also “wrapped” by MBIA, as credit enhancer.

In its capacity as credit enhancer, MBIA insured Zohar I’s obligations under the Zohar I Notes
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    In re Lynn Tilton, Initial Decision, SEC Exchange Act Release No. 1182, 2017 WL 4297256, at *9 (ALJ Sept.
    27, 2017).



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by providing a financial guarantee to certain classes of holders of Zohar I Notes to pay its

interest and principal in full, if Zohar I could not meet its repayment obligations. Under the

applicable insurance contracts, upon the payment of claims following a default under the Zohar I

Notes, MBIA is fully subrogated to the rights of the applicable Class A Zohar Funds

Noteholders.

           45.      On the Zohar I deal, Barclays notes—the Series A-3 notes—were separately

insured by MBIA apart from the insurance provided to the other Zohar I Noteholders (though

that insurance was later separately commuted). As discussed more fully below, in 2015,

Barclays Bank sold its position in Zohar I to my wholly-owned entity, Patriarch XV, LLC

(“Patriarch XV”) for approximately $103 million and received an undisclosed payment from

MBIA on account of its wrap obligations. Patriarch XV currently holds all of the Class A

Zohar I Notes (although MBIA purported to extinguish those rights through an auction that is

now the subject of ongoing litigation in the U.S. District Court for the Southern District of New

York).

           46.      MBIA has also wrapped the Zohar II Notes. After Zohar II defaulted on the

Zohar II Notes on January 20, 2017, MBIA was required to pay the then-holders of the Zohar II

Notes approximately $770 million. MBIA currently holds all of the Class A Zohar II Notes.

           47.      To the best of my knowledge, the holders of the Zohar III Notes comprise a small

group of approximately 156 Noteholders and, like the holders of the other Zohar Funds Notes, are

highly sophisticated, institutional investors.

D.         Ownership of the Zohar Funds’ Preference Shares.




6
    There are approximately 25 Class A Zohar III Noteholders, but a number of them are affiliated entities.



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       48.      I am the ultimate owner of the Zohar Funds because I own, directly or indirectly,

the entities that own the preference shares of the Zohar Funds. As preference shareholder, I

receive the residual value in the Zohar Funds after the Zohar Funds notes are repaid. Prior to

repayment of the notes, I was entitled only to a capped amount of dividends which I received

several years ago.

       49.      As described above, when I formed Zohar I, I formed an entity called Octaluna, I

to, among other things, serve as the U.S. taxpayer owner for Zohar I and owner of the Zohar I

preference shares. (I sometimes refer to the Octaluna Entities as “blocker affiliates.”) For the

later funds we formed similar entities: for Zohar II, Octaluna II and for Zohar III, Octaluna III,

respectively.

       50.      The Octaluna Entities were created to own, hold, and control the assets of the

Zohar Funds, and to bear the tax consequences, good or bad, from that ownership. In each case,

the Octaluna Entities are the beneficial owners of the assets held by the Zohar Funds, and I am

the ultimate owner of the Octaluna Entities.

       51.      In particular, each of the Octaluna Entities holds the preference shares of the

relevant Zohar Funds. These are the Zohar Funds’ only outstanding shares. The Octaluna

Entities also own all of the Class B notes issued by the Zohar Funds.

       52.      The Zohar Funds were, until 2016, classified as disregarded entities for U.S.

federal tax purposes. The Zohar Funds are passive income vehicles which receive only the cash

flow from the Zohar Funds’ assets.

       53.      The preference shares (i.e., the equity) of each Zohar Fund are wholly owned by

the corresponding Octaluna Entities, which are themselves owned by other entities ultimately

owned by me. Through my personal investment vehicles, I paid a total of $5.1 million in cash



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and assets in exchange for the preference shares in Zohar I. Similarly, through my personal

investment vehicles, I paid a total of $50 million in cash and assets in exchange for the

preference shares in Zohar II. For Zohar III, I paid in total $60 million in cash in exchange for

the preferences shares held by Octaluna III.

       54.     By virtue of this ownership structure, I, or entities ultimately owned by me, have

been allocated more than 99% of the income, gain, and loss of all of the entities which are held

by the Octaluna Entities.

       55.     Accordingly, entities I own have historically reported all income of the Zohar

Funds, as well as income generated by the debt and equity investments in the Portfolio

Companies. Prior to 2016, all such income flowed up by way of a series of pass-through entities

to my personal tax return. Any resulting tax liability was borne by me personally.

       56.     During that time, the IRS had always treated me as the tax owner of the entire

enterprise structure—which includes the Portfolio Companies, Zohar Funds, Octaluna Entities,

and other entities. When my tax returns were prepared for the 2016 and prior tax years, my tax

return preparer allocated Portfolio Company income and loss up to me, and ultimately reported

all of the income and loss of the Portfolio Companies organized as limited liability companies

(defined below) on my personal tax return.

       57.     Since the inception of the Zohar Funds, I had reported taxable income in respect

of interest income and capital gains. Additionally, if a Portfolio Company were sold, I was

ultimately responsible for reporting, and for any tax liability in connection with, any resulting

capital gains or income.

       58.     Beginning in 2016, however, the Zohar Funds elected to be taxed as corporations

for U.S. federal tax purposes and therefore were no longer treated as pass-through entities. Since



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that time, entities wholly owned by me have been allocated Portfolio Company income and loss,

and are subject to U.S. federal tax . Additionally, these entities are responsible for reporting, and

for any tax liability in connection with, any resulting capital gains or income from the sale of a

Portfolio Company.

                  IV.     The Portfolio Companies are Extremely Successful.

       59.     The Portfolio Companies today comprise twenty-five (25) operating business

platforms across a broad spectrum of industries including automotive and aerospace, fashion,

technology, manufacturing, industrial and home goods. Many of the Portfolio Companies are

storied American brands such as MD Helicopters, Stila Cosmetics, Rand McNally, Oasis Water,

Dura Automotive, Universal Instruments and Dana Fragrances. I have played a very active role

in the management, strategic direction and rebuilding of each and every Portfolio Company from

the day I negotiated their respective acquisitions. For those Portfolio Companies in which I

serve as CEO, I am deeply involved in their day-to-day management.

       60.     In addition to the active management role played by me, Patriarch affiliates,

Patriarch Partners Management Group (“PPMG”) and Patriarch Partners Agency Services

(“PPAS”), provide operational management consulting and agency services to the Portfolio

Companies.

       61.     In addition, entities I directly or indirectly own, separate from the Zohar Funds,

have invested more than $440 million in the Portfolio Companies.

       62.     Prior to the Zohar Funds’ investment, the Portfolio Companies were often deeply

distressed and typically had no positive cash-flow as they were often purchased out of

bankruptcy and foreclosure sales, and sometimes were merely assets not operating. These

Portfolio Companies were generally unable to obtain funding from any source other than from

the Zohar Funds or my personal investment vehicles.

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       63.     The Zohar Funds and my personal investment vehicles were often the sole lenders

to the Portfolio Companies, which allowed me to control the terms of the loans without having to

address the competing interests of other lenders. I, and entities owned or controlled by me, often

owned all or almost all of the equity in the Portfolio Companies.

       64.     I was, and continue to be, actively involved in the management of the Portfolio

Companies, often acting as CEO and as a board member or manager of the Companies (in most

cases, the sole board member or manager). This active involvement allows me to design and

direct the strategies for revitalization of the Portfolio Companies, which was a key selling point

for the Zohar Funds’ investors.

       65.     Under my active involvement, many of the Portfolio Companies have thrived and

currently provide more than 50,000 jobs, primarily for American workers, in a number of

industries. A few examples of my success stories are described below, but the list of Portfolio

Company successes detailed below is by no means exhaustive.

A.     Reinventing an American Icon – MD Helicopters

       66.     MD Helicopters’ U.S. roots date back more than 60 years to 1955, when the

Hughes Tool Company, Aircraft Division (part of Hughes Aircraft, which was established by

famed businessman and aviator, Howard Hughes) first developed “light helicopters.” In 1984,

Hughes sold its successful helicopter business to McDonnell Douglas, which opened the

Company’s Mesa, Arizona facility at Falcon Field. In 1997, McDonnell Douglas merged with

Boeing to become the Boeing Company. In 1999, Boeing sold some of McDonnell Douglas’s

commercial helicopter lines to MD Helicopter Holdings Inc., an indirect subsidiary of the Dutch

company, RDM Holding Inc.

       67.     Until I purchased MD Helicopters, the Company’s ability to continue operations

was in serious question. In late 2001, the Company began experiencing production delays

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related to two groups of highly specialized helicopters. These production delays created a

situation where the Company was forced to borrow money to account for slower revenue

generation. In fact, because of the production delays and the increased debt, by 2005, the

Company had incurred substantial operating losses, was in default on a credit facility and other

loans extended by Wachovia Finance Corporation, and indebted to Boeing Capital Corporation,

Textron and others. Wachovia was under no further obligation to make loans, nor were they

willing to extend any other financial accommodations to the Company. MD Helicopters was

facing financial crisis and imminent liquidation of its assets.

       68.     In July 2005, acting through my Octaluna Entities and Patriarch affiliates, I

acquired MD Helicopters to restructure, recapitalize, and save this iconic American brand. Since

then, I have invested more than $82 million of my personal funds into MD Helicopters.

       69.     In order to effectuate the turnaround and revitalize the Company, I was appointed

as MD Helicopters’ sole director in 2005, and also assumed the role of Chief Executive Officer

in late 2006. Under my leadership, MD Helicopters has flourished.

       70.     In 2005, MD Helicopters employed around 150 people in Arizona. Today it

employs nearly three times that number, more than 500, at its Mesa headquarters alone, and has

plans to hire an additional 150 employees over the course of 2018.

       71.     Over the past 12 years, MD revenue has grown ten-fold with more than 60%

revenue growth projected for 2018. MD Helicopters has been reestablished as a premier U.S.

defense contractor providing military aircraft, both training and armed helicopters to the U.S.

military as well as to foreign military forces around the world. The Company has also been

awarded and successfully managed numerous contractor logistics support (“CLS”) contracts in

support of U.S. and foreign military installations.



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       72.     Today, MD Helicopters has more than 2,500 aircraft in service around the world,

with customers and fleet users including U.S. Special Operations, Afghan Air Force, Saudi

Arabia National Guard, Jordanian Special Forces, Korean Armed Forces, Japanese Self Defense

Forces, Houston Police, Columbus Police, Finnish Armed Forces, and many others. MD

Helicopters is known for producing safe, versatile, responsive, and reliable aircraft that are able

to fly “hot and high.”

       73.     In recognition of its revitalization, MD Helicopters has received numerous

aviation and law enforcement awards, and now boasts an “aircraft on ground” or AOG rate

among the lowest in the industry and a flight readiness rate among the highest in the industry.

       74.     This turnaround is due to my tireless work in executing growth strategies for MD

Helicopters. My strategies have proven extraordinarily successful. MD Helicopters is now a

thriving Company with a bright future: indeed, the United States Army recently awarded MD

Helicopters a $1.4 billion contract for 150 armed aircraft, adding two named aircraft to its fleet.

B.     A California Success Story – Stila Cosmetics

       75.     For over 20 years, Stila has created innovative, artistry-proven cosmetics and

other personal care products. Stila was created by celebrity makeup artist Jeanine Lobell in

1994. The cosmetics line was bought by Estee Lauder in 1999, only to be accounted for as a

“discontinued operation” and then sold to Sun Capital Partners in 2006. By 2009, however, Stila

had defaulted on a loan and its creditors forced it into an involuntary bankruptcy, where

Wachovia Corp. and CIT Group took the Company over from Sun Capital Partners through a

foreclosure sale. Prior to my acquisition, Stila’s predecessor company was just days away from

going under for good—all employees had been placed on furlough; the company’s website was

taken down “for routine maintenance,” with a note that previously placed orders might be

canceled; and calls to the Company’s Glendale, California headquarters were going unanswered.

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       76.       In 2009, I created Stila Styles, LLC, to acquire substantially all of the assets of

Stila Corp., Stila International, Inc., and its affiliates, Stila UK Limited, and Stila Holding Corp.

At the same time, the Company entered into a credit agreement with Zohar III, which issued a $7

million senior secured term loan and a $5 million revolving credit loan. All of the loans to Zohar

III have now been repaid. In addition, a preferred equity interest which was provided to Zohar

III for a zero purchase price in the amount of $3.5 million has also been paid in full.

       77.       Under my stewardship, Stila has been completely transformed into a highly

successful California business. The Company is again recognized as an innovation leader,

spearheading much of the color cosmetics industry in creating new product categories, elegant

packaging design and consistently evolving its products. The Company redesigned its

distribution, adding significant international revenues, strengthening the brand, and consolidated

its sourcing partners to form strong relationships. The Company also implemented a new

inventory management system to ensure on-time launches and in-stock levels above 99%. As a

result, the Company is now operating at a significant profit, employs more than 75 workers in 3

locations, and enjoys double digit revenue growth.

       78.       The Company’s tremendous success is a direct result of my hands-on guidance

and expertise in my role as the CEO. This success is also due in no small measure to my

personal investments in the Company, which currently includes financing totaling approximately

$14 million. Stila is now on firm footing, highly profitable and has a solid upward trajectory for

future growth.

C.     The Crown Jewels of Michigan’s Auto Suppliers – Dura and GAS

       79.       I am the manager, CEO, and owner of Dura Buyer, LLC (“Dura Buyer”), Dura

Automotive Systems, LLC (“Dura Auto”) (collectively, “Dura”), and Global Automotive

Systems, LLC (“GAS”).

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         80.   For more than a decade under my stewardship, these once-distressed companies

have risen again as Tier 1 suppliers to Michigan’s legacy automotive companies, as well as the

international automotive base. Like the industry they serve, these companies have had their

struggles. They were on the brink of collapse and liquidation when I stepped in as manager and

owner, and since then I have done everything to save them.

         81.   I spent years working tirelessly to bring these automotive companies back from

the brink of extinction, including infusing them with more than $32 million of my own personal

funds.

         82.   In addition, I invested “sweat equity”—putting in time in Michigan, and across

the globe, boots on the ground—to bring the companies back to life, seeing them through the

2008 financial crisis and the harsh years that followed, and transforming them into profitable,

woman-owned businesses that are the jewels in the crown of Michigan’s automotive industry.

         83.   GAS was formed by me in 2005, as a platform to acquire and consolidate certain

assets and operations, including poor performing metal bending, rollforming and stamping

suppliers. I began by acquiring out of bankruptcy the assets of a trio of Michigan companies—

Jacobs Industries, Metalforming Technologies, and Trim Trends—and consolidating them into

GAS. The Zohar Funds and Ark Investment Partners II, L.P. (an entity I wholly own), initially

committed to extend term and revolving loans of over $115 million to GAS and its related

entities.

         84.   The foundational documents for GAS direct that I will act as the sole Manager of

GAS, and I further assumed the position of Chief Executive Officer in October 2012.

         85.   Since its inception in 2005, and under my control and leadership, GAS has

transformed into a high technology manufacturing platform. I have structured GAS’s operations



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in a manner that has made the Company profitable and recognized as a top supplier in its market.

GAS has also been able to leverage collaborative partnerships within my network of Portfolio

Companies, which has not only reduced costs but allowed GAS to utilize real-time data

collection to efficiently monitor and improve each step in its manufacturing process.

         86.   Dura Automotive, together with its affiliated entities, is a leading independent

designer and manufacturer of driver control systems, advanced driving systems, infotainment

systems, lightweight metal structures, electrical vehicle battery trays, seating control systems,

glass systems, engineered assemblies, structural door modules and exterior trim systems for the

global automotive industry. Dura Automotive, through predecessors, dates back more than 100

years.

         87.   After years of borrowing to fund its acquisition strategy, Dura Automotive had a

12:1 debt to EBITDA ratio before it filed for Chapter 11 bankruptcy protection on October 30,

2006. Although it emerged from bankruptcy protection in June 2008, the restructured entity

could not withstand the economic and financial downturn that began in late 2008. The

Company, in fact, was just days away from liquidation, owing in excess of $30 million to its

customers, as well as hundreds of millions to its creditors, when, in October of 2009, I stepped

in.

         88.   I formed Dura Buyer on or about November 10, 2009 to own a controlling interest

in Dura Automotive. Dura Automotive then entered into both U.S. and European credit

agreements with Zohar II and Zohar III in January 2010, with commitments totaling across the

agreements of $ 105.9 million. Dura Buyer ultimately came to own and control a 73% interest in

Dura Automotive, through the purchase of preferred securities in the amount of $20 million.




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       89.      Since I took control, GAS and Dura have been transformed. They now operate in

36 locations in 15 different countries. As of January 1, 2017, they had approximately 12,000

employees, and annual sales of approximately $1.5 billion, generating substantial positive

EBIDTA. This is a far cry from the companies’ financial state of significant losses and broken

customer relationships that were existing before I created GAS and Dura Buyer and took control.

       90.          As a result of my transformation of the Portfolio Companies I have received a

number of awards from industry publications and groups. Just a few examples: in 2010,

Automotive News named me one of the 100 Leading Women in the automotive industry. In

2011, I was inducted into the Living Legends of Aviation Hall of Fame and named Entrepreneur

of the Year; the first female in history to receive that distinction. In 2012, in my capacity as the

CEO of Dura Automotive, the Women’s Business Enterprise Council – Great Lakes presented

me with the Role Model & Mentor of the Year Award. I was also subject of a Barbara Walters

20/20 interview discussing my mission of saving American jobs and a special Made in America

segment with Diane Sawyer on ABC’s World News Tonight. CNBC and its viewers also named

me one of the 100 Most Influential Names in Business over the last 25 years.

               V.       The Zohar Funds’ Preference Shares Are “In The Money.”

       91.      There is significant value in the Portfolio Companies in excess of the liabilities of

the Debtors.

       92.      As I testified in late 2016, in a proceeding brought by the Securities & Exchange

Commission (the charges were dismissed in full on the merits after trial), Patriarch has

performed financial analyses to value the Portfolio Companies that demonstrates that even a

select group of top-performing Portfolio Companies is worth billions of dollars.

       93.      Other stakeholders recognize the same value. For example, according to one

MBIA valuation of a selection of 11 Portfolio Companies—comprising a small subset of the total

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number of Portfolio Companies in the Zohar Funds, for Zohar I and II only—that subset of

Portfolio Companies have a combined value, for the benefit of Zohar I and II only, ranging

between $952 million and $1.484 billion, which is far in excess of the amount MBIA claims as

the controlling creditor.

       94.     Documents MBIA produced in discovery in an action initiated by AMZM in the

Delaware Court of Chancery (the “Section 225 Action”) regarding the ownership and control of

three Portfolio Companies, demonstrated further that MBIA believes the Zohar Funds preference

shares are “in the money”—namely, that upon the sale of these Portfolio Companies, there would

be residual value to holders of the Zohar Funds preference shareholder after the Noteholders

have been paid in full from proceeds of such Portfolio Company sales. As the preference

shareholder of the Zohar Funds, any residual value would then flow to me, by the terms of the

payment waterfall.

       95.     As noted above, when creating the Zohar Funds, I recorded Portfolio Company

equity in the Zohar Funds’ name for the purpose of granting the Zohar Funds an “equity upside”

interest. This interest provides that the net proceeds from any Portfolio Company sale run

through the Zohar Funds’ waterfall, thereby protecting Noteholders by paying them with such

proceeds first until their note obligations are satisfied in full before paying any residual proceeds

to me as the Zohar Funds’ preference shareholder.

       96.     Whether I, through the Octaluna Entities, or the Zohar Funds own the equity in

the Portfolio Companies has no impact on the structural framework of this payment waterfall. In

other words, regardless of who owns the Portfolio Companies, the net proceeds from any

Portfolio Company sale would first go towards payment in full to the Noteholders through the

payment waterfall, with any residual proceeds flowing to me. Therefore, the outcome of the



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ongoing litigations filed in other jurisdictions will not impact the distribution of funds upon the

sales or refinancings of Portfolio Companies during this bankruptcy proceeding. Nonetheless, as

further described below, the ongoing litigations have hindered the ability of the Zohar Funds to

maximize the value of the Portfolio Companies.

                   VI.    The Value of the Zohar Funds is Locked and
               Cannot be Monetized Except Through the Bankruptcy Process.

       97.     The current Collateral Manager for the Zohar Funds, AMZM, at the direction of

MBIA and the Zohar III controlling class of noteholders (“Zohar III Noteholders”), and on

behalf of the Zohar Funds, and I (and various entities I own) are engaged in protracted litigations

spanning a number of actions across federal and state jurisdictions. AMZM, MBIA and the

Zohar III Noteholders alleged that the Zohar Funds are the beneficial owners of the Portfolio

Company equity interests recorded in the Zohar Funds’ names. But, as noted above, the Zohar

Funds were never structured to own equity in the Portfolio Companies; the Octaluna Entities are

and always have been the beneficial owners of the equity in the Portfolio Companies.

       98.     As noted above, this dispute over who has beneficial ownership of the equity in

the Portfolio Companies, however, is meaningless in the context of this proceeding. At such

time as the Portfolio Companies are sold or refinanced, the net cash proceeds from that activity

will flow through the waterfall to repay the Noteholders in full, first, before any funds inure to

the benefit of the preference shares.

       99.     Nonetheless, the consequence of the protracted litigations over ownership has cast

a cloud of uncertainty over the Zohar Funds, making it unfeasible for the Portfolio Companies to

refinance their existing debt facilities or for me, on behalf of the Portfolio Companies, to

consummate any sale transaction. Indeed, I have been told that bankers will not market these

transactions, and that buyers will not complete the due diligence to acquire them, if there is any


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chance that a closing of the transaction will meet obstacles posed by the ongoing and various

litigation matters. Further, the Portfolio Companies have consistently met roadblocks in efforts

to refinance their loans due to risk committees that will not permit lending due to litigation risk.

The ongoing litigations have effectively locked the value of the Portfolio Companies, rendering

it virtually impossible to monetize the Zohar Funds’ assets for the benefit of all stakeholders.

       100.    It should also be noted that, in various pleadings, filings, and testimony

throughout these actions, MBIA and AMZM have repeatedly accused me of wrongdoing and

impugned my character. I have vehemently denied these false allegations. Despite the

environment of baseless accusations they systematically create, neither MBIA, AMZM, nor

anyone else, has ever presented any evidence at any trial or evidentiary hearing to support their

allegations, and no court has ever credited any such allegations. Moreover, in relentlessly

attacking me, MBIA and AMZM have ignored their own fiduciary duties as controlling creditor

and Collateral Manager, respectively, in their unwavering quest to seize control of the Portfolio

Companies, regardless of what damage it causes to them.

       101.    Indeed, I was fully vindicated by an SEC Administrative Law Judge (“ALJ”)

following a three-week trial in an administrative proceeding instituted against me, Patriarch and

the Patriarch Collateral Managers (collectively, the “Patriarch Respondents”) (the “SEC

Action”). In that proceeding, the SEC alleged that the Patriarch Respondents collected unearned

management fees and other payments based on inflated values of the Portfolio Companies,

defrauded Noteholders, and breached fiduciary duties to them and the Zohar Funds by failing to

disclose certain alleged conflicts of interest and by issuing misleading financial statements

pertaining to the impairment and value of certain of the Zohar Funds’ assets. During the course

of the SEC’s seven (7) year investigation, MBIA witnesses cooperated with the SEC and were



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prepared to testify at trial in the SEC’s case in chief (though in the end no MBIA witnesses were

called). Following a 14-day trial—which included eighteen witnesses (of which nine were

experts) and three and one-half days of testimony from me—Administrative Law Judge Carol

Fox Foelak concluded that the SEC had failed to prove any of its allegations and, therefore,

dismissed all charges. But again, these allegations are irrelevant to this proceeding. I mention

this only so that these continued allegations do not cloud the focal argument and need for

appealing to this court of equity. I seek, in this Court, only a mechanism to maximize value for

all of the Zohar Funds’ stakeholders and to protect the Portfolio Company constituents and

monetize their considerable value.

       102.      My strategy for the Zohar Funds has always been to build value and monetize that

value by selling the Portfolio Companies or refinancing their debt, and to execute in a manner

that will maximize the value to the benefit of all Zohar Funds’ stakeholders. Indeed, I already

have monetized billions of dollars of assets across the Zohar Funds and have always planned to

sell these remaining Portfolio Companies. I have expressed this strategy of monetization and

intention to the Zohar Funds’ stakeholders on many occasions over the years. But, as described

in further detail below, the current litigious environment has made it very difficult to sell or

refinance the Portfolio Companies, while maximizing their value.

D.     MBIA Has Presented Obstacles to My Prior Attempts to Restructure the Zohar
Funds.

       103.      I began exploring, in 2011 and 2012, restructuring options that would avert a

default of Zohar I on its maturity date. By the terms of the Zohar I indenture, the consent of all

Noteholders is required in order to change the maturity date or otherwise effectuate any

amendment that would affect the payment, timing or amount of principal and interest due on the

Zohar I notes.


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       104.     I believed that an extension of the Zohar I maturity date would have been in the

best interest of all the Noteholders because it would have prevented a situation where I would be

forced to sell the Zohar I collateral under “fire sale” conditions in order to stave off Zohar I’s

default. Such a sale would have resulted in proceeds far less than the Portfolio Companies’ true

value and would have significantly impaired the future cash flows and recoveries for Zohar II

and Zohar III, both of which had overlapping collateral and were not yet facing a maturity. The

triggering of potential defaults and the impairment of future value in Zohar II and III, I believed

could have been avoided by aligning the Zohar I and Zohar II maturities, while also providing

more time for the parties to negotiate a global restructuring of all of the Zohar Funds, and to

allow monetization of the assets in an orderly fashion to maximize value for all Zohar

stakeholders.

       105.     I believed so strongly in the need for such restructure, which would have provided

me sufficient time to sell the Portfolio Companies in an orderly manner, that on March 26, 2015,

merely 8 months before the maturity date of Zohar I, I purchased the A-3 notes in Zohar I from

a noteholder who refused to consent to any extension or restructure. I “took them out” and paid

for 35 cents on the dollar, paying a total of $103,919,863.34. At the time, I believed MBIA’s

representations that my purchase of the notes would facilitate the proposed restructure, because it

would remove the only other party, other than MBIA and my entities, whose consent would be

necessary to effectuate an extension of the Zohar I maturity date. I remain the current holder of

the A-3 notes in Zohar I.

       106.     As the Collateral Manager of the Zohar Funds, I was required by the terms of the

Zohar I Indenture to begin selling the Zohar I collateral in May 2015, six months prior to the

Zohar I maturity date. The Indenture also provided that the proceeds of such a sale would be



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distributed to the Class A-1, A-2 and A-3 Noteholders pari passu. Because the Class A-3 Notes

had by far the larger balance, I would have received roughly twice the distribution of the notes

insured by MBIA—approximately 66 percent of every dollar distributed to the Zohar I

Noteholders following such a collateral sale. But if Zohar I matured, my interests would be

subordinated to MBIA’s, as the Class A-3 Notes are subordinated to the Class A-1 and Class A-2

Notes.

         107.   Prior to May 2015, MBIA informed me that it did not want me to sell the Zohar I

collateral, and asked if I would be would be willing to amend the Indenture to remove this

requirement so that the parties would have more time to negotiate and complete a restructuring.

My goal has always been to maximize the value of Zohar Funds’ assets for all the stakeholders.

I therefore agreed to amend the Indenture even though my Class A-3 interests entitled me at the

time to a substantially higher payout than MBIA would receive, because an extension of the

maturity date was in the best interest of all stakeholders of all three Zohar Funds. I also believed

the statements that MBIA made to me and statements they made publicly on their earnings calls

that they, too, believed that working with Patriarch towards a global restructure of the Zohar

Funds was in the best interest of the stakeholders.

         108.   As MBIA requested, I agreed to not sell the Zohar I collateral in May 2015. I

kept my end of the bargain, but MBIA did not live true to its promises to me at the time: it never

agreed to an extension of the Zohar I maturity date, and it never agreed to a global restructuring

of the Zohar Funds. Thus, following Zohar I’s default, MBIA gained a “preference” on all

payments to Zohar I Noteholders resulting from the sale of the Zohar I collateral, thereby putting

itself in a senior position to me as the holder of the A-3 Notes, a seniority position that it did not

hold at the time that I had planned to sell the Zohar I collateral.



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E.     Zohar I Bankruptcy Litigation.

       109.    On November 22, 2015, I caused Patriarch XV to file involuntary Chapter 11

bankruptcy petitions (the “Involuntary Bankruptcies”) against the Zohar I Entities (the

“Involuntary Debtors”) in the United States Bankruptcy Court for the Southern District of New

York and immediately moved to terminate the Involuntary Debtors’ exclusive period to propose

and solicit a Chapter 11 plan pursuant to section 1121 of the Bankruptcy Code. I filed the

involuntary petitions because, after the failed restructuring negotiations with MBIA, I reluctantly

concluded that the only way to protect Zohar I's asset value and maximize the value of the

Portfolio Companies, in an orderly sales process, was to cause Patriarch XV to file involuntary

petitions against the Zohar Funds.

       110.    My clear and stated intention in filing the Involuntary Bankruptcies was to

propose a Chapter 11 plan of reorganization for Zohar I, to sell certain of the Portfolio

Companies in an investment banker led sales processes and to pay MBIA in full, interest and

principal, over the course of two years. And although Zohar I would enter into new CMAs with

Patriarch VIII, all management fees would be deferred and all principal and interest due on the

Class A-3 Notes, owned by my wholly owned entities, would have received no cash, neither

principal nor interest, until the holders of Classes A-1 and A-2 of the Zohar I Notes were paid in

full. Zohar I (acting through its Cayman Island directors) and MBIA vehemently opposed the

Involuntary Bankruptcies and sought—once again—to undermine my efforts at an orderly

restructuring of Zohar I that would maximize value for the benefit of all stakeholders.

       111.    By order dated March 28, 2016, Judge Robert Drain dismissed the Involuntary

Cases. The dismissal was based upon my notice of withdrawal and on an agreement—among the

parties—to appoint an independent Collateral Manager for the Zohar Funds, upon my voluntary

resignation. As Judge Drain noted on the record, I agreed to do so on the “understanding” of the

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parties that the new Collateral Manager would be “acceptable” and that “a proper process [was]

laid out [that was] mutually acceptable to the parties for dealing with the underlying [Zohar I

collateral] and the realization of appropriate value for those loans.” Judge Drain also

acknowledged that all parties, including MBIA, agreed that, should I resign as Collateral

Manager, I would “remain in [my] positions with the underlying portfolio companies,” which

was “a good thing.”

       112.    Nevertheless, as discussed below, after I resigned as the Zohar Funds’ Collateral

Manager, MBIA (acting through AMZM and the Zohar Funds) failed to live up to its end of the

agreement, and has sought to remove me from my position as Director of numerous Portfolio

Companies.

F.     Zohar I Collateral Auction.

       113.    As insurer of the Class A-1 and Class A-2 Notes, MBIA is designated as the

“Credit Enhancer” under the Indenture. As Credit Enhancer, MBIA also qualifies as the

“Controlling Party,” unless and until the occurrence of a limited set of circumstances as set forth

in the Indenture. After a default, the Controlling Party has the power to direct the Trustee to sell

or foreclose upon the Zohar I collateral to the extent permitted by applicable law and/or not in

conflict with any rule of law.

       114.    Zohar I defaulted on November 20, 2015. In June 2016, MBIA directed U.S.

Bank (“Trustee”), the Trustee for the Zohar Funds, to auction the Zohar I collateral. At MBIA’s

recommendation, the sales notice defined the “collateral” to be auctioned to purportedly include

valuable equity in the Portfolio Companies that I beneficially own, many of which have strict

transfer restrictions, and to include various other commercially unreasonable terms.

       115.    Through entities I control, I brought an action for injunctive relief to block the

auction. I was successful in obtaining a temporary restraining order to stop the auction, and

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certain auction terms were amended as a result of the litigation to address some, but not all, of

my objections. After originally granting a TRO enjoining the auction process, the Court

eventually permitted the Zohar I auction to proceed, as substantially modified from what was

originally proposed.

         116.     The Zohar I collateral was put to auction on December 21, 2016. MBIA prevailed

with a winning no-cash credit bid of approximately $150 million, meaning that no money was

paid into the fund or distributed through the “waterfall” for the benefit of the holder of the A-3

notes. Thus, following the auction, I received no payment on the A-3 notes.

         117.     The Portfolio Company equity upside interests are not collateral and have strict

transfer restrictions. Therefore, it is anticipated that when the Portfolio Companies are sold, the

cash from the sale of the equity interests will flow, as originally intended, through the Zohar I

waterfall for the benefit first to the A-3 Noteholder and then for the benefit of the preference

shareholder.7

G.       MBIA’s Exposure Related To Zohar I and Zohar II.

         118.     By late 2016, MBIA’s exposure on Zohar II totaled approximately $ 775.6

million. Upon Zohar II’s default in January 2017, MBIA was obligated to pay this amount of

outstanding principal payments and accrued interest to the Zohar II Noteholders.

         119.     In a November 2016 SEC filing, MBIA revealed its plans to pay its policy on its

$775.6 million insurance exposure on Zohar II by selling its UK operation and raising $328.25

million from third parties by, among other things, pledging MBIA’s purported “right, title and




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     There remains pending litigation in the U.S. District Court for the Southern District of New York where I am
     seeking damages over the auction results and declaratory relief defining the limited scope of the “collateral” at
     issue there.



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interest in the Zohar I Collateral and the Zohar II Collateral.” That financing facility bears a 14

percent rate of interest.

                VII.    MBIA Appoints AMZM as the New Collateral Manager.

A.      Patriarch Resigns as Collateral Manager and Works to Transition the Zohar Funds.

        120.    After I and my Patriarch entities voluntarily resigned as the Collateral Manager to

the Zohar Funds on February 5, 2016, AMZM was appointed as the successor Collateral

Manager at MBIA’s direction. AMZM is a subsidiary of Alvarez and Marsal (“A&M”). Neither

entity had ever served as a Collateral Manager to a CDO or CLO before the Zohar Funds.

        121.    Patriarch and I immediately began working with AMZM to ensure a smooth

transition. Patriarch’s employees produced books and records for AMZM’s review, and they

trained AMZM’s employees how to run the Zohar Funds. Patriarch gave AMZM nearly 100,000

pages of documents, including the Portfolio Companies’ latest financial information, the

underlying security documents for all collateral debt obligations listed in the trustee’s report,

credit documents (along with associated schedules and amendments), Portfolio Company

litigation documents, and reports issued by the trustee. Patriarch also offered to provide AMZM

with confidential, proprietary documents if AMZM entered into a standard confidentiality

agreement. AMZM refused to sign a confidentiality agreement.

        122.    To ensure my availability during the transition process, I cancelled all business-

related travel plans, contacted the Portfolio Companies to encourage them to work cooperatively

with AMZM, and even offered to personally take AMZM on a tour of the Companies.

        123.    AMZM was not satisfied with the documents we provided. Their demands for

documents began to escalate and they imposed unreasonable and arbitrary deadlines (not

provided for in the CMA).




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         124.   Even while pushing back against unreasonable demands and deadlines, Patriarch

remained committed to ensuring that AMZM had the information necessary to manage the Zohar

Funds.

         125.   On April 20, 2016, AMZM, on behalf of the Zohar Funds, ordered the Zohar

Funds’ trustee to withhold from Patriarch accrued collateral management fees that were owed for

services Patriarch rendered to the Zohar Funds prior to Patriarch’s resignation as Collateral

Manager. Even though AMZM refused to authorize the Zohar Funds to pay Patriarch its accrued

management fees, Patriarch never stopped gathering documents and continued to provide

documents and information in response to AMZM’s demands.

         126.   Two days after withholding Patriarch’s fees, and just seven weeks after AMZM

had been appointed Collateral Manager, the Zohar Funds (through AMZM) sued Patriarch,

claiming that Patriarch had breached the parties’ three CMAs by failing to turn over books and

records in addition to the nearly 100,000 pages of documents already produced. After a short

trial, the Delaware Court of Chancery decided that Patriarch had breached the CMAs. Patriarch

has since produced more than 1,000,000 pages of documents, under the supervision of a court-

appointed Special Master, and the little that remains at issue is largely ministerial in nature.

B.       MBIA and AMZM’s Litigation Campaign Has Cast a Cloud Over the Zohar Funds
         and the Portfolio Companies Rendering Them Entirely Unable to Monetize Assets
         and Maximize Value for All Stakeholders.

         127.   AMZM and MBIA have engaged in a litigation campaign that has harmed the

Zohar Funds and the Portfolio Companies. Since MBIA hired AMZM as Collateral Manager,

AMZM has focused its energies on pursuing litigation in order to seize control and ownership of




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the Portfolio Companies. All in, MBIA and AMZM have instigated at least six (6) lawsuits

against me and my entities since AMZM was appointed Collateral Manager in March 2016.8

         128.     The litigation overhang has cast a cloud over the Portfolio Companies that has

impeded my ability to monetize or maximize the value of the Companies through refinancing or

sale—which will satisfy all outstanding obligations to Noteholders, with residual value flowing

to me.

         129.     For example, in November 2016, MBIA approved AMZM’s execution of Written

Consents to install AMZM and MBIA’s own personnel as directors of three Portfolio

Companies, Glenoit Universal LTD, FSAR Holdings, Inc. (PDP), and UI Acquisition Holding

Co., claiming that the equity in those Companies is wholly and beneficially owned by the Zohar

Funds. MBIA then approved the filing of a “test case” lawsuit in November 2016 against me

and these three Portfolio Companies in the Delaware Court of Chancery to gain control over

these Companies.9 Contrary to findings of an SEC Administrative Law Judge that the design and


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     U.S. Bank N.A. v. Patriarch Partners XIV, LLC, No. 652173/2016 (N.Y. Sup. Ct.) (Trustee and AMZM brought
     an Interpleader action in New York State Court with respect to AMZM’s decision to withhold collateral
     management fees from Patriarch); Zohar CDO 2003-1, LLC v. Patriarch Partners, LLC, No. 12247-VCS (Del.
     Ch. Ct.) (Zohar Funds filed suit against Patriarch in Delaware Chancery Court to compel Patriarch to turn over
     to AMZM collateral management books and records); Patriarch Partners Agency Services, LLC v. Zohar CDO
     2003-1, Ltd., No. 16-cv-4488 (S.D.N.Y.) (PPAS filed suit against the Zohar Funds and Alvarez & Marsal Zohar
     Agency Services, LLC (“AMZAS”) for breach of contract, resulting from the Zohar Funds’ termination of
     PPAS as administrative agent. AMZM and the Zohar Funds brought counterclaims seeking a declaratory
     judgment that the Zohar Funds’ removal of PPAS as administrative agent was lawful and that AMZAS (or one
     of the Zohar Funds, as the case may be) currently serve as administrative agent); Zohar II 2005-1, Ltd. v. FSAR
     Holdings, Inc., No. 12946-VCS (Del. Ch. Ct.) (Zohar Funds brought a Section 225 proceeding in Delaware
     Chancery Court seeking to enforce written consents purportedly removing me as director of three Portfolio
     Companies, and replacing me with employees of AMZM and MBIA); Zohar CDO 2003-1 Ltd. v. Patriarch
     Partners, LLC, No. 17-cv-307 (S.D.N.Y.) (Zohar Funds brought RICO action against Patriarch and the
     Octaluna Entities alleging, among other claims, that the Zohar Funds are the equity owners of the Portfolio
     Companies, and that Patriarch breached its Collateral Management Agreements and fiduciary duties by
     allegedly failing to obtain for the Zohar Funds all equity interests to which they were entitled); Zohar CDO
     2003-1, Limited v. Croscill Home LLC et al., 1:17-cv-01797-JFB-SRF (D. Del.) (the Zohar Funds filed suit in
     Delaware Chancery Court against certain Portfolio Companies seeking to remove me as the manager of these
     companies).
 9
     After a six-day trial, the Chancery Court entered an opinion in favor of the Zohar Funds based on its
     interpretation of the series of contracts memorializing the creation of the Zohar Funds, contrary to the SEC



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structure of the Zohar Funds showed that I owned the equity of the Portfolio Companies, the

Delaware Chancery Court ruled against me as to my ownership of three aforementioned

Portfolio Companies. The court, however, stayed its order while it is on appeal to the Delaware

Supreme Court.

          130.     MBIA also approved AMZM’s filing of a now-dismissed RICO case against me

in the Southern District of New York, seeking a court ruling that the Zohar Funds own certain

equity in the Portfolio Companies. The court granted my motion to dismiss the RICO and the

supplemental state law claims on December 29, 2017. In that lawsuit, AMZM, acting at the

behest of MBIA, which admittedly reviewed and approved of the RICO suit before its filing,

unsuccessfully sought to tar me as a “racketeer” and fraudster, which was damaging not only to

me personally, but to the Portfolio Companies, given my roles as the Manager, Director, and/or

CEO of those Companies.

          131.     The Funds also purported to terminate Patriarch Partners Agency Services

(“PPAS”), the loan administration entity that administers the Zohar Funds’ loans and collects and

disburses Portfolio Company loan payments. This attempted termination resulted in litigation in

which the Funds are named parties. In that litigation, AMZM twice attempted to seek

emergency relief against PPAS from the federal courts, and both attempts were immediately

rejected.10



      ALJ’s finding during the SEC Action that I am the equity owners of the Portfolio Companies. The court’s
      judgment is currently stayed pending an expedited appeal in the Delaware Supreme Court. In agreeing to stay
      its decision, the Delaware Chancery Court recognized that appeal was warranted because it was a close case and
      that there were substantial “novel” issues at play in the action.
 10
      Patriarch Partners Agency Services, LLC v. Zohar CDO 2003-1, Ltd., No. 16-cv-4488 (S.D.N.Y.) (PPAS filed
      suit against the Zohar Funds and Alvarez & Marsal Zohar Agency Services, LLC (“AMZAS”) for breach of
      contract, resulting from the Zohar Funds’ termination of PPAS as administrative agent. AMZM and the Zohar
      Funds brought counterclaims seeking a declaratory judgment that the Zohar Funds’ removal of PPAS as
      administrative agent was lawful and that AMZAS (or one of the Zohar Funds, as the case may be) currently
      serve as administrative agent).



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          132.    On November 13, 2017, I and several of my controlled entities initiated three state

court actions seeking, on an expedited basis, declaratory judgments regarding the beneficial

ownership of various Portfolio Companies where I am CEO.11 I filed these actions because the

cloud created by AMZM and MBIA’s litigation strategy had finally reached a point where it has

seriously hindered the Portfolio Companies’ ability to negotiate with lenders, including with

regard to their Asset Backed Lending (“ABL”) facilities.

          133.    On November 16, 2017, and January 12, 2018, and admittedly in response to the

declaratory judgments actions I filed, the Zohar Funds filed lawsuits in the Delaware Chancery

Court regarding ownership of 13 Portfolio Companies12 (collectively with the 11 Companies, the

“11 Companies Defendants”).

          134.    The allegations in these and other lawsuits brought by AMZM at the behest of

MBIA harm the value of every Portfolio Company, which value AMZM is supposed to preserve

and maximize. These litigations have created a cloud of uncertainty over the Portfolio

Companies, has had a chilling effect on potential buyers and made it difficult to monetize the

companies.

C.        MBIA and AMZM Have Made No Effort to Monetize the Zohar Funds’ Assets or
          Maximize Their Value in the Interest of All the Zohar Funds’ Stakeholders

          135.    At the same time, AMZM has failed to perform the duties of a Collateral

Manager. AMZM has prepared only intermittent reports to Noteholders containing insufficient

information, despite its obligation to provide particular financial and other reports do so on a


 11
      Tilton v. Zohar CDO 2003-1, Ltd., No. CV-2017-013549 (Ariz. Sup. Ct.) (the “MD Action”), Tilton v. Zohar
      III, Ltd., No. BC683129 (Cal. Sup. Ct.) (the “Stila Action”), and Tilton v. Zohar CDO 2003-1 Ltd., No. 17-
      016240-CB (Mich. Cir. Ct.) (the “Dura/GAS Action”).
 12
      The Portfolio Companies include Croscill Home LLC, f/k/a Croscill Acquisition, LLC, Denali Acquisition
      LLC, Dura Buyer, LLC, Global Automotive Systems, LLC, Gorham Paper And Tissue, LLC., Jewel of Jane
      LLC, LVD Acquisition, LLC, d/b/a Oasis International, RM Acquisition, LLC, Snelling Holdings, LLC, Stila
      Styles, LLC, IMG Holdings, Inc., MD Helicopters, Inc. and Vulcan Engineering, Inc.



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monthly and quarterly basis under the Zohar Funds’ Indentures. AMZM has not taken any

action to request funding for the Portfolio Companies, including those that have defaulted on

their watch. And AMZM has not independently valued the Zohar Funds’ collateral, even though

Patriarch produced over 1 million pages of documents to them in the “books and records”

lawsuit, including Portfolio Company financial statements. In fact, it now appears that AMZM

has made no effort to use the information it obtained from my extensive production of books and

records to learn anything about the Portfolio Companies or to develop any strategy towards

maximizing their value for the benefit of the Zohar Funds’ stakeholders.

       136.    In April 2016, after 13 months as Collateral Manager, AMZM’s Ms. LaPuma

admitted that AMZM does not have a strategy to maximize the value of each Portfolio Company.

Ms. LaPuma also admitted that the replacement boards of directors for the Portfolio Companies,

whose members were selected by AMZM, and consisted largely of AMZM and MBIA

personnel, had not prepared strategic plans for the Portfolio Companies. Indeed, AMZM’s

purported replacement directors and replacement managers include MBIA officers and

employees who have no experience in the Portfolio Companies’ respective industries and lack

any knowledge or even a basic familiarity with the Portfolio Companies’ businesses and

operations.

       137.    Worse, it appears that AMZM is acting purely in the interest of MBIA and not in

the interest of other Zohar Funds stakeholders. For example, when asked whether AMZM, as the

Collateral Manager for the Zohar Funds, had a duty to take into account my interests as a

preference shareholder, Ms. LaPuma testified: “It depends,” meaning “sometimes yes,

sometimes no.” She explained that although AMZM had intended to “take into consideration all

stakeholders’ rights” when it first assumed its role as Collateral Manager, this was not the case



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after Zohar II defaulted, at which time AMZM’s “role and consideration . . . shifted some.”

Thus, while AMZM is now willing to “take [the preference shareholder’s interest] into

consideration,” it ultimately “[has] obligations to make good on the debt due to the

[Noteholders].” AMZM’s belief that it has a duty to act in the best interest of the Noteholders

alone is further supported by the language of its Collateral Management Agreements. Although

those Agreements expressly provide that AMZM’s duty is to the Noteholders, they make no

mention of any duty owed to the Zohar Funds’ preference shareholder.

       138.    AMZM has been paid approximately $30 million in collateral management fees in

its first year as the new Collateral Manager, even though they have not actually managed the

loans held by the Zohar Funds.

  IX.    The Purpose of this Bankruptcy Proceeding Is To Access the Significant Value
Locked in the Zohar Funds’ Assets and Monetize Them for the Benefit of All Stakeholders.

       139.    The Zohar Funds were placed into bankruptcy in order that its Noteholders and all

other stakeholders can finally access the full value of the cash flows from Portfolio Companies

sales or refinancings, which has been locked, for many years, as a result of the ongoing

litigations with MBIA and AMZM.

       140.    Several months prior to this filing, I began contemplating a plan and marketing

process for monetizing the Portfolio Companies in a manner that would maximize their

respective values for the benefit of all Zohar Funds’ stakeholders.

       141.    I have hired a Chief Restructuring Officer, Marc Kirschner, to serve as an

independent party to assist me in further developing and executing on that plan for the

monetization of the Portfolio Companies. I have consulted with Mr. Kirschner to formulate a

plan to execute that monetization process, which is described in Mr. Kirschner’s declaration.




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       142.     Portfolio Companies have already interviewed and, in some instances, have

already chosen financial advisors in respect of these contemplated transactions.

       143.    While confidentiality over this process is paramount in preserving the Portfolio

Companies’ value, I am committed to working with the CRO and have authorized and directed

the CRO to develop a plan for periodic public and confidential reporting that will provide an

appropriate measure of transparency into this process for the Court and all stakeholders without

jeopardizing value.

       144.    Many of the Portfolio Companies face near-term maturities on loans due to the

Zohar Funds, certain of my personal investment funds, and third party lenders on or about March

2019. In order to avert: (1) defaults on these loans; (2) the risks of bankruptcy or foreclosure and

(3) the loss of major customer contracts, I, as the director or manager of each Portfolio

Company, along with my management teams at the respective Portfolio Companies have

commenced the interview and engagement process to hire investment bankers at the Portfolio

Companies to pursue both refinancing and sale of company alternatives. In doing so, we have

learned that the litigation risk surrounding the Zohar Funds and the Portfolio Companies will

foster a chilling effect on bank lenders and buyers. It is, in large part, the reason the Debtors are

here in this court of equity to ask for the time and protection to maximize value for all of the

Zohar Funds’ stakeholders and to best protect all stakeholders at the Portfolio Companies,

including employees, customers and vendors.

       145.    Seventeen business platforms have been targeted for near-term refinancing and or

Portfolio Company sales efforts. Of these seventeen, thirteen have lender commitments that

come due in the March 2019 time frame. For each of these thirteen Portfolio Companies,

multiple investment bankers have been interviewed. In total, to date, 30 investment banking



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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                   )   Chapter 11
         In re:                                                    )
                                                                   )   Case No. 18-10512 (CSS)
                                   1
         Zohar III, Corp., et al.,                                 )
                                                                   )   Jointly Administered
                                             Debtors.              )
                                                                   )   Requested Hearing Date:
                                                                   )   May 18, 2018 at 4:00 p.m. (ET)
                                                                       Requested Objection Deadline:
                                                                   )   May 11, 2018 at 4:00 p.m. (ET)

                                                   NOTICE OF MOTION

         TO:      (A) THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF
                  DELAWARE; (B) THE OFFICE OF THE UNITED STATES ATTORNEY FOR THE
                  DISTRICT OF DELAWARE; (C) THE INTERNAL REVENUE SERVICE (D)
                  COUNSEL TO THE PATRIARCH ENTITIES; (E) COUNSEL TO AMZM; (F)
                  COUNSEL TO U.S. BANK, AS INDENTURE TRUSTEE; (G) COUNSEL TO MBIA
                  INSURANCE COMPANY; (H) COUNSEL TO CERTAIN HOLDERS OF NOTES
                  ISSUED BY ZOHAR III, LIMITED; AND (I) ANY PARTY THAT HAS REQUESTED
                  NOTICE PURSUANT TO BANKRUPTCY RULE 2002

                       PLEASE TAKE NOTICE that the debtors and debtors in possession in the
         above-captioned Chapter 11 cases (collectively, the “Debtors”) have filed the Debtors’ Motion,
         Pursuant to Section 105(a) of the Bankruptcy Code and Bankruptcy Rule 9019, for an Order
         Approving and Authorizing the Settlement Agreement By and Between the Debtors, Lynn Tilton,
         the Patriarch Stakeholders, MBIA Insurance Corp., and the Zohar III Controlling Class (the
         “Motion”).

                        PLEASE TAKE FURTHER NOTICE that, contemporaneously with the filing
         of the Motion, the Debtors have also filed a motion (“the Motion to Shorten”) requesting that any
         objections to the Motion must be filed on or before May 11, 2018 at 4:00 p.m. (ET) (the
         “Objection Deadline”) with the United States Bankruptcy Court for the District of Delaware, 3rd
         Floor, 824 Market Street, Wilmington, Delaware 19801. At the same time, you must serve a
         copy of any objection upon the undersigned counsel to the Debtors so as to be received on or
         before the Objection Deadline.

                  PLEASE TAKE FURTHER NOTICE THAT, PURSUANT TO THE
         MOTION TO SHORTEN, THE DEBTORS HAVE REQUESTED A HEARING ON THE

         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
         Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
         (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 350
         Fifth Avenue, c/o Goldin Associates, LLC, New York, NY 10118.
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         MOTION WILL BE HELD ON MAY 18, 2018 AT 4:00 P.M. (ET) BEFORE THE
         HONORABLE CHRISTOPHER S. SONTCHI, IN THE UNITED STATES BANKRUPTCY
         COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5TH
         FLOOR, COURTROOM NO. 6, WILMINGTON, DELAWARE 19801.

                  PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND
         IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
         REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR A HEARING.


         Dated: April 30, 2018         YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                       /s/ Michael R. Nestor
                                       James L. Patton, Jr. (No. 2202)
                                       Robert S. Brady (No. 2847)
                                       Michael R. Nestor (No. 3526)
                                       Joseph M. Barry (No. 4421)
                                       Ryan M. Bartley (No. 4985)
                                       Rodney Square
                                       1000 North King Street
                                       Wilmington, Delaware 19801
                                       Telephone: (302) 571-6600
                                       Facsimile: (302) 571-1253

                                       Proposed Counsel to the Debtors
                                       and Debtors in Possession




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                        )     Chapter 11
           In re:                                                       )
                                                                        )     Case No. 18-10512 (CSS)
           Zohar III, Corp., et al., 1                                  )
                                                                        )     Jointly Administered
                                               Debtors.                 )
         _________________                                              )      Docket Ref. Nos. 222 & 223

                          ORDER APPROVING AND AUTHORIZING THE SETTLEMENT
                            AGREEMENT BY AND BETWEEN THE DEBTORS, LYNN
                             TILTON, THE PATRIARCH STAKEHOLDERS, MBIA
                                 INSURANCE CORP., AND THE ZOHAR III
                                         CONTROLLING CLASS

                    Upon consideration of the motion (the "Motion")2 of the Debtors for entry of an order,

           pursuant to section 105(a) of the Bankruptcy Code and Bankruptcy Rule 9019, approving the

           Settlement Agreement (attached hereto as Exhibit 1) entered into by and between (i) the

           Debtors, (ii) Lynn Tilton, (iii) the Patriarch Stakeholders, (iv) MBIA, and (v) Halcyon Capital

           Management LP3 , Cooperatieve Rabobank U.A., New York Branch, STS Master Fund, Ltd, SBF

           Opportunities Master Fund, Ltd, and Candlewood Structured Credit Harvest Master Fund, LTD

           (collectively, the "Zohar III Noteholders" and, together with the Debtors, Lynn Tilton, the

           Patriarch Stakeholders, and MBIA, the "Parties"), as more fully described in the Motion; and it

           appearing that this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

           and 1334 and the Amended Standing Order of Reference from the United States District Court

           for the District of Delaware, dated as of February 29, 2012; and it appearing that venue of these

           1
              The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
           Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar COO 2003-1, Corp. (3724), Zohar III, Limited
           (9261), Zohar II 2005-1, Limited (8297), and Zohar COO 2003-1, Limited (5119). The Debtors' address is 350
           Fifth Avenue, c/o Goldin Associates, LLC, New York, NY IO118.
           2
             Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Motion or
           the Settlement Agreement, as applicable.
           3
             The members of the Zohar III Controlling Class affiliated with Halcyon Capital Management LP are disclosed in
           the Verified Statement Pursuant to Fed. R. Bankr. P. 2019(a) filed on March 27, 2018 [Docket No. 95].
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           Chapter 11 cases and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and

           1409; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b) and

           the Court may enter a final order on the Motion consistent with Article III of the U.S.

           Constitution; and this Court having determined that the relief requested in the Motion is in the

           best interests of the Debtors, their estates, creditors, and other parties in interest; and this Court

           having found that the relief requested in the Motion is justified by the facts and circumstances;

           and it appearing that proper and adequate notice of the Motion has been given and that, except as

           otherwise ordered herein, no other or further notice is necessary; and after due deliberation

           thereon; and good and sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.     The Motion is GRANTED.

                   2.     The Settlement Agreement, a copy of which is attached hereto as Exhibit 1, is

           approved in its entirety pursuant to sections 105(a) of the Bankruptcy Code and Bankruptcy Rule

           9019, and is binding on all parties-in-interest in these Chapter 11 cases, including, but not limited

           to, the Parties, any new Collateral Manager or New Agent appointed under the terms of the

           Settlement Agreement, the Independent Director, the CRO, U.S. Bank, the Other Stakeholders,

           the Patriarch Stakeholders, the Committee, and any subsequent holder of any secured notes

           issued by any of the Debtors (including, with respect to any of the foregoing, any agents,

           successors, or assigns); provided, however, with respect to the Zohar III Controlling Class only,

           no Party shall be required to disclose the terms of the Settlement Agreement to any successor,

           assign or transferee, nor shall it be liable for any successor's, assign's or transferee's breach of

           the Settlement Agreement; provided, further however, that the first sentence of paragraph 30 of




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           the Settlement Agreement shall be null and void solely to the extent it contemplates a separate

           "confidential stipulation."

                  3.      A prospective purchaser or seller of debt issued or guaranteed by the Zohar III,

           Corp. or Zohar III, Limited may obtain a copy of the terms of the Settlement Agreement from the

           CRO, only after executing a standard NDA consistent with the practice in the District of

           Delaware for the sole and limited purpose of evaluating a potential purchase of such debt,

           provided however, that such terms shall not include Exhibits to the Settlement Agreement.

           Without limiting the binding effect of the Settlement Agreement provided for under Paragraph 2

           of this Order, in the event a potential purchaser of debt becomes a holder of Zohar III Claims,

           such NDA shall bind the entity requesting access to the terms of the Settlement Agreement, any

           individual representing any such entity in such a request, and any individual who is granted

           access to the terms of the Settlement Agreement on behalf of any such entity.

                  4.      Notwithstanding anything in the Order to the contrary, nothing contained in this

           Order is or shall be deemed to be an act by the Trustee to consent to or vote for or accept or

           adopt on behalf of any Secured Party any plan of reorganization, arrangement, adjustment or

           composition affecting the Notes or the rights of any Holder thereof, or to authorize the Trustee to

           vote in respect of the claim of any Noteholder in any such Proceeding. (All capitalized terms

           used in the prior sentence have the meaning ascribed to them in the applicable indenture between

           the Debtors and U.S. Bank.)

                  5.      Notwithstanding anything to the contrary in this Order or the Settlement

           Agreement, nothing set forth in the Settlement Agreement is binding on Blank Rome LLP.

                  6.      Notwithstanding anything to the contrary in this Order or the Settlement

           Agreement, nothing set forth in the Settlement Agreement is binding on Alvarez & Marsal Zohar


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           Management LLC ("AMZM"), provided, however, that paragraph 16 of the Settlement

           Agreement provides that AMZM shall be terminated.

                  7.      The Debtors are authorized and empowered to take any and all actions necessary

           to carry out, effectuate, or otherwise enforce the terms, conditions, and provisions of the

           Settlement Agreement.

                  8.      This Court shall retain jurisdiction to hear any and all disputes arising out of the

           interpretation or enforcement of this Order.


           Dated: May 2. \ , 2018
                  Wilmington, Delaware
                                                                Christopher S. Sontchi
                                                                United States Bankruptcy Judge




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                                             Exhibit 1

                                       Settlement Agreement




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                                                    Mediation Term Sheet
                               (In re: Zohar III Corp., et al., Case No. 18-10512 (CSS))

                15 Month Window - The period that expires 15 months from the date hereof.

                18 Month Extended Window - If each of MBIA and the Zohar III Claims receive 50% of
                their respective Paid in Full amount within the 15 Month Window, the 15 Month Window
                shall be deemed to be extended by 3 months and shall be hereafter referred to herein as the
                18 Month Extended Window.

                Bankruptcy Court - The United States Bankruptcy Court for the District of Delaware,
                which is presiding over the Chapter 11 cases of the Debtors.

                Debtors - The debtors in the Chapter 11 cases captioned: In re: Zohar III Corp., et al., Case
                No. 18-10512 (CSS).

                Designated Tax Director - the limited role Tilton shall have on behalf of the Debtors as
                described in paragraph 2 below.

                Full Payment Date - The date on which the parties or the classes of noteholders on Exhibit
                A are Paid in Full.

                Independent Director - the director appointed by the Mediator. The Independent Director
                (a) shall be unaffiliated with any party and (b) shall have played no role in connection with
                and held no claim against or interest in any of the Debtors.

                Indentures - (1) The Indenture among Zohar CDO 2003-1, Limited, Zohar CDO 2003-1
                Corporation, Zohar CDO 2003-1, LLC, and MBIA Insurance Corporation, CDC Financial
                Products, Inc., and U.S. Bank National Association, dated November 13, 2003; (2) The
                Indenture among Zohar II 2005-1, Limited, Zohar II 2005-1, Corp., Zohar II 2005-1, LLC,
                MBIA Insurance Corporation, IXIS Financial Products Inc., and LaSalle Bank National
                Association, dated January 12, 2005; and (3) The Indenture among Zohar III, Limited,
                Zohar Ill, Corp., Zohar III, LLC, Natixis Financial Products Inc., and LaSalle Bank
                National Association, dated April 6, 2007.

                MBIA-MBIA Insurance Corp.

                Mediator - The Honorable Kevin Gross, and if Judge Gross resigns as mediator Judge
                Sontchi will appoint a replacement mediator.

                Other Stakeholders - (a) US Bank and MBIA, when not referring to Zohar III, (b) US
                Bank and the Controlling Class representative when solely referring to Zohar III, and (c)
                US Bank, MBIA and the Zohar III Controlling Class when referring to Zohar III and either
                or both of Zohar I and Zohar II.
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                Paid in Full - The amount owed to the parties and in the amounts listed and calculated on
                the schedule attached hereto as Exhibit A to be updated monthly to reflect accrued and
                unpaid interest and fees allowable under the Indentures. 1

                Patriarch Stakeholder - Entities included in Exhibit B.

                Group A Portfolio Companies - Those companies listed on the schedule attached hereto
                as Exhibit C.

                Group B Portfolio Companies -Those companies listed on the schedule attached hereto
                as Exhibit D. 2

                Tilton -Ms. Lynn Tilton.

                U.S. Bank - U.S. Bank National Association, solely in its capacity as Trustee under the
                Indentures, and not in its individual capacity.

                Zohar III Noteholders - those entities or the classes of noteholders listed on the schedule
                attached hereto as Exhibit E.

                Zoltar III Claims - Claims under the Zohar III Indenture $[X]

                Zoltar Funds - collectively, Zohar CDO 2003-1, Limited; Zohar CDO 2003-1
                Corporation; nondebtor Zohar CDO 2003-1, LLC; Zohar II 2005-1, Limited; Zohar II
                2005-1, Corp.; nondebtor Zohar II 2005-1, LLC; Zohar III, Limited; Zohar III, Corp.; and
                nondebtor Zohar III, LLC)

                Terms



                        This footnote is intended to cover MBIA's claims. Other than the Policy Payment
                in the amount of $148,951,585 with respect to Zohar I and the Policy Payment of
                $770,109,326 with respect to Zohar II reflected on Exhibit A, the calculation of which
                amounts are not subject to challenge by Tilton; all other rights reserved. MBIA will
                consult in good faith with Tilton regarding the other amounts and calculations specified in
                Exhibit A. If the parties are unable to agree on those other amounts, the matter shall be
                referred to the Mediator. If the Mediator is unable to resolve the dispute, the matter shall
                be brought to the Bankruptcy Court for resolution. Any equity interest owed to MBIA or
                Zohar I, as applicable, will be escrowed until the expiration of the 15 Month Window; all
                parties' rights reserved. Any proceeds from the sale or repayment of Zohar I loans (but not
                the equity interest) shall be paid directly to MBIA.
                   2
                        Group B Portfolio Companies will exclude the Group A Portfolio Companies.
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                1. The Mediator shall appoint a single Independent Director for each of the Zohar
                   Funds (same director shall be appointed for all of the Zohar Funds). The
                   Independent Director shall not have the power to convert or dismiss the Chapter 11
                   cases during the 15 Month Window. Tilton shall resign as a director of each and
                   shall have no governance authority or responsibility for the Zohar Funds, other than
                   as Designated Tax Director. On the Full Payment Date, the Independent Director
                   shall be deemed to resign and Tilton shall be automatically reinstated as director of
                   each of the Zohar Funds (with all powers attendant to such position also
                   automatically reinstated).

                2. Notwithstanding anything to the contrary herein except subject only to paragraph 3
                   and 14, Tilton shall remain the director of each of the Debtors (until such time as
                   she is no longer the taxpayer for the Debtors, the Group B Portfolio Companies,
                   and Group A Portfolio Companies) solely for the purpose of exercising (and having
                   no other rights or authority) to (a) manage the tax liability and reporting of the
                   Debtors and the Group B Portfolio Companies, (b) manage the tax reporting of the
                   Group A Portfolio Companies and (c) with respect to the Group B Portfolio
                   Companies, manage any event causing cancellation of debt income (forgiveness of
                   debt, liquidation, unwind, or foreclosure) including to manage the timing of sale of
                   the Group B Portfolio Companies, forgiveness of debt and realizing gains and
                   losses (the "Designated Tax Director"). In that capacity, Tilton shall continue to
                   bear the tax liability associated with ownership of the Debtors, the Group B
                   Portfolio Companies, and the Group A Portfolio Companies, including with respect
                   to any Group A Portfolio Company transactions.

                3. Subject to the last sentence of this paragraph 3, if the Full Payment Date does not
                   occur within the 15 Month Window, Tilton and the CRO shall negotiate in good
                   faith on how to monetize the Group B Portfolio Companies. In the event of any
                   dispute in such negotiations, in the first instance such dispute shall be referred to
                   the Mediator. If the Mediator cannot resolve any or all disputes, the parties shall
                   jointly seek an order of the Bankruptcy Court resolving such disputes.

                4. [TBD: CRO and LT will develop reasonable process milestones related to hiring
                   bankers, .... ]

                5. The Group A Portfolio Companies will be sold without regard to Tilton's personal
                   tax liability.

                6. The Independent Director/CRO shall appoint a new independent administrative
                   agent under the Zohar credit agreements (the "New Agent") who shall report only
                   to the Independent Director/CRO and U.S. Bank; provided, (a) that PPAS remains
                   the administrative agent under the Zohar credit agreements for all purposes related
                   to the Patriarch Stakeholders and any other third party; and (b) during the 15 Month
                   Window or the 18 Month Extended Window, as applicable, the New Agent shall
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                    have all rights and remedies available under the Credit Agreement with respect to
                    the Zohar interests in the Group A Portfolio Companies; provided, however, that
                    the New Agent shall not have the ability to take any action, declare any default or
                    exercise any remedy with respect to any Group A Portfolio Company (other than
                    for prospective non-payment of interest) or any Group B Portfolio Company and
                    subject to the tolling of claims and other terms hereof. PPAS, the Independent
                    Director/CRO, and the New Agent shall use reasonable efforts to transition existing
                    Zahar-related PPAS matters to the new agent. Subject to the approval of the
                    Independent Director/CRO. PPAS shall use commercially reasonable efforts to
                    take all reasonable actions to ensure the continued validity and perfection of any
                    security interests and liens for loans transferred to the New Agent. PPAS may be
                    reimbursed for reasonable transition costs incurred in transition to the New Agent.
                    If there is any dispute with respect to any of the foregoing, in the first instance such
                    dispute shall be referred to the Mediator. If the Mediator cannot resolve that
                    dispute, the parties shall jointly seek an order of the Bankruptcy Court resolving
                    that dispute. Nothing in the foregoing paragraph shall prejudice rights and
                    remedies of the parties to Patriarch Partners Agency Services, LLC v. Zohar CDO
                    2003-1, Ltd., No. 16-cv-4488 (S.D.N.Y.), in the event that litigation is resumes.

                 7. If the Independent Director resigns prior to the Full Payment Date, the Mediator
                    shall appoint a replacement Independent Director. In connection therewith, the
                    Mediator shall consult with the controlling class of Zohar III noteholders, MBIA
                    and Tilton about director candidates. The Independent Director shall be fully
                    charged with governance of the Zohar Funds under applicable Cayman or
                    Delaware law.

                 8. The Independent Director will retain a CRO to participate in the process to
                    monetize the Debtors' interests in the Group A Portfolio Companies, whether
                    through sale or refinancing (the "Monetization Process"). The CRO shall (a)
                    replace the current CRO, (b) be unaffiliated with any party, and (c) have played no
                    role in connection with and held no claim against or interest in any of the Debtors;
                    provided, however, that Rob Kost may be considered for any role in the
                    monetization process, by the CRO. The Independent Director and CRO each will
                    execute a standard NDA consistent with the practice in the District of Delaware.

                 9. Tilton shall remain in her position as director, manager and officer, as applicable,
                    of the Group A Portfolio Companies during the 15 Month Window, or, if qualified,
                    for the 18 Month Extended Window. During the 15 Month Window or, if qualified,
                    for the 18 Month Extended Window, all parties agree that no action shall be taken
                    to remove Tilton from any such position.

                 10. With full and joint authority, Independent Director/CRO, with full authority on
                     behalf of the Debtors, and Tilton, with full authority on behalf of the Group A
                     Portfolio Companies, will conduct a process to monetize the Group A Portfolio
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                     Companies and the Group B Portfolio Companies. It is acknowledged that the CRO
                     will act in the best interests of the Zohar Funds, and Tilton in the best interests of
                     the Group A Portfolio Companies. Tilton and the CRO shall jointly select bankers
                     and other professionals, prioritize sales, oversee the bid process and select
                     transactions to complete. Tilton shall work with the CRO, who shall jointly with
                     Tilton choose bankers to be retained for Group A Portfolio Company sales. Each
                     shall have full and complete information regarding the Monetization Process and
                     sources and uses of funds in any transaction consummated as part of the
                     Monetization Process. Tilton and the CRO shall use good faith,
                     commercially-reasonable efforts to coordinate prospective meetings with bankers
                     and buyers. But in no event shall the CRO interfere in any way with the operations
                     of the Group A Portfolio Companies and the Group B Portfolio Companies.

                  11. Any dispute with respect to the Monetization Process between the Independent
                      Director/CRO and Tilton, in the first instance, shall be referred to the Mediator. If
                      the dispute cannot be resolved by the Mediator, the parties retain all rights to seek
                      an order of the Bankruptcy Court resolving such dispute.

                  12. Tilton and the CRO shall work jointly as outlined herein to monetize the Group A
                      Portfolio Companies until such time as the (i) the parties each agree in writing to
                      terminate this settlement agreement, such agreement to be granted or withheld in
                      their sole respective discretion or (ii) the Full Payment Date.

                  13. At the Full Payment Date, MBIA and the Zohar III Noteholders shall have no direct
                      or indirect claim against, or interest or participation in the Zohar Funds or the
                      Group A Portfolio Companies; provided, however, that the resolution of any
                      dispute regarding the escrow referenced in footnote 1 shall not be barred as of the
                      Full Payment Date by the provisions of this paragraph.

                  14. The 225 Action remains subject to the stay subject to satisfaction of the 15 Month
                      Window. The Status Quo Orders entered in the 225 Action are held in abeyance
                      and shall have no effect during the 15 Month Window or 18 Month Extended
                      Window with respect to the Monetization Process involving any Group A Portfolio
                      Company.

                  15. MBIA and Zohar III shall form a Zohar Fund creditors committee (the
                      "Committee") to oversee and monitor the Zohar bankruptcy. The CRO shall
                      provide the Committee members with all information necessary to assess and
                      represent the interests of the Other Stakeholders other than information whose
                      distribution is reasonably limited at the request of investment bankers or potential
                      buyers. The committee shall be comprised of 3 representatives. The members and
                      their respective advisors shall execute standard NDAs consistent with the practice
                      in the District of Delaware. The reasonable fees and expenses of the Committee
                      and its advisors shall be set forth in a budget to be approved by the CRO and shall
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                     be paid by the estates._ All other litigation, motions and contested matters between
                     any of the parties other than the 225 Action as discussed above, shall be stayed,
                     with appropriate protections so there is no prejudice to any parties. Except as
                     specifically set forth herein, no other litigation, motions, and/or contested matters
                     may be re-initiated or brought (directly or indirectly) by (a) any Other
                     Stakeholders, (b) the Debtors, (c) the New Agent, (d) the Group A Portfolio
                     Companies, (e) the Group B Portfolio Companies, and (t) any Collateral Manager,
                     seeking any relief against the Patriarch Stakeholders (and their respective officers,
                     directors, employees, affiliates and agents), or any of the Group A or Group B
                     Portfolio Companies.

                     For the avoidance of doubt, with respect to any of the entities identified in
                     paragraph 15: (1) (a) any litigation, claim, motion, or contested matter that was or
                     could have been brought prior to the date hereof, and (b) any litigation, claim,
                     motion, or contested matter that could be brought after the date hereof arising from
                     any facts, acts, or omissions that first arose prior to the date hereof, shall be stayed
                     during the 15-Month Window, with appropriate protections so there is no prejudice
                     to any party and; (2) any other litigation, claim, motion, or contested matter not
                     referenced in paragraph 15(1) shall only be brought subject to the provisions of
                     paragraphs 17 and 23, and no other litigation, claim, motion, or contested matter
                     that does not fall within paragraph 17 and 23 shall be brought by any such entity
                     against any other such entity during the I S-Month Window.

                  16. AMZM and any of its affiliates (collectively, "AMZM") shall not be a member of
                      or advisor to the Committee, and, except herein, AMZM shall not be paid or
                      reimbursed by the estates or the Portfolio Companies for any fees or expenses with
                      respect to the Monetization Process or any other purpose; provided, however, that
                      (a) AMZM shall be terminated as Collateral Manager, and MBIA and the Zohar III
                      Noteholders shall designate a new Collateral Manager who has no claim against the
                      Debtors, and the Collateral Management Agreement shall be amended in a manner
                      to reflect the settlement herein and (b) all parties reserve their rights with respect to
                      any AMZM fees and expenses incurred prior to the date hereof. Subject to the
                      approval of the CRO, AMZM may be reimbursed for reasonable transition costs
                      solely incurred in the transmitting of information to the new collateral manager.
                      [TBD: Side agreement b/w cro and CM ensuring reasonable fees which will be
                      escrowed to escrow CM fees due under the indenture ]

                  17. The Debtors shall promptly negotiate with the secured parties funding of the
                      Debtors' Chapter 11 cases from the use of the secured parties' cash collateral. In
                      order to facilitate this negotiation, the Zohar Funds will provide customary
                      bankruptcy case budgets, including anticipated sources and uses of cash (including
                      payments from the Group A Portfolio Companies). It is understood and agreed the
                      Zohar Funds shall not utilize any cash they are holding pending an agreed order. In
                      the event of any dispute among the parties with respect to use of cash collateral, in
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                       the first instance such dispute shall be referred to the Mediator. If the Mediator
                       cannot resolve that dispute, the parties will jointly seek an order of the Bankruptcy
                       Court resolving that dispute.

                    18. Any (A) claim asse1ied by the Patriarch Stakeholders that is supported by written
                       documentation showing the claim (a) was funded to a Group A Portfolio Company
                       by a Patriarch Stakeholder (in the case of funded debt claim), or (b) represents a fee
                       or other claim arising from a deferral of payment or any management and/or
                       administrative fee owed to a Patriarch Stakeholder3 and (B) equity interest asserted
                       by the Patriarch Stakeholders is supported by written documentation, then such
                       claim and equity interest, as applicable, shall be deemed due and payable through
                       the closing of any monetization event on a pari passu basis with other similarly
                       situated claims and equity unless the applicable credit agreement provides
                       otherwise.4 In connection with any such closing, the Patriarch Stakeholders will
                       release any liens that secure any of the foregoing non-challenged claims on a pari
                       passu basis with liens on the same collateral held by the Other Stakeholders. All
                       parties' respective rights to challenge the propriety of any of the foregoing claims
                       or equity interests are tolled without prejudice until the expiration of the 18 Month
                       Window (provided the Full Payment Date does not occur on or before such date),
                       but no such claim shall be brought during the 18 Month Window or used to block
                       the closing of any pending transaction in the Monetization Process. The Patriarch
                       Stakeholders will promptly provide any information reasonably requested by the
                       CRO to verify the existence of the funding and documentation described above
                       (provided that the CRO may share the foregoing information with Other
                       Stakeholders (subject to the execution of an NDA approved by the Mediator) as
                       required in the CRO's reasonable discretion. With respect to the claims in (A)
                       above, the payments to the Patriarch Stakeholders that shall be made without
                       further analysis or challenge shall be capped at $250 million, with any amounts in
                       excess to be held in escrow until Full Payment Date. Tilton represents that none of
                       the claims in (A) currently prime the secured claims of the Other Stakeholders in
                       the Group A Portfolio Companies, other than ABLs in
                       -· Nothing herein is intended to or shall elevate or modify the existing
                       priority of any claims or liens.

                    1 9. All causes of action among the Debtors, Other Stakeholders and Patriarch
                       Stakeholders (including any of their affiliates or agents) with respect to the
                       Debtors, the Group A Portfolio Companies and the Group B Portfolio Companies

                   3
                      Management and/or administrative fees as noted here are defined in a separate
                agreement entered between the parties concurrent with this agreement.
                   4
                       Tilton to provide a good faith estimate on company by company basis for each of
                the Group A Portfolio Companies on an aggregate basis, in each case reflecting the
                aggregate amount she expects will be covered by this paragraph 17.
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                        shall be tolled during the 1 5 Month Window or, if qualified, for the 18 Month
                        Extended Window, and all parties' respective rights shall be reserved with respect
                        thereto, including with respect to venue and jurisdiction.

                     20. Tilton represents that the Group A Portfolio Companies and the Group B Portfolio
                         Companies will be operated in the ordinary course of business during the 15 Month
                         Window. During the 15 Month Window, the Group A Portfolio Companies and the
                         Group B Portfolio Companies shall not declare dividends but shall be authorized to
                         (b) (i) enter into financing transactions with affiliates on market terms, subject to
                         first consulting with the CRO or (ii) issue new equity that will dilute the existing
                         equity holdings on market terms, subject to first consulting with the CRO;
                         provided, however, that if the CRO objects to the financing or equity described in
                         the foregoing subparagraphs (b)(i) and (ii), the CRO may take that dispute to the
                         Mediator for final resolution. Notwithstanding the foregoing, the Group A Portfolio
                         Companies and the Group B Portfolio Companies can distribute payments as
                         designated by the Designated Tax Director for the payment of their state and
                         federal income taxes.

                     21. The Group A Portfolio Companies shall share with employees of MBIA (who sign
                         NDAs as described in Paragraph 15 herein) financial statements and backup
                         reasonably requested in writing by MBIA. Any information provided to MBIA
                         shall only be shared in the following way: someone employed by MBIA can view
                         the documents in the New York offices of Gibson Dunn but may not take copies or
                         pictures of any documents or share any information in those documents, except
                         with the CRO. In the event of any dispute among the parties with respect to the
                         reasonableness of that request, such dispute shall be finally decided by the
                         Mediator.

                     22. While any dispute is before the Mediator, no pai1y to such dispute shall take any
                         action in Bankruptcy Court.

                     23. If any party materially breaches this Agreement, the dispute shall be in the first
                         instance determined by the Mediator on a confidential basis. The Mediator shall
                        have all remedies available to him. If the Mediator cannot resolve the dispute, the
                        Mediator shall make a report and recommendation to the Bankrnptcy Court and the
                        parties shall jointly seek an order of the Bankruptcy Court resolving such dispute.
                        In connection with the foregoing, the Mediator shall determine to what extent
                        information should be filed under seal, subject to the order of the Bankruptcy Court
                        approving such filing under seal. The paiiies agree that for purposes of any
                        decision of the Bankruptcy Court dealing with any matter covered by this
                        paragraph, the Agreement is non-severable under all circumstances.

                     24. Any application by any party for assistance from the Mediator shall be brought
                         within seven (7) days of identifying the dispute to the other party or parties
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                      involved in the dispute, and heard at the Mediator's earliest availability. Any
                      application shall be in writing and served by email on the other parties.

                   25. Upon the expiration of the 15 Month Window, the Independent Director/CRO may
                       take all necessary and appropriate action in the best interests of the Zohar Funds
                       without any restriction herein or otherwise, including, but not limited to, seeking
                       relief from the Bankruptcy Court to lift the automatic stay, taking action to remove
                       Tilton as a director or manager of the Group A Portfolio Companies or the Group B
                       Portfolio Companies, or dismissing or converting the cases to chapter 7 cases.
                       Upon the expiration of the 15 Month Window, all parties to the chapter 11 cases
                       shall have and may exercise any and all rights available under applicable law.

                   26. The parties (other thn U.S. Bank) shall issue the joint press release as set forth in
                       Exhibit F stating that the parties will work in a mutually cooperative process in
                       support of the Monetization Process (and no other press release). If the parties
                       cannot jointly agree, then the Mediator shall resolve any disputes. The parties shall
                       also agree to standard non-disparagement terms.

                   27. The Bankruptcy Court shall retain jurisdiction to enforce the terms of this
                      agreement and all parties agree to submit to the jurisdiction of the Bankruptcy
                      Court for resolution of any matter in connection with this agreement or the
                       enforcement thereof; provided, however, that no party shall be deemed to consent
                      to venue or jurisdiction before the Bankruptcy Court for any matter not in
                       connection with this agreement or the enforcement thereof.

                   28. The parties will work with the indenture trustee under the Zohar indentures to
                       satisfy the requirements of the indentures with respect to the implementation of this
                       Agreement. Any such dispute related to satisfaction of such requirements shall be,
                       in the first instance, referred to the Mediator. If the Mediator cannot resolve that
                       dispute, the parties will jointly seek an order of the Bankruptcy Court resolving that
                       dispute ..

                   29. For the avoidance of doubt, if each ofMBIA and the Zohar III Claims receive 50%
                       of the Paid in Full amount within the 15 Month Window, the 15 Month Window
                       shall be herein shall be replaced with the term 18 Month Extended Window for all
                       purposes.

                   30. The foregoing terms shall be memorialized in a confidential stipulation filed under
                       seal and entry of an order by Judge Sontchi, on terms and conditions satisfactory to
                       the parties. The order shall provide, among other provisions, that this Agreement
                       and the order shall be binding on all parties and their successors and assigns.


                      [INSERT SIGNATURE BLOCKS]
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                                            EXH IBIT A




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ZOHAR I
                                                                                                              Indenture § 11.l(a)(i)(G), 11-l(a)(ii)(B);
Amounts paid on Nov. 20,. 2015 under the Policy                                                   148,951,585 Insurance Agreement (definition of Accrued Insurance Liabilities)




Interest (Prime + 2%), as of April 18, 2018                                                         8,249,532 Insurance Agreement § 4.03

SUBTOTAL                                                                                          157,201,117




                                                                                                                                                                                                                                                       Case 18-10512-CSS
Credit Enhancement Liabilities incurred in connection with MBIA's administration,                             Indenture § lLl(a)(i}(G), 11.l(a}(ll){B);
enforcement, defense or preservation of rights under the Transaction Documents•                     7,718,876 Insurance Agreement (definition of Accrued Insurance liabilities)
            Legal fees/expenses                                                     7,531,990

            Financial, investment and non-legal advisors                            186,886
TOTAL ZOHAR I CLAIM                                                                              164,919,993*


�
                                                                                                              Indenture § 11.l(a)(i}(G), 11.l(a){ii}(B};
1/20/2017 Policy Payment                                                                          770,109,326 Insurance Agreement {definition of Accrued Insurance Liabilities)



Interest (Prime + 2%), as of April 18, 2018                                                        27,080,207 Insurance Agreement § 4.03




                                                                                                                                                                                                                                                       Doc 266-1
SUBTOTAL                                                                                          797,189,533

Credit Enhancement Liabilities incurred in connection with MBIA's administration,                             Indenture § 11.l(a)(i)(G}, 11.l(a){ii)(B);
enforcement, defense or preservation of rights under the Transaction Documents•                    14,851,685 Insurance Agreement (definition of Accrued Insurance liabilities)
           Legal fees/expenses                                                      10,641,048

         Financial, investment and non-legal advisors                               4,210,637
TOTAL ZOHAR II CLAIM                                                                             812,041,218*




                                                                                                                                                                                                                                                       Filed 05/21/18
ZOHAR PAID IN FULL AMOUNT                                                                        $976,961,211 ·1•Assumptions:
                                                                                                                   All amounts are "as or' April 18, 2018 and will change pending Full Payment Date, including to reflect interest accrued and other
                                                                                                                   Credit Enhancement Liabilities which MBIA has not yet paid
                                                                                                                   Portfolio Company Zohar I loan interest payments will continue to be paid directly to MBIA
                                                                                                                   Zahar II claim amount does not reflect Portfolio Company loan interest payments which MBIA is entitled to receive, but have not
                                                                                                                   yet been distributed to MBIA.


                                                                                                                    MBIA is not seekin_L reimbl!��ent for co�, expen�_or interest �yme1:1ts _!n�de !.� connection with MZ FuEding loan




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                                                                                   EXHIBIT A
                                                                               [ZOHAR III CLAIMS]

             Disclaimer: The Zohar III Claims as forth in this Exhibit A have not been verified by the Collateral Manager since January 20 1 6 as requ ired by
             the Indentures and Management Agreement, and therefore, U.S. Bank makes no representation as to accuracy of the Zohar III Claims as set forth
             below, which claims and interest accruals may be modified or otherwise revised or verified when the new Collateral Manager is designated in
             accordance with the Mediation Term Sheet. Once the Collateral Manager is appointed, that person or entity, after consultation with U.S. Bank, will
             be responsible for updating the amounts herein to reflect unpaid principal. accrued and unpaid interest, and other fees, expenses, and other amounts
             allowable under the Indentures. Notwithstanding anything to the contrary in this Exhibit A or in the Mediation Term Sheet, nothing shall mod ify,
             alter, or otherwise change the Priority of Payments set forth in the Indentures, and U S. Bank's rights, remedies, and objections to any such
             modification, alteration, or other change thereto are folly reserved . Capital ized terms used but 1101 otherwise defined herein have the meanings
             ascribed to them in the Mediation Tenn Sheet to which this Exhibit A is attached or in the Indentures.



             The following does not include interest accruing after 5/ 1 8/ 1 8, The following schedule excludes certain categories
             and amounts that must be paid prior to principal and interest owing to the Holders of the notes, including, without
             limitation, certain fees, expenses, reserves, and other amounts, which are set forth in the Priority of Payments of each
             Indenture (that have accrued or may accrue in the future):



Issue Name         Issue Date ,Maturity Date . issue Amount        Original Par Amount Current Balance        Prepetition Accrued Interest•• Addt'I Accrued Interest Thru 5/18/18*.. Ending Balance
Class A·lR           4/11/2007    4/15/2019 $ 200,000,000.00 $           200,000,000.00     $ 135,767,116.30 $                    686,522.34    $                            586,182.09 $ 137,039,820. 1 3
                                                               ·
Class A-lT         . 4/11/2007 . 4/1S/20i9 fls0,000,000.00 . $           150,000,000.00   · $ 101,825,337.23 , $                  509,743.92   ·$                            436,203.28J  102,771,284.13
Class A-10           4/11/2001 ·· 4/15/ioig:f 350,000,000.()() i    s    350,000,000.00    s  231,s92,453.54 , s                1,1s9,402.47   s                           1,011,so1.66 s 239,799,663. ,1
Class A-2            4/11/2007    4/15/2019 $ 200,000,000.00 $           200,000,000.00     $ 200,000,000.00 $                  1,087,156.78   $                             914,108.70 $ 202,001,265. 18
Class A-3            4/11/2007    4/15/2019 $ 116,000,000.00 $           116,000,000.00     $ 116,000,000.00 · $                  689,195.38   $                             569,346.03 $ 117,258,541. 11

*'This is the accrued interest that wasn't paid because of the $4,637,241.39 deposit of interest outside the collection account before the petition date
'"The "Addt'l Accrued Interest Thru 5/18/18" column capitalizes the "Prepetition Accrued Interest" into the Current Balance and then Accrues Interest Thereon through 5/18/18




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                                                          EXH IBIT B



                 Exhibit B: Patriarch Stakeholders

                 • Ark Entities (including Ark Angels, LLC; Ark Angels I I , LLC; Ark Angels I l l , LLC; Ark
                 Angels VIII, LLC; Ark Investment Pattners I I , LP; Ark I I CLO 200 1 - 1 , Ltd.)
                 • LO Investments, LLC
                 • Lynn Tilton
                 • Octaluna LLC Entities (including Octaluna LLC; Octaluna II, LLC; Octaluna III, LLC)
                 • Patriarch Partners Entities (including Patriarch Partners, LLC; Patriarch Partners VIII, LLC;
                 Patriarch Partners, XIV, LLC; Patriarch Partners XV, LLC)
                 • Patriarch Partners Management Group, LLC (PPMG)
                 • Patriarch Partners Agency Services, LLC (PPAS)
                 • Zohar Holdings, LLC




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                                                 EXH I BIT C


                                       Group A Portfolio Companies

                                                [REDACTED]




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                                             EXHIBIT D

                                    Group B Portfolio Companies


                                            [REDACTED]




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                                              EXH I BIT E

                                           [To be provided]




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                                                             EXHIBIT F


                         The Zohar Funds, Lynn Tilton, MBIA, and the Zohar Ill Noteholders
                                              Announce Resolution to
                               Stay Litigation, Refinance and Monetize Zohar Assets

                    NEW YORK - April [XX], 2018 -Zohar CDO 2003-1, Zohar CDO 2003- 1 Corp., Zohar II
                    2005-1,   Limited, Zohar II 2005-1 Corp., Zohar III, Limited, and Zohar III, Corp.
                    (collectively, the "Zohar Funds''), Lynn Tilton, MBIA Insurance Corporation, a wholly owned
                    subsidiary of MBIA Inc. (NYSE: MBI), and the Zohar III Controlling Class of Noteholders
                    jointly announce today that the parties have mutually resolved the motions pending in
                    federal Bankruptcy Court in the District of Delaware relating to the Zohar Funds, and have
                    agreed to a deal that will include a stay of all pending litigation between the parties. This
                    agreement is intended to facilitate the refinancing and monetization of assets of the Zohar
                    Funds to the benefit of all stakeholders, and the parties have agreed to work in a mutually
                    cooperative process in support of such refinancing and monetization.
                    As part of the agreement, an Independent Director will be appointed to govern the Zohar
                    Funds, along with a Chief Restructuring Officer, who together with Ms. Tilton as director
                    and manager of each Portfolio Company, will jointly implement the refinancing and
                    monetization process. During the process, Ms. Tilton will remain in her current roles at the
                    Portfolio Companies, all litigation between the parties will be stayed for a minimum of 15
                    months, and the bankruptcy cases will proceed without the appointment of a Trustee.
                    Ms. Tilton stated, "This agreement is a meaningful and important step towards allowing the
                    Zohar Funds to monetize and refinance their assets in order to pay off all creditor claims in
                    full. It is in the best interest of all stakeholders that we lay down our swords and stop the
                    years of damaging litigation in order to maximize value for all of the Funds' stakeholders. f
                                                                                                                 l




                    Anthony McKiernan, Chairman of MBIA Insurance Corporation, stated that "MBIA is
                    pleased that the parties have been able to come to a consensual agreement that will put in
                    place a process to enable MBIA to recover on the significant amounts it has paid its
                    policyholders.f
                                   l




                    Marc Kirschner of Goldin Associates, Chief Restructuring Officer of the Zohar Funds, added,
                    "The resolution of the hotly contested litigation in the bankruptcy cases is in the best
                    interests of the Zohar Funds and their stakeholders as it will pave the way for the Zohar
                    Funds to maximize the value of their assets for the benefit of all. The mediated result was
                    the culmination of significant negotiations and the Zohar Funds are deeply appreciative of
                    the efforts of the mediator, Judge Kevin Gross, for facilitating a settlement of the pending
                    matters, which was no simple task.  fl




                    Today's agreement will have no immediate effect on the operations of the Portfolio
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                Companies to whom the Zohar Funds have made senior secured loans. The Portfolio
                Companies will continue to operate their businesses in the ordinary course as they are not
                parties to these bankruptcy cases.




                MEDIA CONTACTS:

                FOR LYNN TILTON
                Brunswick Group
                Alex Yankus
                212-333-3810
                ayankus@brunswiclsg_r.9. ug.c.9_rn


                MBIA
                Greg Diamond , 91 4-765-31 90
                Investor and Media Relations
                greg. d i amond@mbia.com




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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                               )
                                                               )
         In re:                                                )    Chapter 11
                                                               )
         Zohar III, Corp., et al.,1                            )    Case No. 18-10512 (KBO)
                                                               )
         Debtors.                                              )    Jointly Administered
                                                               )    Docket Ref. No. 545
                                                               )    Hearing Date: September 11, 2019 at 2:00 p.m.
                                                               )    (ET)
                                                               )    Obj. Deadline: September 5, 2019 at 4:00 p.m.
                                                                    (ET)


             NOTICE OF BINDING PORTFOLIO COMPANY TRANSACTION PURSUANT TO
                      PORTFOLIO COMPANY TRANSACTION PROCEDURES

                  PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession

         (collectively, the “Debtors”), pursuant to the Order in Aid of Implementation of the

         Global Settlement Agreement Approved in These Cases Establishing Certain Procedures for the

         Independent Director’s Approval of Monetization Transactions and Related Relief [Docket

         No. 545]      (the     “Procedures        Order”),        intend    to     consummate         the     transaction

         (the “Oasis Transaction”) described herein. The Oasis Transaction is not subject to higher and/or

         better offers or a bankruptcy auction process. This Notice is being provided in accordance with,

         and sets forth the information required under, the Procedures Order.

                  1.      Material Economic Terms and Conditions of the Proposed Oasis Transaction.

         The Oasis Transaction contains the following material terms:2

         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as
         follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III,
         Limited (9261) (“Zohar III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited (5119)
         (“Zohar I,” and together with Zohar III and Zohar II, the “Sellers”)). The Debtors' address is 3 Times Square, c/o
         FTI Consulting, Inc., New York, NY 10036.
         2
           The Notice provides a summary of the material terms of the EPA only; in the event of a conflict between the terms
         of the EPA and the Notice, the terms of the EPA shall govern. A copy of the EPA will be submitted to the Court for
         in camera review.

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                      •    Culligan International Company (“Buyer”) has entered into an Equity Purchase
                           Agreement (“EPA”) for the acquisition of 100% of the limited liability company
                           membership interests in LVD Acquisition, LLC (“LVD” and such interest the
                           “LVD Interests”) from the Sellers.

                      •    Through the Oasis Transaction, the Indebtedness (as defined in the EPA) of LVD
                           and its Subsidiaries (as defined in the EPA) specified in the EPA, including under
                           the Zohar Secured Debt Facility (as defined below), and all Seller Transaction
                           Expenses will be paid from the purchase price as set forth in the EPA.

                      •    Subject to certain working capital adjustments, closing cash reconciliation, post-
                           closing expenses of the Seller Representative (as defined below), and ultimate
                           distributions from an escrow set up under the EPA as a holdback related to certain
                           indemnification provisions, the Debtors contemplate that the Sellers will receive
                           approximately $63 million to $73 million from the Oasis Transaction.

                      •    Buyer shall acquire the LVD Interests free and clear of all Encumbrances3 and
                           other interests of any kind, including, without any limitation, free and clear of all
                           Encumbrances and other interests of any kind under that certain Credit
                           Agreement, effective as of June 1, 2009, among LVD and the other borrower
                           signatory thereto, the guarantors from time to time party thereto, the financial
                           institutions and other investors from time to time party thereto as Lenders, and
                           Patriarch Partners Agency Services, LLC, a Delaware limited liability company,
                           as agent for such Lenders (the “Zohar Secured Debt Facility”).

                      •    With the consent of the Patriarch Stakeholders and the Other Stakeholders,
                           pursuant to the Proposed Transaction Order (as defined below), the sale of the
                           LVD Interests will be free and clear of any liens, claims and encumbrances that
                           could be asserted by any of the Patriarch Stakeholders and the Other
                           Stakeholders, provided that any and all such liens, claims and encumbrances
                           attach to the proceeds from the Oasis Transaction with the same validity and
                           priority as those being released, and all such proceeds shall be delivered to the
                           Debtors at closing.

                      •    The EPA contains the following release:

                           Effective as of the Closing Date and upon Buyer’s payment of the Agreed Upon
                           Payoff Amounts and satisfaction of the Closing Conditions, Sellers and, in each
                           case, each of their respective estates, representatives, partners, members,
                           Affiliates, controlling persons, successors and assigns (the “Seller Releasing
                           Parties”), hereby waive, release, and forever discharge, without any further
                           consideration or additional documentation, any and all claims, liabilities, interests,
                           and actions that any of the Seller Releasing Parties currently has or, in the future

         3
           “Encumbrances” means “any mortgage, pledge, assessment, security interest, lien, adverse claim, levy, charge,
         option, right of first refusal, voting agreement, charge, debenture, indenture, deed of trust, easement, right-of-way,
         restriction, encroachment, license, servitude, concession, security agreement or other encumbrance of any kind or
         nature.”
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                         may have, against the Company and its Subsidiaries and Buyer based on, in
                         relation to, or arising from, in whole or in part, (a) Indebtedness owed by the
                         Company or any of its Subsidiaries to Sellers, (b) the Interests, (c) the ownership,
                         management, or operation of the Company and its Subsidiaries, in each case, prior
                         to or on the Closing Date, and/or (d) the assets and properties of the Company and
                         its Subsidiaries; provided, however, that no release or discharge is granted by the
                         Seller Releasing Parties arising out of the obligations of Buyer and rights of
                         Sellers pursuant to this Agreement, including with respect to any matters entitled
                         to indemnification under this Agreement.

                     •   The Proposed Transaction Order (defined below) contains the following release:

                         Lynn Tilton, as Co-Seller Representative, shall have no liability to the Debtors or
                         any other party for any claims or arising solely from any actions related to her
                         role as Co-Seller Representative, including, without limitation, actions taken by
                         any other Co-Seller Representative, except to the extent such liability arises from
                         or is related to Lynn Tilton’s own bad faith or willful misconduct.

                     •   The Debtors shall take any and all actions necessary to secure the secure dismissal
                         with prejudice of the action styled Zohar CDO 20003-1, Limited v. Croscill Home
                         LLC as against the LVD before the United States District Court for the District of
                         Delaware.

                     •   Upon closing of the Oasis Transaction but subject to receipt of payment of the
                         outstanding amounts owing under the Zohar Secured Debt Facility pursuant to the
                         EPA, Ankura Trust Company, LLC and (to the extent necessary) Patriarch
                         Partners Agency Services, LLC acting as, respectively, current and predecessor
                         administrative and collateral agents for the Debtors, (a) shall be directed to take
                         all actions necessary or appropriate to terminate, cancel and release all
                         Encumbrances and other interests of any kind on the LVD Interests, if any, and on
                         the Assets and Properties of LVD and its Subsidiaries, in each case arising under
                         or related to the Zohar Secured Debt Facility, and (b) shall cancel and terminate
                         the Zohar Secured Debt Facility and any mortgage, deed of trust, security interest,
                         pledge, UCC filing, or other filing or document related to perfection of the
                         Encumbrances under the Zohar Secured Debt Facility for LVD and its
                         Subsidiaries upon closing of the transactions contemplated in the EPA.

                2.       Transaction Declaration.     Attached hereto as Exhibit A is the declaration

         (the “Transaction Declaration”) by Robert S. Kost, the Debtors’ chief monetization officer

         (the “CMO”).

                3.       Proposed Transaction Order. Attached hereto as Exhibit B is a proposed order

         approving the Oasis Transaction (the “Proposed Transaction Order”).


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                4.      Procedures for Objecting to the Proposed Oasis Transaction. Any objection to the

         proposed Oasis Transaction (an “Objection”) must: (a) be in writing; (b) state with specificity the

         nature of the objection; and (c) be filed with the Bankruptcy Court and served on (i) the Debtors,

         3 Times Square, c/o FTI Consulting, Inc., New York, NY 10036 (Attn: Michael Katzenstein,

         mike.katzenstein@fticonsulting.com); (ii) counsel to the Debtors, Young Conaway Stargatt &

         Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, DE 19801 (Attn: Michael R.

         Nestor and Joseph M. Barry, mnestor@ycst.com, jbarry@ycst.com); (iii) counsel to the Patriarch

         Entities, Gibson, Dunn & Crutcher LLP, 333 South Grand Avenue, Los Angeles, CA 90071

         (Attn: Robert A. Klyman, rklyman@gibsondunn.com) and Cole Schotz P.C., 500 Delaware

         Avenue,     Suite   1410,     Wilmington,     DE     19801     (Attn:    Norman     L.    Pernick,

         npernick@coleschotz.com); (iv) counsel to U.S. Bank, as indenture trustee, Alston & Bird LLP,

         90 Park Avenue, New York, NY 10016 (Attn: John W. Weiss, john.weiss@alston.com); (v)

         counsel to MBIA Insurance Corp., Cadwalader, Wickersham & Taft, LLP, 200 Liberty Street,

         New York, NY 10281 (Attn: Gregory M. Petrick, gregory.petrick@cwt.com) and Pachulski

         Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE

         19899-8705 (Courier 19801) (Attn: Laura Davis Jones, ljones@pszjlaw.com); (vi) counsel to the

         Zohar III Controlling Class, Arnold & Porter Kaye Scholer LLP, 70 West Madison Street, Suite

         4200, Chicago, IL 60602-4321 (Attn: Brian J. Lohan, brian.lohan@arnoldporter.com) and

         Womble Bond Dickinson (US) LLP, 222 Delaware Avenue, Suite 1501, Wilmington, DE 19801

         (Attn: Matthew P. Ward, matthew.ward@wbd-us.com); (vii) the Office of the United States

         Trustee for the District of Delaware, 855 King Street, Suite 2207, Lockbox 35, Wilmington, DE

         19801 (Attn: Juliet M. Sarkessian, Juliet.m.sarkessian@usdoj.gov); (viii) Counsel for LVD

         Acquisition, Proskauer Rose LLP, Eleven Times Square, New York, NY 10036 (Attn: Daniel

         Ganitsky, DGanitsky@proskauer.com); and (ix) Counsel for the Buyer, Weil, Gotshal & Manges

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         LLP, 767 Fifth Avenue, New York, NY 10153 (Attn: Ramona Y. Nee and Debora A. Hoehne,

         ramona.nee@weil.com, debora.hoehne@weil.com) (collectively, the “Notice Parties”) on or

         before 4:00 p.m. (ET) on September 5, 2019 (the “Objection Deadline”).

                5.      Hearing to Consider the Proposed Oasis Transaction. If any Objections are filed

         and served, as outlined above, a hearing to consider such transaction shall be held before the

         Court on September 11, 2019, at 2:00 p.m. (ET) (a “Hearing”). If no Objections are filed with

         the Court and served on the Notice Parties by the Objection Deadline in accordance with the

         terms of the Procedures Order, then the Court may enter the Proposed Transaction Order without

         further notice or a hearing.

         Dated: August 26, 2019
                Wilmington, Delaware

                                                 YOUNG CONAWAY STARGATT & TAYLOR, LLP


                                                 /s/ Joseph Barry
                                                 James L. Patton, Jr. (No. 2202)
                                                 Robert S. Brady (No. 2847)
                                                 Michael R. Nestor (No. 3526)
                                                 Joseph M. Barry (No. 4221)
                                                 Ryan M. Bartley (No. 4985)
                                                 Shane M. Reil (No. 6195)
                                                 Rodney Square
                                                 1000 North King Street
                                                 Wilmington, Delaware 19801
                                                 Telephone: (302) 571-6600
                                                 Facsimile: (302) 571-1253

                                                 Counsel to the Debtors and Debtors in Possession




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                                           EXHIBIT A

                                     Transaction Declaration




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                     )
         In re:                                                      )   Chapter 11
                                                                     )
         Zohar III, Corp., et al.,1                                  )   Case No. 18-10512 (KBO)
                                                                     )
                                              Debtors.               )   Jointly Administered
                                                                     )

                       DECLARATION OF ROBERT S. KOST IN SUPPORT OF ORDER
                             AUTHORIZING THE OASIS TRANSACTION

                           I, ROBERT S. KOST, hereby declare under penalty of perjury, pursuant to 28

         U.S.C. § 1746, as follows:

                           1.       I am the Chief Monetization Officer (“CMO”) of each of the above-

         captioned debtors and debtors in possession (each a “Debtor”). I was appointed as CMO effective

         as of May 21, 2018. I support Michael J. Katzenstein in his capacity as Chief Restructuring

         Officer (“CRO”) of the Debtors with respect to the monetization of the Debtors’ assets.

                           2.       I have over thirty years of experience as an investment banker. I hold a

         Bachelor of Arts degree in Economics from the University of Michigan and a Master of Business

         Administration degree in Finance from Duke University. I have been employed as a Managing

         Director of Goldin Associates, LLC and Goldin Capital Advisors, LLC (together, “Goldin”) since

         2015. At Goldin, I head the firm’s transaction advisory services group. I am a Registered

         Representative and hold Series 7, 24, and 63 licenses issued by the Financial Industry Regulatory

         Authority (FINRA). Prior to joining Goldin, I held Partner, Managing Director, or Director

         positions at several investment banks in groups that focused on restructuring advisory and


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           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar
         II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI
         Consulting, Inc., New York, NY 10036.
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         distressed mergers & acquisitions. I have advised companies and their boards in connection with

         the sale of companies, debt financings, and have advised companies, lenders, and other creditors in

         complex restructuring transactions. In my more than 30 years of experience, I have participated as

         an advisor in hundreds of transactions and have testified numerous times on matters related to

         investment banking and corporate finance, as both a fact and expert witness.

                        3.      I submit this declaration (the “Declaration”) in support of the Order

         Approving Consummation of Oasis Portfolio Company Transaction (the “Proposed Transaction

         Order”), submitted by the Debtors pursuant to that certain Notice of Binding Portfolio Company

         Transaction Pursuant to Portfolio Company Transaction Procedures (the “Transaction Notice”)

         to which this Declaration has been annexed. I submit this Declaration with the understanding that

         it is being presented to the Court for purposes of confirming the Independent Director’s authority

         to exercise any and all of the Debtors’ rights in connection with the authorization, approval, and

         closing of the proposed Oasis Transaction (as defined in the Transaction Notice) on behalf of the

         Debtors, and that the proposed transaction is not under any circumstances subject to higher and/or

         better offers or a bankruptcy auction process.

                        4.      In my current capacity and involvement with the Debtors, I have become

         familiar with the Debtors’ interest in LVD Acquisition, LLC and its subsidiaries (collectively,

         “Oasis”) and generally familiar with Oasis’s operations, business and financial affairs. If called

         upon to testify, I could and would testify competently to the facts set forth herein.

                        5.      Except as otherwise stated, all facts contained within this Declaration are

         based upon my personal knowledge, my experience with and knowledge of the Debtors and Oasis,

         my discussions and interactions with Lynn Tilton and representatives of Raymond James &




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         Associates, Inc. (“Raymond James”), Oasis’s investment bankers, and investment banking

         generally.

                        6.      Beginning in April, 2018, I met and spoke with Ms. Tilton on several

         occasions to discuss, among other topics, the process to market and sell Oasis. Ms. Tilton is

         manager of LVD Acquisition, LLC and, at that time, was the sole director of the Debtors. During

         this time, I also discussed with Ms. Tilton the investment banking firms she had interviewed to

         conduct the sale process for Oasis, and her decision to retain Raymond James to advise Oasis in

         connection with a potential sale. Raymond James was retained pursuant to an engagement letter

         dated June 1, 2018. I was familiar with Raymond James and one of the bankers on the team, and

         based on my discussions with Ms. Tilton regarding the selection process and underlying rationale,

         I was supportive of the selection of Raymond James and believed that the firm could competently

         lead the Oasis sale process.

                        7.      I began regular contact with members of the Raymond James team, both

         telephonically and by email, starting in mid-June as they began to prepare the marketing materials

         for the Oasis sale process. Throughout the Oasis sale process, I was generally in regular contact

         with members of the Raymond James team, although the frequency of that contact increased or

         decreased depending on the relative activity of the Oasis sale process. Throughout the Oasis sale

         process, I had open access to members of the Raymond James team, and they were responsive and

         forthcoming to my requests for information and input that I relayed to them on the Debtors’ behalf.

                        8.      I also conferred with Ms. Tilton, both telephonically and in-person, on a

         periodic basis during the Oasis sale process. In addition, we conducted an in-person meeting and

         held several calls with Raymond James and with Debtors’ Independent Director (Joseph J. Farnan,

         Jr.) and Chief Restructuring Officer (Mike Katzenstein) to review the sale process. The Debtors


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         were able to discuss and review with Ms. Tilton her perspectives on Oasis’s business and sale

         process and were able to provide her with the Debtors’ perspectives on the same.

                        9.     As CMO, I provided updates to Mr. Farnan, the CRO and the Debtors’

         advisors at weekly board meetings. These discussions included an update on the status of the

         Oasis sale process. In more recent weeks, these updates have been supplemented by counsel with

         respect to the discussions surrounding the status of legal diligence and definitive documentation of

         the Oasis Transaction.   In addition, I met weekly, and often daily, with the CRO, his team, and

         counsel to discuss the status of the monetization process, including the Oasis sale process. Where

         circumstances warranted it, I would meet with the Independent Director, CRO, and counsel on an

         ad hoc basis when matters required attention on a more urgent timeframe than our regularly

         scheduled meetings allowed. Through these discussions, the Independent Director, CRO, and

         counsel to the Debtors were kept updated on the Oasis sale process.

                        10.    Among other preparations for the launch of the Oasis sale process, the

         Raymond James team worked with Oasis’s management and (i) prepared a confidential

         information memorandum (the “CIM”) and financial operating model, (ii) prepared a virtual data

         room for potential buyers, (iii) provide access to a financial due diligence report (“Quality of

         Earnings Report”), (iv) held management meetings with the potential buyers, and (v) updated

         Ms. Tilton and the Debtors throughout the process.

                        11.    The Oasis sale process was launched on October 28, 2018. During this

         stage, members of the Raymond James team contacted approximately 164 potentially interested

         parties and established a deadline for submitting indications of interest in December 2018. Eighty-

         seven (87) potential buyers signed non-disclosure agreements and received the CIM, nine (9) of

         which submitted offers on or around the December bid deadline (and one thereafter). Seven (7)


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         potential buyers were subsequently invited to attend management presentations and conduct due

         diligence. Throughout the process, I was in regular contact with the Raymond James team

         regarding the active participants in the sale process, received the Raymond James team’s

         perspective of those participants, and offered observations the Debtors had regarding the sale

         process and participants.

                        12.        During December and January, Raymond James and management conducted

         management presentations and assisted the interested parties with their due diligence efforts.

         Raymond James notified the interested parties that second round offers were due on February 7,

         2019. Following a review of the indications of interest received on or around this date, Oasis, in

         consultation with Raymond James and the Debtors, selected an offer from a private equity firm as

         the highest and best offer. On or about February 15, 2019, Oasis entered into a letter of intent with

         the private equity firm. During February and March, Raymond James and management assisted

         the private equity firm with their due diligence efforts and began to negotiate the terms and

         conditions of an offer.

                        13.        In early April, Culligan International Company (“Buyer”) expressed an

         interest in reentering the sale process. Buyer had previously been contacted by Raymond James,

         but did not submit an offer during the first round.        Following extensive discussions on an

         accelerated timeline, Buyer submitted a letter of intent for Oasis. After thoroughly evaluating the

         offer, Oasis, in consultation with Raymond James, Ms. Tilton and the Debtors, concluded that the

         letter of intent from Buyer was the highest and best offer to acquire Oasis, presenting both a

         superior purchase price and lower transaction risk than the other potential suitor. On or about

         April 18, 2019, Oasis executed a letter of intent with the Buyer that included a 45-day exclusivity

         period with a potential 15-day extension (this period was subsequently extended with the consent


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         of the Debtors). Throughout May and June of 2019, Raymond James and Oasis’s management

         team worked with Buyer as it conducted extensive due diligence, including attending presentations

         by Oasis’s senior management team, reviewing numerous diligence documents hosted in a

         confidential data room, and accompanying Oasis’s management on multiple site visits. On or

         about June 21, 2019, Oasis executed a revised letter of intent with the buyer which revised certain

         terms and conditions, and extended the exclusivity period. I remained in regular contact with

         Raymond James during the diligence process and kept the Independent Director, CRO, and the

         Debtors advisors apprised of the status and any notable developments.

                        14.    Upon information and belief, Buyer is a private company, headquartered in

         Rosemont, Illinois, which specializes in water softeners, water filtration systems, and bottled water

         for residential, commercial, and industrial consumers. Buyer is a portfolio company of Advent

         International, a global private equity firm with reportedly $36 billion of assets under management,

         and Centerbridge Partners, L.P., a global investment firm with approximately $14 billion in assets

         under management in its private equity platform. Buyer’s offer was determined to be the best offer

         based on, among other things, the financial consideration offered, the significant due diligence

         Buyer conducted, the absence of a financing contingency, and an assessment of the overall

         certainty for Buyer to close a transaction. With my input, the Debtors were supportive of selecting

         Buyer as the leading bidder.

                        15.    From and after the execution of the letter of intent, Zohar III, Limited, Zohar

         II 2005-1, Limited, and Zohar CDO 2003-1, Limited, as the sellers (collectively, the “Sellers”) of

         the LVD Acquisition, LLC membership interests (the “LVD Interests”) that are to be sold to

         Buyer as the “Acquired Assets” under the EPA (as defined below), with the advice of counsel

         (Young Conaway Stargatt & Taylor, LLP), and Oasis, with the advice of the Raymond James team


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         and the company’s counsel (Proskauer Rose LLP), negotiated with Buyer the definitive terms of an

         agreement to acquire all of the LVD Interests from the Debtors (the “EPA”) and, thereby and

         through entry of the Transaction Order, ownership and control of Oasis. I believe that all parties to

         the Oasis Transaction have participated in the negotiation of this transaction in good-faith and at

         arm’s length.

                          16.      In connection with my participation in the negotiation of this transaction, I

         have reviewed the Proposed Transaction Order and the EPA. The Proposed Transaction Order and

         the EPA: (i) were negotiated and entered into in good faith by the parties; (ii) were entered into

         with the Debtors’ approval and consent in the exercise of sound business judgment; and (iii) are in

         the best interest of the Debtors, their estates, and their stakeholders.

                          17.      The Sellers are the record owners of the LVD Interests and are owed no less

         than approximately $59.9 million in principal and interest, and no less than an additional $20.2

         million, according to an amendment to the Secured Facility (as defined below), of accrued interest

         and commitment fees restructured into a subordinated tranche, each under a first lien credit

         agreement, as amended, between the Sellers, on the one hand, and Oasis and certain subsidiaries

         on the other hand (the “Secured Facility”).2 No other Debtors have an interest in Oasis, either by

         holding indebtedness owed by Oasis or an interest in equity issued by Oasis. A portion of the

         purchase price will be used to satisfy outstanding Indebtedness (as defined in the EPA), seller

         transaction expenses, target net working capital requirements, and escrow(s) to cover post-closing

         indemnity claims of Buyer. Upon payment of the purchase price under the terms of the EPA

         toward the Secured Facility, Sellers will not retain any liens or claims against Oasis on account of

         the Indebtedness. The Oasis Transaction is the highest and best offer received for Oasis and the
         2
           I understand that Oasis and certain Patriarch Stakeholders (as defined in the “Settlement Agreement” [Docket No.
         266, Ex. 1]) dispute that certain amounts owed under the Secured Facility constitute debt or indebtedness, but they
         nonetheless support the Oasis Transaction.
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         deal is supported by the Debtors’ creditors. The Debtors currently estimate that the Oasis

         Transaction will result in the Debtors’ receipt of approximately $63 million to $73 million.

         However, this range is subject to adjustments based on actual seller transaction expenses, closing

         cash adjustments, and any indemnity claims against the escrow(s).

                        18.     Based on my experience, my personal knowledge, and my participation in

         the Oasis sale process: (i) the sale process described above was conducted in a commercially

         reasonable manner intended to achieve the best offer; (ii) Raymond James conducted a fulsome

         sale process to thoroughly canvass the market; (iii) the Debtors were provided an appropriate

         opportunity to participate in the Oasis sale process leading up to the selection of Buyer, and the

         negotiations and documentation of the proposed transaction with Buyer after such selection;

         (iv) the proposed Oasis Transaction represents an arms’-length agreement and the documents have

         been negotiated and entered into in good faith by the parties; (v) the amounts payable to the Sellers

         for the LVD Interests, based on the proposed purchase price, represent a fair and reasonable price

         that has been market tested and was the best offer received; (vi) the Sellers’ sale of the LVD

         Interests in the Oasis Transaction is an exercise of sound business judgment; (vi) the Oasis

         Transaction is in the best interest of the Debtors, their estates, and their stakeholders; and (vi) the

         ultimate decision to proceed with the Oasis Transaction reflects a joint determination by the

         Debtors and Ms. Tilton to proceed with the best transaction available. Moreover, to the best of my

         knowledge, Buyer (a) is not affiliated with or related in any way to the Debtors or Ms. Tilton, (b)

         does not own an interest in the Debtors, and (c) is not an insider of the Debtors.




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                      I declare under penalty of perjury that the foregoing is true and correct to the best of

         my knowledge.


         Dated: August 26, 2019

                                                     /s/ Robert S. Kost
                                                     Robert S. Kost
                                                     Chief Monetization Officer of the Debtors




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                                           EXHIBIT B

                                   Proposed Transaction Order




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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                              )
                                                              )
         In re:                                               )    Chapter 11
                                                              )
         Zohar III, Corp., et al.,1                           )    Case No. 18-10512 (KBO)
                                                              )
         Debtors.                                             )    Jointly Administered
                                                              )    Docket Ref. Nos. 545 & ___
                                                              )

                             ORDER APPROVING CONSUMMATION OF OASIS
                                PORTFOLIO COMPANY TRANSACTION

                  Upon the Order in Aid of Implementation of the Global Settlement Agreement Approved

         in These Cases Establishing Certain Procedures for the Independent Director’s Approval of

         Monetization Transactions and Related Relief [Docket No. 545] (the "Procedures Order"); and

         upon the notice filed with the Court on August 26, 2019 [Docket No. ____] (the "Transaction

         Notice")2 and the declaration and exhibits attached thereto; and the Court having jurisdiction to

         consider this matter pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of

         Reference from the United States District Court for the District of Delaware, dated as of

         February 29, 2012; and this matter being a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

         and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

         proper notice of the Oasis Transaction having been provided to the Interested Parties, and it

         appearing that no other or further notice need be provided; and the Court having found and

         determined that the consummation of the Oasis Transaction (as defined in the Transaction


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           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as
         follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III,
         Limited (9261) (“Zohar III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited (5119)
         (“Zohar I,” and together with Zohar III and Zohar II, the “Sellers”)). The Debtors' address is 3 Times Square, c/o
         FTI Consulting, Inc., New York, NY 10036.
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          All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
         Procedures Order [Docket No. 545], the Procedures Motion [Docket No. 481], or the Transaction Notice.
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         Notice, and hereinafter used) is in the best interests of the Debtors' estates, their creditors, and

         other parties in interest; and any objections to the Oasis Transaction having been withdrawn or

         overruled on the merits; and after due deliberation and sufficient cause appearing therefor, it is

         hereby ORDERED:

                1.      Joseph J. Farnan, Jr., as Independent Director, has been fully charged with

         governance of the Debtors under applicable Cayman or Delaware law, as applicable, to

         authorize, approve and consummate the Oasis Transaction, including, but not limited to (i)

         authorizing the Debtors to vote or consent to any vote, as applicable, any and all Zohar Interests

         in favor of the Oasis Transaction, (ii) exercising any rights with respect to the Zohar Interests to

         implement or consummate the Oasis Transaction, and (iii) authorizing and approving the release

         of Debtors’ liens, claims or encumbrances in connection with the Oasis Transaction.

                2.      The consummation of the Oasis Transaction between Culligan International

         Company (“Buyer”), the Sellers, and all other parties executing the document, on the terms set

         forth in the Transaction Notice and EPA is legal, valid and properly authorized.

                3.      The documents contemplated by or entered into in connection with the Oasis

         Transaction, are hereby authorized and approved, and shall be binding on and enforceable

         against all parties executing those documents. Upon entry of this Order, all necessary consents,

         approvals, or authorizations of any kind, by any member of, holder of an interest in (whether

         record, beneficial, or otherwise) the Sellers, or other party, required to authorize the Oasis

         Transaction are hereby deemed to have been provided.

                4.      Based upon, among other considerations, the Transaction Notice and

         the Transaction Declaration, the Independent Director's authorization, approval, and

         consummation of the Oasis Transaction is prudent, in good faith, in the best interest of



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         the Debtors' estates, their creditors and other parties in interest, and is fully consistent with the

         duties imposed upon him as a fiduciary.

                5.      The sale of the LVD Interests, as more fully described in and pursuant to the

         EPA, and the consideration provided by Buyer are fair and reasonable and shall be deemed for

         all purposes to constitute a transfer for reasonably equivalent value and fair consideration under

         the Bankruptcy Code and any other applicable law.

                6.      Effective as of the Closing of the EPA (which includes the sale of the LVD

         Interests by the Sellers to Buyer and the satisfaction or waiver of the Closing conditions in the

         EPA), the Oasis Transaction shall constitute a legal, valid and effective transfer of the LVD

         Interests to the Buyer notwithstanding any requirement for approval or consent by any person,

         and shall vest Buyer with all right, title and interest in and to the LVD Interests free and clear of

         all liens, claims, encumbrances and other interests of any kind, pursuant to section 363(f) of the

         Bankruptcy Code with such liens, claims, encumbrances and interests attaching to the proceeds

         from the Oasis Transaction with the same validity and priority as such released liens.

                7.      The Buyer is hereby granted and is entitled to all of the protections provided to a

         good faith buyer under section 363(m) of the Bankruptcy Code.

                8.      The payment for and release of the Indebtedness under the Zohar Secured Debt

         Facility, as set forth in the EPA, is hereby approved free and clear of any and all Encumbrances

         and other interests of any kind that could be asserted by the Debtors, their estates, their Agents

         (as defined herein) or their creditors against the LVD Interests, LVD or its subsidiaries, or any

         assets or property of LVD or its subsidiaries. The “Agents” constitute Ankura Trust Company,

         as agent, and Patriarch Partner Agency Services, LLC, as predecessor agent, under the Zohar

         Secured Debt Facility.



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                9.      With the consent of the Patriarch Stakeholders, the Other Stakeholders, and any

         Class B Members of the holders of preference shares of the Debtors, the sale of the LVD

         Interests is hereby approved free and clear of any liens, claims and encumbrances that could be

         asserted by any of the Patriarch Stakeholders and the Other Stakeholders, provided that any and

         all such liens, claims and encumbrances attach to the proceeds from the Oasis Transaction with

         the same validity and priority as those being released hereby, and all such proceeds shall be

         delivered to the Debtors at closing.

                10.     Lynn Tilton, as Co-Seller Representative, shall have no liability to the Debtors or

         any other party for any claims or arising solely from any actions related to her role as Co-Seller

         Representative, including, without limitation, actions taken by any other Co-Seller

         Representative, except to the extent such liability arises from or is related to Lynn Tilton’s own

         bad faith or willful misconduct.

                11.     The Debtors and their Agents, to the extent applicable, are authorized and directed

         to execute and deliver all instruments and documents, and take such other action—including the

         exercise of any member, shareholder, or lender approval rights—as may be necessary or

         appropriate to consummate, implement and effectuate the Oasis Transaction pursuant to the

         EPA, including, but not limited to: (a) execution of any and all instruments necessary to

         terminate, cancel and release the Zohar Secured Debt Facility, and all Encumbrances and other

         interests of any kind arising under or related to the Zohar Secured Debt Facility, including any

         mortgage, deed of trust, security agreement, UCC financing statement, pledge, control

         agreement, Encumbrance, or other instrument related to the perfection of the Encumbrances and

         other interests of any kind against the LVD Interests and (b) dismissal with prejudice of the

         action styled Zohar CDO 20003-1, Limited v. Croscill Home LLC as against LVD before the

         United States District Court for the District of Delaware.

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                12.     The release by the Sellers as set forth in the EPA is authorized and approved.

                13.     A certified copy of this Order may be filed with the appropriate clerk and/or

         recorded with the recorder of any state, county, or local authority to act to terminate and cancel

         any and all of the Encumbrances and other interests of any kind.

                14.     Any stay applicable to this Order under Federal Rule of Bankruptcy Procedure

         6004(h) is waived and this Order shall be effective and enforceable immediately upon its entry.

                15.     This Court shall retain jurisdiction over any and all matters arising from the

         interpretation or implementation of this Order.




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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                              )
                                                              )
         In re:                                               )    Chapter 11
                                                              )
         Zohar III, Corp., et al.,1                           )    Case No. 18-10512 (KBO)
                                                              )
         Debtors.                                             )    Jointly Administered
                                                              )    Docket Ref. Nos. 545 & 868
                                                              )

                             ORDER APPROVING CONSUMMATION OF OASIS
                                PORTFOLIO COMPANY TRANSACTION

                  Upon the Order in Aid of Implementation of the Global Settlement Agreement Approved

         in These Cases Establishing Certain Procedures for the Independent Director’s Approval of

         Monetization Transactions and Related Relief [Docket No. 545] (the "Procedures Order"); and

         upon the notice filed with the Court on August 26, 2019 [Docket No. 868] (the "Transaction

         Notice")2 and the declaration and exhibits attached thereto; and the Court having jurisdiction to

         consider this matter pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of

         Reference from the United States District Court for the District of Delaware, dated as of

         February 29, 2012; and this matter being a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

         and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

         proper notice of the Oasis Transaction having been provided to the Interested Parties, and it

         appearing that no other or further notice need be provided; and the Court having found and

         determined that the consummation of the Oasis Transaction (as defined in the Transaction


         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as
         follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III,
         Limited (9261) (“Zohar III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited (5119)
         (“Zohar I,” and together with Zohar III and Zohar II, the “Sellers”)). The Debtors' address is 3 Times Square, c/o
         FTI Consulting, Inc., New York, NY 10036.
         2
          All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
         Procedures Order [Docket No. 545], the Procedures Motion [Docket No. 481], or the Transaction Notice.
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         Notice, and hereinafter used) is in the best interests of the Debtors' estates, their creditors, and

         other parties in interest; and any objections to the Oasis Transaction having been withdrawn or

         overruled on the merits; and after due deliberation and sufficient cause appearing therefor, it is

         hereby ORDERED:

                1.      Joseph J. Farnan, Jr., as Independent Director, has been fully charged with

         governance of the Debtors under applicable Cayman or Delaware law, as applicable, to

         authorize, approve and consummate the Oasis Transaction, including, but not limited to (i)

         authorizing the Debtors to vote or consent to any vote, as applicable, any and all Zohar Interests

         in favor of the Oasis Transaction, (ii) exercising any rights with respect to the Zohar Interests to

         implement or consummate the Oasis Transaction, and (iii) authorizing and approving the release

         of Debtors’ liens, claims or encumbrances in connection with the Oasis Transaction.

                2.      The consummation of the Oasis Transaction between Culligan International

         Company (“Buyer”), the Sellers, and all other parties executing the document, on the terms set

         forth in the Transaction Notice and EPA is legal, valid and properly authorized.

                3.      The documents contemplated by or entered into in connection with the Oasis

         Transaction, are hereby authorized and approved, and shall be binding on and enforceable

         against all parties executing those documents. Upon entry of this Order, all necessary consents,

         approvals, or authorizations of any kind, by any member of, holder of an interest in (whether

         record, beneficial, or otherwise) the Sellers, or other party, required to authorize the Oasis

         Transaction are hereby deemed to have been provided.

                4.      Based upon, among other considerations, the Transaction Notice and

         the Transaction Declaration, the Independent Director's authorization, approval, and

         consummation of the Oasis Transaction is prudent, in good faith, in the best interest of



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         the Debtors' estates, their creditors and other parties in interest, and is fully consistent with the

         duties imposed upon him as a fiduciary.

                5.      The sale of the LVD Interests, as more fully described in and pursuant to the

         EPA, and the consideration provided by Buyer are fair and reasonable and shall be deemed for

         all purposes to constitute a transfer for reasonably equivalent value and fair consideration under

         the Bankruptcy Code and any other applicable law.

                6.      Effective as of the Closing of the EPA (which includes the sale of the LVD

         Interests by the Sellers to Buyer and the satisfaction or waiver of the Closing conditions in the

         EPA), the Oasis Transaction shall constitute a legal, valid and effective transfer of the LVD

         Interests to the Buyer notwithstanding any requirement for approval or consent by any person,

         and shall vest Buyer with all right, title and interest in and to the LVD Interests free and clear of

         all liens, claims, encumbrances and other interests of any kind, pursuant to section 363(f) of the

         Bankruptcy Code with such liens, claims, encumbrances and interests attaching to the proceeds

         from the Oasis Transaction with the same validity and priority as such released liens.

                7.      The Buyer is hereby granted and is entitled to all of the protections provided to a

         good faith buyer under section 363(m) of the Bankruptcy Code.

                8.      The payment for and release of the Indebtedness under the Zohar Secured Debt

         Facility, as set forth in the EPA and subject to the terms of a payoff letter agreed to by the

         Agents (the “Payoff Letter”), is hereby approved free and clear of any and all Encumbrances and

         other interests of any kind that could be asserted by the Debtors, their estates, their Agents (as

         defined herein) or their creditors against the LVD Interests, LVD or its subsidiaries, or any assets

         or property of LVD or its subsidiaries. The “Agents” constitute Ankura Trust Company, as

         agent, and Patriarch Partner Agency Services, LLC, as predecessor agent, under the Zohar

         Secured Debt Facility.

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                9.      With the consent of the Patriarch Stakeholders, the Other Stakeholders, and any

         Class B Members of the holders of preference shares of the Debtors, the sale of the LVD

         Interests is hereby approved free and clear of any liens, claims and encumbrances that could be

         asserted by any of the Patriarch Stakeholders and the Other Stakeholders, provided that any and

         all such liens, claims and encumbrances attach to the proceeds from the Oasis Transaction with

         the same validity and priority as those being released hereby, and all such proceeds shall be

         delivered to the Debtors at closing.

                10.     Lynn Tilton, as Co-Seller Representative, shall have no liability to the Debtors or

         any other party for any claims or arising solely from any actions related to her role as Co-Seller

         Representative, including, without limitation, actions taken by any other Co-Seller

         Representative, except to the extent such liability arises from or is related to Lynn Tilton’s own

         bad faith or willful misconduct.

                11.     The Debtors and their Agents, to the extent applicable, are authorized and directed

         to execute and deliver all instruments and documents, and take such other action—including the

         exercise of any member, shareholder, or lender approval rights—as may be necessary or

         appropriate to consummate, implement and effectuate the Oasis Transaction pursuant to the EPA

         and the Payoff Letter, including, but not limited to: (a) execution of any and all instruments

         necessary to terminate, cancel and release the Zohar Secured Debt Facility, and all

         Encumbrances and other interests of any kind arising under or related to the Zohar Secured Debt

         Facility, including any mortgage, deed of trust, security agreement, UCC financing statement,

         pledge, control agreement, Encumbrance, or other instrument related to the perfection of the

         Encumbrances and other interests of any kind against the LVD Interests and (b) dismissal with

         prejudice of the action styled Zohar CDO 20003-1, Limited v. Croscill Home LLC as against

         LVD before the United States District Court for the District of Delaware.

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                 12.     The release by the Sellers as set forth in the EPA is authorized and approved.

                 13.     A certified copy of this Order may be filed with the appropriate clerk and/or

         recorded with the recorder of any state, county, or local authority to act to terminate and cancel

         any and all of the Encumbrances and other interests of any kind.

                 14.     Any stay applicable to this Order under Federal Rule of Bankruptcy Procedure

         6004(h) is waived and this Order shall be effective and enforceable immediately upon its entry.

                 15.     This Court shall retain jurisdiction over any and all matters arising from the

         interpretation or implementation of this Order.




              Dated: September 9th, 2019                       KAREN B. OWENS
              Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


     In re:                                                Chapter 11

     Zohar III, Corp., et al.,1                            Case No. 18-10512 (KBO)

                                    Debtors.               Jointly Administered

                                                           Related to Docket No. 914, 1093


       NOTICE OF FILING OF REVISED “PPMG’S OPENING BRIEF REGARDING
     PPMG’S RIGHT TO PAYMENT OF TRANSACTION FEES IN CONNECTION WITH
                    THE OASIS TRANSACTION” [D.I. 914, 1093]

              PLEASE TAKE NOTICE that, on September 6, 2019, Patriarch Partners Management

 Group, LLC (“PPMG”) filed PPMG’s Opening Brief Regarding PPMG’s Right to Payment of

 Transaction Fees in Connection with the Oasis Transaction [Docket No. 914] (the “Brief”).2

              PLEASE TAKE FURTHER NOTICE that on November 26, 2019, PPMG filed a redacted

 version of the Brief [Docket No. 1093] (the “Redacted Brief”), in consultation with the Debtors

 and the Office of the United States Trustee.

              PLEASE TAKE FURTHER NOTICE that PPMG, in coordination with the Debtors, has

 determined that certain portions of the Brief and Redacted Brief will be withdrawn.                     By

 withdrawing the agreed portions of the Brief and Redacted Brief, neither PPMG nor the Debtors

 make any admission or waiver with respect to their respective rights or arguments on any matter.

              PLEASE TAKE FURTHER NOTICE that PPMG hereby files an amended version of the

 Redacted Brief, attached hereto as Exhibit A, with certain portions withdrawn as set forth in the


 1
   The Debtors, and, where applicable, the last four digits of each of their respective taxpayer
 identification numbers, are as follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar
 CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO
 2003-1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York,
 NY 10036.
 2
     Capitalized terms not otherwise defined herein shall have the meanings afforded to them in the Brief.



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 attached. An unredacted version of the Brief is being filed under seal consistent with the Local

 Rules of this Court.



                                      [Signatures to follow]




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 Dated: December 31, 2019                   COLE SCHOTZ P.C.


                                      By:       /s/ Patrick J. Reilley_____
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                                            Patrick J. Reilley (No. 4451)
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                                            Group, LLC



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                                     EXHIBIT A




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                                                                         AMENDED REDACTED VERSION
                                                                                  RE: DI 914 AND 1093
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                       Chapter 11
  In re:
                                                                       Case No. 18-10512
  Zohar III, Corp., et al.,'
                                                                       Jointly Administered
                                       Debtors.
                                                                       Ref. Docket No. 868
                                                                       Hearing Date: September 24,2019
                                                                       Obj. Deadline: September 17,2019

       PPMG’S OPENING BRIEF REGARDING PPMG’S RIGHT TO PAYMENT OF
       TRANSACTION FEES IN CONNECTION WITH THE OASIS TRANSACTION

           Patriarch Partners Management Group, EEC (“PPMG”) hereby submits this brief in

 connection with the proposed Oasis Transaction, as that term has been defined in the Notice of

 Binding Portfolio Company Transaction Pursuant to Portfolio Company Transaction

 Procedures submitted to the Court on August 26, 2019 [D.I. 868], and with respect to the relief

 requested by the Debtors in their Motion For An Order Determining Dispute Between The

 Debtors And Patriarch Partners Management Services, LLC Related To Pending Oasis

 Transaction, filed this same day. The parties have agreed to submit concurrent responsive briefs

 by 4:00 p.m. on September 17, 2019.^ This brief is submitted pursuant to:

           (i) this Court’s Order Approving and Authorizing the Settlement Agreement Between the
           Debtors, Lynn Tilton, the Patriarch Stakeholders, MBIA Insurance Corp., and the Zohar
           III Controlling Class (the “Settlement Order”),^ entered on May 21, 2018 [D.I. 266]; and




   ' The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
     Zohar III, Corp. (9612), Zohar II2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
     (9261) (“Zohar III”). Zohar II2005-1, Limited (8297) (“Zohar II”). and Zohar CDO 2003-1, Limited (5119)
     (“Zoharl”, and together with Zohar II and Zohar III, the “Zohar Funds”). The Debtors’ address is 3 Times
     Square, c/o FTI Consulting, Inc., New York, NY 10036.
  ^ Capitalized terms not otherwise defined herein shall have the meanings set forth in the Settlement Agreement,
    the Management Services Agreement (as defined herein at T| 3 n.4), or the Notice ofBinding Portfolio Company
    Transaction Pursuant to Portfolio Company Transaction Procedures [D.I. 868], as applicable.
  ^ A copy of the Settlement Order and Settlement Agreement are annexed hereto as Exhibit A.



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          (ii) the Settlement Agreement (as defined in the Settlement Order) [D.I. 266 Ex. 1]

 PPMG respectfully states as follows:

                                   PRELIMINARY STATEMENT

          1.       At the outset of these Chapter 11 cases, the Debtors and the primary creditor

 constituencies entered into a Settlement Agreement approved hy this Court. [See D.I. 266.]

 Pursuant to the Settlement Agreement and PPMG’s underlying agreement with Oasis, PPMG is

 now entitled to receive a “Transaction Fee” equal to five percent of the sale proceeds upon

 closing of the pending Oasis Transaction. [*Text Withdrawn from Docket Nos. 914 & 1093*].

 In fact, an integral component of the Settlement Agreement was that such disclosed fees would

 be paid uncontested and all litigation claims stayed during the monetization period, with all

 rights reserved, should litigation stays be subsequently lifted by operation of the Settlement

 Agreement’s terms. Rather than acknowledge that payment is owed, however, the Debtors

 contest PPMG’s bargained-for payment anyway.

          2.       The Oasis Transaction involves the proposed acquisition of Oasis by Culligan

 International Company (“Culligan”). For the avoidance of doubt, PPMG does not object to the

 Oasis Transaction; indeed, PPMG supports it. PPMG only seeks the Court’s intervention to

 ensure that PPMG is paid the fees it is owed relating to the Oasis Transaction upon its closing,

 which should be paid without objection. In contesting that payment, the Debtors are in clear

 breach of the Settlement Agreement.

          3.       PPMG has long provided valuable management and consulting services to Oasis.

 For nearly a decade, those extensive services have been governed by a contract entered into on or

 about September 30, 2010 that sets out various forms of compensation and expense




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 reimbursement for PPMO/




                         The Oasis Transaction qualifies as such a Liquidity Event.

          4.        Separately, the Settlement Agreement provides that PPMG’s fee “shall be due and

 payable” at the “closing” of the sale of a portfolio company, with all rights reserved to dispute

 the fee’s propriety at a later date. [Settlement Agreement at § 18.] [*Text Withdrawn from

 Docket Nos. 914 & 1093*]. No party filed any objection to the payment of such fees prior to the

 Court’s approval of the Settlement Agreement. The Debtors’ belated objection should not stand

 and the negotiated terms of the Settlement Agreement should be enforced via timely payment of

 the Transaction Fee. PPMG should receive its fee now, with the Debtors subsequently entitled to

 seek recoupment of the fee if it is appropriate to do so.

          5.        Setting process aside, the Debtors are also wrong on the merits of their objection

 to PPMG’s fee.




                                                                             The Debtors’ contrary

 position is premised on their mistaken view that $20 million in accrued unpaid interest and fees

 constitute a portion of Oasis’s debt, despite the fact that such interest and fees were restructured

 into a new facility as an equity kicker—a form of equity—in 2015 by way of an amendment to




  '' A copy of the management services agreement between PPMG and Oasis, dated as of September 30, 2010 (the
     “Management Services Agreement” or “MSA”) is annexed hereto as Exhibit B.



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 Oasis’s credit agreement.^ [See 8th Arndt, at § l(a)(i).] Stated simply, the Debtors are

 ineorrectly interpreting a provision of the Management Services Agreement and then applying

 their incorrect interpretation to their erroneous assumptions about Oasis’s capital structure. They

 are wrong at each step of their analysis.

          6.       Beeause PPMG and the Debtors were unsuecessful in resolving this dispute

 through mediation before Judge Gross, PPMG now seeks an order from this Court resolving this

 dispute and the Debtors’ breach of the Settlement Agreement, as authorized pursuant to Section

 8 of the Settlement Order and Section 27 of the Settlement Agreement.

                                             BACKGROUND
          7.       Prior to the commencement of these Chapter 11 Cases, the Debtors were trapped

 in a vicious cycle of value-destroying litigation that cast an intractable cloud over the Debtors

 and their portfolio companies—including Oasis—precluding their full value from being

 unlocked for the sake of all stakeholders. Moreover, due to the presence of ongoing litigation

 and the specter of still further litigation, the portfolio companies were unable to obtain critical

 financing and their negotiations with potential buyers and lenders had stalled. Aecordingly, the

 Debtors voluntarily filed for Chapter 11 bankruptey.

          8.       Shortly thereafter, various parties-in-interest filed a wide array of substantive

 motions in this action. On April 5, 2018, the Court appointed Judge Kevin Gross to mediate the

 parties’ various disputes. [D.I. 143.] Judge Gross initially oversaw several days of tense,

 eomplex and comprehensive negotiations among the parties. The ultimate result of those efforts

 was the Settlement Agreement, “entered into by and between” “the Debtors” and “the Patriareh




  ^ A copy of Amendment No. 8 to Credit Agreement of LVD Acquisition, LLC (the “8th Amendment” or “Ml
    Arndt.”! is annexed hereto as Exhibit C.



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 Stakeholders,” among others. [Settlement Order at 1.] As made clear by the Settlement

 Agreement, the Patriarch Stakeholders includes PPMG. [Settlement Agreement at Ex. B.]

          9.




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          12.       Oasis and Culligan commenced drafting the documents to complete the Oasis

 Transaction in the summer of 2019, through which Culligan would become the beneficial owner

 of all of Oasis’s equity through “an Equity Purchase Agreement [ ] for the acquisition of 100%

 of the limited liability company membership interests” in Oasis. [D.l. 868 at *[| 1.] These

 negotiations ultimately included the Debtors as well. During the finalization of the Oasis

 Transaction’s terms, however, the Debtors refused to permit payment of PPMG’s Transaction

 Fee at closing. The parties mediated this dispute before the Honorable Kevin Gross on July 31,

 2019, with no suceess.

          13.       In order to prevent the instant dispute from derailing the Oasis Transaction,

 PPMG agreed to have the Court resolve it on a sehedule aimed to precede the closing of the

 Oasis Transaction. On August 26, 2019, the Debtors notified the Court that they intend to

 consummate the Oasis Transaction. According to the notice, “the Debtors contemplate that the




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 Sellers will receive approximately $63 Million to $73 million from the Oasis Transaction.” [Id.]

 In the event of any objections to the Oasis Transaction, a hearing is tentatively scheduled for

 September 11,2019. [M at 15.]

          14.




                                                                          Moreover, the Debtors’ claim that

 Oasis’s outstanding debt exceeds its proposed sales price, premised on their view that $20

 million of accrued unpaid interest and commitment fees constitutes “debt” when, in reality, it

 was restructured in 2015 into a new facility, which under the Zohar Funds’ indentures, is an

 “equity kicker,” a form of equity. {See 8th Arndt, at § l(a)(i); Tilton Deck at f 2d]

           15.     Section 18 of the Settlement Agreement establishes the process for disputes

 relating to such fees, regardless of their merit. In relevant part, it provides as follows: “Any [ ]

 claim asserted by the Patriarch Stakeholders [including PPMG] that is supported by written

 documentation showing the claim ... represents a fee or other claim arising from ... any

 management and/or administrative fee owed to a Patriarch Stakeholder ... shall be deemed due

 and payable through the closing of any monetization event on a pari passu basis with other

 similarly situated claims and equity unless the applicable credit agreement provides otherwise.”

 [Settlement Agreement at § 18(A)(b).] Payments made under that provision are “capped at $250



     The Declaration of Lynn Tilton (the “Tilton Decl.’T is annexed hereto as Exhibit D.



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 million, with any amounts in excess to be held in escrow until” certain noteholders are paid in

 full, but otherwise such payments “shall be made without further analysis or challenge.” [Id. at

 § 18.] Instead of allowing for immediate litigation, the Settlement Agreement provides that

 “[a]ll parties’ respective rights to challenge the propriety of any [such] claims ... are tolled

 without prejudice until the expiration of the 18 Month Window.”* [Id.]

          16.      The requirement in Section 18 that PPMG’s demand for a fee be “supported by

 written documentation” is satisfied here by the Management Services Agreement, which

 establishes the Transaction Fee as “a fee or other claim arising from” a “management and/or

 administrative fee owed to a Patriarch Stakeholder.” [Id.] The Debtors have never suggested

 that any “applicable credit agreement provides otherwise.” [Id.] Because the fees paid out under

 Section 18 to-date are far less than $250 million, the Transaction Fee is now payable under the

 Settlement Agreement “without further analysis or challenge” during the 18 Month Window.

 [Id.]

          17.      In addition, a footnote to Section 18 of the Settlement Agreement required Ms.

 Tilton “to provide a good faith estimate on [a] company by company basis ... reflecting the

 aggregate amount she expect[ed] will be covered” by that provision.® [Id. at § 18 n.4.] [*Text

 Withdrawn from Docket Nos. 914 & 1093*].

          18.       [*Text Withdrawn from Docket Nos. 914 & 1093*].

          19.      The Settlement Agreement thus built in a mechanism for disputing any payment

 to PPMG in connection with the Oasis Transaction, but it stays any such dispute until the

 expiration of the 18 Month Window. The 18 Month Window was to expire on November 21,


   * Unlike many other provisions in the Settlement Agreement, Section 18 is expressly tied to the 18 Month
     Window rather than the 15 Month Window.
   9 r*'
     [*Text   Withdrawn from Docket Nos. 914 & 1093*].



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 2019, 18 months from May 21, 2018, the date on which the Settlement Order approved of the

 parties’ Settlement Agreement. [See Settlement Order; Settlement Agreement at 1.] The

 Debtors’ objection to the payment of the Transaction Fee to PPMG at the closing of the Oasis

 Transaction thus constitutes a breach of foregoing terms of the Settlement Agreement, and

 should be rejected as both premature and meritless.

                                         RELIEF REQUESTED

          20.       PPMG seeks entry of an order affirming that, pursuant to both the Settlement

 Agreement and the Management Services Agreement, PPMG is entitled to receive the

 Transaction Fee upon closing of the Oasis Transaction (subject to whatever reservation of rights

 the Settlement Agreement accords the Debtors).

                                             JURISDICTION

          21.       Bankruptcy courts retain “jurisdiction to interpret and enforce settlements and the

 accompanying orders approving settlements.” Suntrust Bank v. Roberson (In re Baseline Sports,

 Inc.), 393 B.R. 105, 118-19 (E.D. Va. 2008); see also, e.g., In re Lazy Days ’ RVCtr. Inc., 724

 F.3d 418, 423 (3d Cir. 2013) (finding bankruptcy court had jurisdiction “to resolve a dispute

 regarding the Settlement Agreement it had previously confirmed”). The Settlement Agreement

 expressly contemplates that this Court “shall retain jurisdiction to enforce the terms of th[at]

 agreement” and that both the Debtors and PPMG have “agree[d] to submit to the jurisdiction of

 the Bankruptcy Court for resolution of any matter in connection with th[at] agreement or the

 enforcement thereof” [Settlement Agreement at § 27.] Furthermore, the Settlement Order

 provided that “[tjhis Court shall retain jurisdiction to hear any and all disputes arising out of the

 interpretation or enforcement of th[at] Order.” [Settlement Order at § 8.] As such, the Court is

 empowered to interpret and enforce the Settlement Order and Agreement, which includes the

 power to grant the relief requested herein. See, e.g.. In re River Ctr. Holdings, LLC, 394 B.R.

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 704, 711 (Bankr. S.D.N.Y. 2008) (finding jurisdiction under similar circumstances). Consistent

 with the Settlement Agreement and Settlement Order, the Debtors and PPMG have agreed that

 the instant dispute relating to the Oasis Transaction should be resolved by this Court.

                                 BASIS FOR RELIEF REQUESTED

 A.       The Settlement Agreement Blocks The Debtors From Challenging The Payment Of
          The Transaction Fee To PPMG Before November 21, 2019.

          22.       The Debtors’ objeetion should be denied as premature because the parties

 bargained for the unobstructed payment of the Transaction Fee during the 18 Month Window.

 [See Settlement Agreement at § 18.] The meaning of Section 18 of the Settlement Agreement is

 obvious: PPMG is entitled to payment of claims arising from the monetization of any of the

 Portfolio Companies, including Oasis, without resort to any value-destroying disputes prior to

 that time. The 18 Month Window expires on November 21, 2019, well after the antieipated

 closing of the Oasis Transaction in late September or early Oetober.

          23.       PPMG is entitled to immediate payment of the Transaction Fee under the plain

 language of the Settlement Agreement. It provides that where PPMG cites “written

 documentation showing” that it is owed “any management and/or administrative fee,” such fees

 “shall be deemed due and payable through the elosing of any monetization event... unless the

 applicable credit agreement provides otherwise.” [Id.] That provision applies here. The

 Management Services Agreement constitutes the requisite “written doeumentation showing” that

 PPMG is entitled to the Transaetion Fee as an essential part of its compensation for the necessary

 and valuable services it has provided to Oasis over the last nine years. Nothing more is required,

 and the Settlement Agreement does not inelude any sort of diligence or challenge right to refute

 PPMG’s right to payment of its Transaction Fee during the 18 Month Window. In the absence of

 any assertion by the Debtors that an “applicable credit agreement provides otherwise”—which


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 the Debtors have never suggested—the Transaction Fee will become “due and payable” under

 the Settlement Agreement upon “the closing” of the Oasis Transaction.

          24.      [*Text Withdrawn from Docket Nos. 914 & 1093*]

                                            Cf. Skylon Corp. v. Guilford Mills, Inc., 901 F. Supp.

 711,713 (S.D.N.Y. 1995) (“a ... contractual provision[ ] must be construed in accordance with

 the intent of the parties who executed it”). As explained in her First Day Declaration, Ms. Tilton

 was the Debtors’ “sole director and owner” at the time of the Debtors’ bankruptcy filing. [D.I. 5

 at ^ 1.] It was not until May 21, 2018, when the Settlement Order was entered by this Court, that

 Mr. Faman was also appointed and confirmed as the Independent Director of the Debtors. [D.I.

 267 at T| 1; Tilton Decl. f 1.] Indeed, that appointment and Ms. Tilton’s concurrent resignation as

 director were contemplated as future events that had yet to take place at the time of the

 Settlement Agreement. [See Settlement Agreement at § 1 (“The Mediator shall appoint a single

 Independent Director for each of the Zohar Funds” and “Tilton shall resign as a director of each”

 (emphasis added)).] [*Text Withdrawn from Docket Nos. 914 & 1093*].

          25.      The Settlement Agreement also set out a process to address any disputes as to

 whether PPMG was ultimately entitled to retain such fees. Specifically, it provides that “[a]ll

 parties’ respective rights to challenge the propriety of any of the foregoing claims ... are tolled

 without prejudice until the expiration of the 18 Month Window,” allowing such disputes to be

 litigated after the monetization process concludes. [Settlement Agreement at § 18.] Indeed, the

 parties were barred from raising such disputes “during the 18 Month Window” or from invoking

 such disputes “to block the closing of any pending transaction in the Monetization Process.”

 {Id.] This was intended to ensure that any disputes over such fees would not interfere with the

 monetization process during either of the 15 Month or 18 Month Window, allowing sales to



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 proceed without the overhang of litigation. In other words, the Settlement Agreement requires

 that the Transaetion Fee be paid to PPMG upon closing of the Oasis Transaction, with all rights

 to challenge such payment reserved, and any sueh disputes delayed until after the close of the 18

 Month Window. The Debtors’ instant assertion that PPMG is not entitled to the Transaction Fee

 is therefore premature.

          26.       Read in its entirety, the Settlement Agreement established that PPMG is to be

 paid the Transaction Fee upon closing of the Oasis Transaetion. “[CJonstruing the agreement as

 a whole,” In re Viking Pump, Inc., 148 A.3d 633, 648 (Del. 2016), Section 18 must be read in

 conjunction with Section 2. That latter provision clarifies that PPMG’s ultimate owner, Ms.

 Tilton, was appointed as the Debtors’ Tax Director and, so long as she remains in that eapacity,

 she “shall continue to bear the tax liability associated with ownership of the Debtors, the Group

 B Portfolio Companies, and the Group A Portfolio Companies, ineluding with respect to any

 Group A Portfolio Company transactions,” which, in turn, includes the proposed Oasis

 Transaction. [Settlement Agreement at § 2; see also id. at Ex. C (ineluding Oasis as a Group A

 Portfolio Company).] [*Text Withdrawn from Docket Nos. 914 & 1093*].

          27.       By refusing to pay the Transaction Fee to PPMG now, the Debtors are attempting

 to unilaterally re-trade and negate a key provision of the Settlement Agreement in order to

 increase their recovery, all at PPMG’s (and ultimately Ms. Tilton’s) expense. Instead, they

 should be held to the terms of the Settlement Agreement. PPMG’s Transaction Fee should be

 paid at closing, with any challenge to the propriety of such a fee preserved until after the

 expiration of the 18 Month Window.




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 B.       PPMG Is Entitled To A Transaction Fee Under The Management Services
          Agreement.

          28.      Assuming arguendo that this dispute can properly be raised now (which it

 cannot), the Debtors’ position should be rejected on the merits |




 the Management Services Agreement “should as a rule be enforced according to its terms” and

 “construed so as to give full meaning and effect to all of its provisions,” Metz v. Poughkeepsie

 Savings Bank, FSB (In re Metz), 231 B.R. 474, 479 (E.D.N.Y. 1999) (internal quotation marks

 omitted).

          29.




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                   PPMG Is Entitled To The Transaction Fee




     The Debtors’ attempt to do so is particularly striking given that the Debtors are not parties to the Management
     Services Agreement and did not negotiate that contract. Rather, the Debtors are third-parties seeking to impose
     their interpretation upon the parties to a contract that simply does not involve them.


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 That choice must be honored. See, e.g.. Quadrant Struetured Prods. Co. Ltd. v. Vertin, 23

 N.Y.3d 549, 560 (2014) (“[I]f parties to a contract omit terms—^particularly, terms that are

 readily found in other, similar contracts—the inescapable conclusion is that the parties intended

 the omission.”); Israel Discount Bank Ltd. v. Gottesman (In re Ore Cargo, Inc.), 544 F.2d 80, 82

 (2d Cir. 1976) (under New York law “the failure of... a sophisticated commercial lender[ ] to

 include a ... specific reference” in a contract “precludes our divining or implying” that it was

 meant to be included).

          33.       The Management Services Agreement’s “extensive use of defined terms

 demonstrates that its drafters were perfectly capable of using such terms when they wished to do

             that                                                                   “should

 ignored.” Sonterra Capital Master Fund, Ltd. v. Barclays Bank PLC, No. 15 Civ. 3538, 2019

 WL 3858620, at *5 (S.D.N.Y. Aug. 16, 2019).




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           35.     Where “the key eontraetual terms, the ones that require interpretation, are defined

 terms—that is, the parties set forth exaetly what they meant in the body of the eontract itself,” as

 is the case here, it “makes the job of construction particularly easy.” Quintel Commc ’ns, Inc. v.

 Fed. Transtel, Inc., 142 F. Supp. 2d 476, 482 (S.D.N.Y. 2001) (emphasis in original); see also,

 e.g., Whitacre Constr. Specialties, Inc. v. Aetna Cas. & Surety Co., 448 N.Y.S.2d 287, 287 (App.

 Div. 1982) (capitalization suggests terms have “a specific meaning” and defined terms are

 “meant to have a consistent meaning throughout the document[ ]”), aff’d, 57 N.Y.2d 1018

 (1982).




           2.      PPMG is Entitled To The Transaction Fee Because The Proposed Sales Price
                   Exceeds Oasis’s Outstanding Debt.

           36.     Even if this dispute were timely and |

                                                                  I (neither of which is true), PPMG

 would still be entitled to its Transaction Fee because the $76 million Oasis purchase price is

 sufficient to satisfy Oasis’s “outstanding debt.” In fact. Oasis’s outstanding funded debt is only

 $60 million. In order to claim that Oasis’s debt exceeds the $76 million purchase price and

 thereby contest payment of PPMG’s Transaction Fee, the Debtors are including in their

 calculation approximately $20 million of unpaid accrued interest and commitment fees, which


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 was expressly restruetured in 2015. In substance, the restructured interest and fees are properly

 considered equity, not debt.

          37.      ________________________________

                                                             In the absence of any such contractual

 clarity, this Court may “ask what is the proper characterization in the first instance of [the $20

 million] investment” in light of its “equitable authority to ensure that ‘substance will not give

 way to form, that technical considerations will not prevent substantial justice from being done.”’

 Cohen v. KB Mezzanine FundII, LP (In re SubMicron Sys. Corp.), 432 F.3d 448, 454 (3d Cir.

 2006) (quoting Pepper v. Litton, 308 U.S. 295, 305 (1939)) (footnote omitted). This question

 “has nothing to do with inequitable conduct.” Official Comm, of Unsecured Creditors of

 Fedders N Am., Inc. v. Goldman Sachs Credit Partners L.P. (In re Fedders N. Am., Inc.), 405

 B.R. 527, 554 (Bankr. D. Del. 2009). Rather, it simply assesses whether a “transaction created a

 debt or equity relationship from the outset.” In re Cold Harbor Assoc., L.P., 204 B.R. 904, 915

 (Bankr. E.D. Va. 1997). While other courts “have adopted a variety of multi-factor tests” to aid

 in this inquiry, the Third Circuit has eschewed that approach because “[n]o mechanistic

 scorecard suffices.” In re SubMicron, 432 F.3d at 455-56. Instead, it has encouraged lower

 courts to make “a commonsense conclusion” based upon “facts that confer context case-by­

 case.” Id.

          38.      Here, the restructured interest and fees should be treated as equity, not debt, for

 purposes of determining PPMG’s right to a Transaction Fee. A preeminent consideration in

 determining whether an investment is debt or equity is whether a lender “expects to be repaid

 with interest no matter the borrower’s fortunes,” in which case “the funds are debt.” In re

 SubMicron, 432 F.3d at 456. That is simply not the case here. Rather, the restructured equity



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 provided for a 0% margin of interest, with no applicable recurring interest payment date." [8th

 Arndt, at Sched. A.] That “absence of a fixed rate of interest and interest payments ... is a

 strong indication the investment was a capital contribution, rather than a loan.” Friedman’s

 Liquidating Trust v. Goldman Sachs Credit Partners, L.P. (In re Friedman’s Inc.), 452 B.R. 512,

 520-21 (Bankr. D. Del. 2011); accord Bayer Corp. v. MascoTech, Inc. (In re Autostyle Plastics,

 Inc.), 269 F.3d 726, 750 (6th Cir. 2001).

          39.      In addition, the absence of any meaningful security for the November 2015

 investment provides ‘“a strong indication that the advances were capital contributions rather than

 loans.’” In re Friedman’s, 452 B.R. at 522 (quoting In re AutoStyle Plastics, 269 F.3d at 752).

 Here, Oasis’s accrued unpaid interest and commitment fees were restructured so that they would

 be subordinate to all of Oasis’s funded debt in light of their prepayment preference. [See 8th

 Arndt, at Sched. A.] That subordination “weighs in favor of characterizing the Notes as equity.”

 In re Friedman’s, 452 B.R. at 522; see also, e.g., Lipscomb v. Clairvest Equity Partners Ltd.

 P’ship (In re LMILegacy Holdings, Inc.), No. 13-12098, 2017 WL 1508606, at *14 (Bankr. D.

 Del. Apr. 27, 2017) (listing “[sjubordination of the Notes [at issue] to debt held by the Debtors’

 lenders” as among the factors “typically weighing in favor” of finding notes to be equity).

          40.      In response, the Debtors will make much of the fact that the accrued unpaid

 equity interest was referred to as a series of “Term Loans” upon their restructuring. [See 8th

 Arndt, at Sched. A.] But the nomenclature adopted by the 8th Amendment is entirely beside the


  *' The Debtors may argue that the restructured equity accrues interest at LIBOR based upon their reading of the
     underlying credit agreement. That was not the intent of the restructuring effectuated by the 8th Amendment, as
     demonstrated by the listing of Oasis’s Interest Payment Date as “N/A,” meaning “not applicable.” [See 8th
     Arndt, at Sched. A.] If any interest were meant to accrue, presumably it would have to be paid at some point.
     Nothing in the 8th Amendment provides for such payment. Moreover, Patriarch is unaware of any
     documentation in its records or in any trustee reports under the Zohar Funds’ indentures that suggests or reflects
     that the restructured equity has accrued interest at LIBOR, nor has Oasis been billed for any such interest.
     Indeed, the trustee reports—which regularly list the Zohar Funds’ debt—do not list the restructured equity as
     debt. [See Tilton Decl. H 2.] That is because it is not.


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 point. Treating that terminology as dispositive would “ignore the ancient wisdom that calling a

 thing by a name does not make it so.” City ofMadison Joint Sch. Dist. No. 8 v. Wis. Emp ’t

 Relations Comm’n, 429 U.S. 167, 174 (1976). Indeed, the “overarching inquiry” that is called

 for here is an “attempt to discern whether the parties called an instrument one thing when in fact

 they intended it as something else.” In re SubMicron, 432 F.3d at 456; see also, e.g., Machne

 Menachem, Inc. v. Spritzer (In re Machne Menachem, Inc.), 456 F. App’x 163, 165-66 (3d Cir.

 2012) (affirming that deposit slips and checks “with ‘loan’ written on them” related to a capital

 contribution rather than debt financing because “the label given to a transaction ... does not

 outweigh what the parties actually intended or how they acted”). The use of the phrase “term

 loan” should therefore be accorded minimal weight, if any, and certainly it does not override the

 substantive characteristics of the transaction demonstrating that it is properly treated as equity.

           41.     Nor does the mere listing of a “Maturity Date” in 2019 weigh against finding that

 the 2015 restructuring involved equity. That same argument was rejected by In re Friedman’s,

 in which the notes at issue “became repayable over four years after entry into the Notes with no

 interim payment of principal.” 452 B.R. at 520. Where “there is a fixed maturity date” but the

 debtor is “not required to make any principal payments for over four years,” In re Friedman’s

 held that the existence of the far-flung maturity date “weighs neither in favor of characterizing

 the [investment] as equity nor as debt.” Id. Moreover, other courts have determined that where

 “the parties do not provide for payment of any principal indebtedness ... through the first five

 years,” that suggests that “the parties’ plans and the economic realities .. . treated th[e] amount

 as equity.” Fidelity Bond & Mortg. Co. v. Brand (In re Fidelity Bond & Mortg. Co.), 340 B.R.

 266, 303 (Bankr. E.D. Pa. 2006). That latter ruling accords with In re SubMicron because where

 “an investor” must await a distant maturity date without any entitlement to interim payments of



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 principal, “the funds infused are repaid based on the borrower’s fortunes; hence, they are

 equity.” 432 F.3d at 456;             e.g.. In re Autostyle Plastics,269 F.3d atl5\ (“Ifthe

 expectation of repayment depends solely on the suceess of the borrower’s business, the

 transaetion has the appearanee of a capital contribution.”).

          42.      In sum, it is clear that the $20 million in unpaid accrued interest and commitment

 fees that were restructured in 2015 should properly be eonsidered equity, not debt. Oasis’s

 marginal interest rate is 0%, it is not required to make regular payments of interest or principal, it

 was never billed for any such payments, there is no date by whieh any supposed interest must be

 paid off, the restructured equity is subordinated to all of Oasis’s outstanding debt, and the

 Debtors were required to wait for years before they could expect any repayment whatsoever.

 Each of these faetors makes elear that the funds at issue constituted a eapital contribution.

                                                NOTICE

          43.      PPMG will provide notiee of this brief to the U.S. Trustee and eounsel to the

 Debtors. In light of the nature of the relief requested herein, PPMG submits that no other or

 further notice is necessary.

          WHEREFORE, PPMG respectfully requests entry of an order granting the relief

 requested herein and any such other and further relief as is just and proper.

 Dated: September 6, 2019                        COLE SCHOTZ P.C.

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                                   Exhibit A




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                        )     Chapter 11
           In re:                                                       )
                                                                        )     Case No. 18-10512 (CSS)
           Zohar III, Corp., et al., 1                                  )
                                                                        )     Jointly Administered
                                               Debtors.                 )
         _________________                                              )      Docket Ref. Nos. 222 & 223

                          ORDER APPROVING AND AUTHORIZING THE SETTLEMENT
                            AGREEMENT BY AND BETWEEN THE DEBTORS, LYNN
                             TILTON, THE PATRIARCH STAKEHOLDERS, MBIA
                                 INSURANCE CORP., AND THE ZOHAR III
                                         CONTROLLING CLASS

                    Upon consideration of the motion (the "Motion")2 of the Debtors for entry of an order,

           pursuant to section 105(a) of the Bankruptcy Code and Bankruptcy Rule 9019, approving the

           Settlement Agreement (attached hereto as Exhibit 1) entered into by and between (i) the

           Debtors, (ii) Lynn Tilton, (iii) the Patriarch Stakeholders, (iv) MBIA, and (v) Halcyon Capital

           Management LP3 , Cooperatieve Rabobank U.A., New York Branch, STS Master Fund, Ltd, SBF

           Opportunities Master Fund, Ltd, and Candlewood Structured Credit Harvest Master Fund, LTD

           (collectively, the "Zohar III Noteholders" and, together with the Debtors, Lynn Tilton, the

           Patriarch Stakeholders, and MBIA, the "Parties"), as more fully described in the Motion; and it

           appearing that this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

           and 1334 and the Amended Standing Order of Reference from the United States District Court

           for the District of Delaware, dated as of February 29, 2012; and it appearing that venue of these

           1
              The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
           Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar COO 2003-1, Corp. (3724), Zohar III, Limited
           (9261), Zohar II 2005-1, Limited (8297), and Zohar COO 2003-1, Limited (5119). The Debtors' address is 350
           Fifth Avenue, c/o Goldin Associates, LLC, New York, NY IO118.
           2
             Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Motion or
           the Settlement Agreement, as applicable.
           3
             The members of the Zohar III Controlling Class affiliated with Halcyon Capital Management LP are disclosed in
           the Verified Statement Pursuant to Fed. R. Bankr. P. 2019(a) filed on March 27, 2018 [Docket No. 95].
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           Chapter 11 cases and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and

           1409; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b) and

           the Court may enter a final order on the Motion consistent with Article III of the U.S.

           Constitution; and this Court having determined that the relief requested in the Motion is in the

           best interests of the Debtors, their estates, creditors, and other parties in interest; and this Court

           having found that the relief requested in the Motion is justified by the facts and circumstances;

           and it appearing that proper and adequate notice of the Motion has been given and that, except as

           otherwise ordered herein, no other or further notice is necessary; and after due deliberation

           thereon; and good and sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.     The Motion is GRANTED.

                   2.     The Settlement Agreement, a copy of which is attached hereto as Exhibit 1, is

           approved in its entirety pursuant to sections 105(a) of the Bankruptcy Code and Bankruptcy Rule

           9019, and is binding on all parties-in-interest in these Chapter 11 cases, including, but not limited

           to, the Parties, any new Collateral Manager or New Agent appointed under the terms of the

           Settlement Agreement, the Independent Director, the CRO, U.S. Bank, the Other Stakeholders,

           the Patriarch Stakeholders, the Committee, and any subsequent holder of any secured notes

           issued by any of the Debtors (including, with respect to any of the foregoing, any agents,

           successors, or assigns); provided, however, with respect to the Zohar III Controlling Class only,

           no Party shall be required to disclose the terms of the Settlement Agreement to any successor,

           assign or transferee, nor shall it be liable for any successor's, assign's or transferee's breach of

           the Settlement Agreement; provided, further however, that the first sentence of paragraph 30 of




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           the Settlement Agreement shall be null and void solely to the extent it contemplates a separate

           "confidential stipulation."

                  3.      A prospective purchaser or seller of debt issued or guaranteed by the Zohar III,

           Corp. or Zohar III, Limited may obtain a copy of the terms of the Settlement Agreement from the

           CRO, only after executing a standard NDA consistent with the practice in the District of

           Delaware for the sole and limited purpose of evaluating a potential purchase of such debt,

           provided however, that such terms shall not include Exhibits to the Settlement Agreement.

           Without limiting the binding effect of the Settlement Agreement provided for under Paragraph 2

           of this Order, in the event a potential purchaser of debt becomes a holder of Zohar III Claims,

           such NDA shall bind the entity requesting access to the terms of the Settlement Agreement, any

           individual representing any such entity in such a request, and any individual who is granted

           access to the terms of the Settlement Agreement on behalf of any such entity.

                  4.      Notwithstanding anything in the Order to the contrary, nothing contained in this

           Order is or shall be deemed to be an act by the Trustee to consent to or vote for or accept or

           adopt on behalf of any Secured Party any plan of reorganization, arrangement, adjustment or

           composition affecting the Notes or the rights of any Holder thereof, or to authorize the Trustee to

           vote in respect of the claim of any Noteholder in any such Proceeding. (All capitalized terms

           used in the prior sentence have the meaning ascribed to them in the applicable indenture between

           the Debtors and U.S. Bank.)

                  5.      Notwithstanding anything to the contrary in this Order or the Settlement

           Agreement, nothing set forth in the Settlement Agreement is binding on Blank Rome LLP.

                  6.      Notwithstanding anything to the contrary in this Order or the Settlement

           Agreement, nothing set forth in the Settlement Agreement is binding on Alvarez & Marsal Zohar


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           Management LLC ("AMZM"), provided, however, that paragraph 16 of the Settlement

           Agreement provides that AMZM shall be terminated.

                  7.      The Debtors are authorized and empowered to take any and all actions necessary

           to carry out, effectuate, or otherwise enforce the terms, conditions, and provisions of the

           Settlement Agreement.

                  8.      This Court shall retain jurisdiction to hear any and all disputes arising out of the

           interpretation or enforcement of this Order.


           Dated: May 2. \ , 2018
                  Wilmington, Delaware
                                                                Christopher S. Sontchi
                                                                United States Bankruptcy Judge




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                                            Exhibit 1

                                      Settlement Agreement




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                                                    Mediation Term Sheet
                               (In re: Zohar III Corp., et al., Case No. 18-10512 (CSS))

                15 Month Window - The period that expires 15 months from the date hereof.

                18 Month Extended Window - If each of MBIA and the Zohar III Claims receive 50% of
                their respective Paid in Full amount within the 15 Month Window, the 15 Month Window
                shall be deemed to be extended by 3 months and shall be hereafter referred to herein as the
                18 Month Extended Window.

                Bankruptcy Court - The United States Bankruptcy Court for the District of Delaware,
                which is presiding over the Chapter 11 cases of the Debtors.

                Debtors - The debtors in the Chapter 11 cases captioned: In re: Zohar III Corp., et al., Case
                No. 18-10512 (CSS).

                Designated Tax Director - the limited role Tilton shall have on behalf of the Debtors as
                described in paragraph 2 below.

                Full Payment Date - The date on which the parties or the classes of noteholders on Exhibit
                A are Paid in Full.

                Independent Director - the director appointed by the Mediator. The Independent Director
                (a) shall be unaffiliated with any party and (b) shall have played no role in connection with
                and held no claim against or interest in any of the Debtors.

                Indentures - (1) The Indenture among Zohar CDO 2003-1, Limited, Zohar CDO 2003-1
                Corporation, Zohar CDO 2003-1, LLC, and MBIA Insurance Corporation, CDC Financial
                Products, Inc., and U.S. Bank National Association, dated November 13, 2003; (2) The
                Indenture among Zohar II 2005-1, Limited, Zohar II 2005-1, Corp., Zohar II 2005-1, LLC,
                MBIA Insurance Corporation, IXIS Financial Products Inc., and LaSalle Bank National
                Association, dated January 12, 2005; and (3) The Indenture among Zohar III, Limited,
                Zohar Ill, Corp., Zohar III, LLC, Natixis Financial Products Inc., and LaSalle Bank
                National Association, dated April 6, 2007.

                MBIA-MBIA Insurance Corp.

                Mediator - The Honorable Kevin Gross, and if Judge Gross resigns as mediator Judge
                Sontchi will appoint a replacement mediator.

                Other Stakeholders - (a) US Bank and MBIA, when not referring to Zohar III, (b) US
                Bank and the Controlling Class representative when solely referring to Zohar III, and (c)
                US Bank, MBIA and the Zohar III Controlling Class when referring to Zohar III and either
                or both of Zohar I and Zohar II.
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                Paid in Full - The amount owed to the parties and in the amounts listed and calculated on
                the schedule attached hereto as Exhibit A to be updated monthly to reflect accrued and
                unpaid interest and fees allowable under the Indentures. 1

                Patriarch Stakeholder - Entities included in Exhibit B.

                Group A Portfolio Companies - Those companies listed on the schedule attached hereto
                as Exhibit C.

                Group B Portfolio Companies -Those companies listed on the schedule attached hereto
                as Exhibit D. 2

                Tilton -Ms. Lynn Tilton.

                U.S. Bank - U.S. Bank National Association, solely in its capacity as Trustee under the
                Indentures, and not in its individual capacity.

                Zohar III Noteholders - those entities or the classes of noteholders listed on the schedule
                attached hereto as Exhibit E.

                Zoltar III Claims - Claims under the Zohar III Indenture $[X]

                Zoltar Funds - collectively, Zohar CDO 2003-1, Limited; Zohar CDO 2003-1
                Corporation; nondebtor Zohar CDO 2003-1, LLC; Zohar II 2005-1, Limited; Zohar II
                2005-1, Corp.; nondebtor Zohar II 2005-1, LLC; Zohar III, Limited; Zohar III, Corp.; and
                nondebtor Zohar III, LLC)

                Terms



                        This footnote is intended to cover MBIA's claims. Other than the Policy Payment
                in the amount of $148,951,585 with respect to Zohar I and the Policy Payment of
                $770,109,326 with respect to Zohar II reflected on Exhibit A, the calculation of which
                amounts are not subject to challenge by Tilton; all other rights reserved. MBIA will
                consult in good faith with Tilton regarding the other amounts and calculations specified in
                Exhibit A. If the parties are unable to agree on those other amounts, the matter shall be
                referred to the Mediator. If the Mediator is unable to resolve the dispute, the matter shall
                be brought to the Bankruptcy Court for resolution. Any equity interest owed to MBIA or
                Zohar I, as applicable, will be escrowed until the expiration of the 15 Month Window; all
                parties' rights reserved. Any proceeds from the sale or repayment of Zohar I loans (but not
                the equity interest) shall be paid directly to MBIA.
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                        Group B Portfolio Companies will exclude the Group A Portfolio Companies.
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                1. The Mediator shall appoint a single Independent Director for each of the Zohar
                   Funds (same director shall be appointed for all of the Zohar Funds). The
                   Independent Director shall not have the power to convert or dismiss the Chapter 11
                   cases during the 15 Month Window. Tilton shall resign as a director of each and
                   shall have no governance authority or responsibility for the Zohar Funds, other than
                   as Designated Tax Director. On the Full Payment Date, the Independent Director
                   shall be deemed to resign and Tilton shall be automatically reinstated as director of
                   each of the Zohar Funds (with all powers attendant to such position also
                   automatically reinstated).

                2. Notwithstanding anything to the contrary herein except subject only to paragraph 3
                   and 14, Tilton shall remain the director of each of the Debtors (until such time as
                   she is no longer the taxpayer for the Debtors, the Group B Portfolio Companies,
                   and Group A Portfolio Companies) solely for the purpose of exercising (and having
                   no other rights or authority) to (a) manage the tax liability and reporting of the
                   Debtors and the Group B Portfolio Companies, (b) manage the tax reporting of the
                   Group A Portfolio Companies and (c) with respect to the Group B Portfolio
                   Companies, manage any event causing cancellation of debt income (forgiveness of
                   debt, liquidation, unwind, or foreclosure) including to manage the timing of sale of
                   the Group B Portfolio Companies, forgiveness of debt and realizing gains and
                   losses (the "Designated Tax Director"). In that capacity, Tilton shall continue to
                   bear the tax liability associated with ownership of the Debtors, the Group B
                   Portfolio Companies, and the Group A Portfolio Companies, including with respect
                   to any Group A Portfolio Company transactions.

                3. Subject to the last sentence of this paragraph 3, if the Full Payment Date does not
                   occur within the 15 Month Window, Tilton and the CRO shall negotiate in good
                   faith on how to monetize the Group B Portfolio Companies. In the event of any
                   dispute in such negotiations, in the first instance such dispute shall be referred to
                   the Mediator. If the Mediator cannot resolve any or all disputes, the parties shall
                   jointly seek an order of the Bankruptcy Court resolving such disputes.

                4. [TBD: CRO and LT will develop reasonable process milestones related to hiring
                   bankers, .... ]

                5. The Group A Portfolio Companies will be sold without regard to Tilton's personal
                   tax liability.

                6. The Independent Director/CRO shall appoint a new independent administrative
                   agent under the Zohar credit agreements (the "New Agent") who shall report only
                   to the Independent Director/CRO and U.S. Bank; provided, (a) that PPAS remains
                   the administrative agent under the Zohar credit agreements for all purposes related
                   to the Patriarch Stakeholders and any other third party; and (b) during the 15 Month
                   Window or the 18 Month Extended Window, as applicable, the New Agent shall
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                    have all rights and remedies available under the Credit Agreement with respect to
                    the Zohar interests in the Group A Portfolio Companies; provided, however, that
                    the New Agent shall not have the ability to take any action, declare any default or
                    exercise any remedy with respect to any Group A Portfolio Company (other than
                    for prospective non-payment of interest) or any Group B Portfolio Company and
                    subject to the tolling of claims and other terms hereof. PPAS, the Independent
                    Director/CRO, and the New Agent shall use reasonable efforts to transition existing
                    Zahar-related PPAS matters to the new agent. Subject to the approval of the
                    Independent Director/CRO. PPAS shall use commercially reasonable efforts to
                    take all reasonable actions to ensure the continued validity and perfection of any
                    security interests and liens for loans transferred to the New Agent. PPAS may be
                    reimbursed for reasonable transition costs incurred in transition to the New Agent.
                    If there is any dispute with respect to any of the foregoing, in the first instance such
                    dispute shall be referred to the Mediator. If the Mediator cannot resolve that
                    dispute, the parties shall jointly seek an order of the Bankruptcy Court resolving
                    that dispute. Nothing in the foregoing paragraph shall prejudice rights and
                    remedies of the parties to Patriarch Partners Agency Services, LLC v. Zohar CDO
                    2003-1, Ltd., No. 16-cv-4488 (S.D.N.Y.), in the event that litigation is resumes.

                 7. If the Independent Director resigns prior to the Full Payment Date, the Mediator
                    shall appoint a replacement Independent Director. In connection therewith, the
                    Mediator shall consult with the controlling class of Zohar III noteholders, MBIA
                    and Tilton about director candidates. The Independent Director shall be fully
                    charged with governance of the Zohar Funds under applicable Cayman or
                    Delaware law.

                 8. The Independent Director will retain a CRO to participate in the process to
                    monetize the Debtors' interests in the Group A Portfolio Companies, whether
                    through sale or refinancing (the "Monetization Process"). The CRO shall (a)
                    replace the current CRO, (b) be unaffiliated with any party, and (c) have played no
                    role in connection with and held no claim against or interest in any of the Debtors;
                    provided, however, that Rob Kost may be considered for any role in the
                    monetization process, by the CRO. The Independent Director and CRO each will
                    execute a standard NDA consistent with the practice in the District of Delaware.

                 9. Tilton shall remain in her position as director, manager and officer, as applicable,
                    of the Group A Portfolio Companies during the 15 Month Window, or, if qualified,
                    for the 18 Month Extended Window. During the 15 Month Window or, if qualified,
                    for the 18 Month Extended Window, all parties agree that no action shall be taken
                    to remove Tilton from any such position.

                 10. With full and joint authority, Independent Director/CRO, with full authority on
                     behalf of the Debtors, and Tilton, with full authority on behalf of the Group A
                     Portfolio Companies, will conduct a process to monetize the Group A Portfolio
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                     Companies and the Group B Portfolio Companies. It is acknowledged that the CRO
                     will act in the best interests of the Zohar Funds, and Tilton in the best interests of
                     the Group A Portfolio Companies. Tilton and the CRO shall jointly select bankers
                     and other professionals, prioritize sales, oversee the bid process and select
                     transactions to complete. Tilton shall work with the CRO, who shall jointly with
                     Tilton choose bankers to be retained for Group A Portfolio Company sales. Each
                     shall have full and complete information regarding the Monetization Process and
                     sources and uses of funds in any transaction consummated as part of the
                     Monetization Process. Tilton and the CRO shall use good faith,
                     commercially-reasonable efforts to coordinate prospective meetings with bankers
                     and buyers. But in no event shall the CRO interfere in any way with the operations
                     of the Group A Portfolio Companies and the Group B Portfolio Companies.

                  11. Any dispute with respect to the Monetization Process between the Independent
                      Director/CRO and Tilton, in the first instance, shall be referred to the Mediator. If
                      the dispute cannot be resolved by the Mediator, the parties retain all rights to seek
                      an order of the Bankruptcy Court resolving such dispute.

                  12. Tilton and the CRO shall work jointly as outlined herein to monetize the Group A
                      Portfolio Companies until such time as the (i) the parties each agree in writing to
                      terminate this settlement agreement, such agreement to be granted or withheld in
                      their sole respective discretion or (ii) the Full Payment Date.

                  13. At the Full Payment Date, MBIA and the Zohar III Noteholders shall have no direct
                      or indirect claim against, or interest or participation in the Zohar Funds or the
                      Group A Portfolio Companies; provided, however, that the resolution of any
                      dispute regarding the escrow referenced in footnote 1 shall not be barred as of the
                      Full Payment Date by the provisions of this paragraph.

                  14. The 225 Action remains subject to the stay subject to satisfaction of the 15 Month
                      Window. The Status Quo Orders entered in the 225 Action are held in abeyance
                      and shall have no effect during the 15 Month Window or 18 Month Extended
                      Window with respect to the Monetization Process involving any Group A Portfolio
                      Company.

                  15. MBIA and Zohar III shall form a Zohar Fund creditors committee (the
                      "Committee") to oversee and monitor the Zohar bankruptcy. The CRO shall
                      provide the Committee members with all information necessary to assess and
                      represent the interests of the Other Stakeholders other than information whose
                      distribution is reasonably limited at the request of investment bankers or potential
                      buyers. The committee shall be comprised of 3 representatives. The members and
                      their respective advisors shall execute standard NDAs consistent with the practice
                      in the District of Delaware. The reasonable fees and expenses of the Committee
                      and its advisors shall be set forth in a budget to be approved by the CRO and shall
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                     be paid by the estates._ All other litigation, motions and contested matters between
                     any of the parties other than the 225 Action as discussed above, shall be stayed,
                     with appropriate protections so there is no prejudice to any parties. Except as
                     specifically set forth herein, no other litigation, motions, and/or contested matters
                     may be re-initiated or brought (directly or indirectly) by (a) any Other
                     Stakeholders, (b) the Debtors, (c) the New Agent, (d) the Group A Portfolio
                     Companies, (e) the Group B Portfolio Companies, and (t) any Collateral Manager,
                     seeking any relief against the Patriarch Stakeholders (and their respective officers,
                     directors, employees, affiliates and agents), or any of the Group A or Group B
                     Portfolio Companies.

                     For the avoidance of doubt, with respect to any of the entities identified in
                     paragraph 15: (1) (a) any litigation, claim, motion, or contested matter that was or
                     could have been brought prior to the date hereof, and (b) any litigation, claim,
                     motion, or contested matter that could be brought after the date hereof arising from
                     any facts, acts, or omissions that first arose prior to the date hereof, shall be stayed
                     during the 15-Month Window, with appropriate protections so there is no prejudice
                     to any party and; (2) any other litigation, claim, motion, or contested matter not
                     referenced in paragraph 15(1) shall only be brought subject to the provisions of
                     paragraphs 17 and 23, and no other litigation, claim, motion, or contested matter
                     that does not fall within paragraph 17 and 23 shall be brought by any such entity
                     against any other such entity during the I S-Month Window.

                  16. AMZM and any of its affiliates (collectively, "AMZM") shall not be a member of
                      or advisor to the Committee, and, except herein, AMZM shall not be paid or
                      reimbursed by the estates or the Portfolio Companies for any fees or expenses with
                      respect to the Monetization Process or any other purpose; provided, however, that
                      (a) AMZM shall be terminated as Collateral Manager, and MBIA and the Zohar III
                      Noteholders shall designate a new Collateral Manager who has no claim against the
                      Debtors, and the Collateral Management Agreement shall be amended in a manner
                      to reflect the settlement herein and (b) all parties reserve their rights with respect to
                      any AMZM fees and expenses incurred prior to the date hereof. Subject to the
                      approval of the CRO, AMZM may be reimbursed for reasonable transition costs
                      solely incurred in the transmitting of information to the new collateral manager.
                      [TBD: Side agreement b/w cro and CM ensuring reasonable fees which will be
                      escrowed to escrow CM fees due under the indenture ]

                  17. The Debtors shall promptly negotiate with the secured parties funding of the
                      Debtors' Chapter 11 cases from the use of the secured parties' cash collateral. In
                      order to facilitate this negotiation, the Zohar Funds will provide customary
                      bankruptcy case budgets, including anticipated sources and uses of cash (including
                      payments from the Group A Portfolio Companies). It is understood and agreed the
                      Zohar Funds shall not utilize any cash they are holding pending an agreed order. In
                      the event of any dispute among the parties with respect to use of cash collateral, in
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                       the first instance such dispute shall be referred to the Mediator. If the Mediator
                       cannot resolve that dispute, the parties will jointly seek an order of the Bankruptcy
                       Court resolving that dispute.

                    18. Any (A) claim asse1ied by the Patriarch Stakeholders that is supported by written
                       documentation showing the claim (a) was funded to a Group A Portfolio Company
                       by a Patriarch Stakeholder (in the case of funded debt claim), or (b) represents a fee
                       or other claim arising from a deferral of payment or any management and/or
                       administrative fee owed to a Patriarch Stakeholder3 and (B) equity interest asserted
                       by the Patriarch Stakeholders is supported by written documentation, then such
                       claim and equity interest, as applicable, shall be deemed due and payable through
                       the closing of any monetization event on a pari passu basis with other similarly
                       situated claims and equity unless the applicable credit agreement provides
                       otherwise.4 In connection with any such closing, the Patriarch Stakeholders will
                       release any liens that secure any of the foregoing non-challenged claims on a pari
                       passu basis with liens on the same collateral held by the Other Stakeholders. All
                       parties' respective rights to challenge the propriety of any of the foregoing claims
                       or equity interests are tolled without prejudice until the expiration of the 18 Month
                       Window (provided the Full Payment Date does not occur on or before such date),
                       but no such claim shall be brought during the 18 Month Window or used to block
                       the closing of any pending transaction in the Monetization Process. The Patriarch
                       Stakeholders will promptly provide any information reasonably requested by the
                       CRO to verify the existence of the funding and documentation described above
                       (provided that the CRO may share the foregoing information with Other
                       Stakeholders (subject to the execution of an NDA approved by the Mediator) as
                       required in the CRO's reasonable discretion. With respect to the claims in (A)
                       above, the payments to the Patriarch Stakeholders that shall be made without
                       further analysis or challenge shall be capped at $250 million, with any amounts in
                       excess to be held in escrow until Full Payment Date. Tilton represents that none of
                       the claims in (A) currently prime the secured claims of the Other Stakeholders in
                       the Group A Portfolio Companies, other than ABLs in
                       -· Nothing herein is intended to or shall elevate or modify the existing
                       priority of any claims or liens.

                    1 9. All causes of action among the Debtors, Other Stakeholders and Patriarch
                       Stakeholders (including any of their affiliates or agents) with respect to the
                       Debtors, the Group A Portfolio Companies and the Group B Portfolio Companies

                   3
                      Management and/or administrative fees as noted here are defined in a separate
                agreement entered between the parties concurrent with this agreement.
                   4
                       Tilton to provide a good faith estimate on company by company basis for each of
                the Group A Portfolio Companies on an aggregate basis, in each case reflecting the
                aggregate amount she expects will be covered by this paragraph 17.
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                        shall be tolled during the 1 5 Month Window or, if qualified, for the 18 Month
                        Extended Window, and all parties' respective rights shall be reserved with respect
                        thereto, including with respect to venue and jurisdiction.

                     20. Tilton represents that the Group A Portfolio Companies and the Group B Portfolio
                         Companies will be operated in the ordinary course of business during the 15 Month
                         Window. During the 15 Month Window, the Group A Portfolio Companies and the
                         Group B Portfolio Companies shall not declare dividends but shall be authorized to
                         (b) (i) enter into financing transactions with affiliates on market terms, subject to
                         first consulting with the CRO or (ii) issue new equity that will dilute the existing
                         equity holdings on market terms, subject to first consulting with the CRO;
                         provided, however, that if the CRO objects to the financing or equity described in
                         the foregoing subparagraphs (b)(i) and (ii), the CRO may take that dispute to the
                         Mediator for final resolution. Notwithstanding the foregoing, the Group A Portfolio
                         Companies and the Group B Portfolio Companies can distribute payments as
                         designated by the Designated Tax Director for the payment of their state and
                         federal income taxes.

                     21. The Group A Portfolio Companies shall share with employees of MBIA (who sign
                         NDAs as described in Paragraph 15 herein) financial statements and backup
                         reasonably requested in writing by MBIA. Any information provided to MBIA
                         shall only be shared in the following way: someone employed by MBIA can view
                         the documents in the New York offices of Gibson Dunn but may not take copies or
                         pictures of any documents or share any information in those documents, except
                         with the CRO. In the event of any dispute among the parties with respect to the
                         reasonableness of that request, such dispute shall be finally decided by the
                         Mediator.

                     22. While any dispute is before the Mediator, no pai1y to such dispute shall take any
                         action in Bankruptcy Court.

                     23. If any party materially breaches this Agreement, the dispute shall be in the first
                         instance determined by the Mediator on a confidential basis. The Mediator shall
                        have all remedies available to him. If the Mediator cannot resolve the dispute, the
                        Mediator shall make a report and recommendation to the Bankrnptcy Court and the
                        parties shall jointly seek an order of the Bankruptcy Court resolving such dispute.
                        In connection with the foregoing, the Mediator shall determine to what extent
                        information should be filed under seal, subject to the order of the Bankruptcy Court
                        approving such filing under seal. The paiiies agree that for purposes of any
                        decision of the Bankruptcy Court dealing with any matter covered by this
                        paragraph, the Agreement is non-severable under all circumstances.

                     24. Any application by any party for assistance from the Mediator shall be brought
                         within seven (7) days of identifying the dispute to the other party or parties
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                      involved in the dispute, and heard at the Mediator's earliest availability. Any
                      application shall be in writing and served by email on the other parties.

                   25. Upon the expiration of the 15 Month Window, the Independent Director/CRO may
                       take all necessary and appropriate action in the best interests of the Zohar Funds
                       without any restriction herein or otherwise, including, but not limited to, seeking
                       relief from the Bankruptcy Court to lift the automatic stay, taking action to remove
                       Tilton as a director or manager of the Group A Portfolio Companies or the Group B
                       Portfolio Companies, or dismissing or converting the cases to chapter 7 cases.
                       Upon the expiration of the 15 Month Window, all parties to the chapter 11 cases
                       shall have and may exercise any and all rights available under applicable law.

                   26. The parties (other thn U.S. Bank) shall issue the joint press release as set forth in
                       Exhibit F stating that the parties will work in a mutually cooperative process in
                       support of the Monetization Process (and no other press release). If the parties
                       cannot jointly agree, then the Mediator shall resolve any disputes. The parties shall
                       also agree to standard non-disparagement terms.

                   27. The Bankruptcy Court shall retain jurisdiction to enforce the terms of this
                      agreement and all parties agree to submit to the jurisdiction of the Bankruptcy
                      Court for resolution of any matter in connection with this agreement or the
                       enforcement thereof; provided, however, that no party shall be deemed to consent
                      to venue or jurisdiction before the Bankruptcy Court for any matter not in
                       connection with this agreement or the enforcement thereof.

                   28. The parties will work with the indenture trustee under the Zohar indentures to
                       satisfy the requirements of the indentures with respect to the implementation of this
                       Agreement. Any such dispute related to satisfaction of such requirements shall be,
                       in the first instance, referred to the Mediator. If the Mediator cannot resolve that
                       dispute, the parties will jointly seek an order of the Bankruptcy Court resolving that
                       dispute ..

                   29. For the avoidance of doubt, if each ofMBIA and the Zohar III Claims receive 50%
                       of the Paid in Full amount within the 15 Month Window, the 15 Month Window
                       shall be herein shall be replaced with the term 18 Month Extended Window for all
                       purposes.

                   30. The foregoing terms shall be memorialized in a confidential stipulation filed under
                       seal and entry of an order by Judge Sontchi, on terms and conditions satisfactory to
                       the parties. The order shall provide, among other provisions, that this Agreement
                       and the order shall be binding on all parties and their successors and assigns.


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                                           EXH IBIT A




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ZOHAR I
                                                                                                              Indenture § 11.l(a)(i)(G), 11-l(a)(ii)(B);
Amounts paid on Nov. 20,. 2015 under the Policy                                                   148,951,585 Insurance Agreement (definition of Accrued Insurance Liabilities)




Interest (Prime + 2%), as of April 18, 2018                                                         8,249,532 Insurance Agreement § 4.03

SUBTOTAL                                                                                          157,201,117




                                                                                                                                                                                                                                                       Case 18-10512-CSS
Credit Enhancement Liabilities incurred in connection with MBIA's administration,                             Indenture § lLl(a)(i}(G), 11.l(a}(ll){B);
enforcement, defense or preservation of rights under the Transaction Documents•                     7,718,876 Insurance Agreement (definition of Accrued Insurance liabilities)
            Legal fees/expenses                                                     7,531,990

            Financial, investment and non-legal advisors                            186,886
TOTAL ZOHAR I CLAIM                                                                              164,919,993*


�
                                                                                                              Indenture § 11.l(a)(i}(G), 11.l(a){ii}(B};
1/20/2017 Policy Payment                                                                          770,109,326 Insurance Agreement {definition of Accrued Insurance Liabilities)



Interest (Prime + 2%), as of April 18, 2018                                                        27,080,207 Insurance Agreement § 4.03




                                                                                                                                                                                                                                                       Doc 266-1
SUBTOTAL                                                                                          797,189,533

Credit Enhancement Liabilities incurred in connection with MBIA's administration,                             Indenture § 11.l(a)(i)(G}, 11.l(a){ii)(B);
enforcement, defense or preservation of rights under the Transaction Documents•                    14,851,685 Insurance Agreement (definition of Accrued Insurance liabilities)
           Legal fees/expenses                                                      10,641,048

         Financial, investment and non-legal advisors                               4,210,637
TOTAL ZOHAR II CLAIM                                                                             812,041,218*




                                                                                                                                                                                                                                                       Filed 05/21/18
ZOHAR PAID IN FULL AMOUNT                                                                        $976,961,211 ·1•Assumptions:
                                                                                                                   All amounts are "as or' April 18, 2018 and will change pending Full Payment Date, including to reflect interest accrued and other
                                                                                                                   Credit Enhancement Liabilities which MBIA has not yet paid
                                                                                                                   Portfolio Company Zohar I loan interest payments will continue to be paid directly to MBIA
                                                                                                                   Zahar II claim amount does not reflect Portfolio Company loan interest payments which MBIA is entitled to receive, but have not
                                                                                                                   yet been distributed to MBIA.


                                                                                                                    MBIA is not seekin_L reimbl!��ent for co�, expen�_or interest �yme1:1ts _!n�de !.� connection with MZ FuEding loan




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                                                                                   EXHIBIT A
                                                                               [ZOHAR III CLAIMS]

             Disclaimer: The Zohar III Claims as forth in this Exhibit A have not been verified by the Collateral Manager since January 20 1 6 as requ ired by
             the Indentures and Management Agreement, and therefore, U.S. Bank makes no representation as to accuracy of the Zohar III Claims as set forth
             below, which claims and interest accruals may be modified or otherwise revised or verified when the new Collateral Manager is designated in
             accordance with the Mediation Term Sheet. Once the Collateral Manager is appointed, that person or entity, after consultation with U.S. Bank, will
             be responsible for updating the amounts herein to reflect unpaid principal. accrued and unpaid interest, and other fees, expenses, and other amounts
             allowable under the Indentures. Notwithstanding anything to the contrary in this Exhibit A or in the Mediation Term Sheet, nothing shall mod ify,
             alter, or otherwise change the Priority of Payments set forth in the Indentures, and U S. Bank's rights, remedies, and objections to any such
             modification, alteration, or other change thereto are folly reserved . Capital ized terms used but 1101 otherwise defined herein have the meanings
             ascribed to them in the Mediation Tenn Sheet to which this Exhibit A is attached or in the Indentures.



             The following does not include interest accruing after 5/ 1 8/ 1 8, The following schedule excludes certain categories
             and amounts that must be paid prior to principal and interest owing to the Holders of the notes, including, without
             limitation, certain fees, expenses, reserves, and other amounts, which are set forth in the Priority of Payments of each
             Indenture (that have accrued or may accrue in the future):



Issue Name         Issue Date ,Maturity Date . issue Amount        Original Par Amount Current Balance        Prepetition Accrued Interest•• Addt'I Accrued Interest Thru 5/18/18*.. Ending Balance
Class A·lR           4/11/2007    4/15/2019 $ 200,000,000.00 $           200,000,000.00     $ 135,767,116.30 $                    686,522.34    $                            586,182.09 $ 137,039,820. 1 3
                                                               ·
Class A-lT         . 4/11/2007 . 4/1S/20i9 fls0,000,000.00 . $           150,000,000.00   · $ 101,825,337.23 , $                  509,743.92   ·$                            436,203.28J  102,771,284.13
Class A-10           4/11/2001 ·· 4/15/ioig:f 350,000,000.()() i    s    350,000,000.00    s  231,s92,453.54 , s                1,1s9,402.47   s                           1,011,so1.66 s 239,799,663. ,1
Class A-2            4/11/2007    4/15/2019 $ 200,000,000.00 $           200,000,000.00     $ 200,000,000.00 $                  1,087,156.78   $                             914,108.70 $ 202,001,265. 18
Class A-3            4/11/2007    4/15/2019 $ 116,000,000.00 $           116,000,000.00     $ 116,000,000.00 · $                  689,195.38   $                             569,346.03 $ 117,258,541. 11

*'This is the accrued interest that wasn't paid because of the $4,637,241.39 deposit of interest outside the collection account before the petition date
'"The "Addt'l Accrued Interest Thru 5/18/18" column capitalizes the "Prepetition Accrued Interest" into the Current Balance and then Accrues Interest Thereon through 5/18/18




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                                                          EXH IBIT B



                 Exhibit B: Patriarch Stakeholders

                 • Ark Entities (including Ark Angels, LLC; Ark Angels I I , LLC; Ark Angels I l l , LLC; Ark
                 Angels VIII, LLC; Ark Investment Pattners I I , LP; Ark I I CLO 200 1 - 1 , Ltd.)
                 • LO Investments, LLC
                 • Lynn Tilton
                 • Octaluna LLC Entities (including Octaluna LLC; Octaluna II, LLC; Octaluna III, LLC)
                 • Patriarch Partners Entities (including Patriarch Partners, LLC; Patriarch Partners VIII, LLC;
                 Patriarch Partners, XIV, LLC; Patriarch Partners XV, LLC)
                 • Patriarch Partners Management Group, LLC (PPMG)
                 • Patriarch Partners Agency Services, LLC (PPAS)
                 • Zohar Holdings, LLC




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                                                EXH I BIT C


                                       Group A Portfolio Companies

                                               [REDACTED]




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                                             EXHIBIT D

                                   Group B Portfolio Companies


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                                              EXH I BIT E

                                           [To be provided]




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                                                             EXHIBIT F


                         The Zohar Funds, Lynn Tilton, MBIA, and the Zohar Ill Noteholders
                                              Announce Resolution to
                               Stay Litigation, Refinance and Monetize Zohar Assets

                    NEW YORK - April [XX], 2018 -Zohar CDO 2003-1, Zohar CDO 2003- 1 Corp., Zohar II
                    2005-1,   Limited, Zohar II 2005-1 Corp., Zohar III, Limited, and Zohar III, Corp.
                    (collectively, the "Zohar Funds''), Lynn Tilton, MBIA Insurance Corporation, a wholly owned
                    subsidiary of MBIA Inc. (NYSE: MBI), and the Zohar III Controlling Class of Noteholders
                    jointly announce today that the parties have mutually resolved the motions pending in
                    federal Bankruptcy Court in the District of Delaware relating to the Zohar Funds, and have
                    agreed to a deal that will include a stay of all pending litigation between the parties. This
                    agreement is intended to facilitate the refinancing and monetization of assets of the Zohar
                    Funds to the benefit of all stakeholders, and the parties have agreed to work in a mutually
                    cooperative process in support of such refinancing and monetization.
                    As part of the agreement, an Independent Director will be appointed to govern the Zohar
                    Funds, along with a Chief Restructuring Officer, who together with Ms. Tilton as director
                    and manager of each Portfolio Company, will jointly implement the refinancing and
                    monetization process. During the process, Ms. Tilton will remain in her current roles at the
                    Portfolio Companies, all litigation between the parties will be stayed for a minimum of 15
                    months, and the bankruptcy cases will proceed without the appointment of a Trustee.
                    Ms. Tilton stated, "This agreement is a meaningful and important step towards allowing the
                    Zohar Funds to monetize and refinance their assets in order to pay off all creditor claims in
                    full. It is in the best interest of all stakeholders that we lay down our swords and stop the
                    years of damaging litigation in order to maximize value for all of the Funds' stakeholders. f
                                                                                                                 l




                    Anthony McKiernan, Chairman of MBIA Insurance Corporation, stated that "MBIA is
                    pleased that the parties have been able to come to a consensual agreement that will put in
                    place a process to enable MBIA to recover on the significant amounts it has paid its
                    policyholders.f
                                   l




                    Marc Kirschner of Goldin Associates, Chief Restructuring Officer of the Zohar Funds, added,
                    "The resolution of the hotly contested litigation in the bankruptcy cases is in the best
                    interests of the Zohar Funds and their stakeholders as it will pave the way for the Zohar
                    Funds to maximize the value of their assets for the benefit of all. The mediated result was
                    the culmination of significant negotiations and the Zohar Funds are deeply appreciative of
                    the efforts of the mediator, Judge Kevin Gross, for facilitating a settlement of the pending
                    matters, which was no simple task.  fl




                    Today's agreement will have no immediate effect on the operations of the Portfolio
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                Companies to whom the Zohar Funds have made senior secured loans. The Portfolio
                Companies will continue to operate their businesses in the ordinary course as they are not
                parties to these bankruptcy cases.




                MEDIA CONTACTS:

                FOR LYNN TILTON
                Brunswick Group
                Alex Yankus
                212-333-3810
                ayankus@brunswiclsg_r.9. ug.c.9_rn


                MBIA
                Greg Diamond , 91 4-765-31 90
                Investor and Media Relations
                greg. d i amond@mbia.com




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                 EXHIBIT B


                    Management Services Agreement
     [PPMG has requested that the entirety of this Exhibit be filed under seal.]




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                                   Exhibit C




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                                             AMENDMENT NO. 8
                                         TO CREDIT AGREEMENT OF
                                           LVD ACQUISITION, LLC



                         Amendment No. 8 (this "Amendment"), dated as of November_, 2015, to the
         Credit Agreement, effective as of June 1, 2010 (as modified to the date hereof, the "Credit
         Agreement"), among LVD ACQUISITION, LLC, a Delaware limited liability company, and the
         other borrower signatory hereto (each a "Borrower" and, collectively, the "Borrowers"), the
         guarantors from time to time party thereto, the financial institutions and other investors from time
         to time party thereto as Lenders and PATRIARCH PARTNERS AGENCY SERVICES, LLC, a
         Delaware limited liability company, as administrative agent for such Lenders (in such capacity,
         the "Administrative Agent"). Capitalized terms used herein but not defined herein are used as
         defined in the Credit Agreement.

                                               WI TN E S S E T H:

                         WHEREAS, the Borrowers, the Guarantors, the Lenders and the Administrative
         Agent are party to the Credit Agreement; and

                        WHEREAS, the Lenders party to this Amendment, the Borrowers and the
         Administrative Agent have agreed, subject to certain limitations and conditions set forth below, to
         make certain amendments to the Credit Agreement, as more specifically set forth below;

                         NOW, THEREFORE, the parties hereto agree as follows:

                  Section 1.      Amendments to the Credit Agreement. The Credit Agreement is,
         effective as of the date first written above and subject to the satisfaction (or due waiver) of the
         conditions set forth in Section 2 (Conditions Precedent to the Effectiveness of this Amendment)
         hereof, hereby amended as follows (with bold, underline, highlighting, indenting and other
         formatting modified to conform to the formatting of the Credit Agreement):

                         (a)     Amendments to Schedules.

                                  (i)      The contents of the columns set forth on Schedule A hereto are
         hereby inserted at the end of Schedule 2.1 to the Credit Agreement to reflect a restructuring of
         $20,291,872.92 of unpaid interest and commitment fees into Tranches TLD, TLE, and TLF. In
         addition, Administrative Agent hereby waives its ability to call an Event of Default for the past
         failure to pay such unpaid interest.

                 Section 2.      Conditions Precedent to the Effectiveness of this Amendment. This
         Amendment shall become effective as of the date first written above (the "Amendment Effective
         Date") when, and only when, each of the following conditions precedent shall have been satisfied
         or duly waived by the Administrative Agent (the date each such conditions precedent is satisfied
         or duly waived, the "Conditions Precedent Date"):

                         (a)    Certain Documents. The Administrative Agent shall have received this
         Amendment, duly executed by the Borrowers and the Lenders constituting all Lenders, together
         with such additional documentation as the Administrative Agent may reasonably require, dated




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         the Amendment Effective Date (wiless othexwise agreed by the Administrative Agent) and in
         form and substance satisfactory to it;

                         (b)      Representations and Warranties. Each of the representations and
         warranties contained in this Amendment were true when made;

                         (c)     No Default or Event of Default. After giving effect to this Amendment,
         no Default or Event of Default shall be continuing, either on the date hereof or on the Conditions
         Precedent Date;

                          (d)    Comorate and Other Proceedings. All corporate and other proceedings,
         and all documents, instruments, consents and other legal matters ancillary to the transactions
         contemplated by this Amendment shall be completed in a form and manner satisfactory in all
         respects to the Administrative Agent; and

                          (e)     Fees and Expenses Paid. The Borrower shall have paid all Obligations
         due, after giving effect to this Amendment, on or before the later of the date hereof and the
         Conditions Precedent Date, including, without limitation, all fees set forth in Section 4 (Fees and
         Expenses) hereof and all other costs, expenses and fees due wider any Credit Document and
         invoiced prior to the Conditions Precedent Date.

                 Section 3.       Representations and Warranties. On and as of the date hereof and as of
         the Conditions Precedent Date, after giving effect to this Amendment, each Borrower hereby
         represents and warrants to the Administrative Agent and each Lender as follows:

                        (a)     Binding Obligation. This Amendment has been duly authorized,
         executed and delivered by such Borrower and constitutes a legal, valid and binding obligation of
         such Borrower, enforceable against such Borrower in accordance with its terms and the Credit
         Agreement as modified by this Amendment;

                           (b)      Subsidiaries.    (i) the representations and warranties set forth in
         Section 4.1(m) (Subsidiaries) of the Credit Agreement are true as of the date hereof (replacing
         "Closing Date" therein with the date of this Amendment and talcing into accowit any updated
         information delivered by any Borrower to the Administrative Agent on or prior to the date hereof)
         and] all Subsidiaries of any Borrower existing on the Conditions Precedent Date have executed
         the Credit Documents required to be executed with respect to such Subsidiaries pursuant to the
         Credit Agreement, including, without limitation, Section 5. I (m) (Further Assurances) thereof and
         (ii) in any case, all certificates, statements, updated schedules, collateral and other updates and
         other documents required to be delivered by such Borrower to the Administrative Agent or any
         Lender pursuant to any Credit Document as modified hereby have been delivered therewider and
         all filings required to be made by or on behalf of such Borrower pursuant to any such Credit
         Document have been made;

                         (c)       Representations and Warranties in Credit Documents. Each of the other
         representations and warranties of such Borrower contained any Credit Document (as modified
         hereby) or in any certificate, document or financial or other statement furnished at any time wider
         or in connection therewith is true in all material respects on and as of the date hereof and the
         Conditions Precedent Date, in each case as if made on and as of such date and except to the extent
         that such representations and warranties expressly relate to a specific date, in which case such
         representations and warranties shall be true in all material respects as of such specific date;


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         provided, however, that, as used therein, (i) "Credit Agreement" shall refer to the Credit
         Agreement and after giving effect to this Amendment and (ii) "Credit Documents" shall include
         this Amendment;

                          (d)     No Litigation or Defense. No litigation has been commenced or
         threatened against such Borrower or any of its Subsidiaries seeking to restraint or enjoin (whether
         temporarily, preliminarily or permanently) the performance of any action by any Borrower or any
         Subsidiary of any Borrower required or contemplated by the terms of this Amendment or any
         other Credit Document as modified hereby, and there exists no cause of action, offset, claim,
         counterclaim or defense, whether or not asserted, against the Administrative Agent or any Lender
         or any of their Related Parties (as defined below) with respect to the Obligations under any Credit
         Document; and

                 Section 4.        Fees and Expenses.

                          (a)    Borrowers jointly and severally agree to pay on demand in accordance
         with the terms of Section 11.3 (Expenses) of the Credit Agreement all costs and expenses of the
         Administrative Agent in connection with the preparation, reproduction, execution, delivery and
         enforcement of this Amendment and all other Credit Documents entered into in connection
         herewith (including, without limitation, the fees and expenses of attorneys, advisors and other
         professionals hired by the Administrative Agent with respect to the Credit Parties or the Credit
         Documents).

                  Section 5.        Release. In further consideration for the execution by the Administrative
         Agent and the Lenders party hereto of this Amendment and without limiting any rights or
         remedies the Administrative Agent or any Lender may have, each Borrower hereby releases each
         of the Administrative Agent, each Lender and each of their Related Parties (each a "Releasee"
         and, collectively, the "Releasees") from any and all Claims that such Borrower has or may have
         against any Releasee, whether or not relating to any Credit Document, Obligation, Collateral, or
         legal relationship that exists or may exist between any Releasee and any Borrower. As used in
         this Section 5, (i) "Claims" means all liabilities, rights, demands, covenants, duties, obligations
         (including, without limitation, indebtedness, receivables and other contractual obligations),
         claims, actions and causes of actions, suits, disputes, judgments, damages, losses, debts,
         responsibilities, fines, penalties, sanctions, commissions and interest, disbursements, taxes,
         charges, costs, fees and expenses (including, without limitation, fees , charges and disbursements
         of financial , legal and other advisors, consultants and professionals and, if applicable, any value-
         added and other taxes and charges thereon), in each case of any kind or nature, whether joint or
         several, whether now existing or hereafter arising and however acquired and whether or not
         known, asserted, direct, contingent, liquidated, due, consequential, actual, punitive or treble,
         (ii) "Related Party" means, with respect to any Person, any Affiliate of such Person or of another
         Related Party of such Person (excluding, in each case, (A) the Borrowers and their Controlled
         Affiliates and (B) any other Person and its Controlled Affiliates in which any Lender or any other
         Affiliated Investor has made any investment, whether through the purchase of debt or equity
         securities, loans or otherwise) and such Person' s and such Affiliate' s predecessors, successors,
         assigns, managers, members, partners, directors, officers, employees (regardless of whether
         seconded to a third party and including, without limitation, individuals with independent
         contractor or similar status), individual stockholders, agents, attorneys-in-fact, trustees,
         fiduciaries, representatives and advisors, (iii) "Affiliated Investor" means any Person that is a
         collateralized debt obligation, collateralized loan obligation or any other investment pooling
         vehicle or other entity that (A) is created primarily to invest in equity or debt securities, loans and


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         other investments, (B) does not operate any trade or business and (C) is administered, advised or
         managed by, or directly or indirectly under common administration, advice or management with,
         the Administrative Agent or any Lender or any Affiliate of any Lender or the Administrative
         Agent and (iv) "Controlled Affiliate" means, with respect to any entity, any Person directly or
         indirectly "controlled" (as defined in the definition of "Affiliate" set forth in the Credit
         Agreement on the date hereof) by one or more of such entity and its other Controlled Affiliates.

                  Section 6.      Reaffirmation of Obligations. Each Borrower hereby reaffirms (a) all of
         its obligations and liabilities, as expressly modified hereby, under the Credit Documents and
         agrees that such obligations and liabilities shall remain in full force and effect, (b) the Liens
         granted under the Credit Documents, and agrees that such Liens shall continue to secure the
         Obligations as expressly modified hereby, and (c) the validity and enforceability of the Credit
         Documents.

                  Section 7.       Effect on the Credit Documents. This Amendment is a Credit Document
         and is limited as written. As of the date each modification set forth herein shall become effective,
         each reference in the Credit Agreement to "this Agreement," "hereunder," "hereof," "herein," or
         words of like import, and each reference in the other Credit Documents to the Credit Agreement
         (including, without limitation, by means of words like "thereunder," "thereof'' and words of like
         import), shall refer to the Credit Agreement as modified thereby, and this Amendment and the
         Credit Agreement shall be read together and construed as a single agreement. The execution,
         delivery and effectiveness of this Amendment shall not, except as expressly provided herein,
         (a) waive or modify any right, power or remedy under, or any other provision of, any Credit
         Document or (b) commit or otherwise obligate the Administrative Agent or any Lender to enter
         into or consider entering into any other waiver or modification of any Credit Document. This
         Amendment is intended to cure and waive prior Events of Defaults caused by any failure to
         comply with the provisions it specifically modifies (whether modified directly or through a
         change in a definition) that would not have occurred if this Amendment had been in effect at the
         time of such failure, together with any Event of Default that may exist by reason of any failure to
         deliver notice thereof pursuant to the Credit Agreement and by past misrepresentations under the
         Credit Agreement, if any, that no Default or Event of Default existed and were continuing.

                  Section 8.       Waiver of Jury Trial: Miscellaneous. Headings are for convenience only
         and do not form part of this Amendment, except when used to reference an article or section, in
         which case such title reference shall govern absent manifest error in case of conflict. All
         communications and notices hereunder shall be given as provided in the Credit Documents. This
         Amendment (a) shall be governed by and construed in accordance with the law of the State of
         New York, (b) is for the exclusive benefit of the parties hereto and, together with the other Credit
         Documents, constitutes the entire agreement of such parties, superseding all prior agreements
         among them, with respect to the subject matter hereof, (c) may be modified, waived or assigned
         only in writing and only to the extent such modification, waiver or assignment would be
         permitted under the Credit Documents (and any attempt to assign this Amendment without such
         writing shall be null and void), (d) may be executed in counterparts, which may be effectively
         transmitted by fax or e-mail (in each case return receipt requested and obtained) and which,
         together, shall constitute one and the same instrument, (e) is a negotiated document, entered into
         freely among the parties upon advice of their own counsel, and it should not be construed against
         any of its drafters and (f) shall survive the satisfaction or discharge of the Obligations. The fact
         that any term or provision of this Amendment is held invalid, illegal or unenforceable as to any
         person in any situation in any jurisdiction shall not affect the validity, enforceability or legality of



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                                                                                    L VD ACQUISITION, LLC




         the remammg terms or prov1s1ons hereof or the validity, enforceability or legality of such
         offending term or provision in any other situation or jurisdiction or as applied to any person.
         Each party hereto hereby irrevocably and unconditionally waives any right to trial by jury
         with respect to this Amendment.

                                            [SIGNATURE PAGES FOLLOW]




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                          IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be
         executed by their respective officers and general partners thereunto duly authorized, as of the date
         first written above.

                                               LVD ACQUISITION, LLC,
                                                 as Bo


                                              By: _ __._._...- - - = - -- - -
                                                  Name:            p. . ~~
                                                  Title:


                                               82 ACQUISITION, INC.,



                                              By:~ Title:           c_p[>




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                                    TO THE CREDIT AGREEMENT OF LVL> ACQUISITION, I.LC




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                                    PATRIARCH PARTNERS AGENCY SERVICES, LLC,
                                       as Administrative Agent




                                    ZOHAR CDO 2003-1, LIMITED,
                                        as Lender
                                    By: Patriarch Partners VIII, LLC,
                                        its Collateral Manager



                                    By: - ~-       ~ ~ _ . . .!IC,-.....s..____;=.__-
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                                    ZOHAR II 2005-1, LIMITED,
                                        as Lender
                                    By: Patriarch Partners XIV, LLC,
                                        its Collateral Manager




                                    ZOHAR III, LIMITED,
                                        as Lender
                                    By: Patriarch Partners XV, LLC,
                                        its Collateral Manager




                                SIGNATURE PAGE TO AMENDMENT NO. 8
                          TO THE CREDIT AGREEMENT OF LVD ACQUISITION, LLC




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                                                                                                                                                                                                             SCHEDULE A
                                                                                                                                                                                                       AMENDMENT NO. 8
                                                                                                                                                                                                   TO CREDIT AGREEMENT
                                                                                                                                                                                                    LVD ACQUISITION, LLC




                            TypeofLoan            Tranche       Commitments 1        Outstandings                    Lender            AITli~le        Interest    Maturity    Commibnent Period    Prepayment     OID
                                                                                                                                         la!"Qlll   Pavment Date    Date         (if annlicable)    Preference    Number
                                                                                                                                                                                                        7t"
                                Term Loan           lLD         $1 ,261 ,796.67     $1,261,796.67           ZOHAR COO 2003- 1,           0%             NIA        April 15,         NIA                             I
                                                                                                                LIMITED                                             2019
                                                                                                                                                                                                         7"'
                                Term Loan           lLE         $14,526,968.44     $14,526,968.44       ZOHAR II 2005-1 , LIMITED        0%             NIA        April 15,         NIA                             I
                                                                                                                                                                    2019
                                                                                                                                                                                                         7"'
                                Term Loan           lLF         $4,503,107.80       $4,503,107.80           ZOHAR III, LIMITED           0%,            NIA        April 15,         NIA                             I
                                                                                                                                                                    2019
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                            1
                                For loans which, when repaid, may not be reborrowed, only outstanding undrawn commitments are shown.




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                                                                      AMENDED UNREDACTED VERSION
                                                                       OF EXHIBIT D RE: DI 914 AND 1093

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 )     Chapter 11
  In re:                                                         )
                                                                 )     Case No. 18-10512
  Zohar III, Corp., et al.,1
                                                                 )
                                                                       Jointly Administered
                                       Debtors.                  )
                                                                 )     Ref. Docket No. 868
                                                                 )
                                                                 )

 DECLARATION OF LYNN TILTON IN SUPPORT OF PPMG’S RIGHT TO PAYMENT
   OF TRANSACTION FEES IN CONNECTION WITH THE OASIS TRANSACTION

           I, Lynn Tilton, declare, pursuant to 28 U.S.C. § 1746, under the penalty of perjury that:

           1.      I am the owner of each of the Zohar Funds. I own the Zohar Funds through

 entities I own (directly or indirectly), which hold all of the preference shares of the Zohar Funds.

 Through my ownership of the Zohar Funds, I am also the indirect owner of Zohar CDO 2003-1,

 Corp.; Zohar II 2005-1, Corp.; and Zohar III, Corp. Collectively, these entities are the Debtors in

 the above-captioned Chapter 11 cases. I am the Debtors’ creator and founder, and I own,

 through my wholly owned entities, notes from certain of the Debtors. I was also the Debtors’

 director prior to May 21, 2018.

           2.      In November 2015, by way of Amendment No. 8 to Credit Agreement of LVD

 Acquisition, LLC (the “8th Amendment”), approximately $20 million of LVD Acquisition,

 LLC’s (“Oasis”) unpaid accrued interest and commitment fees were restructured into a new

 facility, which under the Zohar Funds’ indentures, is an “equity kicker,” a form of equity.



  1
      The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
      Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
      (9261) (“Zohar III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited (5119)
      (“Zohar I”, and together with Zohar II and Zohar III, the “Zohar Funds”). The Debtors’ address is 3 Times
      Square, c/o FTI Consulting, Inc., New York, NY 10036.



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 Specifically, the 8th Amendment provides (a) that the equity has a 0% marginal interest rate; (b)

 no requirement for Oasis to make regular or periodic payments in connection with that equity,

 whether of interest or principal; (c) no date by which any interest associated with that equity

 must be paid off; (d) that equity to be subordinate to all of Oasis’s outstanding debt; and (e) the

 Debtors to wait for several years before they could expect any repayment whatsoever in

 connection with that equity. Each of these characteristics was intended to reflect that the

 restructuring created a form of equity, not debt. Furthermore, I am not aware of any

 documentation in Patriarch’s records or in any trustee reports under the Zohar Funds’ indentures

 suggesting or reflecting that any interest has ever accrued on this equity, nor has Oasis been

 billed for any interest or principal in connection with this equity. Indeed, the trustee reports—

 which regularly list the Zohar Funds’ debt—do not list the restructured equity as debt.

          3.       [*Text Withdrawn from Docket Nos. 914 & 1093*]

          4.       [*Text Withdrawn from Docket Nos. 914 & 1093*]

          5.       [*Text Withdrawn from Docket Nos. 914 & 1093*]

          6.       [*Text Withdrawn from Docket Nos. 914 & 1093*]

 Dated: September 6, 2019                              /s/ Lynn Tilton
                                                       Lynn Tilton




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                         :
 In re:                                                  :   Chapter 11
                                                         :
 Zohar III, Corp., et al.,1                              :   Case No. 18-10512 (KBO)
                                                         :
                                     Debtors.            :   Jointly Administered
                                                         :
                                                             Related to Docket No. 1915
                                                         :
                                                         :

  NOTICE OF FILING OF PROPOSED REDACTED VERSION OF PPMG’S OPPOSITION
  TO THE DEBTORS’ MOTION FOR AN ORDER DETERMINING DISPUTE BETWEEN
     THE DEBTORS AND PPMG RELATED TO PENDING OASIS TRANSACTION

       PLEASE TAKE NOTICE that, on September 4, 2020, PPMG'S Opposition to the
 Debtors’ Motion for an Order Determining Dispute Between the Debtors and PPMG Related to
 Pending Oasis Transaction (the “Brief”) [Docket No. 1915] was filed under seal with the Court.

        PLEASE TAKE FURTHER NOTICE that pursuant to Del. Bankr. L.R. 9018-1(d)(ii),
 attached hereto as Exhibit A is the proposed redacted public version of the Brief.

 Dated: September 30, 2020                                       COLE SCHOTZ P.C.

                                                             By: /s/ Patrick J. Reilley
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                                                                Patrick J. Reilley (No. 4451)
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                                                                 – and –




          1
                   The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as
 follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
 (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times
 Square, c/o FTI Consulting, Inc., New York, NY 10036.



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                                              Group, LLC




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                                           EXHIBIT A

                         Redacted Public Version of Sealed Brief [DI 1915]




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                                                                                       PUBLIC VERSION OF D.I. 1915

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 )     Chapter 11
  In re:                                                         )
                                                                 )     Case No. 18-10512 (KBO)
  Zohar III, Corp., et al.,1                                     )
                                                                 )     Jointly Administered
                                       Debtors.
                                                                 )     Ref. Docket No. 868, 911, 914, 1200
                                                                 )     Hearing Date: Sept. 14, 2020 at 10:00 a.m.

            PPMG’S OPPOSITION TO THE DEBTORS’ MOTION FOR AN ORDER
              DETERMINING DISPUTE BETWEEN THE DEBTORS AND PPMG
                    RELATED TO PENDING OASIS TRANSACTION

           PPMG hereby submits this brief in opposition to the Debtors’ Motion for an Order

 Determining Dispute Between The Debtors and Patriarch Partners Management Services, LLC

 Related to Pending Oasis Transaction (the “Debtors’ Motion” or “Mtn.”) [D.I. 911] and in

 further support of PPMG’s Opening Brief Regarding PPMG’s Right to Payment of Transaction

 Fees in Connection with the Oasis Transaction (the “PPMG Brief”) [D.I. 914, 1200].2 PPMG

 respectfully states as follows:

                                        PRELIMINARY STATEMENT

           1.      In its opening briefing in this dispute, PPMG argued that the Debtors’ premature

 objection to payment of PPMG’s fees in connection with the sale of Oasis violated Paragraph 18

 of the Settlement Agreement. [See PPMG Brief ¶¶ 22-27.] Notwithstanding the clear language

 of Paragraph 18, requiring the Debtors to pay first and litigate later, the Debtors initially chose to

 take a “fight first and pay never” approach to the Patriarch Stakeholders’ Oasis claim.


  1
      The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
      Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
      (9261) (“Zohar III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited (5119)
      (“Zohar I”, and together with Zohar II and Zohar III, the “Zohar Funds”). The Debtors’ address is 3 Times
      Square, c/o FTI Consulting, Inc., New York, NY 10036.
  2
      Capitalized terms not otherwise defined herein shall have the meanings set forth in the PPMG Brief or the
      Debtors’ Motion, as applicable.



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          2.       When the Oasis Transaction was in the final stages of negotiation, the Debtors

 held hostage the entire deal, refusing to pay PPMG’s fee despite the fact that it was supported by

 written documentation, namely, the Management Services Agreement entered into by Oasis and

 PPMG (the “MSA”). Rather than pay the claim and reserve their rights, the Debtors instead

 chose to fight the claim prior to closing and engage in motion practice, including the initial

 briefing in this dispute. Ultimately, however, the Debtors relented and paid PPMG’s Transaction

 Fee at the closing.3 Accordingly, PPMG addresses here only the merits of the underlying dispute

 and will not further address the Debtors’ breach of Paragraph 18.4

          3.       The ultimate question now before this Court is whether PPMG was entitled to its

 Transaction Fee. The answer is a resounding “yes.” The MSA between PPMG and Oasis is

 clear on two crucial points: (1) PPMG is owed a fee upon the occurrence of a Liquidity Event,

 and (2) the definition of a Liquidity Event is not dependent on satisfaction of Oasis’s outstanding

 debt. Because the Oasis Transaction involved the sale of all of Oasis’s stock, it was a Liquidity

 Event under the MSA. And because it was a Liquidity Event, PPMG was entitled to a

 Transaction Fee.

          4.       In their initial briefing, the Debtors provide no basis for a contrary conclusion.

 The Debtors first argue that the MSA “clearly provides” that PPMG was owed a Transaction Fee

 only if Oasis’s debt was “satisfied in full” by Oasis’s sale to Culligan. [Mtn. ¶ 24.] But the



  3
      This Court recently answered the threshold question as to when a Patriarch Stakeholder claim was deemed due
      and payable, and it “agree[d] with Patriarch that Paragraph 18 was intended to be a pay first fight later
      agreement,” rejecting the notion that the Debtors’ were entitled to somehow “‘validate’ an asserted Patriarch
      claim . . . before paying,” which is simply “not what . . . the agreement in Paragraph 18 says.” [Aug. 4, 2020
      Hr’g Tr. at 86:11-12, 88:12-18.]
  4
      Ms. Tilton and the Patriarch Stakeholders, however, reserve all rights in connection with Debtors’ continued
      breaches of the Settlement Agreement, as “it is within [this Court’s] authority . . . to hold [the Debtors] in
      contempt” of the Order Approving and Authorizing the Settlement Agreement [Dkt. No. 266] and “to fashion
      an appropriate remedy.” [Aug. 4, 2020 Hr’g Tr. at 90:14-16.]


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 MSA expressly says otherwise. The Debtors’ argument rests entirely on an interpretation of the

 MSA that ignores the contract’s language, language the parties to the MSA used to define a

 liquidity event triggering the transaction fee. The Debtors—non-parties to the MSA—now seek

 nothing less than a re-writing of the contract in order to avoid payment to PPMG.

          5.       Second, even assuming, arguendo, that the Debtors’ parsed reading of the MSA

 was valid, PPMG is still owed its transaction fee because the transaction cleared the company’s

 outstanding debt. The Debtors blithely contend that “[i]t cannot be disputed that the entirety of

 the amount owed” would not “be fully repaid” upon consummation of the Oasis transaction. [Id.

 at ¶ 25.] To the contrary, this point is vehemently disputed and the Debtors knew it. They were

 well aware that the Patriarch Stakeholders have long maintained that Oasis’s outstanding debt

 was only $60 million—far less than Oasis’s sales price—and that approximately $20 million that

 the Debtors categorize as debt was restructured into equity years earlier through the 8th

 Amendment to Oasis’s Credit Agreement. Rather than meaningfully engage with that dispute,

 the Debtors simply assert without any further analysis that these funds were “Term Loans under

 the Credit Agreement (i.e. indebtedness),” resulting in total debt exceeding Oasis’s sales price.

 [Id. at ¶¶ 11-12.] The Debtors’ acontextual use of the phrase “Term Loan” followed by a

 parenthetical referring to this $20 million as “indebtedness” is the sum total of the Debtors’

 purported argument on this issue. Once again, they cite no legal authority whatsoever because

 the law is clear that this $20 million is equity, not debt.

          6.       Lastly, the Debtors seek to interpret the MSA by relying heavily on inadmissible

 parol evidence, namely, (1) the August 2019 Equity Purchase Agreement (and certain schedules

 thereto) between Culligan as Buyer, the Debtors as Sellers, and Oasis as the acquisition target;

 (2) March 2018 “Phantom Equity Agreements” between Oasis and certain Oasis executives; and



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 (3) a February 2019 spreadsheet purportedly related to a hypothetical transaction for a Portfolio

 Company other than Oasis. [Id. at ¶¶ 25-29]. Crucially, these documents do not shine any light

 on the proper interpretation of the MSA as (1) they are not contracts to which PPMG is a party

 and (2) each post-dates the MSA by nearly a decade. Even so, the documents are entirely

 consistent with PPMG’s position here. Despite the Debtors’ best efforts to misquote and

 misconstrue these documents, none actually support the Debtors’ propositions.

                                                    ARGUMENT

 A.       Because The Oasis Transaction Was A “Liquidity Event” Under The MSA, PPMG
          Is Owed A Transaction Fee.

          7.       Oasis and PPMG entered into the MSA in September 2010. [See MSA at 1.]

 Pursuant to that contract, PPMG provided substantial, valuable services to Oasis. These services

 are “of a type customarily provided by sponsors of private equity firms . . . to companies in

 which they have a substantial investment,” which included, but were not limited to:

          (a) general executive, professional, and management consulting services (including
          legal, tax and accounting services . . . ); (b) identification, support, negotiation and
          analysis of acquisitions and dispositions; (c) support, negotiation and analysis of
          financing alternatives . . . ; (d) finance functions . . . ; (e) marketing functions . . . ;
          and (f) human resource functions.

 [MSA § 1; see also Tilton Dep.5 31:4-34:9, 35:3-12, 138:2-11.] The Debtors are not a party to

 the MSA and never have been.

          8.       In addition to payment of a “small monthly fee,” a material aspect of PPMG’s

 compensation for its extensive efforts in connection with Oasis was the Transaction Fee that

 PPMG would receive “upon consummation of [a] relevant Liquidity Event,” which includes a

 sale of more than 50% of Oasis’s stock. [MSA §§ 3(c)(i) & 3(c)(ii)(D)(y); Tilton Dep. 136:1-22,



  5
      Excerpts from the transcript of Lynn Tilton’s July 13, 2020 deposition relating to the instant dispute (“Tilton
      Dep.”) are annexed hereto as Exhibit 1.


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 138:13-18.] That Transaction Fee is “not based on [an] increased equity value” for Oasis

 between the execution of the MSA and the occurrence of a Liquidity Event triggering payment, a

 provision that the parties could have included if they had so desired. [Tilton Dep. 139:8-12.]

 Rather, the Transaction Fee is based on a contractually defined “Eligible Equity Value” that is

 fundamentally tied to the company’s sales price. [MSA §§ 3(c)(ii)(A)-(C).]

          9.       Because the Oasis Transaction involved the sale of all of Oasis’s stock, it was a

 Liquidity Event triggering the payment of a Transaction Fee to PPMG. The final clause of

 Section 3(c)(ii)(D) is not to the contrary. That clause discusses a “Change of Control,” which, as

 PPMG has previously explained, relates to indemnification provisions contained in Annex A to

 the MSA. [See PPMG Brief ¶¶ 31-35.] Indeed, reading the “Change of Control” provision as

 part of the definition of “Liquidity Event” would create an irreconcilable conflict between that

 clause—which is contingent upon payment of Oasis’s “outstanding debt”—and an earlier clause

 in the very same paragraph providing that “a sale . . . of 80% or more of the Company’s . . .

 assets (without regard to liabilities)” is a “Liquidity Event.” [MSA § 3(c)(ii)(D) (emphasis

 added).]

          10.      Although the section of the Debtors’ Motion addressing their basis for relief

 purports to lead with an argument regarding “the plain terms of the PPMG MSA” [Mtn. at 11], it

 does no such thing. Rather, the crux of their argument as to what they assert the MSA “clearly

 provides” [id. at ¶ 24] is buried in a footnote in their “Background” section inviting the Court to

 re-write the MSA by replacing one defined term with another in order to suit the Debtors’ needs

 [see id. at ¶ 13 n.12]. Specifically, the Debtors express their “belie[f] that ‘Change of Control’”

 as used in Section 3(c)(ii)(D) of the MSA “refers to the Liquidity Event triggering the

 Transaction Fee,” and that the “use of the term ‘Change of Control’ rather than ‘Liquidity Event’



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 can be nothing other than a scrivener’s error.” [Id.] But “the plain meaning” of Section

 3(c)(ii)(D) “will not bear a reading that” two distinct terms—Liquidity Event and Change of

 Control—“are synonyms.” Ethicon Endo-Surgery, Inc. v. U.S. Surgical Corp., 93 F.3d 1572,

 1579 (Fed. Cir. 1996). To the contrary, the MSA “clearly impl[ies] . . . that whatever” Change

 of Control “means, it is not a synonym for” Liquidity Event: if both terms “described a single

 element, one would expect the [MSA] to consistently refer to this element as either” a Liquidity

 Event or a Change of Control, “but not both, especially not within the same clause.” Id.; see

 also, e.g., Sonterra Capital Master Fund, Ltd. v. Barclays Banks PLC, No. 15 Civ. 3538, 2019

 WL 3858620, at *5 (S.D.N.Y. Aug. 16, 2019) (“The APA’s extensive use of defined terms

 demonstrates that its drafters were perfectly capable of using such terms when they wished to do

 so” such that a decision not to use a particular defined term “should not be ignored”). The use of

 different capitalized terms in the very same provision makes clear that they are not

 interchangeable.

          11.      The Debtors offer three justifications for their requested contract reformation.

 None of them suffice to overcome the “‘heavy presumption that a deliberately prepared and

 executed written instrument manifests the true intention of the parties,’” which applies under

 New York law even where a party claims that there has been a “scrivener’s error.” U.S. Russia

 Inv. Fund v. Neal & Co., No. 97 Civ. 1788, 1998 WL 557606, at *4-5 (S.D.N.Y. Sept. 2, 1998)

 (quoting George Backer Mgmt. Corp. v. Acme Quilting Co., 46 N.Y. 2d 211, 219 (1978)).

          12.      Their first argument is that the term “Change of Control” is not defined nor used

 anywhere else in the MSA, which is inherently tied to their third argument (discussed below) that

 the dangling clause at the end of Section 3(c)(ii)(D) would be meaningless if “Change of

 Control” and “Liquidity Event” are not equivalent to one another. [Mtn. ¶ 13 n.12.] Both



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 arguments assume that “Change of Control” is ambiguous and that the only reasonable

 interpretation of that term is to read it as “Liquidity Event.” In order to find the term ambiguous

 under New York law, however, it must be “viewed objectively” from the perspective of “a

 reasonably intelligent person who has examined the context of the entire integrated agreement,”

 Italian Designer Import Outlet, Inc. v. N.Y. Cent. Mut. Fire Ins. Co., 891 N.Y.S.2d 260, 264

 (N.Y. Sup. Ct. 2009), which necessarily includes the agreement’s annexures, see Cnty. of

 Jefferson v. Onondaga Dev., LLC, 59 N.Y.S.3d 203, 208 (N.Y. App. Div. 2017) (assessing

 ambiguity of contract including schedule thereto). That standard undermines both the Debtors’

 first and third arguments.

          13.      Annex A to the MSA repeatedly uses the term “Change in Control,” which is

 nearly identical to Section 3(c)(ii)(D)’s “Change of Control.” [PPMG Brief ¶¶ 34-35.]

 Objectively viewing the MSA as a whole, a reasonably intelligent reader would conclude that

 Annex A’s “Change in Control” and Section 3(c)(ii)(D)’s “Change of Control” are intended to be

 read together and to mean and refer to the same thing. For purposes of the provisions of Annex

 A governing the determination as to whether there is a right to indemnification in certain

 circumstances [see MSA Annex A § 2], the term “Change in Control” refers to either “(a) the

 occurrence . . . of any transaction described in clauses (y) or (z) of the definition of Liquidity

 Event” [MSA Annex A § 9] that “permit[s] [Oasis] to pay all of its . . . outstanding debt” [MSA

 § 3(c)(ii)(D)], or, alternatively, “(b) the insolvency of any of [Oasis], the filing of a voluntary

 petition in bankruptcy by [Oasis], the filing of an involuntary petition to have [Oasis] declared

 bankrupt, the appointment of a receiver or trustee for [Oasis] or the execution by [Oasis] of an

 assignment for the benefit of creditors” [MSA Annex A § 9]. In other words, the reference to a

 “Change of Control” in Section 3(c)(ii)(D) of the MSA clarifies that only a certain subset of



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 Liquidity Events are also considered a “Change in Control” for purposes of determining certain

 indemnification rights.

          14.      The choice before the Court is thus simple: either the MSA (a) replaced the

 preposition “in” with the preposition “of” when using the same defined term in two different

 places in the contract, as PPMG posits, or (b) interchangeably used the entirely distinct and

 dissimilar defined terms “Change of Control” and “Liquidity Event” in the very same paragraph,

 as the Debtors argue. The latter determination would also require the Court to conclude that the

 term “Change of Control” bears no relationship to the nearly identical term “Change in Control”

 used elsewhere in the same agreement, and to somehow reconcile the possibility that a Liquidity

 Event” can simultaneously require payment of Oasis’s “outstanding debt” while also occurring

 “without regard to [Oasis’s] liabilities.” [MSA § 3(c)(ii)(D).] The former explanation is

 infinitely more plausible.

          15.      Tellingly, the Debtors’ Motion provides strong support for the conclusion that

 “Change of Control” as used in Section 3(c)(ii)(D) of the MSA is meant to read “Change in

 Control,” in that the Debtors make this very same typo. Specifically, Paragraph 27 of the

 Debtors’ Motion quotes from an entirely different agreement—a Phantom Equity Agreement

 between Oasis and certain of its management. But while the Phantom Equity Agreement upon

 which the Debtors rely defines and uses the phrase “Change of Control,” the Debtors’ brief

 instead repeatedly uses the phrase “Change in Control.” [Compare Phantom Equity Agreement

 § 5(d), with Mtn. ¶ 27.] Debtors’ own briefing demonstrates how these prepositions are

 interchangeable.

          16.      In addition, the Debtors also argue that other unspecified agreements between

 parties other than PPMG and Oasis “commonly define[]” the term “Change of Control” as



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 “synonymous” with the MSA’s definition of “Liquidity Event.” [Mtn. ¶ 13 n.12.] The definition

 of terms in entirely different contracts between third-parties is not only wholly irrelevant, such

 parol evidence is also forbidden under New York law absent ambiguity. See Hudson-Port Ewen

 Assocs., LLC v. Kuo, 78 N.Y.2d 944, 945 (1991). Even so, these other supposed contracts

 strongly support PPMG’s interpretation: “Even where there is ambiguity, if parties to a contract

 omit terms—particularly, terms that are readily found in other, similar contracts—the

 inescapable conclusion is that the parties intended the omission. The maxim expressio unius est

 exclusio alterius, as used in the interpretation of contracts, supports precisely this conclusion.”

 Quadrant Structured Prods. Co., Ltd. v. Vertin, 23 N.Y.3d 549, 560 (2014) (first emphasis

 added). Thus, crediting the Debtors’ representation that “similar agreements” use the term

 “Change of Control” where the MSA uses the term “Liquidity Event” [Mtn. ¶ 13 n.12], that is all

 the more reason to find those terms not to be one and the same.

 B.       The 8th Amendment To Oasis’s Credit Agreement Did Not Create Debt.

          17.      Even if the Debtors were correct that the final clause of Section 3(c)(ii)(D)

 discussing a “Change of Control” limits the circumstances in which PPMG is owed a

 Transaction Fee, such that PPMG is owed the fee only if Oasis’s sales price exceeded Oasis’s

 debt (and they are not), PPMG would still be owed the Transaction Fee because Oasis’s sales

 price was greater than its debt. [See PPMG Brief ¶¶ 14, 36-42.]

          18.      In order to assert otherwise and avoid payment of the Transaction Fee, the

 Debtors incorrectly characterize a $20 million equity kicker as debt. [See, e.g., Mtn. ¶¶ 11-12,

 15.] In short, the Debtors fail to cite any probative evidence (nor any legal authority whatsoever)

 regarding whether “the parties . . . intended” the 8th Amendment to create debt or equity, which

 is the relevant legal question on this issue. Cohen v. KB Mezzanine Fund II, LP (In re

 SubMicron Sys. Corp.), 432 F.3d 448, 456 (3d Cir. 2006). As made clear from the available

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 evidence and “the economic reality of the surrounding circumstances”—which are laid out in

 detail in PPMG’s opening brief—that $20 million was in fact a capital contribution resulting

 from a restructuring. Id.

          1.       The Oasis Equity Purchase Agreement Does Not “Concede” That The $20
                   Million Constitutes Debt.

          19.      The Debtors first argue that it has already been “concede[d]” in the Equity

 Purchase Agreement for the Oasis Transaction that liabilities under the 8th Amendment to

 Oasis’s Credit Agreement “constitute ‘Indebtedness’” of Oasis.6 [Mtn. ¶ 25.] But the Debtors’

 entire argument is based on a flagrant misreading of the Oasis Equity Purchase Agreement.

 Although the Debtors represented to the Court that the Equity Purchase Agreement “defines

 ‘Indebtedness’ as including” the 8th Amendment [id. at ¶ 15], that simply is not so.

 “Indebtedness” is indeed a defined term under the Equity Purchase Agreement, but it does not

 have the meaning that the Debtors ascribe it. [See EPA Sched. II at 5-6.] When the Debtors

 purport to provide the Equity Purchase Agreement’s definition of “Indebtedness,” they are

 actually quoting from the Equity Purchase Agreement’s definition of the “Zohar Credit

 Agreement.” [See Mtn. ¶ 15 (quoting EPA Sched. 2.02(c)(iii)); see also EPA Sched. II at 13

 (“Zohar Credit Agreement” has the meaning set forth on Schedule 2.02(c)(iii).”).] That

 definition is entirely irrelevant to the instant dispute. PPMG does not contest that portions of the

 Credit Agreement reflect debt owed by Oasis, nor is there any question that the 8th Amendment

 amended the Credit Agreement. Those uncontested facts do not answer the question at issue:

 Whether the restructuring effectuated by the 8th Amendment created debt or equity.

          20.      Moreover, the Debtors ignore that the Equity Purchase Agreement expressly



  6
      A copy of the Equity Purchase Agreement, or “EPA,” is annexed hereto as Exhibit 2, and its disclosure
      schedules are annexed hereto as Exhibit 3.


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 reserved for this Court the question of whether the Transaction Fees are owed. In setting forth

 the transaction expenses to be paid at closing, the Equity Purchase Agreement provided that the

 payment of a Transaction Fee would be “determined by the Bankruptcy Court prior to the

 closing,” or if no such determination had been made prior to closing, it would be paid to PPMG

 “subject to any remedy” available if this Court subsequently “determine[d] that such payment

 was improper.” [EPA § 1.01(c)(iii).] Similarly, the Equity Purchase Agreement’s disclosure

 schedules provide that whether “fees and expenses payable to [PPMG] pursuant to the

 Management Services Agreement” should be included within the Seller’s Transaction Expenses

 remained “subject to adjudication by the Bankruptcy Court.” [EPA Sched. 1.03 ¶ 3.] Those

 extremely pertinent provisions are not among the excerpts of the Equity Purchase Agreement

 that the Debtors provided to the Court along with their Motion. Each undermines the supposed

 concession that the Debtors assert was embodied in the Equity Purchase Agreement.

          21.      Even assuming, arguendo, that the Equity Purchase Agreement did not expressly

 decline to resolve the instant dispute, however, any so-called concession therein would still have

 no bearing on the issue before this Court because PPMG is not a party to that contract. The

 Debtors fail to explain how an August 2019 contract that does not include PPMG is relevant for

 purposes of interpreting the bargain struck by PPMG nearly one decade earlier, particularly in

 light of that earlier agreement’s merger clause. [See MSA § 11 (“Any amendment or

 modification of this Letter Agreement shall be in writing and executed by each of the parties

 hereto.”).] But even if (1) the Equity Purchase Agreement and the MSA were entered into

 contemporaneously, and (2) both agreements involved the same parties, and (3) the earlier

 agreement lacked a merger clause, and (4) the latter agreement did not expressly reserve for this

 Court the question of whether the Transaction Fee was owed to PPMG, the Equity Purchase



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 Agreement would still not help Debtors because the defined term “Indebtedness” in the Equity

 Purchase Agreement is not the same as the undefined term “outstanding debt” in Section

 3(c)(ii)(D) of the MSA. Indeed, the use of a defined term in one agreement and a facially similar

 but undefined term in another agreement suggests that the two terms were intended to have

 different meanings. See Quadrant Structured Prods., 23 N.Y.3d at 560. The Debtors appear to

 draw the opposite conclusion but provide no legal basis for doing so.

          2.       Oasis’s Financial Statements Support Characterizing The Contested $20
                   Million As Equity.

          22.      The Debtors next point to Oasis’s financial statements in arguing that the

 contested $20 million is debt. [See Mtn. ¶ 15 (citing EPA Sched. 4.05 at 15).] While the

 financial statements categorize the funds under the heading “Long-term debt, related party”

 [EPA Sched. 4.05(a) at 15], they do so because the restructuring transaction at issue indisputably

 involved parties “related” to Oasis (i.e., the Debtors), not because it resulted in “long-term debt”

 [see Tilton Dep. 87:3-17]. But even assuming, arguendo, that the financial statements did

 provide that these funds were debt, those financial statements were prepared “in accordance with

 accounting principles generally accepted [“GAAP”] in the United States.” [EPA Sched. 4.05(a)

 at 1.] It is well-settled that categorization in accordance with GAAP has no bearing on contract

 interpretation because “GAAP does not define default legal rules,” particularly where, as here,

 “nowhere in the contract do the parties agree that the terms will be interpreted according to

 GAAP.” Koch Bus. Holdings, LLC v. Amoco Pipeline Holding Co., 554 F.3d 1334, 1339 (11th

 Cir. 2009) (finding irrelevant under Delaware law whether “an accrual . . . was recorded,

 pursuant to GAAP,” as an “expense on [company’s] financial statements”); see also Harbinger

 Capital Partners Master Fund I, Ltd. v. Granite Broad. Corp., 906 A.2d 218, 225-27 (Del. Ch.

 2006) (GAAP treatment of preferred shares does not determine whether they are debt or equity


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 because holding otherwise “would grant [the Financial Accounting Standards Board], which is

 neither lawmaker nor judge, the power to fundamentally alter the law’s understanding”).

          23.      Rather than focus on labels, the “overarching inquiry” necessary to assess the

 status of the contested funds requires determining the parties’ intent and the economic reality of

 the underlying transaction. In re SubMicron, 432 F.3d at 456. Viewed through that lens, the

 financial statements support characterizing the $20 million as equity by clarifying that it “does

 not bear interest.” [EPA Sched. 4.05(a) at 15.] Indeed, Ms. Tilton—the only witness involved in

 amending Oasis’s Credit Agreement whose testimony has been sought—repeatedly explained

 that there “was no interest . . . because it wasn’t a loan.” [Tilton Dep. 51:23-24.] Stated

 otherwise, interest “was never billed” and “[i]t was never paid.” [Id. at 52:24-53:5; see also,

 e.g., id. at 55:17-19, 56:7-14, 58:12-59:2, 63:18-64:20.] For that very reason, Oasis’s loan

 invoices reflect that more than $14 million was “past due” to the Debtors by Oasis under two

 facilities as of October 1, 2015 [Oasis_PPMG_PPAS_00000395, annexed hereto as Exhibit 4],

 prior to execution of the 8th Amendment to Oasis’s Credit Agreement, while no money was past

 due as of December 1, 2015 [Oasis_PPMG_PPAS_00000409, annexed hereto as Exhibit 5],

 subsequent to the restructuring. As PPMG has previously explained, the absence of interest

 weighs heavily in favor of finding that the 8th Amendment involved a $20 million capital

 contribution. [See PPMG Brief ¶ 38.]

          24.      That this restructuring created an equity kicker, rather than debt, is further

 corroborated by Ms. Tilton and Patriarch’s course of conduct. For instance, Ms. Tilton’s taxes

 accounted for these funds as “an equity contribution” rather than debt. [Tilton Dep. at 56:15-18;

 see also id. at 86:22.] And these funds are not reflected as debt on the Debtors’ trustee reports

 because Patriarch never reported them to the Trustee as debt. [Id. at 105:16-107:13.] Those



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 decisions to treat these funds as an equity infusion, rather than as debt, were made years before

 the Debtors’ current leadership first raised the instant dispute.

          3.       Oasis’s Phantom Equity Agreements Are Irrelevant And, In Any Event,
                   Support PPMG

          25.      The Debtors’ reliance on Oasis’s Phantom Equity Agreements [Mtn. ¶ 27] suffers

 from the same fundamental flaw as their reliance on the Equity Purchase Agreement: contracts

 entered into in 2018 by parties other than PPMG have no bearing on what Oasis and PPMG

 intended upon executing the MSA in 2010.

          26.      Whether payment needs to be made under the Phantom Equity Agreement is also

 irrelevant because such payment is due “upon a Change of Control” [Phantom Equity Agreement

 § 1], the definition of which differs from a “Liquidity Event” under the MSA. [Compare id. at

 § 5(d), with MSA § 3(c)(ii)(D).] The Debtors’ claim that the two provisions are “nearly

 identical” implicitly concedes that they are not identical, and is in any event simply incorrect.

 [Mtn. ¶ 27.] Their differences include, but are not limited to:

                        Section 5(d) of the Phantom Equity Agreement requires “outstanding
                         Indebtedness” (a defined term) to have “been paid in full at the time of the
                         Change of Control” (i.e. the debt must already have been extinguished),
                         whereas Section 3(c)(ii)(D) of the MSA provides that an “event must permit”
                         payment (i.e. in the future) of “outstanding debt” (an undefined term); and

                        Section 5(d) of the Phantom Equity Agreement requires payment only of
                         “Indebtedness owed to any Company-Related Entity or any fund managed by
                         any such Person,” whereas Section 3(c)(ii)(D) of the MSA refers to payment of
                         “all of [Oasis’s] outstanding debt” without any limitation based on who holds
                         such debt.

 Thus, whether a “Change of Control” occurred under the Phantom Equity Agreement has no

 bearing on whether a “Liquidity Event” occurred under the MSA.7 If anything, the fact that



  7
      Nor does “Indebtedness” mean the same thing in the Equity Purchase Agreement and the Phantom Equity
      Agreements. [Compare EPA Sched. II at 5-6, and Phantom Equity Agreement § 5(j).]


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 Section 5(d) of the Phantom Equity Agreement defines and uses the term “Change of Control”

 throughout, whereas Section 3(c)(ii)(D) of the MSA uses the distinct defined term “Liquidity

 Event” while separately referencing “Change of Control,” only further supports PPMG’s position

 that these are distinct and non-interchangeable terms. Whether payment is owed under Section

 5(d) of the Phantom Equity Agreement has no relevance to the separate question of whether

 payment is owed under Section 3(c)(ii)(D) of the MSA.

          4.       The Preliminary    Flow Of Funds Analysis Is Irrelevant And, In Any
                   Event, Supports PPMG

          27.      Finally, the Debtors rely on a “proposed flow of funds model” related to what

 they concede is a “potential monetization process for a different Portfolio Company” for which

 they provide no additional explanation. [Mtn. ¶ 28 (emphasis added).] That is because the

 context of that worksheet utterly refutes the Debtors’ reliance on it.

          28.      On February 14, 2019, the Debtors’ chief monetization officer, Robert Kost,

 emailed Ms. Tilton to inform her, inter alia, that he had been asked “to start collecting

 information with respect to                 ”—Portfolio Companies not presently at issue—and

 requested that she provide “any information / documents regarding the refinancing of

 [Feb. 14, 2019, email from Mr. Kost to Ms. Tilton, annexed hereto as Exhibit 6.] Ms. Tilton

 wrote back five minutes later, stating that she was “working on the information” requested, and

 would circulate it “as soon as possible” but that her “team [was] slammed” and she was

 “leav[ing] for Europe” the following day for meetings related to the potential refinancing of

         [Id.; see also Tilton Dep. 146:3-5.] Ms. Tilton provided the Debtors with Exhibit I to

 their Motion shortly thereafter simply because it was an “internal worksheet” used to “keep[ ]

 track of things internally” that Ms. Tilton had “easily available” reflecting “all the debt listed

 out” for                  . [Id. at 146:3-19, 148:6-150:4.] The document was not created in


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 response to Mr. Kost’s email, nor did it relate to any potential sale of             under

 consideration in February 2019; indeed, there was no ongoing sales process for                   at

 the time of their February 2019 refinancing efforts. [Id.; see also, e.g., 145:13-15, 151:8-152:4,

 161:6-21.] The Debtors offer no basis on which to find such internal work product—which was

 prepared in connection with the refinancing of Portfolio Companies other than Oasis and which

 reflects an entirely fictional proposal—binding on PPMG in connection with the Oasis

 Transaction.

          29.      Moreover, as the Debtors concede, even that unfinished, hypothetical flow of

 funds includes a “line-item” reflecting a “PPMG Fee” for                     Eligible Equity

 Value.” [Mtn. ¶ 29.] That is directly analogous to the Transaction Fee currently at issue.

 Accordingly, the Debtors’ argument appears to be that (1) PPMG once considered waiving its

 fee in connection with a transaction that never actually occurred, and (2) that would have

 involved a different company in any event, (3) based solely upon a spreadsheet that actually

 reflects a      transaction fee being owed to PPMG in connection with that hypothetical

 transaction, (4) which somehow means that PPMG should now be forced to waive a fee that it

 has never considered waiving in connection with the Oasis Transaction that actually took place.

 Such argument makes the head spin and is far too slender a reed on which to rest their conclusion

 that it has already been conceded that PPMG was not owed a Transaction Fee in connection with

 the sale of Oasis. If anything, it supports just the opposite conclusion: absent an express waiver

 of the transaction fee—which indisputably did not occur with respect to Oasis—PPMG is owed

 the Transaction Fee.

          30.      Even more galling, the Debtors’ disingenuous argument fails to mention that Ms.

 Tilton reviewed in detail with the Debtors’ representatives flow-of-funds models for both



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 and         (among other portfolio companies) in July 2019 that reflected transaction fees being

 paid to PPMG in the event of a sale of either company. [See Tilton Dep. 143:18-144:9, 147:7-

 10, 163:5-164:4; July 2019 flow-of-funds models, annexed hereto as Exhibit 7.] Specifically, the

 July 2019 flow-of-funds models reflected a contemplated sale of               for               with a

 “PPMG Fee               of Eligible Equity Value)” of                  and a contemplated sale of

 for                     with a “PPMG Fee        of Eligible Equity Value)” of               respectively.

 Both of those flow-of-funds models make clear that the PPMG fee in question is “defined in the

 Management Services Agreement” for each of those companies. The                     flow-of-funds model

 is particularly instructive because it includes the                  PPMG fee as a closing expense

 despite           total debt of                    exceeding the modelled                  purchase

 price. In other words, the actual flow-of-funds model regarding a potential sale of

 indisputably supports PPMG because it reflects payment of PPMG’s fee in the event that

 sales price did not clear its outstanding debt—just as the Debtors mistakenly claim to be the case

 with Oasis.

                                            *      *          *   *

           31.     For all of the reasons set forth above and in its prior briefing, PPMG respectfully

 requests that the Court enter an order finding the Transaction Fee was properly paid to PPMG as

 it was owed as part of PPMG’s bargained-for compensation in exchange for the extensive work

 done for Oasis over the course of nearly a decade.




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 Dated: September 4, 2020
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                                     LLC




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                             Exhibit 1




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                      Transcript of theTestimony of
                                 LYNN TILTON
                                  July 13, 2020
                       IN RE: Zohar III, Corp., et al.




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                                                                         TILTON, LYNN

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  ·4· ·In Re:· · · · · · · · · · · Chapter 11
  ·5· ·Zohar III, Corp., et al.,· ·Case No. 18-10512 (KBO)
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  15· · · · · · ·Remote deposition of LYNN TILTON was taken
  16· ·pursuant to notice, beginning at 2:03 p.m. on the
  17· ·above date before Gail L. Inghram Verbano,
  18· ·Registered Diplomate Reporter, Certified Realtime
  19· ·Reporter, Certified Shorthand Reporter-CA (No.
  20· ·8635)and Notary Public, there being present via
  21· ·videoconferencing:
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  ·1· · · · · ·at the time.
  ·2· ·BY MR. BARRY:
  ·3· · · · · ·Q.· · ·Okay.· Let's go through those.
  ·4· · · · · · · · · So did PPMG provide, quote,
  ·5· ·general executive services to Oasis?
  ·6· · · · · · · · · MS. LOSEMAN:· Object to form.
  ·7· · · · · · · · · THE WITNESS:· Yes.
  ·8· ·BY MR. BARRY:
  ·9· · · · · ·Q.· · ·What were those?
  10· · · · · · · · · MS. LOSEMAN:· Object to form.
  11· · · · · · · · · THE WITNESS:· I mean, we provided
  12· · · · · ·legal services, review of contracts.
  13· · · · · ·Oasis did not have a general counsel.
  14· · · · · · · · · You know, we provided finance,
  15· · · · · ·consulting, taxes.· We had -- we provided
  16· · · · · ·all type of human resources, as well as
  17· · · · · ·we did all the recruiting.· So the entire
  18· · · · · ·executive team was hired by our talent
  19· · · · · ·acquisition group.
  20· · · · · · · · · We provided management people to
  21· · · · · ·look over the company, platform leaders
  22· · · · · ·and managers to help guide the executive
  23· · · · · ·team.
  24· · · · · · · · · We reviewed all their contracts.

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  ·1· · · · · ·And we did web services, marketing
  ·2· · · · · ·services, design services.· We had a full
  ·3· · · · · ·team advising on finance, human
  ·4· · · · · ·resources, talent, legal, as well as, in
  ·5· · · · · ·addition, marketing design.
  ·6· ·BY MR. BARRY:
  ·7· · · · · ·Q.· · ·Who provided all those services?
  ·8· · · · · ·A.· · ·The people in PPMG, as well as --
  ·9· · · · · ·Q.· · ·Who, though?
  10· · · · · ·A.· · ·Who?
  11· · · · · ·Q.· · ·Yeah.
  12· · · · · ·A.· · ·John Harrington as the platform
  13· ·leaders for many, many years, among others.
  14· ·Kevin Dell provided legal services.· Cari in
  15· ·litigation and going through the litigation.
  16· ·Carlos Mercado on finance and tax.
  17· · · · · · · · · Randy Jones and Richard White on
  18· ·all the talent acquisition.
  19· · · · · · · · · And at the time -- there were
  20· ·probably 12 lawyers providing services.· We had a
  21· ·whole loan finance group doing all the loan
  22· ·agreements for them and not charging them for
  23· ·that.· Valat de Cordova, Ariana -- you know, I
  24· ·don't have everybody's name in front of me right

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  ·1· ·now, but over 100 people through most of the
  ·2· ·years provided services to these operating
  ·3· ·companies.
  ·4· · · · · ·Q.· · ·So on the legal side, I think you
  ·5· ·said that PPMG provided all the preparation of
  ·6· ·all the loan documentation?
  ·7· · · · · ·A.· · ·Well, we reviewed it.· It depends.
  ·8· ·If it was -- the loans for the Zohars, we
  ·9· ·provided them.· We did most of the work.· Often
  10· ·had outside attorneys just look over things, but
  11· ·we provided all that work.
  12· · · · · · · · · We reviewed contracts, reviewed
  13· ·vendor agreements, advised on all the litigation.
  14· ·Oasis never had a general counsel.
  15· · · · · ·Q.· · ·What litigation was Oasis subject
  16· ·to during the term of the Management Services
  17· ·Agreement?· Do you recall?
  18· · · · · ·A.· · ·They had -- they had litigation on
  19· ·and off.· I don't know.· Normal, ordinary-course
  20· ·litigation.· I know they once had a leaky machine
  21· ·that led to litigation.· Water coolers that had
  22· ·leaked in people's offices.· I mean, I can't,
  23· ·sitting here right now, remember every bit of
  24· ·litigation.· But I can certainly go back and find

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  ·1· ·it.
  ·2· · · · ·




  16· · · · · ·Q.· · ·Did Oasis have its own tax
  17· ·advisers?
  18· · · · · ·A.· · ·They had -- they had to prepare
  19· ·their own short form, and, yes, and they would
  20· ·work closely with us as well as with their -- our
  21· ·tax advisers.
  22· · · · · ·Q.· · ·Who was Oasis' outside tax
  23· ·adviser?
  24· · · · · ·A.· · ·I don't know sitting here right




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  ·1· ·now.· I'm sure you can find their signature on
  ·2· ·their short-form tax returns.
  ·3· · · · · ·Q.· · ·And this -- what accounting
  ·4· ·services did PPMG provide to Oasis?
  ·5· · · · · ·A.· · ·We worked with them on building
  ·6· ·pricing models as well as providing them the
  ·7· ·templates for their income statement, balance
  ·8· ·sheet and their cash flow statement.
  ·9· · · · · · · · · And we provided all that finance
  10· ·templates to help them structure and run their
  11· ·business.· They worked very closely with
  12· ·Carlos Mercado and his team.
  13· · · · · ·Q.· · ·And you mentioned before Oasis had
  14· ·a management team during your tenure as the
  15· ·manager for Oasis; correct?
  16· · · · · ·A.· · ·Through the entire time, yes, they
  17· ·had their own separate management team.
  18· · · · · ·Q.· · ·Okay.· I don't think we were
  19· ·provided with a copy of the authority matrix that
  20· ·you referenced earlier.· We would like to get a
  21· ·copy of that.
  22· · · · · · · · · But I'd like to ask you a few
  23· ·questions about -- about what the management team
  24· ·was authorized to undertake.· I didn't know

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  ·1· · · · · ·Q.· · ·That's what I thought.
  ·2· · · · · · · · · The next column over is titled
  ·3· ·"Commitments," and there's a footnote there.
  ·4· · · · · · · · · Do you see that footnote?
  ·5· · · · · ·A.· · ·Yes.
  ·6· · · · · ·Q.· · ·And it says, "For loans which,
  ·7· ·when repaid, may not be reborrowed.· Only
  ·8· ·outstanding undrawn commitments are shown."
  ·9· · · · · · · · · Right?· That's what it says?
  10· · · · · ·A.· · ·Yes.
  11· · · · · ·Q.· · ·Okay.· And the next column over,
  12· ·the column heading is "Outstandings."· What are
  13· ·those columns reflecting?· If you know.
  14· · · · · ·A.· · ·It's the amount that is funded
  15· ·under the commitment.
  16· · · · · ·Q.· · ·And the next column is titled
  17· ·"Lender," and that lists each of Zohars I, II and
  18· ·III, respectively; correct?
  19· · · · · ·A.· · ·That is correct.
  20· · · · · ·Q.· · ·And the next column over refers to
  21· ·the applicable margin, and that is 0 percent;
  22· ·correct?
  23· · · · · ·A.· · ·That was no interest on it because
  24· ·it wasn't a loan in terms of borrowed money, but

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  ·1· ·an equity kicker that would have been upside
  ·2· ·beyond borrowing -- it wasn't a term loan in
  ·3· ·terms of borrowed money; it was an equity kicker
  ·4· ·that had no interest rate and was -- it was paid
  ·5· ·as -- the taxes on this had already been paid as
  ·6· ·interest income, and it was just converted as
  ·7· ·part of a credit agreement --
  ·8· · · · · · · · · (Simultaneous cross-talk.)
  ·9· ·BY MR. BARRY:
  10· · · · · ·Q.· · ·Okay.
  11· · · · · ·A.· · ·-- with no interested --
  12· · · · · · · · · MR. BARRY:· Gail, the term is
  13· · · · · ·"equity kicker," K-I-C-K-E-R.
  14· · · · · · · · · THE COURT REPORTER:· I got it.                            I
  15· · · · · ·think you kind of tend to jump in on her,
  16· · · · · ·and it messes with her audio a little
  17· · · · · ·bit.
  18· · · · · · · · · MR. BARRY:· Well, I'm trying to
  19· · · · · ·get the questions done and answered so we
  20· · · · · ·can get out of here; I want to make sure
  21· · · · · ·we're focused on the questions I'm
  22· · · · · ·asking.
  23· ·BY MR. BARRY:
  24· · · · · ·Q.· · ·So it your testimony, though, that

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  ·1· ·there's no interest at all on this tranche or
  ·2· ·that there's no marginal interest?
  ·3· · · · · ·A.· · ·There's no interest at all on this
  ·4· ·tranche.· It was never billed.· It was never
  ·5· ·paid.· The credit agreement always identify
  ·6· ·equity kickers in the credit agreements.
  ·7· · · · · · · · · So whenever there was something
  ·8· ·extra that could be garnered -- and if you look
  ·9· ·at the indenture, you'll see the definition of
  10· ·"equity kicker."· We always put them in the
  11· ·credit agreement so that they would be documented
  12· ·and identified because these don't go into a
  13· ·trustee report.
  14· · · · · · · · · MR. BARRY:· Rebekah, can you put
  15· · · · · ·up Zohar 4 for me, please.
  16· · · · · · · · · MS. LOSEMAN:· Ms. Tilton, I just
  17· · · · · ·want to be sure that you completed your
  18· · · · · ·last answer.· Sometimes we continue to
  19· · · · · ·see your mouth moving but don't hear
  20· · · · · ·audio.
  21· · · · · · · · · THE WITNESS:· Well, it's because I
  22· · · · · ·keep getting cut off.
  23· ·BY MR. BARRY:
  24· · · · · ·Q.· · ·I apologize.· I will try not to do

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  ·1· ·says, "Except as otherwise set forth herein, each
  ·2· ·loan shall bear interest on the unpaid principal
  ·3· ·amount thereof from the date made through
  ·4· ·repayment (whether about acceleration or
  ·5· ·otherwise) on the unpaid principal amount thereof
  ·6· ·at a rate per annum equal to LIBOR plus the
  ·7· ·applicable margin."
  ·8· · · · · · · · · So the Amendment 8 states that the
  ·9· ·applicable margin is 0 percent.· So isn't the
  10· ·interest rate in connection with the tranche 8
  11· ·debt LIBOR?
  12· · · · · ·A.· · ·No.
  13· · · · · · · · · MS. LOSEMAN:· Object to the form.
  14· · · · · · · · · THE WITNESS:· There was -- this is
  15· · · · · ·going back to the other loans.· I mean,
  16· · · · · ·the other loans are still part of this
  17· · · · · ·loan agreement.· There was never a dollar
  18· · · · · ·billed at LIBOR or anything on these
  19· · · · · ·loans.
  20· · · · · · · · · We've put them in tranches as --
  21· · · · · ·if you go back to the indenture, you'll
  22· · · · · ·understand that anything over borrowed
  23· · · · · ·money that goes to the lenders, which I
  24· · · · · ·signed for the lenders -- just like I

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  ·1· ·signed when it was for PPMG -- was
  ·2· ·provided to them as a kicker above the
  ·3· ·borrowed money amount.· And that can take
  ·4· ·the form of preferred, common, debt,
  ·5· ·payment -- special payments on sales,
  ·6· ·warrants.
  ·7· · · · · So this is an equity kicker.
  ·8· ·Oasis was never billed LIBOR or any
  ·9· ·interest on any of these loans.· This
  10· ·relates back to the other loans.
  11· · · · · This was a 0.· It had no interest
  12· ·rate due.· It was never billed for
  13· ·interest.· It never paid interest on
  14· ·these.
  15· · · · · Those were equity kickers, and I
  16· ·paid the taxes on this money prior to
  17· ·then putting it as an equity contribution
  18· ·into these agreements.· It was paid on
  19· ·the interest due at the time as interest
  20· ·income.
  21· · · · · This has no basis.· It can't be
  22· ·used as borrowed money.· It is purely an
  23· ·equity kicker.
  24· · · · · I could have forgiven it.· I could

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  ·1· ·testimony, and I think if you go back to what
  ·2· ·PPMG billed following this, you will find that it
  ·3· ·did not bill for any interest on these equity
  ·4· ·kicker interest tranche loans.· It was done to
  ·5· ·protect the lender if and when this could get
  ·6· ·paid.· It also could have been forgiven, as it
  ·7· ·was with many of the other companies.
  ·8· · · · · ·Q.· · ·Okay.· Let's --
  ·9· · · · · · · · · MR. BARRY:· Rebekah, can we please
  10· · · · · ·go back to Zohar 5 and the last page.
  11· ·BY MR. BARRY:
  12· · · · · ·Q.· · ·Okay, next column over,
  13· ·Ms. Tilton.· "Interest payment date," do you see
  14· ·that?· It's -- I don't know, a little bit more
  15· ·than halfway over, "interest payment date" is the
  16· ·heading.· Do you see that?
  17· · · · · ·A.· · ·Yeah, I do.
  18· · · · · ·Q.· · ·And it says, N/A.· Do you know
  19· ·what N/A means?
  20· · · · · ·A.· · ·Yeah.· Not applicable because
  21· ·there was no interest on this accrued in tranche.
  22· · · · · ·Q.· · ·So there was no interest payment
  23· ·date for this tranche, is what you're saying?
  24· · · · · ·A.· · ·There was no interest payment

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  ·1· ·date, because there was no interest due on this
  ·2· ·equity kicker.
  ·3· · · · · ·Q.· · ·Okay.
  ·4· · · · · · · · · MR. BARRY:· Rebekah, let's go back
  ·5· · · · · ·to the -- the prior document, Zohar 4,
  ·6· · · · · ·please, on the same page you were on.
  ·7· · · · · ·Okay.· If you could scroll down, please,
  ·8· · · · · ·to 2.8(c).
  ·9· ·BY MR. BARRY:
  10· · · · · ·Q.· · ·Ms. Tilton, just directing your
  11· ·attention to 2.8(c).· It says -- it's titled
  12· ·"payment of interest."· It says, "Interest on the
  13· ·loans shall be payable in arrears on, i, the
  14· ·first day of each calendar month; ii, the date of
  15· ·any prepayments of the loans, whether voluntarily
  16· ·or mandatory, to the extent accrued on the amount
  17· ·being prepaid; and iii, the maturity date,
  18· ·including final maturity."
  19· · · · · · · · · Do you see that?
  20· · · · · ·A.· · ·I do.· It's only applicable to the
  21· ·true borrowed money term loans.· It's not
  22· ·applicable to the equity kicker tranche that were
  23· ·put in to the loan agreement as equity kickers to
  24· ·be paid when and if the company was able, when it

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  ·1· ·and I'll shut up.· But I'm trying to explain to
  ·2· ·you, and, you know, you don't want to hear the
  ·3· ·truth.
  ·4· · · · · ·Q.· · ·I think there's a lag and I
  ·5· ·apologize.· I'm actually not trying to do that,
  ·6· ·Lynn.· But I do apologize.· I want you to -- I
  ·7· ·want you to answer the questions the way you want
  ·8· ·to answer them.
  ·9· · · · · · · · · MS. LOSEMAN:· Counsel, I'm sorry.
  10· · · · · ·Could you repose the question just so we
  11· · · · · ·know where we are.
  12· · · · · · · · · MR. BARRY:· I kind of lost where
  13· · · · · ·we were.· I think I asked the question:
  14· · · · · ·Can you show me in Amendment 8 where it
  15· · · · · ·says -- excuse me.· I think I asked the
  16· · · · · ·question:· Can you show me in Amendment 8
  17· · · · · ·where N/A is defined.
  18· · · · · · · · · THE WITNESS:· N/A has always had
  19· · · · · ·the meaning to me "not applicable."· I do
  20· · · · · ·not believe there's a definition of "not
  21· · · · · ·applicable" here.· But it will also be
  22· · · · · ·represented in the fact that Oasis was
  23· · · · · ·billed every month for interest, and it
  24· · · · · ·was never billed from the time of this

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  ·1· · · · · ·agreement for interest on these tranches.
  ·2· · · · · · · · · So it's evident that this "not
  ·3· · · · · ·applicable" and "no interest rate" was
  ·4· · · · · ·then also evidenced in the billing of
  ·5· · · · · ·Oasis each month for its monthly
  ·6· · · · · ·interest.· The fact they were not billed
  ·7· · · · · ·and they never paid.
  ·8· · · · · · · · · So it is not applicable because
  ·9· · · · · ·this is equity and it is, therefore --
  10· · · · · ·there's no basis in it for borrowed
  11· · · · · ·money.· It's not a loan in the true
  12· · · · · ·meaning that it was lent to.· It was put
  13· · · · · ·in as an upside to the lenders if and
  14· · · · · ·when, when the company was sold, it would
  15· · · · · ·be able to pay this money.· But it -- N/A
  16· · · · · ·stands for "not applicable."· It doesn't
  17· · · · · ·have a periodic interest.· It doesn't
  18· · · · · ·have an interest rate.· It was never
  19· · · · · ·billed for it, nor was it ever paid nor
  20· · · · · ·do it accrue interest on it.
  21· ·BY MR. BARRY:
  22· · · · · ·Q.· · ·Okay.· The next column over is
  23· ·maturity date.
  24· · · · · · · · · Do you see that, on the exhibit to

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  ·1· ·the same document.
  ·2· · · · · ·A.· · ·Same -- we're talking about the
  ·3· ·document, not the schedule.
  ·4· · · · · ·Q.· · ·The financial statement, sorry.
  ·5· · · · · ·A.· · ·The financial statements?
  ·6· · · · · ·Q.· · ·Yeah, sorry.
  ·7· · · · · · · · · Okay.· At the top of the Page 15,
  ·8· ·it has a note that's titled, as you were just
  ·9· ·mentioning, "Long-Term Debt, Related Party
  10· ·Continued."· And it says, starting with the
  11· ·second sentence under that heading, "Prior to
  12· ·2016, 20,291,8 -- 291,873 of accrued interest was
  13· ·converted into three term loans which are
  14· ·included with long-term debt, related party.
  15· ·This converted loan does not bear interest."
  16· · · · · · · · · Do you see that?
  17· · · · · ·A.· · ·So we have now settled the fact
  18· ·that there is no interest on this.· And any
  19· ·accountant will tell you that anything that does
  20· ·not have interest -- an interest rate and a
  21· ·timely payment of interest is not truly debt but
  22· ·it is equity for any kind of tax purposes.
  23· · · · · · · · · So, yes, it does not bear interest
  24· ·and it was included in the credit agreement,

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  ·1· ·which is where we have always included any kind
  ·2· ·of equity kicker so that it is documented
  ·3· ·properly.· And it does not bear interest and it
  ·4· ·was included, and it's part of that same thing,
  ·5· ·related party as well as long-term debt.
  ·6· · · · · ·Q.· · ·Okay.· So is it your testimony
  ·7· ·that the items covered under this are two
  ·8· ·different things, they're long-term debt and
  ·9· ·separately related party liabilities?
  10· · · · · ·A.· · ·That is my testimony, and it's
  11· ·also that this is not debt in terms of its
  12· ·characteristics.· It's got no basis, it's not
  13· ·borrowed money.· The taxes were paid on income
  14· ·and it was contributed as an equity kicker.
  15· · · · · · · · · Otherwise, it would have been like
  16· ·every other borrowed money loan and have an
  17· ·interest rate attached to it.
  18· · · · · ·Q.· · ·And you believe the statement in
  19· ·here -- this covered -- this converted loan
  20· ·amount does not bear interest, you believe that
  21· ·solves the question as to whether or not there
  22· ·was interest on that or not?
  23· · · · · ·A.· · ·Well, I think that along with the
  24· ·fact that it was never billed for interest, it

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  ·1· · · · · ·collateral manager, we would have put in
  ·2· · · · · ·a ticket to put it in as debt and count
  ·3· · · · · ·it on the fund financial statements and
  ·4· · · · · ·the trustee report as additional loan
  ·5· · · · · ·assets.
  ·6· · · · · · · · · But it wasn't borrowed money, and
  ·7· · · · · ·it was an equity kicker when and if
  ·8· · · · · ·available.
  ·9· · · · · · · · · Now it's a loan agreement, and so
  10· · · · · ·it is a term loan and so the -- the
  11· · · · · ·account is listed as indebtedness but it
  12· · · · · ·doesn't have the same characteristics as
  13· · · · · ·the new borrowed money that was provided
  14· · · · · ·by the Zohars.
  15· ·BY MR. BARRY:
  16· · · · · ·Q.· · ·Okay.· So I want to make sure I
  17· ·understand what you just said, because this --
  18· ·the -- if this were to be debt, it would have
  19· ·been on the trustee reports; correct?
  20· · · · · ·A.· · ·It if it was considered to be a
  21· ·loan under the indenture and it had an interest
  22· ·rate, a maturity and periodic interest payments,
  23· ·it would have been listed on the trustee report
  24· ·as a loan asset to the Zohars.· Because it was an

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  ·1· ·equity kicker and didn't have an interest rate
  ·2· ·and wasn't borrowed money, it was not listed on
  ·3· ·the trustee report, it was not in the fund
  ·4· ·financial statements as loan assets, and it
  ·5· ·wasn't part of the over-collateralization ratio.
  ·6· · · · · ·Q.· · ·You said the collateral -- if it
  ·7· ·was debt, the collateral manager would have put
  ·8· ·in a ticket?· Can you explain that?
  ·9· · · · · ·A.· · ·Well, when we report a loan made,
  10· ·we would have reported that loan what we would
  11· ·have called the trade ticket that would have
  12· ·shown the loan to the trustee so that they could
  13· ·add it to the trustee report as a loan asset.
  14· · · · · ·Q.· · ·Who was the collateral -- sorry
  15· ·who the collateral manager at the time
  16· ·Amendment 8 was executed?
  17· · · · · ·A.· · ·Patriarch Partner 8, 14 and 15
  18· ·respectively.
  19· · · · · ·Q.· · ·So Patriarch would have been the
  20· ·collateral manager to have put in the ticket to
  21· ·the trustee to advise it that a new tranche of
  22· ·debt had been put in?
  23· · · · · · · · · MS. LOSEMAN:· Object to the form.
  24· · · · · · · · · THE WITNESS:· That is correct and

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  ·1· · · · · ·we would have if it had been debt because
  ·2· · · · · ·it would have been very helpful to us.
  ·3· ·BY MR. BARRY:
  ·4· · · · · ·Q.· · ·Okay.· So the fact that it's not
  ·5· ·in the trustee report is because Patriarch didn't
  ·6· ·put a ticket in?
  ·7· · · · · · · · · MS. LOSEMAN:· Object to form.
  ·8· · · · · · · · · THE WITNESS:· Patriarch didn't
  ·9· · · · · ·consider it debt or a loan asset but
  10· · · · · ·rather an equity kicker.· And equity
  11· · · · · ·kickers are not listed in the trustee
  12· · · · · ·reports but in the loan agreements to the
  13· · · · · ·companies.
  14· ·BY MR. BARRY:
  15· · · · · ·Q.· · ·In your declaration, you
  16· ·testified, "Indeed, the trustee reports -- which
  17· ·regularly list the Zohar Funds' debt -- do not
  18· ·list the restructured equity as debt."
  19· · · · · · · · · Do you recall that?
  20· · · · · ·A.· · ·Yes.
  21· · · · · ·Q.· · ·But they're not listed in the
  22· ·trustee's report because Patriarch didn't report
  23· ·them to the trustee, because you didn't believe
  24· ·they were debt?

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  ·1· · · · · ·Q.· · ·PPMG prepared this document.· What
  ·2· ·is the transaction fee intended to compensate
  ·3· ·PPMG for?
  ·4· · · · · ·A.· · ·For all the work that PPMG
  ·5· ·provided in terms of services to be able to turn
  ·6· ·around as companies left for dead to a point
  ·7· ·where it would have had value and be able to be
  ·8· ·sold, and to compensate for any other fees that
  ·9· ·had not been paid during the time that the
  10· ·company was distressed.
  11· · · · · ·Q.· · ·PPMG received a monthly fee under
  12· ·this agreement; correct?
  13· · · · · ·A.· · ·PPMG's owed                                of monthly
  14· ·fees under these agreements.· Very often PPMG did
  15· ·not receive its fees because it was more
  16· ·important that they pay interest or have the
  17· ·capital to run their business to restructure.
  18· · · · · · · · · So PPMG was not paid these fees --
  19· ·a lot of these fees for a lot of the period
  20· ·during the time that this company was
  21· ·restructured or went through a bankruptcy or was
  22· ·unable to pay.
  23· · · · · ·Q.· · ·I'm -- I'm not doing it very
  24· ·artfully, so forgive me.· I'm just trying to




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  ·1· ·statements.
  ·2· · · · · · · · · This was under the private equity
  ·3· ·arm of Patriarch Partners Management Group that
  ·4· ·provided operational services, financial
  ·5· ·services, tax services -- you know, talent
  ·6· ·acquisition services which would have cost them
  ·7· ·millions of dollars a year in terms of paying
  ·8· ·headhunters and turnaround.· Web services -- you
  ·9· ·know, and secondment where we paid
  10· ·John Harrington to be part of that, all the
  11· ·lawyers, everything.
  12· · · · · · · · · So the indenture was for
  13· ·collateral management services.· That's passive
  14· ·investing.· This is for literally operational
  15· ·turnaround services.· And for that turnaround
  16· ·there was the small monthly fee and this
  17· ·transaction fee, at which time the company could
  18· ·be sold.
  19· · · · · ·Q.· · ·Right.· So for the turnaround
  20· ·services under the Management Services Agreement,
  21· ·the 5 percent transaction fee was intended to
  22· ·compensate PPMG for the increased value in the
  23· ·company under its management; isn't that right?
  24· · · · · ·A.· · ·Well, not -- it was for the value

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  ·1· · · · · ·there, it says "without regard to
  ·2· · · · · ·liability."· It only relates to the
  ·3· · · · · ·management proceeds, you know, and if you
  ·4· · · · · ·go to the phantom equity agreement which
  ·5· · · · · ·is where the management proceeds --
  ·6· · · · · ·everything is based on a change of
  ·7· · · · · ·control, and equity value -- because it's
  ·8· · · · · ·equity securities.
  ·9· · · · · · · · · The total equity value is the
  10· · · · · ·transaction amount.· It's paid the same
  11· · · · · ·way it's paid to a banker.· It's based on
  12· · · · · ·the transaction value.
  13· · · · · · · · · But the change of control does not
  14· · · · · ·relate to a liquidity event.· It's not
  15· · · · · ·part of the definition of a liquidity
  16· · · · · ·event.
  17· ·BY MR. BARRY:
  18· · · · · ·Q.· · ·So to your understanding, a
  19· ·transaction doesn't have to satisfy its
  20· ·indebtedness in order to trigger the PPMG
  21· ·5 percent fee?
  22· · · · · ·A.· · ·That is correct.
  23· · · · · ·Q.· · ·Have you ever expressed that view
  24· ·to anybody?

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  ·1· · · · · ·A.· · ·Well, it's in -- it was in every
  ·2· ·waterfall, so, yes.· And it was -- you know, so
  ·3· ·every waterfall -- you know, would have shown
  ·4· ·that this fee is payable even if the debt was not
  ·5· ·covered.
  ·6· · · · · ·Q.· · ·Okay.
  ·7· · · · · ·A.· · ·And we reviewed that with, you
  ·8· ·know, FTI in July and before that, line item by
  ·9· ·line item.
  10· · · · · · · · · MR. BARRY:· Okay.· Let's put up,
  11· · · · · ·Rebekah, please, Zohar 12.
  12· · · · · · · · · (Whereupon, Exhibit 12 was marked
  13· · · · · for identification.)
  14· ·BY MR. BARRY:
  15· · · · · ·Q.· · ·This is an email from you dated
  16· ·February 14th, 2019, to Mike Katzenstein.
  17· · · · · ·A.· · ·Right.
  18· · · · · ·Q.· · ·Did you review this in preparation
  19· ·for your testimony today?
  20· · · · · ·A.· · ·Yes.
  21· · · · · ·Q.· · ·Okay.· What is this?
  22· · · · · ·A.· · ·This was -- on February 14th,
  23· ·Rob Kost wrote to me as I was leaving for Europe
  24· ·for the refinancings to ask for a number of

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  ·1· ·documents, including the term sheet for the
  ·2· ·refinancing and a list of the debt for both
  ·3· ·debt --              and          and so I threw this out
  ·4· ·here to give them the list of the loans that
  ·5· ·would be refinanced.· This was not a waterfall in
  ·6· ·terms of a sale price.· This was sent to them --
  ·7· ·because I was surprised when I was looking at
  ·8· ·this that even                  which was expected to go for
  ·9· ·far more than the debt, did not have our fee
  10· ·listed in there.
  11· · · · · · · · · And then I went back to look at
  12· ·the email.· All they were asking for was the list
  13· ·of debt that would have been refinanced.· In
  14· ·February, there was no sale process going on.
  15· ·There was a refinancing going on, and Rob asked
  16· ·me for this and asked me for the term sheet from
  17· ·the refinancing, as well as some information on
  18· ·the                                 ; and I was rushing to
  19· ·the airport and I sent this along with other
  20· ·documents.
  21· · · · · · · · · This was not sent as a waterfall
  22· ·in a sale process; this was a list of the debt
  23· ·that they wanted to understand what would get
  24· ·refinanced.




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  ·1· · · · · ·Q.· · ·What would get refinanced in what
  ·2· ·process?· What do you mean?
  ·3· · · · · ·A.· · ·I was going on the road to do a
  ·4· ·refinancing.· I was heading to Europe to do the
  ·5· ·         refinancing.· So all he was asking for was a
  ·6· ·list of the debt in                   and       .· And so I sent
  ·7· ·this, because I had it with all the debt listed
  ·8· ·out.
  ·9· · · · · · · · · You can go back to
  10· ·February 14th.· There is an email from Rob Kost
  11· ·asking for things, and one of them is the list of
  12· ·debt that would be refinanced.
  13· · · · · · · · · February 14th starts with an
  14· ·email from Rob Kost.· And I sent him the                            --
  15· ·I sent three emails:· The                     term sheet from
  16· ·the refinancing, the -- this                       and        debt
  17· ·listed in this because that's where I had it
  18· ·easily available and                                          risk
  19· ·management information that they requested.
  20· · · · · ·Q.· · ·So these -- these don't model out
  21· ·transactions involving                    and
  22· ·            ?
  23· · · · · ·A.· · ·I mean, they were -- they were in
  24· ·a form but that's not -- I mean, if you look at




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  ·1· ·         which would have covered all the debt and
  ·2· ·paid the equity, you don't see the PPMG fee paid
  ·3· ·up there at the top.· This was not a true
  ·4· ·waterfall.· I was just sending -- we had samples
  ·5· ·that we were putting together and keeping the
  ·6· ·numbers up in, but we were -- this was not for a
  ·7· ·sale transaction.· I can show you 20 others that
  ·8· ·list out all the fees and the documents we went
  ·9· ·through with FTI in July that have all the fees
  10· ·listed.· This was just a worksheet that we were
  11· ·keeping track of things.· But it wasn't a
  12· ·waterfall payment.
  13· · · · · · · · · And even if you look at                           where
  14· ·all the debt would have been paid in full by a
  15· ·long shot, you don't see the PPMG fee up there.
  16· ·BY MR. BARRY:
  17· · · · · ·Q.· · ·So when you go halfway -- about
  18· ·halfway down the page there that's up on the
  19· ·screen, you get to the PPMG fee at 5 percent,
  20· ·                     ; right?
  21· · · · · ·A.· · ·I know but that would have been
  22· ·paid out up here, if this was what it was sent to
  23· ·do.· The PPMG fee would be paid out before the
  24· ·debt, not after the debt.




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  ·1· · · · · ·Q.· · ·And this is --
  ·2· · · · · ·A.· · ·I can show you -- the waterfalls
  ·3· ·that we reviewed at the time of the transactions.
  ·4· ·The PPMG fee is part of the closing expenses.
  ·5· · · · · · · · · This -- I mean, go back and take a
  ·6· ·look at the emails.· Rob Kost sends me an email.
  ·7· ·He wants -- he wants a list of the debt in
  ·8· ·and         .· And these I had handy.· I said to him,
  ·9· ·"I'm running to the airport to go to Europe."                        I
  10· ·said, "I'm slammed, but I'll get you what I have.
  11· ·The company is tied up."
  12· · · · · · · · · And so I sent that.
  13· · · · · · · · · But this is not a -- this was --
  14· ·there was no transaction going on at this time.
  15· ·This was February.· I was heading to Europe to do
  16· ·all the management meetings for the refinancing
  17· ·to refinance out the debt.
  18· · · · · · · · · This is what I'm sending, a list
  19· ·of the debt.· This was -- this was part of the
  20· ·worksheets we had, but there was no transaction
  21· ·going on at this time other than a refinancing.
  22· · · · · ·Q.· · ·So you didn't -- you didn't
  23· ·prepare this for the purpose Rob Kost requested
  24· ·it?· It was something you had handy?




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  ·1· · · · · ·A.· · ·No.· No.· It was --
  ·2· · · · · · · · · MS. LOSEMAN:· Object to form.
  ·3· · · · · · · · · THE WITNESS:· It was just a form.
  ·4· ·BY MR. BARRY:
  ·5· · · · · ·Q.· · ·Was it created at -- in response
  ·6· ·to Rob Kost's email?
  ·7· · · · · ·A.· · ·No.· I just grab things that would
  ·8· ·provide the information.· There's an email back
  ·9· ·to Rob Kost on February 14th that the company
  10· ·is slammed and can't get him the information,
  11· ·that I will send him what I have handy, as I'm
  12· ·running to the airport.
  13· · · · · ·Q.· · ·And what you had handy had the
  14· ·PPMG fee getting paid out after debt; right?
  15· · · · · · · · · MS. LOSEMAN:· Object to form.
  16· · · · · · · · · THE WITNESS:· Well, it's just a
  17· · · · · ·worksheet, a calculation of things.· This
  18· · · · · ·was a worksheet.· This is not how the
  19· · · · · ·water -- where the waterfalls that we
  20· · · · · ·ultimately sent you don't look like this.
  21· ·BY MR. BARRY:
  22· · · · · ·Q.· · ·Why was this prepared this way?
  23· · · · · ·A.· · ·This was us keeping track of
  24· ·things internally so that when we had to prepare

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  ·1· ·waterfalls, we had the information handy.· We had
  ·2· ·the list of the debt.· We had the calculation of
  ·3· ·the investment banker from the thing.· This
  ·4· ·was -- these were our internal worksheets.
  ·5· · · · · ·Q.· · ·Well, weren't you traveling to
  ·6· ·Europe to discuss and potentially negotiate a
  ·7· ·restructuring of the                   and         debt?
  ·8· · · · · ·A.· · ·No.· It was a refinancing.· Would
  ·9· ·have paid off the Zohars.· But it had nothing --
  10· ·Patriarch wouldn't have gotten any fees.· It
  11· ·wasn't a sale of the company.
  12· · · · · ·Q.· · ·Okay.
  13· · · · · ·A.· · ·It was just a refinancing.· So the
  14· ·Zohar loans were going to get refinanced out.
  15· ·There would have been no transaction.· There
  16· ·would have been no banker fees, no legal.
  17· · · · · · · · · These were our internal worksheets
  18· ·so that when we needed to put a waterfall
  19· ·together for a sale of the company, we had the
  20· ·information available.· If you look at other
  21· ·waterfalls that were sent to you for the closing
  22· ·of transactions, they look different.
  23· · · · · · · · · These are internal worksheets.
  24· · · · · · · · · MR. BARRY:· Okay.· Can we please




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  ·1· · · · · ·go to Page 3.
  ·2· · · · · · · · · Next page.· Sorry.· Next page.
  ·3· ·BY MR. BARRY:
  ·4· · · · · ·Q.· · ·Okay.· So this is the -- the
  ·5· ·        -- it says,                                          at the
  ·6· ·top.
  ·7· · · · · ·A.· · ·I see it.
  ·8· · · · · ·Q.· · ·So, again, you're saying this
  ·9· ·isn't modeling out a sale of
  10· · · · · ·A.· · ·It's just a worksheet.· There was
  11· ·no sale of            .·        hadn't even been put up for
  12· ·sale yet.· It was just an internal worksheet
  13· ·where we -- we were constantly trying to update
  14· ·numbers so that when we had to do something, we
  15· ·would be ready to do it.
  16· · · · · ·Q.· · ·Okay.
  17· · · · · ·A.· · ·So it listed out different things.
  18· ·But when you go back to the waterfalls for the
  19· ·closing of companies, you will see that the
  20· ·Patriarch fee is paid out as part of the closing
  21· ·expenses.
  22· · · · · ·Q.· · ·Okay.· So at the top, it says --
  23· · · · · ·A.· · ·You never know what the Patriarch
  24· ·fee is going to be until you have a true purchase




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  ·1· ·price and you have management equity that you
  ·2· ·have to subtract.· So it's mostly to have the
  ·3· ·formulas here and to have everything that could
  ·4· ·easily be updated once there was a transaction.
  ·5· · · · · ·Q.· · ·Right.· So --
  ·6· · · · · ·A.· · ·But these are internal worksheets.
  ·7· ·They were just -- they were sample waterfalls.
  ·8· ·We didn't have tax advisor expenses.· You know,
  ·9· ·we didn't have other professional fees.
  10· · · · · · · · · These were standard -- you know,
  11· ·worksheets that we were making sure that things
  12· ·worked and that we had information recorded.· But
  13· ·there was no transaction here.
  14· · · · · ·Q.· · ·Yeah, I think, you just said you
  15· ·wanted to have the formulas in place in case we
  16· ·did have a transaction.· Isn't that really a
  17· ·model?· Isn't that a [indecipherable] model?
  18· · · · · · · · · MS. LOSEMAN:· Object to form.
  19· · · · · · · · · THE WITNESS:· No.· This was for us
  20· · · · · ·to have internal worksheets on debt
  21· · · · · ·amounts, on -- and have things flowing.
  22· · · · · ·But these were just internal worksheets
  23· · · · · ·that would ultimately be turned into a
  24· · · · · ·full waterfall.

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  ·1· · · · · ·hard-and-fast agreement on that.· So --
  ·2· · · · · · · · · MS. LOSEMAN:· 15 minutes is fine.
  ·3· · · · · · · · · MR. BARRY:· Well, I'll take as
  ·4· · · · · ·much time as I need.
  ·5· ·BY MR. BARRY:
  ·6· · · · · ·Q.· · ·So is it your testimony that
  ·7· ·Rob Kost asked you to specifically put this
  ·8· ·document together in this format?
  ·9· · · · · ·A.· · ·No.· He asked for me the debt
  10· ·numbers.· And I handed him what I had that had
  11· ·the debt numbers handy.
  12· · · · · · · · · This was an internal worksheet
  13· ·that listed the debt numbers.· I was running for
  14· ·the airport.· He asked me for certain things.                        I
  15· ·tried to shoot out, as I was running for the
  16· ·airport, the things.· The debt numbers were in
  17· ·this.
  18· · · · · · · · · There was no transaction for
  19· ·It wasn't on the market at this period of time.
  20· ·These were internal documents that listed the
  21· ·debt numbers, and I sent them.
  22· · · · · ·Q.· · ·Okay.· Do you have internal --
  23· ·internal spreadsheets that just show the debt
  24· ·numbers at these two companies?




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  ·1· · · · · ·going on in February.· There was a
  ·2· · · · · ·refinancing.· And if you read the email
  ·3· · · · · ·traffic, you will see.
  ·4· ·BY MR. BARRY:
  ·5· · · · · ·Q.· · ·How long before you provided these
  ·6· ·to Mr. Katzenstein did Mr. Mercado prepare it?
  ·7· · · · · ·A.· · ·I have no idea, but I do not -- it
  ·8· ·was not recent.
  ·9· · · · · · · · · Just so you know, these fees are
  10· ·paid up with the closing expense.· So when you go
  11· ·back to your waterfalls for the true transactions
  12· ·or the 12 that I provided in July, you will see
  13· ·that the PPMG fee is under the closing expenses.
  14· · · · · ·Q.· · ·I'm sorry.· The ones that you
  15· ·provided when?
  16· · · · · ·A.· · ·Well, that we walked through
  17· ·with -- with FTI and Katzenstein back in July,
  18· ·line item by line item for the overall plan of
  19· ·reorganization deals.· There were waterfalls
  20· ·provided and walked through, and then you have
  21· ·the Denali and Oasis.· You'll see that they're
  22· ·both paid as part of the closing expenses at the
  23· ·top.
  24· · · · · · · · · This is just an internal

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  ·1· ·worksheet.· This is not what the true waterfalls
  ·2· ·that you'd received look like.
  ·3· · · · · ·Q.· · ·Okay.
  ·4· · · · · ·A.· · ·These are hypotheticals.
  ·5· · · · · · · · · MR. BARRY:· Let's look at -- can
  ·6· · · · · ·you put Zohar 9 back up.· And I only have
  ·7· · · · · ·a few more questions.
  ·8· ·BY MR. BARRY:
  ·9· · · · · ·Q.· · ·Okay.· Back to this.
  10· · · · · · · · · Turn to Page 2 at the very top.
  11· ·The last sentence of the -- the last sentence
  12· ·that's in the -- the sort of floating bottom of
  13· ·that paragraph at the top says, "The obligations
  14· ·of the companies under Sections 7 and 8 will
  15· ·survive termination of this letter agreement
  16· ·indefinitely, and the obligations of the
  17· ·companies under Section 3 will survive
  18· ·termination of this letter agreement."
  19· · · · · · · · · Do you see that?
  20· · · · · ·A.· · ·Yes, I see that.
  21· · · · · ·Q.· · ·I'm sorry.· Are you waiting for
  22· ·me?
  23· · · · · · · · · MS. LOSEMAN:· Yeah.· Is there a
  24· · · · · ·question?

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                             Exhibit 3

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                             Exhibit 3

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                             Exhibit 3

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                             Exhibit 3

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                             Exhibit 4




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                             Exhibit 5




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                             Exhibit 6




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From: Lynn Tilton <Lynn.Tilton@patriarchpartners.com>
Sent: Thursday, February 14, 2019 10:15 AM
To: Rob Kost <rkost@goldinassociates.com>
Cc: Katzenstein Michael <mike.katzenstein@fticonsulting.com>
Subject: RE: Zohar

I a working on the information for      and       The team is slammed with a risk presentation that must be prepared
for         CEO and information for the refinancing banks. I will get it to the group as soon as possible.
On the calls, I leave for Europe tomorrow but could be available Wed afternoon when I return or over the weekend from
Europe. Monday and Tuesday will be blocked out.
We can talk further on           and

‐‐‐‐‐Original Message‐‐‐‐‐
From: Rob Kost <rkost@goldinassociates.com>
Sent: Thursday, February 14, 2019 10:10 AM
To: Lynn Tilton <Lynn.Tilton@PatriarchPartners.Com>
Cc: Katzenstein Michael <mike.katzenstein@fticonsulting.com>
Subject: Zohar

Lynn ‐
A couple of updates and requests.
‐ I have confirmed that              and                 are both traveling. Given the timeliness of the decisions that need
to be made, it might make more sense to do a call with Joe, Mike and the                 team as soon as possible.
‐ The          team will not be in NYC and is actually trying to schedule a MP that day, so may not be available for a call. ‐ I
will send the current schedule to Ashley and you today.
‐ I know you are speaking with Mike today, but he asked me to start collecting information with respect to              and
Should i work with you or should I reach out to             ? In particular, we would like some additional information related
to the sale versus refinancing. 1) materials / views related to selling       as a             business. 2) economic impact
to        over the life of the new             contracts. 3) any information / documents regarding the refinancing of
to assist us with review the options.
‐ Lastly, I have received some inbounds for bankers interested in pitching for             and           I will send them to
you today. If you have a view as to timing with respect to these processes, that would be helpful to know.
Thank you
Rob
**************************************************************************************************
**********************************
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                             Exhibit 7

                           (REDACTED)




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                             Exhibit 7

                           (REDACTED)




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                             Exhibit 7

                           (REDACTED)




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                             Exhibit 7

                           (REDACTED)




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                             Exhibit 7

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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                )
         In re:                                                 )   Chapter 11
                                                                )
         Zohar III, Corp., et al.,1                             )   Case No. 18-10512 (KBO)
                                                                )
                                             Debtors.           )   Jointly Administered
                                                                )
                                                                )   Ref. Docket No. 1916 & 1969
                                                                )
                                                                )   Hearing Date: October 14, 2020 at 10:00 a.m. (ET)
                                                                    Objection Deadline: October 7, 2020 at 4:00 p.m. (ET)
                                                                )
                                                                )

                     NOTICE OF FILING OF PROPOSED REDACTED VERSION OF
                    DEBTORS’ RESPONSE TO PPMG’S OPENING BRIEF REGARDING
                        PPMG’S RIGHT TO PAYMENT OF TRANSACTION FEE
                           IN CONNECTION WITH OASIS TRANSACTION

         TO:      (I) THE U.S. TRUSTEE; (II) COUNSEL TO THE PATRIARCH STAKEHOLDERS;
                  (III) COUNSEL TO U.S. BANK, AS INDENTURE TRUSTEE; (IV) COUNSEL TO
                  MBIA; (V) COUNSEL TO THE ZOHAR III CONTROLLING CLASS; AND (VI) ALL
                  PARTIES THAT, AS OF THE FILING OF THIS MOTION, HAVE REQUESTED
                  NOTICE IN THESE CHAPTER 11 CASES PURSUANT TO BANKRUPTCY RULE
                  2002

                PLEASE TAKE NOTICE that on September 4, 2020, the debtors and debtors in
         possession in the above-captioned Chapter 11 cases (collectively, the “Debtors”) filed the
         Debtors’ Response to PPMG’s Opening Brief Regarding PPMG’s Right to Payment of
         Transaction Fee in Connection Oasis Transaction [Docket No. 1916] (the “Response”).

                PLEASE TAKE FURTHER NOTICE that on September 30, 2020, the Debtors filed
         the Debtors’ Motion for Entry of an Order Authorizing the Filing of Portions of the Debtors’
         Response to PPMG’s Opening Brief Regarding PPMG’s Right to Payment of Transaction Fee in
         Connection Oasis Transaction [Docket No. 1969] (the “Motion to Seal”).

                PLEASE TAKE FURTHER NOTICE that the Debtors hereby file the proposed
         redacted version of the Response (the “Proposed Redacted Document”), attached hereto as
         Exhibit A.



         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
         Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
         (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times
         Square, c/o FTI Consulting, Inc., New York, NY 10036.
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                PLEASE TAKE FURTHER NOTICE THAT A TELEPHONIC HEARING (THE
         “HEARING”) ON THE MOTION TO SEAL WILL BE HELD ON OCTOBER 14, 2020 AT
         10:00 A.M. (ET) BEFORE THE HONORABLE KAREN B. OWENS, IN THE UNITED
         STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH
         MARKET STREET, 6TH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE
         19801.

               PLEASE TAKE FURTHER NOTICE that any objections to the Motion to Seal are due
         on October 7, 2020 at 4:00 p.m. (ET).

             PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
         ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
         REQUESTED IN THE MOTION TO SEAL WITHOUT FURTHER NOTICE OR A
         HEARING.

         Dated: September 30, 2020      YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                        /s/ Shane M. Reil
                                        James L. Patton, Jr. (No. 2202)
                                        Robert S. Brady (No. 2847)
                                        Michael R. Nestor (No. 3526)
                                        Joseph M. Barry (No. 4221)
                                        Ryan M. Bartley (No. 4985)
                                        Shane M. Reil (No. 6195)
                                        Rodney Square
                                        1000 North King Street
                                        Wilmington, Delaware 19801
                                        Telephone: (302) 571-6600
                                        Facsimile: (302) 571-1253
                                        Email: jpatton@ycst.com
                                                rbrady@ycst.com
                                                mnestor@ycst.com
                                                jbarry@ycst.com
                                                rbartley@ycst.com
                                                sreil@ycst.com

                                        Counsel to the Debtors and Debtors in Possession




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                                             Exhibit A

                                   Proposed Redacted Document




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                     )
             In re:                                                  )     Chapter 11
                                                                     )
             Zohar III, Corp., et al.,1                              )     Case No. 18-10512 (KBO)
                                                                     )
                                                Debtors.             )     Jointly Administered
                                                                     )
                                                                     )     Ref. Docket Nos. 1093 & 1130
                                                                     )     Hearing Date: September 14, 2020 at 10:00 a.m. (ET)

                        DEBTORS’ RESPONSE TO PPMG’S OPENING BRIEF REGARDING
                            PPMG’S RIGHT TO PAYMENT OF TRANSACTION FEE
                               IN CONNECTION WITH OASIS TRANSACTION

                      Zohar III, Corp. and its affiliated debtors and debtors in possession in the above-captioned

         Chapter 11 cases (collectively, the “Debtors” or the “Zohar Funds”) hereby submit this response

         (this “Response”) to PPMG’s Opening Brief Regarding PPMG’s Right to Payment of Transaction

         Fees in Connection With the Oasis Transaction [Docket No. 1093]2 (the “PPMG Brief”) and in

         further support of the Debtors’ Motion for an Order Determining Dispute Between the Debtors

         and Patriarch Partners Management Services, LLC Related to Pending Oasis Transaction

         [Docket No. 1130] (the “Motion”),3 and further respectfully state as follows:




         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261) (“Zohar
         III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited (5119) (“Zohar III”). The
         Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York, NY 10036.
         2
           PPMG originally filed its brief and supporting declaration on September 6, 2019 (the “Original Brief and
         Declaration”) [Docket No. 914]. Thereafter, the Debtors requested that portions thereof be withdrawn as they violated
         the mediation privilege. On December 31, 2019, PPMG withdrew the offending passages in the Original Brief and
         Declaration (the “December 31st Brief and Declaration”)[Docket No. 1197]. This Response is addressed to the
         December 31st Brief and Declaration.
         3
          Capitalized terms used but not otherwise defined herein shall have the meanings given to such terms in the Motion.
         Attached as Exhibit A hereto is a revised Proposed Order (the “Revised Proposed Order”) with respect to the Motion
         and attached hereto as Exhibit B is a redline of the Revised Proposed Order against the Proposed Order.


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                                      PRELIMINARY STATEMENT

              1.     PPMG advances two arguments to support its receipt of an approximately $3.8

       million Transaction Fee under the PPMG MSA, which amounts would have otherwise been

       received by the Zohar Funds. Both of PPMG’s arguments are unsupported by the documents at

       issue and should be rejected. First, PPMG argues that it was entitled under the terms of the PPMG

       MSA to the 5% Transaction Fee regardless of whether the proceeds of the LVD Transaction

       sufficed to pay off LVD’s secured debt. This reading finds no support in the PPMG MSA. Second,

       PPMG argues that even if payment of the Zohar Funds’ secured indebtedness was a condition to

       PPMG earning a Transaction Fee, the LVD Transaction did, in fact, pay the Zohar Funds’ secured

       debt in full because $20 million of that indebtedness – the Amendment 8 Tranches – was actually

       equity. PPMG’s position wholly conflicts with the unambiguous terms of the documents

       evidencing the Amendment 8 Tranches and should be rejected as well.

                                                RESPONSE

       A.     Section 3(c)(ii)(D) of the PPMG MSA Precludes Payment of a Transaction Fee if the
              Applicable “Liquidity Event” Does Not Satisfy LVD’s Debt

              i.     No Transaction Fee was Owed Under the Only Reasonable
                     Reading of the PPMG MSA

              2.     The Zohar Funds and PPMG agree that section 3(c)(ii)(D) uses a defined term –

       “Change of Control” – that is not defined in the PPMG MSA, but they disagree on what should

       have been used in its place. The competing candidates – “Liquidity Event” and “Change in

       Control,” as well as the misused “Change of Control” – are frequently used in commercial settings

       to express similar concepts: namely, fundamental changes in the ownership and control of

       enterprises. However, as explained in the Motion, the only reasonable reading of the PPMG MSA

       would be to substitute the term “Liquidity Event” in place of the term “Change of Control” in

         section 3(c)(ii)(D). As a result, no Transaction Fee was owed or payable to PPMG because the
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         Zohar Funds’ indebtedness was not satisfied in full by the LVD Transaction.4 PPMG’s contrary

         interpretation, which suggests that the proviso in subsection (c)(ii)(D) of section 3 of the PPMG

         MSA (dealing with Transaction Fees) was intended to modify the defined term “Change in

         Control,” which is itself a specialized term employed in procedures established by Annex A (titled

         “Determination of Rights to Indemnification”) to implement the indemnification of PPMG and

         related parties provided by a separate section of the PPMG MSA (Section 7 titled

         “Indemnification”), is not reasonable.

                  3.       The Court need not and should not consider Ms. Tilton’s testimony or any other

         extrinsic evidence on this point because there is only one reasonable interpretation of the PPMG

         MSA when read as whole that corrects the inadvertent usage of the term “Change of Control” in

         section 3(c)(ii)(D). Scotto v. Georgoulis, 89 A.D.3d 717, 718, 932 N.Y.S.2d 120, 121 (2011) (“A

         written agreement that is clear, complete and subject to only one reasonable interpretation must be

         enforced according to the plain meaning of the language chosen by the contracting parties ...

         Ambiguity is determined within the four corners of the document; it cannot be created by extrinsic

         evidence that the parties intended a meaning different than that expressed in the agreement and,

         therefore, extrinsic evidence may be considered only if the agreement is ambiguous”) (citing Brad

         H. v. City of New York, 17 N.Y.3d 180, 185–186, 928 N.Y.S.2d 221, 951 N.E.2d 743).

                  4.       Putting the term “Liquidity Event” in place of “Change of Control” in section

         3(c)(ii)(D) leads to a reasonable construction based on several grounds.

                  i.       First, the term “Change of Control” is used in a proviso to the definition of
                           “Liquidity Event” itself. It is reasonable to conclude that provisos in definitions



         4
           The Debtors’ position on this issue is long-held and was communicated to Patriarch as soon as the Debtors were
         (finally, and rightfully) included in the negotiation of the EPA in or around June of 2019. Any claim or insinuation
         by Patriarch, that the Debtors asserted their position at the last minute or in an effort to hold up the consummation the
         EPA is false.

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                           are intended to refer to the term being defined, and, therefore, that the inadvertent
                           usage of “Change of Control” was intended to be “Liquidity Event.”

                  ii.      Second, the proviso seeks to place a further limitation on which of the three
                           “events” enumerated before the proviso will “qualify” as something. The usage of
                           “in each case” in the proviso suggest that the thing being qualified is the term
                           “Liquidity Event” which is defined by reference to three events (sub-parts (x), (y),
                           and (z)) in the first part of the sentence in section 3(c)(ii)(D). Indeed, the definition
                           of “Liquidity Event” is used for only one purpose in the MSA: to define when
                           PPMG is entitled to a Management Fee. The word “qualifying” is central to that
                           purpose, as it plainly establishes what type of Liquidity Event “qualifies” for
                           payment of the fee. Patriarch has not, and cannot, explain what other purpose the
                           word “qualifying” might serve in the definition. Rather, Patriarch seeks to read the
                           word “qualifying” out of the definition entirely, inappropriately rendering it
                           superfluous.

                  iii.     Third, section 3(c) defines when a Transaction Fee is payable. It would be logical
                           to interpret the proviso in subsection (ii)(D) as including a further limitation on
                           when a Transaction Fee is payable rather than creating a qualification on another
                           obligation, entitlement, or right addressed under separate and unrelated parts of the
                           PPMG MSA.

                  iv.      Fourth, under the Debtors’ reading, the use of “Change in Control” in Annex A is
                           undisturbed, which makes sense as it is specifically defined therein “for purposes
                           of this Annex A.” Moreover, under the Debtors’ reading, there is no need to
                           reconcile the use of “Change in Control” in Annex A against “Change of Control”
                           in section 3(c)(ii)(D).

         The only reasonable interpretation is that the parties meant to use the term “Liquidity Event” in

         section 3(c)(ii)(D) instead.5

                  5.       PPMG, for its part, fails to offer any adequate explanation in the PPMG Brief for

         this drafting error, and instead asks the Court to ignore it. See PPMG Brief at ¶ 32 (stating, without



         5
           Alternatively, if the parties intended to use the term “Change of Control,” that would still support the Debtors’
         reading of the PPMG MSA. There is no dispute that subparts (y) and (z) of the definition of “Liquidity Event”—a
         transfer of more than 50% of LVD’s stock and a merger transferring more than 50% of LVD’s value or voting power,
         respectively—constitute what is colloquially known as a “change of control.” Either “Change of Control” is a defined
         term referring to subparts (y) and (z) that the parties failed to insert, or the term “change of control” should be
         lowercase. Either way, it is clear that the term refers to what comes before it and is a type of Liquidity Event. As
         explained above, a “qualifying” “Change of Control”—i.e., one that results in PPMG receiving a Transaction Fee—
         is one that pays off LVD’s debt. Here, there was a change of control through the sale of more than 50% of LVD’s
         equity (i.e., subpart (y) of the definition of “Liquidity Event”), but that change of control was not a qualifying change
         of control because LVD’s debt was not paid off.

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         further substantive discussion, that: “‘Liquidity Event’ has a defined meaning for purposes of

         determining whether a Transaction Fee is owed to PPMG, while ‘Change of Control’ is a more

         limited term used specifically with respect to issues of indemnification.”). First, as PPMG later

         concedes in the PPMG Brief, “Change of Control” is not, in fact, the defined term used in the

         PPMG MSA with respect to indemnification issues. See PPMG Brief at ¶ 34. Rather, Annex A

         to the PPMG MSA uses the term “Change in Control.” See PPMG MSA, Annex A. “Change of

         Control” is not defined anywhere in the PPMG MSA or in Annex A. As such, Patriarch’s argument

         that “[t]he Parties to the Management Services Agreement[‘s]” choice to “use the term ‘Change of

         Control’ at the end of Section 3(c)(ii)(D) … must be honored” leads to an absurd result – namely,

         that the parties intentionally used a defined term that the PPMG MSA never defines. Id.

                6.     Additionally, there is no reasonable relationship between the use of “Change of

         Control” in section 3(c)(ii)(D) of the PPMG MSA and the indemnification procedures in Annex A

         that rely on the term “Change in Control.” As drafted, a “Change in Control” is relevant only to

         who makes a “Standard of Conduct Determination”; it provides Covered Persons with control over

         whether Independent Counsel, rather than a board put in place following a change in control (in

         the undefined sense of the term) of LVD, will determine what standard of conduct the Covered

         Person should have followed in making indemnity determinations. PPMG does not, and cannot,

         explain what relevance the payment of all of LVD’s outstanding debt has to whether a Covered

         Person should be divested of the right to have Independent Counsel make the Standard of Conduct

         Determination when a “Change in Control” occurs. The Debtors respectfully submit that there is

         none. To hold otherwise would lead to the absurd result that Covered Persons would be deprived

         of access to determination by an Independent Counsel based upon the level of proceeds generated

         through a sale of LVD.


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                 7.       Conversely, it makes abundant sense that the payment of LVD’s outstanding debt

         would be a condition to payment of a Transaction Fee, as it would require LVD’s senior secured

         lenders to be paid in full before a contractual manager – ostensibly responsible, at least in part, for

         LVD’s financial and operational performance – could receive a transaction bonus on account of a

         sale of LVD or its assets.6

                 8.       Moreover, several other textual arguments show why PPMG’s reading is untenable.

         For reference, section 3(c)(ii)(D) provides:

                 “Liquidity Event” means “(x) as sale within any given 12 month period of 80% or
                 more of the Company’s or any one or more of its subsidiaries’ assets (without
                 regard to liabilities) (other than a sale to persons who are shareholders of the
                 Company or the respective subsidiary and hold 50% or more of the equity of the
                 Company or the respective subsidiary on the applicable aware date and their or its
                 respective affiliates), (y) the consummation of any transaction in which any person
                 or group of persons (other than the persons who are shareholders of the Company
                 or the respective subsidiary on the applicable award date and their or its respective
                 affiliates) becomes the beneficial owner of stock of the Company or the applicable
                 subsidiary constituting more than 50% of the total fair market value or total voting
                 power of the Company of the applicable subsidiary, or (z) the consolidation of the
                 Company or one or more if its subsidiaries with, or merger of the Company or one
                 or more of its subsidiaries with or into any other entity pursuant to a transaction in
                 which any person or group of persons (other than the persons who are the
                 shareholders of the Company or the applicable subsidiary on the applicable award
                 date and their or its respective affiliates) becomes the beneficial owner of the stock
                 of the Company or one or more of its subsidiaries constituting more than 50% of
                 the total fair market value or total voting power of the Company or the respective
                 subsidiaries; provided, however, that, in each case, in order to constitute a
                 qualifying Change of Control, the event must permit the Company or the
                 respective subsidiaries to pay all of its or their (as appropriate) outstanding
                 debt.”




         6
           Ms. Tilton in fact claims that the Transaction Fee was intended to compensate PPMG for “turn[ing] around” the
         Portfolio Companies, but nonetheless contends that PPMG should be paid 5% of the value received from any
         “Liquidity Event,” before LVD’s senior secured creditors are paid, even if LVD was insolvent at the time of the
         transaction. See Deposition of Lynn Tilton, July 13, 2020 (the “Tilton Deposition,” excerpts of which are attached
         hereto as Exhibit G), at 136:1-10. In fact, under Ms. Tilton’s interpretation, PPMG would be entitled to a 5%
         Transaction Fee even if LVD had become more distressed under PPMG’s management.

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         PPMG MSA, section 3(c)(ii)(D) (emphasis added). And Annex A of the PPMG MSA, defining

         “Change in Control,” provides, in relevant part:

                For purposes of this Annex A, a “Change in Control” means (a) the occurrence after
                the date hereof of any transaction described in clauses (y) or (z) of the definition of
                Liquidity Event or (b) . . .”

         PPMG MSA, Annex A, ¶ 9.

                9.      For one, the proviso at the end of section 3(c)(ii)(D) states that it applies “in each

         case,” which is clearly a reference to the preceding sub-parts (x), (y), and (z). However, the

         definition of “Change in Control” in Annex A expressly incorporates only sub-parts (y) and (z) of

         the definition of Liquidity Event.       Under PPMG’s interpretation, this creates an internal

         inconsistency, because a transaction falling under sub-part (x) is not a “Change in Control” and,

         therefore, the proviso cannot apply to it – i.e., it cannot apply “in each case” under PPMG’s reading

         despite saying that it does.

                10.     Relatedly, PPMG fails to explain why, if the proviso was intended to relate to

         indemnification, it appears in section 3(c)(ii)(D) – the definition of “Liquidity Event” - rather than

         in section 7 of the PPMG MSA titled “Indemnification” or in Annex A’s definition of “Change in

         Control,” where, under Patriarch’s interpretation, it would have made more sense to place it.

         PPMG has also not explained the distinction between a “Change of Control” and a “qualifying

         Change of Control.” As set forth above, the use of “qualifying” in section 3(c)(ii)(D) is a limitation

         on what constitutes a “Liquidity Event;” one that PPMG effectively reads out of the agreement.

                11.     For the foregoing reasons, the Debtors submit that the only reasonable

         interpretation of the PPMG MSA is that section 3(c)(ii)(D) requires that the Company’s

         outstanding debt be paid in full before a Transaction Fee is payable to PPMG. And, because

         LVD’s outstanding debt to the Zohar Funds was not paid in full in connection with the LVD


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         Transaction, the Court should grant the Debtors’ Motion, determining that no Transaction Fee was

         owed.

                    ii.     If the Court Determines the PPMG MSA is Ambiguous, it Should
                            Nonetheless Determine that the Debtors’ Reading is Correct

                    12.     Under New York law, language in a contract is ambiguous if it is susceptible to

         more than one reasonable interpretation. See NRT New York, LLC v. Harding, 131 A.D.3d 952,

         954, 16 N.Y.S.3d 255, 258 (2015) (citing Brad H. v. City of New York, 17 N.Y.3d at 186, 928

         N.Y.S.2d 221, 951 N.E.2d 743)). “Extrinsic and parol evidence of the parties' intent may not be

         admitted to create ambiguity in a contract that is unambiguous on its face, but such evidence may

         be considered where a contract is determined to be ambiguous.” Id.

                    13.     In the event that the Court determines that the usage of the term “Change in

         Control” in section 3(c)(ii)(D) of the PPMG MSA is susceptible to more than one reasonable

         interpretation, the Debtors respectfully submit that their reading should still prevail. As set forth

         in the Motion, the Debtors’ reading of section 3(c)(ii)(D) is entirely consistent with the treatment

         of Phantom Equity Awards at LVD, which similarly limited the payment of bonuses in

         ownership/governance altering transactions to instances where the secured indebtedness was paid

         in full through the transaction. Likewise, Ms. Tilton, the principal of PPMG, tendered to the Zohar

         Funds a flow of funds model for a hypothetical sale of Portfolio Company C (which has a

         management services agreement with an identical Section 3 as the PPMG MSA)7 where the

         proceeds were expected to be insufficient to satisfy the company’s secured debt. The Zohar Funds’

         CRO requested this model to understand what would be the likely recovery for the Zohar Funds




         7
             A copy of Portfolio Company C’s management services agreement with PPMG is attached hereto as Exhibit C.

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         in that hypothetical sale. That model did not reflect payment of the 5% transaction fee owing to

         PPMG where the proceeds were insufficient to cover the debt.

                14.     On the other hand, PPMG has produced no contemporaneous evidence of any kind,

         nor documentary evidence of any kind, in support of its contention that “Change of Control” in

         section 3(c)(ii)(D) was intended to be “Change in Control” and therefore reflected an intent that

         the Covered Parties (PPMG and its affiliates) would be limited in obtaining Independent Counsel’s

         determination of their standard of conduct in the event that a “Change in Control” occurred but

         the proceeds from that transaction were insufficient to pay in full the debt owed to the Zohar Funds.

                15.     PPMG’s only evidence in support of its interpretation is testimony Ms. Tilton

         offered approximately one year after this dispute arose. That testimony is inadmissible hearsay

         and should be disregarded. Moreover, at her deposition, Ms. Tilton did not provide any credible

         or coherent explanation of why the term “Change of Control” – as opposed to “Liquidity Event” -

         was intended to be used in the proviso in section 3(c)(ii)(D) of the PPMG MSA.

                iii.    If the Court Finds That the Extrinsic Evidence Does not Resolve any Ambiguities
                        in the PPMG MSA, Such Ambiguities Must be Construed Against PPMG Under the
                        Doctrine of Contra Proferentum

                16.     Contra proferentum is a principle of construction in which ambiguities in a contract

         are construed against the drafter. See Westchester Resco Co., L.P. v. New England Reinsurance

         Corp., 818 F.2d 2, 3 (2d Cir. 1987) (citing Restatement (Second) of Contracts § 206 & comment

         a (1981)). Under New York law, which governs the MSAs, “where an ambiguity exists in a

         standard-form contract supplied by one of the parties, the well-established contra

         proferentem principle requires that the ambiguity be construed against that party.” Westchester

         Resco, 818 F.2d at 3 (emphasis added). Further, the doctrine takes on a particular importance

         where the parties to the agreement have unequal bargaining power. See Goldman v. Metro. Life


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         Ins. Co., 13 A.D.3d 289, 291, 788 N.Y.S.2d 25, 28 (2004), aff'd, 5 N.Y.3d 561, 841 N.E.2d 742

         (2005) (“As a consequence of the disparity in bargaining power between the insurer and the

         insured, defendant is subject to the doctrine of contra proferentum.”).

                    17.      PPMG’s internal team of 12 attorneys, in consultation with lawyers from Jones

         Day, prepared the MSA. See Tilton Deposition, at 111:1-6 (“Q: So just to make sure I understand,

         PPMG prepared this document in consultation with its internal lawyers and lawyers at Jones

         Day…? A: Yes, I believe that is a correct statement.”). As the sole director or manager of the 41

         Group A and Group B Portfolio Companies, Ms. Tilton required all of the Group A and Group B

         Portfolio Companies – including LVD – to execute virtually identical management services

         agreements with PPMG. See Tilton Deposition, at 117:10 - 119-12; see also Email from Monica

         Loseman, Esquire to Joseph Barry, Esquire dated June 18, 2020 (“the MSA is a fairly standard

         agreement used across the PCs.”).8

                    18.      Despite alleging in her deposition testimony that the Portfolio Companies were free

         to agree to the form of MSA provided by PPMG or not, Ms. Tilton conceded that no Portfolio

         Company actually declined to execute an MSA, and could only identify two of the 41 companies

         that negotiated any of the terms, and none that negotiated the Transaction Fee. Id. at 117:10 - 119-

         12; 118:9-11. Ms. Tilton was further unable to confirm that any of the Portfolio Companies –

         including LVD – was represented by its own legal counsel in connection with any “negotiation”

         of the MSA. Id., at 115:24 – 116:5. In any event, Ms. Tilton’s personal approval was required for

         any of the Portfolio Companies – including LVD – to sign it under LVD’s operating agreement

         and the authority matrices she purportedly put into place at the Company. Id. at 28:3-13; 112:23-

         113:2.


         8
             A copy of this correspondence is attached hereto as Exhibit D.

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                19.     Contemporaneous email exchanges among representatives of PPMG and LVD

         confirm that LVD did not negotiate the terms of the PPMG MSA and was not represented by

         counsel in connection therewith. Those emails, copies of which are attached hereto as Exhibit E,

         show that LVD received PPMG’s form of MSA on September 24, 2010 in an email asking that

         they simply                                                                           The emails

         reflect that LVD did so within a few days – with no negotiation and whole-sale acceptance of the

         standard form PPMG MSA.

                20.     As set forth above, the only reasonable interpretation of the PPMG MSA is that it

         requires a “Liquidity Event” to clear LVD’s secured debt before a Transaction Fee can be paid. If,

         however, the Court determines that the PPMG MSA is ambiguous on that issue and, after

         considering all relevant extrinsic evidence, cannot determine the intent of the parties, any

         ambiguities must be construed against PPMG. As the drafter of the PPMG MSA, which appears

         to have been imposed upon LVD without any negotiation, and with LVD having no independent

         legal representation, PPMG was in the best position to manifest what was intended by the terms in

         its standard-form.

                21.     PPMG has failed to provide any credible explanation as to why the phrase “Change

         of Control”, as used in section 3(c)(ii)(D), should be construed as anything other than a drafting

         error in place of the term “Liquidity Event,” or what function that proviso would serve under

         PPMG’s proffered reading. Conversely, as explained above and in the Motion, the use of

         “Liquidity Event” in that section clearly and logically comports with the balance of the PPMG

         MSA and is entirely reasonable in light of the parties’ relationship and the purported commercial

         purpose of the Transaction Fee as described by Ms. Tilton herself (i.e., to reward PPMG for

         “turning around” LVD). As one court has observed “[c]onvoluted or confusing terms are the


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         problem of” the drafter. Twin City Fire Insurance Company, 840 A.2d at 630 (quoting Penn

         Mutual Life Ins. Co. v. Oglesby, 695 A.2d 1146, 1150 (Del.1997).

                22.     Therefore, the Court should find that no Transaction Fee was payable because the

         LVD Transaction did not clear LVD’s debt and the Court should order that PPMG immediately

         repay the amount of $3,798,240.92 to the Debtors.

         B.     LVD’s Debt to the Zohar Funds was not Satisfied Through the LVD Transaction

                i.      The Credit Agreement and Amendment 8 Unambiguously
                        Describe the Amendment 8 Tranches as “Debt”

                23.     “[W]hen the terms of a written contract are clear and unambiguous, the intent of

         the parties must be found within the four corners of the contract, giving a practical interpretation

         to the language employed and the parties' reasonable expectations.” Del Vecchio v. Cohen, 288

         A.D.2d 426, 428, 733 N.Y.S.2d 479, 481 (2001) (citations omitted). Further, “extrinsic or parol

         evidence is not admissible to create an ambiguity in a written agreement which is otherwise clear

         and unambiguous.” Id. (citations omitted).

                24.     As set forth herein and in the Motion, under section 3(c)(ii)(D) of the PPMG MSA,

         for any Transaction Fee to be triggered, the transaction in question must satisfy in full LVD’s

         indebtedness. As of the closing of the LVD Transaction, LVD’s secured indebtedness to the

         Debtors under the Credit Agreement (including Amendment 8) totaled no less than $80,947,404.

         See Payoff Letter dated September 30, 2019, a copy of which is attached hereto as Exhibit F (the

         “Payoff Letter”), at ¶ 2(a). On account of this secured indebtedness, the Debtors received

         $65,459,783.66. See id. at Sch. 1. LVD’s debt was thus not paid in full.

                25.     The Credit Agreement and Amendment 8 repeatedly and unambiguously refer to

         the Amendment 8 tranches as “debt” and never once refer to them as anything but “debt.” It is not

         merely the case that the Amendment 8 Tranches are referred to in Amendment 8 as “Term Loans”

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         as PPMG suggests – they are also referred to as “Tranches TLD, TLE, and TLF” (i.e., Term Loan

         D, E, & F)9 and charted on a schedule to Amendment 8 under the column heading “Type of Loan,”

         which chart includes additional columns for “Commitments,” “Lender,” “Maturity Date,” et

         cetera. Among further objective indicia that the Amendment 8 Tranches are debt: (i) Amendment

         8 was executed by LVD as the “Borrower” and by the Zohar Funds (under Ms. Tilton’s signature)

         as the “Lenders;” (ii) footnote 1 of Schedule A to Amendment 8 provides, as a note to the column

         titled “Commitments,” that “’[f]or loans which, when repaid, may not be reborrowed, only

         outstanding undrawn commitments are shown;” and (iii) Section 7 of Amendment 8 provides, in

         no uncertain terms, that: “[t]his Amendment is a Credit Document . . ..” See Amendment 8

         (emphasis added).

                 26.      Nonetheless, PPMG claims that the Debtors’ secured indebtedness was paid in full

         because, according to PPMG, the amounts financed under Amendment 8 – at least $20,291,872 –

         are not debt but equity.         And because, according to PPMG, the Debtors received at least

         $60,655,532 ($80,947,404 minus the amounts under Amendment 8), the “debt” was paid in full

         and the Transaction Fee was triggered.

                 27.      PPMG’s only evidence for this claim is Ms. Tilton’s declaration testimony, which

         misstates the characteristics of Amendment 8 and concludes that “[e]ach of these characteristics

         was intended to reflect that [Amendment 8] created a form of equity, not debt.” Tilton Decl., at ¶

         2. Ms. Tilton’s testimony is self-serving hearsay and should be disregarded.

                 28.      Moreover, even if Ms. Tilton’s declaration testimony were admissible evidence,

         PPMG has not pointed to any ambiguity in the Credit Agreement or Amendment 8 that would




         9
           Ms. Tilton testified at her deposition that the designations “TD” in connection with the “TLD,” “TLE,” and “TLF”
         loans refers to “Term Loan.” Tilton Deposition at 50:21-24.

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         support this Court’s considering whether the Amendment 8 Tranches are or were intended to be

         equity. Accordingly, the Tilton Declaration and any testimony Ms. Tilton intends to provide at

         the hearing with respect to whether the Amendment 8 Tranches are debt - as well as any other

         extrinsic evidence on which Ms. Tilton may seek to rely - are irrelevant and should not be

         considered by the Court.

                 ii.     The Court Need Not Undertake a Recharacterization Analysis, But if it Does, Such
                         Analysis Clearly Favors the Debtors’ Position

                 29.     Having spent several paragraphs of its brief arguing that sophisticated parties

         “mean what they say” in written agreements, and that the Court must honor the parties’ choice of

         words (see PPMG Brief ¶¶ 31-35), PPMG takes the opposite stance as it relates to the Amendment

         8 Tranches, claiming that the parties’ choice of words is irrelevant. See PPMG Brief at ¶ 40 (“[T]he

         Debtors will make much of the fact that the accrued unpaid equity interest was referred to as a

         series of ‘Term Loans’ upon their restructuring . . . But the nomenclature adopted by the 8th

         Amendment is entirely beside the point.”).

                 30.     However, as the cases cited by PPMG recognize, the terminology used by the

         parties is certainly relevant; in fact, it is the first factor that courts consider in determining whether

         debt should be recharacterized as equity. See, e.g., In re Friedman's Inc., 452 B.R. 512, 520

         (Bankr. D. Del. 2011) (“The first factor . . . is the name given to the instruments . . . here the monies

         were provided for under the ‘Contribution Agreement’ and ‘Subordinated Promissory Note Due

         December 9, 2010.’ The Contribution Agreement states that ‘[t]he Funding Obligation and

         Expense Amount shall be made as unsecured subordinated loans to the Company.’ This factor

         weighs in favor of characterizing the Funding Obligation as debt.”) (emphasis in original); In re

         SubMicron Sys. Corp., 291 B.R. 314, 323 (D. Del. 2003), aff'd, 432 F.3d 448 (3d Cir. 2006).



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                 31.     As set forth above, Amendment 8 is unambiguous and should therefore be

         construed in accordance with its plain meaning. Thus, the Court can and should find that the

         Amendment 8 Tranches are “debt,” and not equity, without resort to a recharacterization analysis

         as PPMG invites. Moreover, Patriarch’s attempt to effectively recharacterize and subordinate the

         Debtors’ debt in LVD is, at the very least, procedurally improper, as claims for recharacterization

         must be brought through an adversary proceeding on a much fuller evidentiary record than

         Patriarch has offered. See Bankruptcy Rule 7001(7) & (9). If, however, the Court does find that

         a recharacterization analysis is necessary, the relevant factors weigh in favor of a finding that the

         Amendment 8 Tranches are debt, not equity.

                 32.     In the Third Circuit, “[t]he overarching inquiry in a recharacterization case is the

         intent of the parties at the time of the transaction, determined not by applying any specific factor,

         but through a common sense evaluation of the facts and circumstances surrounding a transaction.”

         In re Friedman's Inc., 452 B.R. 512, 518 (Bankr. D. Del. 2011). Nonetheless, courts have “adopted

         various multi-factor tests to define the recharacterization inquiry” and the Third Circuit has held

         that these tests all include “pertinent factors.” Id. at 519.

                 33.     In SubMicron, 291 B.R. at 323, the Delaware District Court set out a number of

         factors to be considered in determining whether debt should be recharacterized as equity,

         including: (1) the name given to the instrument; (2) the intent of the parties; (3) the presence or

         absence of a fixed maturity date; (4) the right to enforce payment of principal and interest; (5) the

         presence or absence of voting rights; (6) the status of the contribution in relation to regular

         corporate contributors; and (7) certainty of payment in the event of the corporation's insolvency or

         liquidation.




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                  34.      As set forth above, Amendment 8 clearly identifies the Amendment 8 Tranches as

         “debt.” Further, as discussed in the Motion, the Amendment 8 Tranches were titled “long-term

         debt” in LVD’s financial statements and as “indebtedness” in the EPA Disclosure Schedules, each

         of which Ms. Tilton approved on LVD’s behalf. See Motion, at ¶ 15. Thus, the first and second

         Submicron factors weigh heavily against recharacterization. PPMG has not produced to the

         Debtors any documentary evidence that existed prior to this litigation under which LVD or the

         Zohar Funds referred to or treated the Term Loans created under Amendment 8 as equity. Instead,

         PPMG relies solely on declaration testimony from Ms. Tilton elicited for purposes of the instant

         dispute. That testimony is not only self-serving, but inadmissible hearsay. It is of no evidentiary

         value.10

                  35.      The third and fourth Submicron factors likewise weigh against recharacterization,

         as the Amendment 8 Tranches have a fixed maturity date – April 15, 2019 – and each is expressly

         a “legal, valid and binding obligation of [LVD], enforceable against [LVD] in accordance with its

         terms and the Credit Agreement as modified by [Amendment 8].” See Amendment 8, at § 3(b) &

         Schedule A. Further, while Ms. Tilton claims that the Amendment 8 tranches bore and accrued

         no interest, the documents themselves defeat that contention. Schedule A to Amendment 8 lists

         an “Applicable Margin” of “0%” and section 2.8(a) of the Credit Agreement, titled “Interest on

         Loans” provides that “each Loan shall bear interest on the unpaid principal amount thereof from

         the date made through repayment. . . at a rate per annum equal to LIBOR plus the Applicable

         Margin.” Credit Agreement, at § 2.8(a) (emphasis in original). And section 2.8(c) of the Credit

         Agreement provides that “Interest on the Loans shall be payable in arrears on (i) the first day of



         10
           Moreover, in her deposition, Ms. Tilton could not credibly describe her position that the Amendment 8 tranches
         were “equity”, instead repeatedly referring to the term “equity kicker,” which appears nowhere in the credit documents
         among the Debtors and LVD. See e.g., Tilton Deposition at 58-61; 74:14-23.

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         each calendar month, (ii) the date of any prepayment of the Loans, whether voluntary or

         mandatory, to the extent accrued on the amount being prepaid, and (iii) the Maturity Date,

         including final maturity.” Id. at § 2.8(c). Thus, interest accrued on the Amendment 8 tranches at

         LIBOR and was payable and enforceable under the express terms of the Credit Agreement.

                 36.      The fifth Submicron favor also weighs against recharacterization, as the

         Amendment 8 Tranches did not give rise to any voting or other control rights in favor of the

         Debtors.

                 37.      Lastly, the sixth and seventh Submicron factors also weigh against

         recharacterization. The Amendment 8 Tranches were expressly incorporated into the Credit

         Agreement and made subject to its terms. Accordingly, the Amendment 8 Tranches are senior

         secured debt, which was to be repaid ahead of LVD’s other “corporate contributors” – namely,

         general unsecured creditors and equity holders - and provided the Debtors with the greatest

         possible level of certainty of repayment in the event of LVD’s insolvency or liquidation. Ms.

         Tilton herself testified that the Amendment 8 Tranches would be paid just after LVD’s other senior

         secured debt tranches – what she calls “true secured debt” – and before any equity in LVD. See

         Tilton Deposition at 66:1 – 67:1. And that is exactly what happened. At least a portion of the

         Amendment 8 Tranches – approximately $4.8 million -- was, in fact, paid as a part of the LVD

         Transaction, and not on account of any equity interests held by the Debtors.

                 38.      Thus, each of the Submicron factors clearly weighs in favor of a finding that the

         Amendment 8 Tranches are “debt.”11


         11
            Ms. Tilton has repeatedly asserted that Amendment 8 Tranches were “Equity Kickers” under the Zohar Indentures
         and therefore “equity” for purposes of the PPMG MSA. As set forth above, Amendment 8 is unambiguous and, as
         such, the Court cannot consider the Zohar Indentures (which are extrinsic evidence) in interpreting its terms. In any
         event, whether or not the Amendment 8 Tranches were “Equity Kickers” under the Zohar Indentures is irrelevant.
         “Equity Kicker” is merely a defined term under the Zohar Indentures, to which LVD is not a party. The definition of

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                  WHEREFORE, the Debtors request that the Court grant their Motion and such other and

         further relief as it may deem just and proper.

             Dated: September 4, 2020                    YOUNG CONAWAY STARGATT & TAYLOR, LLP
             Wilmington, Delaware
                                                         /s/ Shane M. Reil
                                                         James L. Patton, Jr. (No. 2202)
                                                         Robert S. Brady (No. 2847)
                                                         Michael R. Nestor (No. 3526)
                                                         Joseph M. Barry (No. 4221)
                                                         Ryan M. Bartley (No. 4985)
                                                         Shane M. Reil (No. 6195)
                                                         Rodney Square,
                                                         1000 North King Street
                                                         Wilmington, Delaware 19801
                                                         Telephone: (302) 571-6600
                                                         Facsimile: (302) 571-1253
                                                         Email: jpatton@ycst.com
                                                                 rbrady@ycst.com
                                                                 mnestor@ycst.com
                                                                 jbarry@ycst.com
                                                                 rbartley@ycst.com
                                                                 sreil@ycst.com

                                                         Counsel to the Debtors and Debtors in Possession




         “Equity Kicker” has no independent legal significance and no bearing on the interpretation of the PPMG MSA, which
         makes no reference to “Equity Kickers” or the Zohar Indentures.
         And, even if that defined term was in any way relevant to this dispute, it does not have a dispositive effect in favor of
         PPMG. A careful review of the definition of “Equity Kicker” contained in the respective indenture for each Zohar
         Fund demonstrates that, despite its name, the term “Equity Kicker” is broader than equity securities and would
         encompass various types of indebtedness.

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                                           EXHIBIT A

                                     Revised Proposed Order




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                     )
             In re:                                                  )     Chapter 11
                                                                     )
             Zohar III, Corp., et al.,1                              )     Case No. 18-10512 (KBO)
                                                                     )
                                                Debtors.             )     Jointly Administered
                                                                     )
                                                                     )     Ref. Docket Nos. 1093, 1130, ____& _____
                                                                     )

                        ORDER DETERMINING DISPUTE BETWEEN THE DEBTORS AND
                          PATRIARCH PARTNERS MANAGEMENT SERVICES, LLC
                               RELATED TO PENDING OASIS TRANSACTION

                      Upon the Motion of the Debtors for an Order Determining Dispute Between the Debtors

         and Patriarch Partners Management Services, LLC Related to Pending Oasis Transaction

         (the “Motion”) [Docket No. 1130],2 of the above-captioned debtors and debtors-in-possession

         (collectively, the “Debtors”); and the Court having jurisdiction to consider the Motion and the

         relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order

         of Reference from the United States District Court for the District of Delaware, dated as of

         February 29, 2012; and consideration of the Motion and the requested relief being a core

         proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue being proper before this Court pursuant

         to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided,

         and it appearing that no other or further notice need be provided; and the Court having held a

         hearing to consider the Motion and all related filings on September 14, 2020 (the “Hearing”); and


         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261) (“Zohar
         III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited (5119) (“Zohar III”). The
         Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York, NY 10036.
         2
          All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
         Motion.


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         the Court having found and determined that the relief sought in the Motion is in the best interests

         of the Debtors’ estates, their creditors, and other parties in interest and that the legal and factual

         bases set forth in the Motion establish just cause for the relief granted herein; and after due

         deliberation and sufficient cause appearing therefor, for the reasons set forth on the record at the

         Hearing it is hereby ORDERED:

                1.      The Motion is GRANTED.

                2.      Within two (2) business days of entry of this order, PPMG shall refund to the

         Debtors the $3,798,240.92 million Transaction Fee paid in connection with the LVD Transaction.

                3.      This Court shall retain jurisdiction over any and all matters arising from the

         interpretation or implementation of this Order.

         Dated: September ___, 2020
                Wilmington, Delaware
                                                      ___________________________________________
                                                      THE HONORABLE KAREN B. OWENS
                                                      UNITED STATES BANKRUPTCY JUDGE




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                                           EXHIBIT B

                                             Redline




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                    )
             In re:                                                 )    Chapter 11
             In re:                                                 )
                                                                    )    Case No. 18-10512 (KBO)
                                         1
             Zohar III, Corp., et al.,                              )    Case No. 18-10512 (KBO)
                                                                    )
                                                Debtors.            )    Jointly Administered
                                                Debtors.            )
                                                                    )
                                                                    )    Ref. Docket Nos. 2661093, 545 & ____1130,
                                                                         ____& _____
                                                                    )


                        ORDER DETERMINING DISPUTE BETWEEN THE DEBTORS AND
                          PATRIARCH PARTNERS MANAGEMENT SERVICES, LLC
                               RELATED TO PENDING OASIS TRANSACTION

                      Upon the Motion of the Debtors for an Order Determining Dispute Between the Debtors

         and Patriarch Partners Management Services, LLC Related to Pending Oasis Transaction

         (the “Motion”) [Docket No. ___1130],2 of the above-captioned debtors and debtors-in-possession

         (collectively, the “Debtors”); and the Court having jurisdiction to consider the Motion and the

         relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order

         of Reference from the United States District Court for the District of Delaware, dated as of

         February 29, 2012; and consideration of the Motion and the requested relief being a core

         proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue being proper before this Court pursuant

         to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided,



         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261) (“Zohar
         III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited (5119) (“Zohar III”). The
         Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York, NY 10036.
         2
          All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
         Motion.


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         and it appearing that no other or further notice need be provided; and the Court having held a

         hearing to consider the Motion and all related filings on September 14, 2020 (the “Hearing”); and

         the Court having found and determined that the relief sought in the Motion is in the best interests

         of the Debtors’ estates, their creditors, and other parties in interest and that the legal and factual

         bases set forth in the Motion establish just cause for the relief granted herein; and after due

         deliberation and sufficient cause appearing therefor, for the reasons set forth on the record at the

         Hearing it is hereby ORDERED:

                1.      The Motion is GRANTED.

                2.      For the reasons set forth in the MotionWithin two (2) business days of entry of this

         order, no PPMG shall refund to the Debtors the $3,798,240.92 million Transaction Fee shall be

         payable to PPMG paid in connection with the LVD Transaction.

                3.      This Court shall retain jurisdiction over any and all matters arising from the

         interpretation or implementation of this Order.

         Dated: September ___, 20192020
                Wilmington, Delaware
                                                      ___________________________________________
                                                      THE HONORABLE KAREN B. OWENS
                                                      UNITED STATES BANKRUPTCY JUDGE




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                Portfolio Company C Management Services Agreement



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                                           EXHIBIT D

                                   June 18, 2020 Correspondence




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From:                              Loseman, Monica K. <MLoseman@gibsondunn.com>
Sent:                              Thursday, June 18, 2020 5:14 PM
To:                                Barry, Joseph; Zimmerman, Timothy
Cc:                                Edwards, Erin; 'Hershey, Sam'; Norman L. Pernick (npernick@coleschotz.com)
Subject:                           RE: Zohar - PPMG Production



I’m not into the “gotcha” game, and I hope you’d know that by now. We have extremely limited IT resources. I
have no reason to believe that period is going to reveal anything particularly relevant to this dispute – the MSA
is a fairly standard agreement used across the PCs. But like I said, we’re evaluating and will revert. We just
need a bit of time to consider and determine whether we can do this, particularly given the many, many other
requests we’ve received.

On Lynn’s deposition, can we discuss logistics? Have you selected a video call provider/reporter, how do you
want to handle exhibits, etc.?

And on the hearing itself, just so you’re not surprised, I do intend to express to Judge Owens next week that we
have a strong preference that this hearing be conducted in person. We’re willing to do that on July 14, but if it
can’t be accommodated in person then, we would prefer to see it moved to a date when we can all gather in
person. I suspect you disagree, but just wanted you to know our position and that we intend to raise it.


Monica K. Loseman

GIBSON DUNN

Gibson, Dunn & Crutcher LLP
1801 California Street, Denver, CO 80202-2642
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MLoseman@gibsondunn.com • www.gibsondunn.com


From: Barry, Joseph
Sent: Thursday, June 18, 2020 3:03 PM
To: Loseman, Monica K. ; Zimmerman, Timothy
Cc: Edwards, Erin ; 'Hershey, Sam'
Subject: RE: Zohar - PPMG Production

[External Email]
Monica – I think the request is reasonable here. You did disclose your search parameters and I think we’ve been
exceedingly cooperative here. I would think that we can agree on a limited search. If it cannot be done prior to Lynn’s
deposition, can’t it be done after? It doesn’t really make a ton of sense that the time parameter for the search relating to
the drafting and negotiation of the MSA would be any time period but 2010. If the idea is “gotcha, you didn’t pick this up
in our search criteria,” then I don’t think that’s really appropriate. Let’s just agree here and not have another fight here.
Oasis didn’t produce anything in response to this, so I trust the same or similar would be for Patriarch.

Joe


                                                              1


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              Joe Barry
              Young Conaway Stargatt & Taylor, LLP
              P: 302.571.6705 | M: 302.584.7021
              jbarry@ycst.com


From: Loseman, Monica K. <MLoseman@gibsondunn.com>
Sent: Thursday, June 18, 2020 4:56 PM
To: Barry, Joseph <jbarry@ycst.com>; Zimmerman, Timothy <TZimmerman@gibsondunn.com>
Cc: Edwards, Erin <eedwards@ycst.com>; 'Hershey, Sam' <sam.hershey@whitecase.com>
Subject: RE: Zohar - PPMG Production

Joe – I suspect it won’t, as we disclosed our search parameters long ago and just don’t have the resources to
execute this search, let alone review documents, the week before Lynn’s deposition. We are evaluating and will
revert.


Monica K. Loseman

GIBSON DUNN

Gibson, Dunn & Crutcher LLP
1801 California Street, Denver, CO 80202-2642
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From: Barry, Joseph <jbarry@ycst.com>
Sent: Thursday, June 18, 2020 2:50 PM
To: Zimmerman, Timothy <TZimmerman@gibsondunn.com>; Loseman, Monica K.
<MLoseman@gibsondunn.com>
Cc: Edwards, Erin <eedwards@ycst.com>; 'Hershey, Sam' <sam.hershey@whitecase.com>
Subject: RE: Zohar - PPMG Production

[External Email]
Tim and Monica – Let us know if this works. Thanks. Joe

              Joe Barry
              Young Conaway Stargatt & Taylor, LLP
              P: 302.571.6705 | M: 302.584.7021
              jbarry@ycst.com


From: Barry, Joseph
Sent: Thursday, June 18, 2020 9:16 AM
To: 'Zimmerman, Timothy' <TZimmerman@gibsondunn.com>; Loseman, Monica K.
(MLoseman@gibsondunn.com) <MLoseman@gibsondunn.com>
Cc: Edwards, Erin <eedwards@ycst.com>; Hershey, Sam <sam.hershey@whitecase.com>
Subject: Zohar - PPMG Production

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Tim and Monica -

When we had our first meet and confer to discuss search criteria, you mentioned the time parameters for the search around
Amendment #8. We did not discuss the time parameters around the MSA production. I see that the follow up summary
Tim sent refers to the same criteria for the Amendment even though the MSA was entered into on September 30, 2010.
Can we ask that you please conduct a supplemental search for the time period 6 months prior and 6 months after
September 30, 2010 for documents, emails, etc. pertaining to the MSA? I trust this is a very narrow universe.

Thank you.

Joe




        Barry, Co-Chair, Bankruptcy & Corporate Restructuring Group
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                                    Tilton Deposition Excerpts




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 IN RE: Zohar III, Corp., et al.
                                                                                                       TILTON, LYNN
                                                   Page 26                                                     Page 28
 ·1·   ·manager for Oasis?                                   ·1·   · · · · ·Funds.
 ·2·   · · · · ·A.· · ·Well, it was approved by me.          ·2·   ·BY MR. BARRY:
 ·3·   ·Not -- not decided by me.                            ·3·   · · · · ·Q.· · ·So, Ms. Tilton, you previously
 ·4·   · · · · ·Q.· · ·Right.                                ·4·   ·identified this is the Management Services
 ·5·   · · · · ·A.· · ·Typically, management had to get      ·5·   ·Agreement between LVD Acquisition and Patriarch
 ·6·   ·manager or board signature in the form of a          ·6·   ·Partners Management Group.· Is this the type of
 ·7·   ·written consent for certain types of major or        ·7·   ·long-term commitment or long-term contract that
 ·8·   ·long-term borrowing, funding or contractual          ·8·   ·would require your approval?
 ·9·   ·obligations that could cause long-term liability.    ·9·   · · · · · · · · MS. LOSEMAN:· Object to form.
 10·   · · · · ·Q.· · ·Okay.· So something that would        10·   · · · · · · · · THE WITNESS:· I mean, this
 11·   ·incur a liability for 10 years?                      11·   · · · · ·would -- this would have been the type of
 12·   · · · · ·A.· · ·Even five years.· I mean, any kind    12·   · · · · ·contract that would have needed my
 13·   ·of lease obligation so that the company wouldn't     13·   · · · · ·approval, yes.
 14·   ·be left with a long-term lease where there would     14·   ·BY MR. BARRY:
 15·   ·be liability associated if they didn't really        15·   · · · · ·Q.· · ·So can you -- you're familiar with
 16·   ·need that.· So --                                    16·   ·this.· Can you just briefly describe what this
 17·   · · · · ·Q.· · ·What about other long-term            17·   ·agreement is.
 18·   ·contracts?                                           18·   · · · · ·A.· · ·This is an agreement between
 19·   · · · · ·A.· · ·You'd have to give me an example.     19·   ·Patriarch Partners Management Group provided
 20·   ·You know, and I'd have to tell you if it fell        20·   ·certain robust and myriad services to
 21·   ·under it.· If it was normal, ordinary-course         21·   ·LVD Acquisition or Oasis, and it was the contract
 22·   ·contracts with vendors and customers, they did       22·   ·between the company and PPMG for those services
 23·   ·not need to come to the -- to the manager.           23·   ·listing the services and the cost of such
 24·   · · · · · · · · I mean, it would be listed in         24·   ·services to the company.

                                                   Page 27                                                     Page 29
 ·1·   ·their authority matrix, which I don't have in        ·1·   · · · · ·Q.· · ·Okay.· Paragraph 1 of this, which
 ·2·   ·front of me right now.· And depending on the size    ·2·   ·is up on the screen, it says that Oasis engaged
 ·3·   ·of the company, the numbers would be different.      ·3·   ·PPMG to "Provide the companies with the
 ·4·   · · · · · · · · Sometimes it was a contract over a    ·4·   ·management and consulting services regarding the
 ·5·   ·certain amount, sometimes it was something           ·5·   ·business of the companies and other services
 ·6·   ·that -- you know, would have consequences            ·6·   ·relating to the companies, all of a type
 ·7·   ·and -- you know, liquidated damages.                 ·7·   ·customarily provided by sponsor of private equity
 ·8·   · · · · · · · · Really depends under their            ·8·   ·firms based in the United States to companies in
 ·9·   ·authority matrix.· But that was the governing        ·9·   ·which they have a substantial investment."
 10·   ·document between the manager, director and the       10·   · · · · · · · · Do you see that?
 11·   ·operating management team, the C-level team, not     11·   · · · · ·A.· · ·Yes.
 12·   ·this agreement.                                      12·   · · · · ·Q.· · ·And then it lists several
 13·   · · · · ·Q.· · ·Okay.· So --                          13·   ·illustrative categories of services; right?
 14·   · · · · ·A.· · ·But authority matrix.                 14·   · · · · · · · · So what is your understanding of
 15·   · · · · · · · · MR. BARRY:· Rebekah, can you put      15·   ·the, quote, management and consulting services,
 16·   · · · · ·up Zohar 9.                                  16·   ·end quote, quote, customarily provided to
 17·   · · · · · · · · MS. LOSEMAN:· And, Counsel, while     17·   ·sponsors of private equity firms based in the
 18·   · · · · ·that's happening, could we just identify     18·   ·United States to companies in which they have a
 19·   · · · · ·for the record, it looks like someone        19·   ·substantial investment?"
 20·   · · · · ·else joined the Zoom meeting.                20·   · · · · · · · · MS. LOSEMAN:· Object to form.
 21·   · · · · · · · · MR. HERSHEY:· Yeah, hi.· For the      21·   · · · · · · · · THE WITNESS:· I'm sorry.· I don't
 22·   · · · · ·record, this is Sam Hershey from             22·   · · · · ·quite understand what your question is.
 23·   · · · · ·White & Case on behalf of Joseph Farnan      23·   ·BY MR. BARRY:
 24·   · · · · ·as the independent director of the Zohar     24·   · · · · ·Q.· · ·That's okay.· I'm asking you:


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 IN RE: Zohar III, Corp., et al.
                                                                                                       TILTON, LYNN
                                                   Page 50                                                     Page 52
 ·1·   · · · · ·nomenclature for anything that was           ·1·   ·an equity kicker that would have been upside
 ·2·   · · · · ·accrued and unpaid by that company.          ·2·   ·beyond borrowing -- it wasn't a term loan in
 ·3·   · · · · · · · · MR. BARRY:· Okay.· Can we take a      ·3·   ·terms of borrowed money; it was an equity kicker
 ·4·   · · · · ·look at Exhibit 8 -- or Exhibit A -- or      ·4·   ·that had no interest rate and was -- it was paid
 ·5·   · · · · ·Schedule A.· Excuse me.· Schedule A.         ·5·   ·as -- the taxes on this had already been paid as
 ·6·   · · · · · · · · I think it's the last page,           ·6·   ·interest income, and it was just converted as
 ·7·   · · · · ·Rebekah.                                     ·7·   ·part of a credit agreement --
 ·8·   · · · · · · · · Thank you for orienting that.         ·8·   · · · · · · · · (Simultaneous cross-talk.)
 ·9·   ·BY MR. BARRY:                                        ·9·   ·BY MR. BARRY:
 10·   · · · · ·Q.· · ·Ms. Tilton, let's just walk           10·   · · · · ·Q.· · ·Okay.
 11·   ·through this quickly, again, in the spirit of        11·   · · · · ·A.· · ·-- with no interested --
 12·   ·getting you out of here.                             12·   · · · · · · · · MR. BARRY:· Gail, the term is
 13·   · · · · · · · · Column headings, starting from        13·   · · · · ·"equity kicker," K-I-C-K-E-R.
 14·   ·left to right, first column says, "Type of Loan."    14·   · · · · · · · · THE COURT REPORTER:· I got it. I
 15·   ·And each tranche, it says, "Term Loan."              15·   · · · · ·think you kind of tend to jump in on her,
 16·   · · · · · · · · Correct?                              16·   · · · · ·and it messes with her audio a little
 17·   · · · · ·A.· · ·Yes.                                  17·   · · · · ·bit.
 18·   · · · · ·Q.· · ·And then the next column over         18·   · · · · · · · · MR. BARRY:· Well, I'm trying to
 19·   ·says, "Tranche."· And then there's a "TLD, TLE       19·   · · · · ·get the questions done and answered so we
 20·   ·and TLF."                                            20·   · · · · ·can get out of here; I want to make sure
 21·   · · · · · · · · Do you know what the designation      21·   · · · · ·we're focused on the questions I'm
 22·   ·"TLD" means?                                         22·   · · · · ·asking.
 23·   · · · · ·A.· · ·Would have been term loan tranche     23·   ·BY MR. BARRY:
 24·   ·D, term loan tranche E, term loan tranche F.         24·   · · · · ·Q.· · ·So it your testimony, though, that

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 ·1·   · · · · ·Q.· · ·That's what I thought.                ·1·   ·there's no interest at all on this tranche or
 ·2·   · · · · · · · · The next column over is titled        ·2·   ·that there's no marginal interest?
 ·3·   ·"Commitments," and there's a footnote there.         ·3·   · · · · ·A.· · ·There's no interest at all on this
 ·4·   · · · · · · · · Do you see that footnote?             ·4·   ·tranche.· It was never billed.· It was never
 ·5·   · · · · ·A.· · ·Yes.                                  ·5·   ·paid.· The credit agreement always identify
 ·6·   · · · · ·Q.· · ·And it says, "For loans which,        ·6·   ·equity kickers in the credit agreements.
 ·7·   ·when repaid, may not be reborrowed.· Only            ·7·   · · · · · · · · So whenever there was something
 ·8·   ·outstanding undrawn commitments are shown."          ·8·   ·extra that could be garnered -- and if you look
 ·9·   · · · · · · · · Right?· That's what it says?          ·9·   ·at the indenture, you'll see the definition of
 10·   · · · · ·A.· · ·Yes.                                  10·   ·"equity kicker."· We always put them in the
 11·   · · · · ·Q.· · ·Okay.· And the next column over,      11·   ·credit agreement so that they would be documented
 12·   ·the column heading is "Outstandings."· What are      12·   ·and identified because these don't go into a
 13·   ·those columns reflecting?· If you know.              13·   ·trustee report.
 14·   · · · · ·A.· · ·It's the amount that is funded        14·   · · · · · · · · MR. BARRY:· Rebekah, can you put
 15·   ·under the commitment.                                15·   · · · · ·up Zohar 4 for me, please.
 16·   · · · · ·Q.· · ·And the next column is titled         16·   · · · · · · · · MS. LOSEMAN:· Ms. Tilton, I just
 17·   ·"Lender," and that lists each of Zohars I, II and    17·   · · · · ·want to be sure that you completed your
 18·   ·III, respectively; correct?                          18·   · · · · ·last answer.· Sometimes we continue to
 19·   · · · · ·A.· · ·That is correct.                      19·   · · · · ·see your mouth moving but don't hear
 20·   · · · · ·Q.· · ·And the next column over refers to    20·   · · · · ·audio.
 21·   ·the applicable margin, and that is 0 percent;        21·   · · · · · · · · THE WITNESS:· Well, it's because I
 22·   ·correct?                                             22·   · · · · ·keep getting cut off.
 23·   · · · · ·A.· · ·That was no interest on it because    23·   ·BY MR. BARRY:
 24·   ·it wasn't a loan in terms of borrowed money, but     24·   · · · · ·Q.· · ·I apologize.· I will try not to do


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 ·1·   ·testimony, and I think if you go back to what        ·1·   ·was sold.
 ·2·   ·PPMG billed following this, you will find that it    ·2·   · · · · ·Q.· · ·Can you show me in Amendment 8
 ·3·   ·did not bill for any interest on these equity        ·3·   ·where it says that?
 ·4·   ·kicker interest tranche loans.· It was done to       ·4·   · · · · ·A.· · ·Go to where it says "not
 ·5·   ·protect the lender if and when this could get        ·5·   ·applicable."· There's no interest payment date,
 ·6·   ·paid.· It also could have been forgiven, as it       ·6·   ·not applicable on those.· The payment of interest
 ·7·   ·was with many of the other companies.                ·7·   ·on the -- if you go back and look at -- let's
 ·8·   · · · · ·Q.· · ·Okay.· Let's --                       ·8·   ·look at a credit agreement that has the other
 ·9·   · · · · · · · · MR. BARRY:· Rebekah, can we please    ·9·   ·loans in it, you will see that it actually has a
 10·   · · · · ·go back to Zohar 5 and the last page.        10·   ·payment date.· It won't say N/A.· It says, N/A
 11·   ·BY MR. BARRY:                                        11·   ·here because there was no interest to be charged
 12·   · · · · ·Q.· · ·Okay, next column over,               12·   ·on these loans, nor any payment date to be
 13·   ·Ms. Tilton.· "Interest payment date," do you see     13·   ·charged.· This is applicable to the borrowed
 14·   ·that?· It's -- I don't know, a little bit more       14·   ·money term loans, not to the equity kicker.
 15·   ·than halfway over, "interest payment date" is the    15·   ·That's why it wasn't reported on the trustee
 16·   ·heading.· Do you see that?                           16·   ·report as loans.
 17·   · · · · ·A.· · ·Yeah, I do.                           17·   · · · · · · · · It wasn't in the funds financial
 18·   · · · · ·Q.· · ·And it says, N/A.· Do you know        18·   ·statements as loan assets.· And it wasn't put
 19·   ·what N/A means?                                      19·   ·into the numerator for the OC test, which would
 20·   · · · · ·A.· · ·Yeah.· Not applicable because         20·   ·have helped the funds' performance.· This was
 21·   ·there was no interest on this accrued in tranche.    21·   ·equity, not loans.· It was never reported as a
 22·   · · · · ·Q.· · ·So there was no interest payment      22·   ·loan asset to the funds in the trustee reports,
 23·   ·date for this tranche, is what you're saying?        23·   ·in the financial statements; nor was it used in
 24·   · · · · ·A.· · ·There was no interest payment         24·   ·the over-collateralization ratio.

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 ·1·   ·date, because there was no interest due on this      ·1·   · · · · · · · · This -- these -- this 2.8 interest
 ·2·   ·equity kicker.                                       ·2·   ·on loans applies to the other loans, not the one
 ·3·   · · · · ·Q.· · ·Okay.                                 ·3·   ·that says "0" and "not applicable."
 ·4·   · · · · · · · · MR. BARRY:· Rebekah, let's go back    ·4·   · · · · · · · · MS. LOSEMAN:· I want to note for
 ·5·   · · · · ·to the -- the prior document, Zohar 4,       ·5·   · · · · ·the record what while you pointed her to
 ·6·   · · · · ·please, on the same page you were on.        ·6·   · · · · ·Amendment 8, the document that remained
 ·7·   · · · · ·Okay.· If you could scroll down, please,     ·7·   · · · · ·on the screen is Section 2.8 of the
 ·8·   · · · · ·to 2.8(c).                                   ·8·   · · · · ·credit agreement.
 ·9·   ·BY MR. BARRY:                                        ·9·   · · · · · · · · MR. BARRY:· Okay, fair enough.
 10·   · · · · ·Q.· · ·Ms. Tilton, just directing your       10·   · · · · ·Let's flip back to 2.8 -- excuse me,
 11·   ·attention to 2.8(c).· It says -- it's titled         11·   · · · · ·let's flip back to Zohar 5, Rebekah,
 12·   ·"payment of interest."· It says, "Interest on the    12·   · · · · ·please.
 13·   ·loans shall be payable in arrears on, i, the         13·   · · · · · · · · THE WITNESS:· Let me get to
 14·   ·first day of each calendar month; ii, the date of    14·   · · · · ·Amendment 8 so that I'm not being misled,
 15·   ·any prepayments of the loans, whether voluntarily    15·   · · · · ·please.
 16·   ·or mandatory, to the extent accrued on the amount    16·   ·BY MR. BARRY:
 17·   ·being prepaid; and iii, the maturity date,           17·   · · · · ·Q.· · ·Sure.· Take your time.
 18·   ·including final maturity."                           18·   · · · · ·A.· · ·So the second you're showing me is
 19·   · · · · · · · · Do you see that?                      19·   ·not in the amendment at all.· So it -- it's from
 20·   · · · · ·A.· · ·I do.· It's only applicable to the    20·   ·the credit agreement and it applies to those
 21·   ·true borrowed money term loans.· It's not            21·   ·loans that actually do have an interest payment
 22·   ·applicable to the equity kicker tranche that were    22·   ·date and applicable margins.
 23·   ·put in to the loan agreement as equity kickers to    23·   · · · · · · · · It does not apply to these equity
 24·   ·be paid when and if the company was able, when it    24·   ·kickers.


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 ·1·   · · · · ·Q.· · ·So this applies if there's payment    ·1·   · · · · ·one page up?
 ·2·   ·before the maturity date?                            ·2·   ·BY MR. BARRY:
 ·3·   · · · · ·A.· · ·Or at the time of the sale or at      ·3·   · · · · ·Q.· · ·We were not provided with a fully
 ·4·   ·any point in time when there would be a waterfall    ·4·   ·executed copy of this document.· Do you know if
 ·5·   ·of funds.· It would be seventh in prepayment.        ·5·   ·this was -- document was ever fully executed?
 ·6·   ·So all the secured debt, the true borrowed money     ·6·   · · · · · · · · MS. LOSEMAN:· Counsel, can I ask
 ·7·   ·would be paid first, and this was an equity          ·7·   · · · · ·that the witness have an opportunity to
 ·8·   ·kicker that would get paid after all the borrowed    ·8·   · · · · ·look at each of the pages of the
 ·9·   ·money would have been paid.                          ·9·   · · · · ·document.· I know doing this
 10·   · · · · · · · · So I think you'd have to look at      10·   · · · · ·electronically is difficult, but --
 11·   ·the entire credit agreement, and you would see       11·   · · · · · · · · THE WITNESS:· I have to read it to
 12·   ·sort of a waterfall of preference on how things      12·   · · · · ·understand what it is, because it's the
 13·   ·got paid.· And this would be last in line before     13·   · · · · ·same -- same month as Amendment No. 8.
 14·   ·any kind of equity would -- common equity or         14·   · · · · ·So I'd like to see if this was a former
 15·   ·membership interest would have been paid.            15·   · · · · ·draft or something.
 16·   · · · · ·Q.· · ·Okay.· When you say last in line,     16·   · · · · · · · · But if you got it from Oasis, I'm
 17·   ·you mean last of all the other secured debt;         17·   · · · · ·surprised, if it was ever executed, that
 18·   ·correct?                                             18·   · · · · ·they didn't have their own signature
 19·   · · · · ·A.· · ·After secured debt, after the         19·   · · · · ·pages.
 20·   ·other tranches which were actually senior            20·   ·BY MR. BARRY:
 21·   ·secured, and this would have come out prior to       21·   · · · · ·Q.· · ·Yeah, I mean, we received -- we
 22·   ·membership interest.· This was to protect the        22·   ·did receive this --
 23·   ·lenders so that they would get this money as an      23·   · · · · · · · · (Simultaneous cross-talk.)
 24·   ·equity kicker before any kind of membership          24·   · · · · ·A.· · ·-- I read the whole document; I'll

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 ·1·   ·interest or management equity.                       ·1·   ·let you know if I understand what it is.
 ·2·   · · · · · · · · MR. BARRY:· Okay, Rebekah, can you    ·2·   · · · · · · · · MR. BARRY:· Okay.· Ms. Loseman,
 ·3·   · · · · ·put up Zohar 6.                              ·3·   · · · · ·it's been, I guess, an hour and 15
 ·4·   · · · · · · · · (Whereupon, Exhibit 6 was marked      ·4·   · · · · ·minutes.· Do you want to take a break and
 ·5·   · · · · for identification.)                          ·5·   · · · · ·perhaps, Ms. Tilton -- it's only a
 ·6·   ·BY MR. BARRY:                                        ·6·   · · · · ·six-page document.· Take a look at the
 ·7·   · · · · ·Q.· · ·Ms. Tilton, do you recognize this     ·7·   · · · · ·document, and we can come back in 10, 15
 ·8·   ·document?                                            ·8·   · · · · ·minutes?
 ·9·   · · · · ·A.· · ·I see Amendment No. 7, but I have     ·9·   · · · · · · · · THE WITNESS:· Do you want to send
 10·   ·not looked it.· But I see that it's No. 7 which      10·   · · · · ·it to me by email?
 11·   ·would have been before this amendment, and it's      11·   · · · · · · · · MS. LOSEMAN:· I was going to ask,
 12·   ·dated June 1, 2009 -- the credit agreement was       12·   · · · · ·Counsel, can you email me a copy of it so
 13·   ·June 1, this was November 2015.· Was this --         13·   · · · · ·I could look at it as well?
 14·   ·was this ever signed?· I don't see a date on it.     14·   · · · · · · · · MR. BARRY:· Yeah, absolutely.
 15·   · · · · · · · · MR. BARRY:· Go -- Rebekah, if you     15·   · · · · · · · · MS. LOSEMAN:· That would be great.
 16·   · · · · ·don't mind, go to the signature page, one    16·   · · · · ·Thank you.
 17·   · · · · ·more down.                                   17·   · · · · · · · · MR. BARRY:· We'll do that right
 18·   ·BY MR. BARRY:                                        18·   · · · · ·now.· And you want to take a 10-minute
 19·   · · · · ·Q.· · ·Are those your signatures on          19·   · · · · ·break?
 20·   ·behalf of PPAS and the Zohars?                       20·   · · · · · · · · MS. LOSEMAN:· Yeah, 10 minutes is
 21·   · · · · ·A.· · ·Yes, it is.                           21·   · · · · ·great.
 22·   · · · · ·Q.· · ·Now, this was provided to us by       22·   · · · · · · · · THE WITNESS:· Thank you.
 23·   ·Oasis, if you --                                     23·   · · · · · · · · MR. BARRY:· Thank you.
 24·   · · · · · · · · MR. BARRY:· Rebekah, could you go     24·   · · · · · · · · (Off the record, 3:15 p.m.)


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 ·1·   · · · · ·A.· · ·I'm so sorry.· Go ahead.              ·1·   · · · · ·record, does this version of the document
 ·2·   · · · · ·Q.· · ·Yeah.· I was going to say the --      ·2·   · · · · ·include the disclosures schedules?
 ·3·   ·this amendment took approximately $20 million of,    ·3·   · · · · · · · · MR. BARRY:· It does.
 ·4·   ·quote, unpaid interest and commitment fees and       ·4·   · · · · · · · · MS. LOSEMAN:· Okay.· Thank you.
 ·5·   ·turned it into three new tranches of debt, didn't    ·5·   ·BY MR. BARRY:
 ·6·   ·it?                                                  ·6·   · · · · ·Q.· · ·Now, Ms. Tilton, you previously
 ·7·   · · · · ·A.· · ·Not of debt.· Debt would have an      ·7·   ·testified you were the manager of Oasis at the
 ·8·   ·interest payment that was -- a periodic interest     ·8·   ·time this was executed.
 ·9·   ·payment that was due.· This was an equity kicker.    ·9·   · · · · · · · · Did you play a role in negotiating
 10·   ·It was not turned into debt.· Debt would have to     10·   ·this document on Oasis' behalf?
 11·   ·have different requirements.· And it wasn't          11·   · · · · ·A.· · ·I did.
 12·   ·borrowed money, and it didn't have basis for the     12·   · · · · ·Q.· · ·And what role did you play?
 13·   ·funds.                                               13·   · · · · ·A.· · ·When we were negotiating major
 14·   · · · · · · · · It was accrued interest that --       14·   ·business points, I would get involved between
 15·   ·that I had already paid taxes upon.· And then        15·   ·the -- with the banker and the seller.· I didn't
 16·   ·instead of forgiving it, which I was entitled to     16·   ·draft the document, but I got involved in certain
 17·   ·do under the credit agreement -- under the           17·   ·negotiations of certain points.
 18·   ·indenture, which we did on companies that we         18·   · · · · ·Q.· · ·I don't even draft documents like
 19·   ·didn't think could repay, in order to protect the    19·   ·this, so I can't imagine you would.
 20·   ·lenders and try to get them the maximum dollars      20·   · · · · ·A.· · ·I did not.
 21·   ·available upon a sale of the company or a            21·   · · · · ·Q.· · ·If it's above my pay grade, I
 22·   ·turnaround of the company, I turned it into an       22·   ·guess it's way above your paygrade.
 23·   ·equity kicker under the loan agreement.              23·   · · · · · · · · Did you have -- you had
 24·   · · · · ·Q.· · ·Okay.· Again, I think -- I think      24·   ·substantive input into the economic terms of

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 ·1·   ·you had said that that that differs from             ·1·   ·this; correct?
 ·2·   ·Amendment 7 had Amendment 7 been executed,           ·2·   · · · · ·A.· · ·Yes, I did.
 ·3·   ·correct?                                             ·3·   · · · · ·Q.· · ·And you were -- were you the lead
 ·4·   · · · · ·A.· · ·That's right.· Because that was       ·4·   ·negotiator for Oasis on this?
 ·5·   ·borrowed money.                                      ·5·   · · · · ·A.· · ·I would say the lead negotiator
 ·6·   · · · · ·Q.· · ·Okay.                                 ·6·   ·with their attorneys.· And certainly in terms of
 ·7·   · · · · ·A.· · ·That would have been borrowed from    ·7·   ·seller reps and all the schedules and stuff, it
 ·8·   ·the funds versus accrued and unpaid interest and     ·8·   ·would have been the management team.
 ·9·   ·fees that could have been forgiven but was           ·9·   · · · · · · · · So I would say on the economics
 10·   ·instead waived and accrued so that it could later    10·   ·and on major deal points that would affect the
 11·   ·be paid prior to the membership interests and        11·   ·lenders and -- you know, those who are left
 12·   ·more closely attached to the borrowed money.         12·   ·behind with the documents, seller reps as well as
 13·   · · · · ·Q.· · ·Okay.· Thank you.                     13·   ·indemnifications, I would say that I was the lead
 14·   · · · · · · · · I'd like to talk a little bit         14·   ·negotiator on the deal points.
 15·   ·about the equity purchase agreement now, if we       15·   · · · · · · · · But in terms of schedules or
 16·   ·could.                                               16·   ·company reps, that would have been the management
 17·   · · · · · · · · MR. BARRY:· Rebekah, would you        17·   ·team.
 18·   · · · · ·mind, please, putting up Zohar 7.            18·   · · · · ·Q.· · ·Okay.· Can you -- can you flip to
 19·   ·BY MR. BARRY:                                        19·   ·Page 13 of the document.
 20·   · · · · ·Q.· · ·Ms. Tilton, I think this is one of    20·   · · · · · · · · Let me know when you're there.
 21·   ·the documents you have there in the room with        21·   · · · · ·A.· · ·I'm there.
 22·   ·you.                                                 22·   · · · · ·Q.· · ·Okay.· So Section 4.05 is titled
 23·   · · · · ·A.· · ·I do.                                 23·   ·"Financial Statements:· Undisclosed Liabilities."
 24·   · · · · · · · · MS. LOSEMAN:· Joe, just for the       24·   ·I'm not going to read this whole thing but the


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 ·1·   · · · · ·performance of the company.                  ·1·   ·did -- did a human being that was in the
 ·2·   · · · · · · · · But it would be similar in nature.    ·2·   ·management team of Oasis approach you or someone
 ·3·   ·BY MR. BARRY:                                        ·3·   ·else from PPMG indicating an interest in having
 ·4·   · · · · ·Q.· · ·Okay.· Were -- I mean, other than     ·4·   ·the services provided to Oasis?
 ·5·   ·the management fees, were the agreements             ·5·   · · · · ·A.· · ·These were services that we
 ·6·   ·generally the same across all of the portfolio       ·6·   ·provided to all the portfolio companies if, in
 ·7·   ·companies?                                           ·7·   ·fact, they wanted those services provided.· We
 ·8·   · · · · · · · · MS. LOSEMAN:· Object to form.         ·8·   ·provided the agreement.· They had the opportunity
 ·9·   · · · · · · · · THE WITNESS:· I didn't draft the      ·9·   ·to sign and not sign if they wanted such
 10·   · · · · ·agreements, but I believe so.                10·   ·services.
 11·   ·BY MR. BARRY:                                        11·   · · · · ·Q.· · ·So let's talk about Oasis
 12·   · · · · ·Q.· · ·Okay.· Who did prepare the            12·   ·specifically.
 13·   ·agreement?                                           13·   · · · · · · · · You're saying Oasis could have
 14·   · · · · · · · · MS. LOSEMAN:· Object to the form.     14·   ·declined to provide these services if it elected
 15·   · · · · · · · · THE WITNESS:· I believe the           15·   ·to do so?
 16·   · · · · ·agreements were prepared by internal         16·   · · · · ·A.· · ·Sure.
 17·   · · · · ·lawyers in conjunction and in                17·   · · · · ·Q.· · ·Aren't you the manager -- weren't
 18·   · · · · ·consultation with outside counsel.           18·   ·you the manager of Oasis at the time this was
 19·   ·BY MR. BARRY:                                        19·   ·signed?
 20·   · · · · ·Q.· · ·Do you know what outside              20·   · · · · ·A.· · ·Yeah, but I didn't sign for the
 21·   ·counsel -- what outside firm PPMG used to prepare    21·   ·company, and I wasn't the day-to-day manager of
 22·   ·the document, the form document?                     22·   ·the company.
 23·   · · · · ·A.· · ·I believe at this time it was         23·   · · · · ·Q.· · ·But you testified earlier that
 24·   ·Jones Day.                                           24·   ·this is the kind of long-term contract that would

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 ·1·   · · · · ·Q.· · ·Okay.· So just to make sure I         ·1·   ·have required your approval?
 ·2·   ·understand, PPMG prepared this document in           ·2·   · · · · ·A.· · ·To sign but not to not sign.
 ·3·   ·consultation with its internal lawyers and           ·3·   · · · · ·Q.· · ·Okay.· So in the authority matrix
 ·4·   ·lawyers at Jones Day; is that right?                 ·4·   ·that you testified to earlier, the management
 ·5·   · · · · ·A.· · ·Yes, I believe that is a correct      ·5·   ·team could have declined to execute this, of
 ·6·   ·statement.                                           ·6·   ·their own, without consulting with you?
 ·7·   · · · · ·Q.· · ·And this was a required               ·7·   · · · · ·A.· · ·Yes.· I mean, I have to approve
 ·8·   ·document -- this was a document that PPMG            ·8·   ·their signature to long-term agreements.· I don't
 ·9·   ·required of the companies that it provided the       ·9·   ·force them to sign long-term agreements.
 10·   ·management services to?                              10·   · · · · ·Q.· · ·So who -- who at -- who at
 11·   · · · · ·A.· · ·This was a contract between the       11·   ·Oasis -- was the Management Services Agreement in
 12·   ·companies and PPMG to receive their services.        12·   ·this forum, was it negotiated between PPMG and
 13·   · · · · ·Q.· · ·Okay.· And did the Oasis              13·   ·Oasis?
 14·   ·management team approach Patriarch Partners          14·   · · · · ·A.· · ·I wasn't part of the negotiations
 15·   ·Management Group to provide these services?          15·   ·here, but I don't know how this went down. I
 16·   · · · · · · · · MS. LOSEMAN:· Object to the form.     16·   ·don't know whether they came back on anything or
 17·   · · · · · · · · THE WITNESS:· At what point in        17·   ·they just signed it.· There had been a Management
 18·   · · · · ·time?· Whom?· I mean, I'm just not quite     18·   ·Services Agreement before this, and these were
 19·   · · · · ·sure what you're asking.                     19·   ·new agreements.
 20·   ·BY MR. BARRY:                                        20·   · · · · ·Q.· · ·Do you know if Oasis had its own
 21·   · · · · ·Q.· · ·Sure.· The agreement is dated         21·   ·lawyers representing it in the context of signing
 22·   ·September 30th, 2010.                                22·   ·this?
 23·   · · · · ·A.· · ·Yes.                                  23·   · · · · ·A.· · ·I do not know.· We had a very big
 24·   · · · · ·Q.· · ·At some point around this time,       24·   ·legal team at the time, probably 12 lawyers. I


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 ·1·   · · · · ·performance of the company.                  ·1·   ·did -- did a human being that was in the
 ·2·   · · · · · · · · But it would be similar in nature.    ·2·   ·management team of Oasis approach you or someone
 ·3·   ·BY MR. BARRY:                                        ·3·   ·else from PPMG indicating an interest in having
 ·4·   · · · · ·Q.· · ·Okay.· Were -- I mean, other than     ·4·   ·the services provided to Oasis?
 ·5·   ·the management fees, were the agreements             ·5·   · · · · ·A.· · ·These were services that we
 ·6·   ·generally the same across all of the portfolio       ·6·   ·provided to all the portfolio companies if, in
 ·7·   ·companies?                                           ·7·   ·fact, they wanted those services provided.· We
 ·8·   · · · · · · · · MS. LOSEMAN:· Object to form.         ·8·   ·provided the agreement.· They had the opportunity
 ·9·   · · · · · · · · THE WITNESS:· I didn't draft the      ·9·   ·to sign and not sign if they wanted such
 10·   · · · · ·agreements, but I believe so.                10·   ·services.
 11·   ·BY MR. BARRY:                                        11·   · · · · ·Q.· · ·So let's talk about Oasis
 12·   · · · · ·Q.· · ·Okay.· Who did prepare the            12·   ·specifically.
 13·   ·agreement?                                           13·   · · · · · · · · You're saying Oasis could have
 14·   · · · · · · · · MS. LOSEMAN:· Object to the form.     14·   ·declined to provide these services if it elected
 15·   · · · · · · · · THE WITNESS:· I believe the           15·   ·to do so?
 16·   · · · · ·agreements were prepared by internal         16·   · · · · ·A.· · ·Sure.
 17·   · · · · ·lawyers in conjunction and in                17·   · · · · ·Q.· · ·Aren't you the manager -- weren't
 18·   · · · · ·consultation with outside counsel.           18·   ·you the manager of Oasis at the time this was
 19·   ·BY MR. BARRY:                                        19·   ·signed?
 20·   · · · · ·Q.· · ·Do you know what outside              20·   · · · · ·A.· · ·Yeah, but I didn't sign for the
 21·   ·counsel -- what outside firm PPMG used to prepare    21·   ·company, and I wasn't the day-to-day manager of
 22·   ·the document, the form document?                     22·   ·the company.
 23·   · · · · ·A.· · ·I believe at this time it was         23·   · · · · ·Q.· · ·But you testified earlier that
 24·   ·Jones Day.                                           24·   ·this is the kind of long-term contract that would

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 ·1·   · · · · ·Q.· · ·Okay.· So just to make sure I         ·1·   ·have required your approval?
 ·2·   ·understand, PPMG prepared this document in           ·2·   · · · · ·A.· · ·To sign but not to not sign.
 ·3·   ·consultation with its internal lawyers and           ·3·   · · · · ·Q.· · ·Okay.· So in the authority matrix
 ·4·   ·lawyers at Jones Day; is that right?                 ·4·   ·that you testified to earlier, the management
 ·5·   · · · · ·A.· · ·Yes, I believe that is a correct      ·5·   ·team could have declined to execute this, of
 ·6·   ·statement.                                           ·6·   ·their own, without consulting with you?
 ·7·   · · · · ·Q.· · ·And this was a required               ·7·   · · · · ·A.· · ·Yes.· I mean, I have to approve
 ·8·   ·document -- this was a document that PPMG            ·8·   ·their signature to long-term agreements.· I don't
 ·9·   ·required of the companies that it provided the       ·9·   ·force them to sign long-term agreements.
 10·   ·management services to?                              10·   · · · · ·Q.· · ·So who -- who at -- who at
 11·   · · · · ·A.· · ·This was a contract between the       11·   ·Oasis -- was the Management Services Agreement in
 12·   ·companies and PPMG to receive their services.        12·   ·this forum, was it negotiated between PPMG and
 13·   · · · · ·Q.· · ·Okay.· And did the Oasis              13·   ·Oasis?
 14·   ·management team approach Patriarch Partners          14·   · · · · ·A.· · ·I wasn't part of the negotiations
 15·   ·Management Group to provide these services?          15·   ·here, but I don't know how this went down. I
 16·   · · · · · · · · MS. LOSEMAN:· Object to the form.     16·   ·don't know whether they came back on anything or
 17·   · · · · · · · · THE WITNESS:· At what point in        17·   ·they just signed it.· There had been a Management
 18·   · · · · ·time?· Whom?· I mean, I'm just not quite     18·   ·Services Agreement before this, and these were
 19·   · · · · ·sure what you're asking.                     19·   ·new agreements.
 20·   ·BY MR. BARRY:                                        20·   · · · · ·Q.· · ·Do you know if Oasis had its own
 21·   · · · · ·Q.· · ·Sure.· The agreement is dated         21·   ·lawyers representing it in the context of signing
 22·   ·September 30th, 2010.                                22·   ·this?
 23·   · · · · ·A.· · ·Yes.                                  23·   · · · · ·A.· · ·I do not know.· We had a very big
 24·   · · · · ·Q.· · ·At some point around this time,       24·   ·legal team at the time, probably 12 lawyers. I


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 ·1·   ·was not involved in the negotiation or the           ·1·   ·they had representation in connection with
 ·2·   ·signing of these agreements.                         ·2·   ·negotiating this MSA?
 ·3·   · · · · ·Q.· · ·Who were those 12 lawyers working     ·3·   · · · · ·A.· · ·I don't.· I was not involved in
 ·4·   ·for?                                                 ·4·   ·the negotiation between the lawyers or the
 ·5·   · · · · ·A.· · ·I'm sorry?                            ·5·   ·company and counsel of these documents.
 ·6·   · · · · ·Q.· · ·You said there was a big legal        ·6·   · · · · ·Q.· · ·Okay.
 ·7·   ·team of 12 lawyers.                                  ·7·   · · · · · · · · MS. LOSEMAN:· Counsel, I don't
 ·8·   · · · · ·A.· · ·Patriarch and PPMG at that time.      ·8·   · · · · ·mean to interrupt.· Do you have a rough
 ·9·   · · · · ·Q.· · ·But they weren't representing         ·9·   · · · · ·sense of how much longer or whether it
 10·   ·Oasis in connection with this agreement?             10·   · · · · ·makes sense to take another short break
 11·   · · · · ·A.· · ·Oasis would have had to represent     11·   · · · · ·now?
 12·   ·themselves in this agreement.                        12·   · · · · · · · · MR. BARRY:· I don't have a sense
 13·   · · · · ·Q.· · ·And you testified earlier they had    13·   · · · · ·as to how long it's going to be,
 14·   ·no in-house counsel; correct?                        14·   · · · · ·hopefully less than an hour.· But I'm
 15·   · · · · ·A.· · ·No, but they had access to outside    15·   · · · · ·happy to defer to you and Ms. Tilton on
 16·   ·counsel.                                             16·   · · · · ·taking a break.
 17·   · · · · ·Q.· · ·Who was that?                         17·   · · · · · · · · THE WITNESS:· Yeah.· I'd like to
 18·   · · · · ·A.· · ·I don't know who it was at the        18·   · · · · ·use the bathroom, if we could, if we
 19·   ·time.· I mean, I didn't run this company.            19·   · · · · ·could take -- I mean, it doesn't have to
 20·   ·You'll --                                            20·   · · · · ·be this second.· But if we're going to go
 21·   · · · · ·Q.· · ·You testified earlier that they       21·   · · · · ·another hour, I need a bathroom break.
 22·   ·would have had to obtain your consent, permission    22·   · · · · · · · · MR. BARRY:· Okay.· Take 10 minutes
 23·   ·to hire lawyers.                                     23·   · · · · ·or however long.
 24·   · · · · ·A.· · ·At the time they hired a lawyer       24·   · · · · · · · · MS. LOSEMAN:· Okay.

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 ·1·   ·for a specific purpose: to enter into an             ·1·   · · · · · · · · THE WITNESS:· Do you want to say
 ·2·   ·engagement letter.· But they wouldn't have had to    ·2·   · · · · ·10 minutes?
 ·3·   ·do that, to use lawyers they already had engaged     ·3·   · · · · · · · · MR. BARRY:· That works for me,
 ·4·   ·at the time of the engagement.                       ·4·   · · · · ·yeah.
 ·5·   · · · · · · · · So I don't know who they used for     ·5·   · · · · · · · · MS. LOSEMAN:· Agree.
 ·6·   ·their issues during this period.                     ·6·   · · · · · · · · MR. BARRY:· Thanks.
 ·7·   · · · · ·Q.· · ·Okay.                                 ·7·   · · · · · · · · (Off the record, 4:32 p.m.)
 ·8·   · · · · ·A.· · ·But they would have had outside       ·8·   · · · · · · · · (Back on the record, 4:40 p.m.)
 ·9·   ·attorneys that they used for different issues --     ·9·   ·BY MR. BARRY:
 10·   ·litigation, corporate.· That was up to them.         10·   · · · · ·Q.· · ·Okay.· Ms. Tilton, I think that
 11·   · · · · · · · · But if they were entering into an     11·   ·you testified earlier that the portfolio
 12·   ·engagement letter or choosing an attorney, they      12·   ·companies were free to agree to or not agree to
 13·   ·would need to go through me to make certain that     13·   ·the form of Management Services Agreement that
 14·   ·I believe that person was appropriate.· Once they    14·   ·PPMG offered; is that correct?
 15·   ·had attorneys, they didn't need to come every        15·   · · · · ·A.· · ·Well, if they didn't agree to it,
 16·   ·time they were going to pay a legal fee.             16·   ·then they weren't going to get services from
 17·   · · · · ·Q.· · ·Including hiring lawyers to           17·   ·PPMG; but they were free to negotiate and decide
 18·   ·negotiate or represent them in connection with       18·   ·what they wanted to do, and some did negotiate.
 19·   ·the management service agreement?                    19·   · · · · ·Q.· · ·Okay.· Did any of the portfolio
 20·   · · · · ·A.· · ·If they are hiring new lawyers,       20·   ·companies ever decline the services altogether?
 21·   ·they would have needed approval.· If they were       21·   · · · · ·A.· · ·No, they did not.
 22·   ·using lawyers, they would not have needed            22·   · · · · ·Q.· · ·Do you know why that is?
 23·   ·approval.                                            23·   · · · · ·A.· · ·Because it was important services
 24·   · · · · ·Q.· · ·And you don't -- do you know if       24·   ·to support these very distressed companies. A


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 ·1·   ·lot of bodies and a lot of services provided to      ·1·   ·email is from Marvin Hohertz to James Oh on which
 ·2·   ·them that they needed.                               ·2·   ·two others are copied.· And it says, "James,
 ·3·   · · · · ·Q.· · ·Which -- which companies              ·3·   ·attached is the new MSA for Oasis for the
 ·4·   ·negotiated the terms you just mentioned?             ·4·   ·company's signature."
 ·5·   · · · · ·A.· · ·I know Glenoit negotiated some of     ·5·   · · · · · · · · Do you see that?
 ·6·   ·the terms.· I believe, Denali negotiated some of     ·6·   · · · · ·A.· · ·Yes.
 ·7·   ·the terms.· In terms of their management fees,       ·7·   · · · · ·Q.· · ·Who is --
 ·8·   ·not the services they provided.                      ·8·   · · · · · · · · MS. LOSEMAN:· Counsel, I'm sorry.
 ·9·   · · · · ·Q.· · ·Did anybody negotiate transaction     ·9·   · · · · ·I don't mean to interrupt or belabor any
 10·   ·fee?                                                 10·   · · · · ·of this.· I'm having a hard time seeing
 11·   · · · · ·A.· · ·No.                                   11·   · · · · ·the Bates numbers.· Can you identify that
 12·   · · · · · · · · (Clarification by reporter.)          12·   · · · · ·for the record and/or just send me a copy
 13·   · · · · ·Q.· · ·And was there a Management            13·   · · · · ·so I can follow along here.
 14·   ·Services Agreement at each of the portfolio          14·   · · · · · · · · MR. BARRY:· Yeah.· No problem.
 15·   ·companies?                                           15·   · · · · ·These are the documents you produced.
 16·   · · · · ·A.· · ·To the best of my knowledge, yes.     16·   · · · · ·This is Bates -- the Bates range that
 17·   · · · · ·Q.· · ·So there's -- there is 14 Group A     17·   · · · · ·we're going to be talking about here,
 18·   ·companies and there's 31 Group B companies, and      18·   · · · · ·Monica, is 335 through 353.· And we are
 19·   ·to your recollection, all of them had Management     19·   · · · · ·currently on 337.
 20·   ·Services Agreements with PPMG?                       20·   · · · · · · · · MS. LOSEMAN:· Okay.
 21·   · · · · ·A.· · ·To the best of my knowledge, yes.     21·   · · · · · · · · MR. BARRY:· Do you want me to send
 22·   ·But I don't know --                                  22·   · · · · ·you an email of this?
 23·   · · · · ·Q.· · ·And only two of those -- oh, I'm      23·   · · · · · · · · MS. LOSEMAN:· If you have it
 24·   ·sorry, I didn't mean to interrupt you.· Finish       24·   · · · · ·handy, that would be great.· That might

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 ·1·   ·your sentence.· Sorry.                               ·1·   ·be quicker.
 ·2·   · · · · ·A.· · ·Only two that I can recall at the     ·2·   · · · · MR. BARRY:· Yeah, Jared, would you
 ·3·   ·moment negotiated.· As I said to you, I wasn't       ·3·   ·mind sending that to Monica.
 ·4·   ·involved in the negotiations.                        ·4·   · · · · MR. KOCHENASH:· We'll do.
 ·5·   · · · · ·Q.· · ·And -- and none of them negotiated    ·5·   · · · · MR. BARRY:· Do you want to wait
 ·6·   ·the transaction fee?                                 ·6·   ·for the questioning or can I go ahead?
 ·7·   · · · · ·A.· · ·Not to my knowledge.· I wasn't        ·7·   · · · · MS. LOSEMAN:· You can go ahead
 ·8·   ·involved in the negotiations.· I don't believe --    ·8·   ·unless Ms. Tilton needs an opportunity to
 ·9·   ·whether they negotiated it, whether they were        ·9·   ·look at the whole document, again, not to
 10·   ·agreed to, I wasn't involved in the negotiations.    10·   ·take up time here but just so she has
 11·   ·I don't know of any change to the transaction fee    11·   ·some context before she starts answering
 12·   ·by the companies.                                    12·   ·questions about pages in it.· If you can
 13·   · · · · · · · · MR. BARRY:· Can we put up,            13·   ·go up so I can see the rest of it before
 14·   · · · · ·Rebekah, please, Zohar 25.                   14·   ·you start asking your question.
 15·   · · · · · · · · (Whereupon, Exhibit 25 was marked     15·   · · · · MR. BARRY:· Rebekah, can you
 16·   · · · · for identification.)                          16·   ·scroll that up, please, so Ms. Tilton can
 17·   · · · · · · · · MR. BARRY:· Okay.· Scroll down to     17·   ·read the thread.· Just go up one page and
 18·   · · · · ·document Bates 337 -- there you go.          18·   ·then Ms. Tilton can tell you when she's
 19·   · · · · ·Okay.                                        19·   ·done reading that page.
 20·   ·BY MR. BARRY:                                        20·   · · · · THE WITNESS:· Keep going, please,
 21·   · · · · ·Q.· · ·So this is a document that PPMG       21·   ·Rebekah.
 22·   ·produced.· It's an email thread starting on          22·   · · · · Okay.· Keep going up.· I need you
 23·   ·September 24th, Ms. Tilton.· And I'm going to        23·   ·to go from bottom to top.· So I can --
 24·   ·try to go through this pretty quickly.· The first    24·   ·because it --


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 ·1·   · · · · ·Q.· · ·Okay.· So this is an email dated      ·1·   · · · · ·Q.· · ·PPMG prepared this document.· What
 ·2·   ·September 30th, 2011, from James Oh to               ·2·   ·is the transaction fee intended to compensate
 ·3·   ·John Kucharik, the subject of which is               ·3·   ·PPMG for?
 ·4·   ·"MSA Agreements."                                    ·4·   · · · · ·A.· · ·For all the work that PPMG
 ·5·   · · · · · · · · And it says, "Hi, John.· Thanks       ·5·   ·provided in terms of services to be able to turn
 ·6·   ·for the quick turnaround on the MSA agreements.      ·6·   ·around as companies left for dead to a point
 ·7·   ·Received them today and will send a hard copy        ·7·   ·where it would have had value and be able to be
 ·8·   ·back to you when Lynn signs them.· Best, Jim."       ·8·   ·sold, and to compensate for any other fees that
 ·9·   · · · · · · · · So this email suggests that within    ·9·   ·had not been paid during the time that the
 10·   ·three days of Oasis receiving the MSA, they          10·   ·company was distressed.
 11·   ·signed it and sent it back to Patriarch?· Would      11·   · · · · ·Q.· · ·PPMG received a monthly fee under
 12·   ·you agree with that?                                 12·   ·this agreement; correct?
 13·   · · · · ·A.· · ·Was it 9/27 or 9/22?· Is that --      13·   · · · · ·A.· · ·PPMG's owed $70 million of monthly
 14·   ·the other one was dated?                             14·   ·fees under these agreements.· Very often PPMG did
 15·   · · · · ·Q.· · ·9/27.                                 15·   ·not receive its fees because it was more
 16·   · · · · ·A.· · ·Okay.· Then I would say that that     16·   ·important that they pay interest or have the
 17·   ·is correct.                                          17·   ·capital to run their business to restructure.
 18·   · · · · ·Q.· · ·Okay.· Okay.· And you testified       18·   · · · · · · · · So PPMG was not paid these fees --
 19·   ·you don't know anything about any negotiations       19·   ·a lot of these fees for a lot of the period
 20·   ·that were undertaken in connection with the MSA      20·   ·during the time that this company was
 21·   ·that was proposed?                                   21·   ·restructured or went through a bankruptcy or was
 22·   · · · · ·A.· · ·I wouldn't know anything other        22·   ·unable to pay.
 23·   ·than these emails that you put before me.            23·   · · · · ·Q.· · ·I'm -- I'm not doing it very
 24·   · · · · · · · · MR. BARRY:· Got it.                   24·   ·artfully, so forgive me.· I'm just trying to

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 ·1·   · · · · · · · · Okay.· We are actually getting, I     ·1·   ·understand this transaction fee.· I understood
 ·2·   · · · · ·think, very close to the end here.           ·2·   ·the transaction fee as follows:
 ·3·   · · · · · · · · Rebekah, can you please put up        ·3·   · · · · · · · · Zohar -- through you, the Zohar
 ·4·   · · · · ·Zohar 9 again.· Specifically, let's look     ·4·   ·Funds required these troubled portfolio
 ·5·   · · · · ·at Page 3.                                   ·5·   ·companies.· PPMG entered into the Management
 ·6·   ·BY MR. BARRY:                                        ·6·   ·Services Agreement with the portfolio company.
 ·7·   · · · · ·Q.· · ·Okay.· So this is Subsection -- I     ·7·   ·It provided the services it provided under the
 ·8·   ·believe it's 2(c), "The Management Services          ·8·   ·Management Services Agreement to turn the
 ·9·   ·Agreement."                                          ·9·   ·companies around and then sell them under the
 10·   · · · · · · · · Oh, excuse me.· 3(c), "Transaction    10·   ·Zohar indentures.· And in order to --
 11·   ·Fee."                                                11·   · · · · ·A.· · ·Well, I'm going to -- the
 12·   · · · · · · · · This is the -- this is the fee        12·   ·collateral management is very different than the
 13·   ·that is currently under dispute and is the basis     13·   ·PPMG.· Don't -- the indentures are for collateral
 14·   ·for your testimony today; right?                     14·   ·management services.· They have nothing to do
 15·   · · · · ·A.· · ·Yes.                                  15·   ·with providing turnaround and operational
 16·   · · · · ·Q.· · ·And 3(c)(i) says, "In connection      16·   ·services to the company.
 17·   ·with liquidity event, PPMG will be entitled to       17·   · · · · ·Q.· · ·I'm not saying that.
 18·   ·receive a cash fee defined as the transaction fee    18·   · · · · ·A.· · ·Well, you just said "under the
 19·   ·equal to 5 percent of the eligible equity value.     19·   ·indenture."· This is not under the indenture.
 20·   · · · · · · · · Do you see that?                      20·   · · · · · · · · The indenture is for collateral
 21·   · · · · ·A.· · ·Yes.                                  21·   ·management services, which is choosing
 22·   · · · · ·Q.· · ·What's the -- if you recall,          22·   ·investments, managing those investments in terms
 23·   ·what's the purpose of the transaction fee?           23·   ·of the passive interest and principal received,
 24·   · · · · ·A.· · ·I don't understand your question.     24·   ·providing trustee reports, providing financial


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                                                                         PPMG Ex 3




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PAYOR:                                                                                  PAYEE:
L VD Acquisition, LLC (Oasis)                                                           Patriarch Partners Agency Services
222 East Campus View Blvd.                                                              Attn: Loan Operations
Columbus, OH 43235                                                                      1 Broadway, 5th Floor
United States                                                                           New York, NY 10004




Please be advised that, effective 1/4/2016, the total amount due for principal, interest, and fees is $344,404"52




                                                                                                                             PPMG Ex 7

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    1                      UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE
    2
                                        .        Chapter 11
    3   IN RE:                          .
                                        .        Case No. 18-10512 (KBO)
    4
        ZOHAR III CORP., et al.,        .
    5                                   .        Courtroom No. 1
                                        .        824 North Market Street
    6                                   .        Wilmington, Delaware 19801
                                        .
    7                     Debtors.      .        September    14,   2020
        . . . . . . . . . . . . . . . . .        1:00 P.M.
    8
                               TRANSCRIPT OF HEARING
    9                   BEFORE THE HONORABLE KAREN B. OWENS
                           UNITED STATES BANKRUPTCY JUDGE
   10

   11
        APPEARANCES:
   12
        For the Debtors:             Joe Barry, Esquire
   13                                YOUNG CONAWAY STARGATT & TAYLOR LLP
                                     1000 North King Street
   14                                Wilmington, Delaware 19801

   15   For Patriarch:               Monica Loseman, Esquire
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                                     Los Angeles, California 90071
   17
        For U.S. Trustee:            Juliet Sarkessian, Esquire
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        Transcription Company:       Reliable
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    2
        #4) Debtors’ Motion for an Order Determining Dispute Between
    3   the Debtors and Patriarch Partners Management Services, LLC
        Related to Pending Oasis Transaction [(SEALED) D.I. 911;
    4   9/6/19; (REDACTED) D.I. 1130; 9/6/19].
    5
        #7) Debtors’ Motion for Entry of an Order Authorizing the
    6   Filing of Portions of the Debtors’ Reply in Support of the
        Debtors’ Debtors’ Motion to Compel Compliance with Prior
    7   Orders Directing the Transition of Loan Agency Services,
        Including the Turn Over of Possessory Collateral and for an
    8   Accounting Under Seal [D.I. 1917; 9/4/20].

    9   Ruling: Matter Taken Under Advisement

   10

   11   PATRIARCH’S WITNESS(s)
   12   LYNN TILTON
   13
               Direct Examination by Ms. Loseman                 7
   14
               Cross Examination by Mr. Barry                30
   15
               Redirect Examination by Ms. Loseman           52
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   17

   18
        EXHIBITS                                  I.D.    REC’D
   19
        Joint Exhibits 1 thru 4                              4
   20

   21   Zohar Exhibits 1 through 7, 10, 12 thru 15           4

   22   PPMG 2 thru 7                                        5

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    1            (Proceedings commence at 10:03 a.m.)

    2                THE COURT:    Good morning, counsel.      This is Judge

    3   Owens.    We’re gathered today in the Zohar omnibus cases.            I

    4   believe there’s only one substantive matter going forward and

    5   then, perhaps, one non-substantive sealing motion going

    6   forward, but I’ll turn the podium over to debtors’ counsel

    7   and you can walk us through what we’re doing today.

    8                MR. BARRY:    . . .the debtors.     You’re correct,

    9   Your Honor, we have two items on the agenda for today.            One

   10   is the more substantive PPMG Oasis (indiscernible) dispute.

   11   The other is item number seven which is seal motion.

   12                I understand from my colleague, Mr. Reil, that the

   13   seal motion has been resolved.       And so, we’ll be submitting a

   14   proposed order, I think, under certification of counsel.              I

   15   don’t think the court needs to address that today.

   16                THE COURT:    Okay. Great. So we can just go right

   17   into the Oasis dispute.

   18                MR. BARRY:    Yes, Your Honor.     And I think we have

   19   some positive news on streamlining the hearing for today

   20   which is we had a meet and confer last Wednesday and, as Your

   21   Honor knows, we had a chambers conference on Thursday.            We

   22   agreed to the submission of a joint hearing binder, again, in

   23   the hopes of kind of streamlining things.         And then over the

   24   weekend and today, we have actually agreed to the admission

   25   of a number of documents in the binder so that we don’t have




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    1   to sort of stop the evidentiary presentation.

    2                 So we would ask, Your Honor, that you take into

    3   evidence the following exhibits.        And I’ll pause for a

    4   moment.   So that would be all four of the joint exhibits (one

    5   through four).     Zohar Exhibits 1 through 7, 10, and 12

    6   through 15.

    7                 THE COURT:   Okay.

    8                 MR. BARRY:   And then PPMG Exhibits 2 through 7.

    9                 THE COURT:   Okay.

   10                 MR. BARRY:   The parties have stipulated to the

   11   admissibility of the documents and we would ask they be moved

   12   into evidence.

   13                 And unless Your Honor has any thoughts to the

   14   contrary, I conferred with Ms. Loseman this morning.           We

   15   thought ideally it would be most convenient to launch right

   16   into the evidentiary presentation with Ms. Tilton’s testimony

   17   followed by our (indiscernible) consistent with the chamber’s

   18   conference we had on Thursday.

   19                 THE COURT:   Okay.   Let me ask for the record is

   20   there anyone who objects to the admission of the stipulated

   21   exhibits?

   22          (No verbal response)

   23                 THE COURT:   Okay.   They’re admitted into evidence.

   24          (Joint Exhibits 1 through 4, received into evidence)

   25          (Zohar Exhibits 1 thru 7, 10, 12 thru 15, received into




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    1   evidence)

    2          (PPMG Exhibits 2 thru 7, received into evidence)

    3                THE COURT:    And I agree, let’s just go forward

    4   with how we discussed at the chamber’s conference last week.

    5   I see Ms. Tilton is ready and available. Thank you, Ms.

    6   Tilton for taking the time out of your busy schedule to join

    7   us again for testimony.

    8                So, if we’re ready, I guess it would be PPMG is

    9   going to call Ms. Tilton to the stand.         And then Mr. Lugano

   10   will come onto the screen and he will swear you in, Ms.

   11   Tilton.

   12                MS. TILTON:    Thank you.

   13                THE COURT:    All right so, Ms. Loseman, are you

   14   ready to go?

   15                MS. LOSEMAN:    Yes.   Thank you, Your Honor.

   16                And just one logistical matter before we call the

   17   witness to the stand.

   18                There are certain exhibits that I do not intend to

   19   display publicly due to some of the confidential nature of

   20   the information in some of those exhibits.          And so, what we

   21   have done, we have provided the witness with a PDF that is a

   22   complete collection of the exhibits that the parties

   23   submitted to Your Honor on Friday.        And I will direct the

   24   witness to the exhibit and the page number within that PDF,

   25   if that is okay with Your Honor.




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    1                THE COURT:     That is perfectly fine.     And I would

    2   just, I guess, remind us all of that item that you’re

    3   discussing is confidential, just so we know not to discuss

    4   it.

    5                MS. LOSEMAN:     Okay.

    6                THE COURT:     Great.    Thank you.

    7                Okay.   Well with that, why don’t we swear in Ms.

    8   Tilton, Mr. Lugano.

    9                THE CLERK:     Yes, Your Honor.

   10                      LYNN TILTON, WITNESS, AFFIRMED

   11                THE WITNESS:     Yes, I do.

   12                THE CLERK:    Please state your full name for the

   13   record and spell your last?

   14                THE WITNESS:     I’m so sorry.    I can’t hear you

   15   coming through?

   16                THE CLERK:     Okay.    Please state your full name for

   17   the record and spell your last?

   18                THE WITNESS:     Okay.    My name is Lynn Tilton; T-I-

   19   L-T-O-N.

   20                THE CLERK:     Thank you, ma’am.

   21                THE COURT:     Okay.     Thank you, Ms. Tilton.

   22                Ms. Loseman, you can begin.

   23                MS. LOSEMAN:     Thank you, Your Honor.

   24                             DIRECT EXAMINATION

   25   BY MS. LOSEMAN:




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    1   Q      Good morning, Ms. Tilton.       Let’s start, if you could,

    2   by providing the court an explanation of Patriarch Partners

    3   Management Group.     What does PPMG do?

    4   A      Patriarch Partners Management Group was the operational

    5   arm of Patriarch Partners.       It was a group of people that

    6   provided services to the portfolio companies to support their

    7   value proposition and their turnaround strategy.

    8          So anything from senior leadership to the platform

    9   leaders, operational turnaround and restructuring, financing,

   10   providing financial templates, pricing models, taxes,

   11   especially (indiscernible) acquisition.         It was a large

   12   department.    It did all the recruiting for the companies.

   13   Human resources, legal for corporate, as well as litigation.

   14   Design -- we had a full design team designing products for

   15   the companies, as well as web design, among other things.

   16          Supply chain.     People over in China finding product,

   17   keeping prices down. Everything that outside consulting

   18   services would normally provide at much higher rates.

   19   Q      And, generally speaking, over the years, approximately

   20   how many people did PPMG employ?

   21   A      PPMG, along with Patriarch people who worked on the

   22   operating companies would have been many hundreds, more than

   23   400 people.

   24   Q      Now, Ms. Tilton, what is LVD Acquisition Company?

   25   A      LVD Acquisition was the LLC entity for Oasis which was,




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    1   you know, how it did business as Oasis which was over a

    2   hundred-year-old company providing water, clean water to many

    3   hardware products -- you know, bottle water coolers, over-the

    4   counter-water coolers, under-the-counter water coolers,

    5   humidifiers in both the U.S. and in Europe.

    6   Q      And if I refer to Oasis will you understand that I’m

    7   referring to LVD Acquisition LLC?

    8   A      Yes, I would.

    9   Q      Was there a contracting placed between PPMG and Oasis?

   10   A      Yes.

   11   Q      Let’s please display Joint Exhibit 3, the contract or

   12   management services agreement between PPMG and Oasis?

   13                 THE COURT:   Ms. Loseman, who is sharing your

   14   screen?

   15                 MS. LOSEMAN:    Hopefully, that would be either Mr.

   16   Nadler or Mr. Farag from my team.

   17                 THE COURT:   Okay.     Mr. Lugano, can you give them

   18   hosting privileges to do that?

   19                 THE CLERK:   Yes, Your Honor.

   20                 It’s done, Your Honor.

   21                 THE COURT:   Great.    Thank you very much.

   22                 MS. LOSEMAN:    Thank you.

   23   BY MS. LOSEMAN:

   24   Q      Now, Ms. Tilton, you have in front of you or on the

   25   screen the management services agreement between PPMG and




                                     A-757
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                                                                          9


    1   Oasis?

    2   A        Yes, I do.

    3   Q        And when was the management services agreement entered

    4   into?

    5   A        This one was entered in September 30th, 2010.

    6   Q        And who are the parties to this agreement?

    7   A        The parties to this agreement are LVD Acquisition,

    8   otherwise, known as Oasis and Patriarch Partners Management

    9   Group, LLC.

   10   Q        And if we turn to page 12 of the document who signed

   11   the management services agreement on behalf of PPMG?

   12   A        I did as its manager.

   13   Q        And who signed the agreement on behalf of Oasis?

   14   A        John Kucharik who was at the time president and CEO of

   15   those entities.

   16   Q        Are any of the Zohar debtors’ parties to the management

   17   services agreement?

   18   A        No.

   19   Q        And who drafted this agreement?

   20   A        At the time we were using Jones Day as outside counsel.

   21   They drafted this agreement in conjunction with Jennifer Zahn

   22   who was the inside attorney working on this at Patriarch at

   23   the time.

   24   Q        Who is the PPMG representative that discussed this

   25   agreement with the Oasis CEO at the time, Mr. Kucharik?




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    1   A      It would have been John Harrington who would have been

    2   the platform leader overlooking LVD along another, two other

    3   companies at the time.

    4   Q      Do you know whether Mr. Kucharik discussed or

    5   negotiated any particular terms of this agreement with Mr.

    6   Harrington?

    7   A      I do not because I was not involved in the

    8   negotiations.

    9   Q      Now, Ms. Tilton, did you require that Oasis enter into

   10   a management services agreement with PPMG?

   11   A      No.    They wanted the services that they would provide

   12   they would (indiscernible) to this agreement, but it was not,

   13   you know, mandatory.

   14                 MS. LOSEMAN:    Mr. Farag, you can stop screen

   15   sharing now.     Thank you.

   16   BY MS. LOSEMAN:

   17   Q      Ms. Tilton, was Oasis the only portfolio company that

   18   entered into a management services agreement with PPMG?

   19   A      No.    Many companies did.

   20   Q      Did you require that any of the portfolio companies

   21   enter into an agreement with PPMG?

   22   A      None of them were required to do, no.

   23   Q      And did any other portfolio companies negotiate the

   24   terms of the management services agreement with PPMG?

   25   A      Yes.




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                                                                          11


    1   Q       After the MSA was entered into between PPMG and Oasis,

    2   what services did PPMG provide the company?

    3   A       There was always a platform leader providing senior

    4   leadership and being on the ground with the companies and

    5   advisor to the management team.        There was operational

    6   people, supply chain. We had someone in China helping them

    7   procure parts and manufacture over there.         We had tax

    8   financial.    We provided templates for all their financial

    9   reporting, as well as pricing models. And we had a full

   10   design team that worked on many of their products and their

   11   new products were designed by that design team.

   12           We did all of the (indiscernible) for the entire

   13   leadership team and sometimes below, so human resources.            And

   14   they did not have a general counsel so all the contracts and

   15   legal -- of course legal was done by PPMG, as well as

   16   litigation -- it’s advisory.

   17   Q       And who were some of the senior PPMG staff that

   18   provided the services you just described to the company?

   19   A       There were always lawyers -- Jennifer Zahn, Kevin Dell

   20   (ph), Connie Liu in China on supply chain, John Harrington,

   21   Carlos Mercado on finance and tax.        I could go on and on.

   22   Julian Nieves and John Bavaro did all the design work.            Erika

   23   Barker helped with their web design, so there was always a

   24   credit officer.     Michael Greenberg worked on it for a long

   25   time.   Always a credit officer helping them with financial




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                                                                          12


    1   and tax, so there were many.       And over the years, they

    2   changed out as employees changed out.

    3   Q        In terms of the services you described that PPMG

    4   provided to the company, what was the benefit to Oasis?            What

    5   was the benefit to the company of PPMG providing these

    6   services as opposed to some other third-party consultant?

    7   A        Well, first of all, it was far less expensive because

    8   it was a monthly fee versus paying by the hour and getting

    9   outside consultant services.       And also, when the companies

   10   were unable to pay, those fees were accrued and deferred

   11   which is why, you know, PPMG is owed over $70 million right

   12   now.

   13            So there was not the burden of payment if the company

   14   did not have the liquidity at the time, you know, which,

   15   otherwise, would have been required by outside law firms and

   16   outside consulting firms. And it was just far less expensive.

   17   I think for most of the years, they were charged between $15-

   18   and $25,000 dollars a month.

   19   Q        How was PPMG compensated for the services they

   20   provided?

   21   A        That small monthly fee and then upon the liquidity

   22   event.    You know, sale of the company is when the company --

   23   when PPMG would really be provided that upside to all those

   24   services over the years.      And that was that transaction fee

   25   which was 5 percent of the eligible equity value or the




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                                                                          13


    1   purchase price.

    2   Q      Were the monthly or transaction fees ever benchmarked

    3   in terms of what fees were being charged in the -- two or

    4   more fees were being charged for similar services in the

    5   private equity phase?

    6   A      Yeah, they were benchmarked and we used outside counsel

    7   to help us understand and we ended up being far below market

    8   and part of that was because these were companies, you know,

    9   being turned around and we really wanted the value going into

   10   and liquidity going into value creation because the

   11   transaction fee was really where we were going to get paid

   12   for all the years of service.

   13   Q      Was the fee structure designed in a way to align the

   14   interest of PPMG and the company?

   15   A      Yes, of course, they were because in the end, we made

   16   money if the company built that value and our interests were

   17   always aligned which is why we were willing to, you know,

   18   accrue fees instead of getting paid because that liquidity

   19   would go towards it.      But only the bigger the fee was based

   20   on the bigger the value that we were able to build together.

   21          And so, the interest were always aligned versus just

   22   providing services and then leaving.         We needed to make sure

   23   that we were creating value.

   24                MS. LOSEMAN:    Mr. Farag, if you could screen share

   25   again and display Joint Exhibit 3, management services




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                                                                          14


    1   agreement again.

    2   BY MS. LOSEMAN:

    3   Q      And if we turn page 3 of the document.         Ms. Tilton, do

    4   you see in front of you the page that defines transaction

    5   fee?

    6   A      I do.

    7   Q      Now when is a transaction fee owed to PPMG?

    8   A      On a liquidity event.      When a liquidity event takes

    9   place which would either be sale of 80 percent of the assets

   10   without regard to liabilities or a transfer of more than 50

   11   percent of the equity and control to another party.

   12   Q      And did Oasis experience a liquidity event?

   13   A      Yes because it transferred more than 50 percent of the

   14   equity.   In this case, it was 100 percent of the equity

   15   transferred to Culligan.

   16   Q      And how was PPMG’s transaction fee calculated in

   17   connection with that liquidity event?

   18   A      It was 5 percent of the total proceeds which was the

   19   value paid plus the cash on the balance sheet.

   20   Q      Now, Ms. Tilton, when you --

   21   A      For the (indiscernible) of the value.

   22   Q      Thank you.    Sorry, I did not mean to cut you off there.

   23          Ms. Tilton, when you signed the management services

   24   agreement, was it your understanding that the definition of a

   25   liquidity event depended on whether the sales price exceed




                                   A-763
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                                                                           15


    1   Oasis’ debt?

    2   A      No.    It was based on the transaction value, the same

    3   one we used investment banker would be paid.          It did not

    4   require who gets to be paid off.

    5   Q      Let me direct your attention if we turn to the next

    6   page as the definition of liquidity event continues.

    7          At the end of that paragraph, the top of the page, do

    8   you see the clause that begins provided however?

    9   A      Yes.

   10   Q      And it references a change of control.         What is your

   11   understanding of what that term means in the context of this

   12   agreement?

   13   A      The change of control relates to Annex A which deals

   14   with the structure of the indemnification provisions, as well

   15   as which parts of the liquidity event triggered that

   16   indemnification provision and then it goes into standard of

   17   conduct and who makes the decision on standard of conduct

   18   under certain provisions.       So it relates to Annex A in terms

   19   of indemnification.

   20                 MS. LOSEMAN:    And we can take that document down.

   21   Thank you, Mr. Farag.

   22   BY MS. LOSEMAN:

   23   Q      Ms. Tilton, are you familiar with the term phantom

   24   equity agreement?

   25   A      Yes.




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                                                                          16


    1   Q        And what does that refer to?

    2   A        For each of the portfolio companies, we provided the

    3   leadership team with up to 15 percent of the equity of the

    4   companies in terms of what we call MIC or phantom equity at

    5   which time on the change of control based on equity of

    6   appreciation from the time they started to the time of change

    7   of control, they would be paid a management incentive plan or

    8   phantom equity.

    9   Q        And, generally speaking, at a summary level, how is the

   10   management standard of those agreements calculated?

   11   A        It’s complicated because there are a lot of things, but

   12   it’s basically the purchase price less indebtedness, less

   13   initial equity value which is 4.5 times EBITDA at the time

   14   they start plus any equity cap that was paid minus

   15   transaction fees and any administration fees.          So it’s, you

   16   know, based on the equity value at the time they start

   17   through the change of control, but it’s equity appreciation.

   18   Q        And if we -- let’s take a look at Zohar Exhibit 6.

   19                   MS. LOSEMAN:    Mr. Farag, if you could screen

   20   share.

   21   BY MS. LOSEMAN:

   22   Q        Ms. Tilton, do you recognize this document?

   23   A        Yes.

   24   Q        And what is it?

   25   A        It’s the phantom equity agreement that we provided to




                                       A-765
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                                                                          17


    1   leaders at the portfolio -- the executive leadership team at

    2   the portfolio company.

    3   Q      And let’s turn to page 3 of this exhibit.          Do you see

    4   in the middle of the page a definition of the term, change of

    5   control, Ms. Tilton?

    6   A      I do.

    7   Q      Was it your understanding that the term liquidity event

    8   in the management services agreement was meant to be the same

    9   as this definition and work in the same way?

   10   A      No, absolutely no.       And actually, here it’s the change

   11   of control is only if the indebtedness related to the funds

   12   or company related parties like Patriarch or PPMG had been

   13   paid in full.     It’s a completely different definition and

   14   these agreements were not done at the same time.

   15                MS. LOSEMAN:    And Mr. Farag, we can take that

   16   document down.     Thank you.

   17   BY MS. LOSEMAN:

   18   Q      Now, Ms. Tilton, did you prepare a flow of funds model

   19   in connection with the Oasis transaction?

   20   A       We did.

   21   Q      And just generally speaking what is a flow of funds

   22   model, what is that modeling?

   23   A      It’s as the funds would flow from the sale of a company

   24   starting with the purchase price and adding back the cash and

   25   subtracting out all the transaction expenses and then paying




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                                                                          18


    1   off the liabilities in its structural seniority to

    2   subordination going down through to the equity and how funds

    3   would flow from that sale.

    4   Q      And did the flow of the funds model for the Oasis

    5   transaction include a PPMG transaction fee?

    6   A      Yes, it did.

    7   Q      And why is that?

    8   A      Because there was a liquidity event.         It was the sale

    9   of more than 50 percent of the equity and it triggered a

   10   transaction fee based on that event.

   11   Q      Have you prepared both funds models for monetization

   12   events of debtor portfolio companies?

   13   A      Yes, I have.

   14   Q      Let’s look at PPMG Exhibit 5.

   15                  MS. LOSEMAN:    And, Mr. Farag, please do not share

   16   this one.

   17   BY MS. LOSEMAN:

   18   Q      Ms. Tilton, if you could look to the PDF and turn to

   19   page 465.

   20   A      465?

   21   Q      Yes.

   22   A      Okay.

   23   Q      And it should have a blue sticker on the bottom-right

   24   hand corner that reads, PPMG Exhibit 5; do you have that in

   25   front of you?




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                                                                          19


    1   A      I do.

    2   Q      And can you -- what is this email correspondence, Ms.

    3   Tilton?

    4   A      There was an email from (indiscernible) to me asking

    5   for some information regarding two of the portfolio

    6   companies.     I don’t know if we should probably keep them

    7   confidential at this point.       And asking me for some

    8   information regarding those companies.

    9   Q      And did you provide Mr. Koch (ph) and Mr. Katzenstein

   10   the requested information?

   11   A      I did.   Not all at one time, but I did provide that

   12   information.

   13   Q      And if we turn to Zohar Exhibit 13 which is at 399 of

   14   your PDF.

   15   A      Yes.

   16   Q      And do you have Zohar Exhibit 13, the blue sticker

   17   document in front of you, Ms. Tilton?

   18   A      Yes, I do.

   19   Q      And if we turn down to page 402 of the PDF, just a few

   20   pages into this exhibit, do you see a flow of funds model for

   21   what we’ve been referring to as Portfolio Company C?

   22   A      I do.

   23   Q      Is there a PPMG transaction fee in the closing expenses

   24   section of this model?

   25   A      No, there is not.




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    1   Q      Why not?

    2   A      Because at the time we were only considering a

    3   refinancing which was not a liquidity event and which was an

    4   internal document just trying to track the different parts

    5   that would go into a monetization or a, you know,

    6   restructuring event, but there was no sale of the company

    7   being considered at that time.

    8   Q      Now, Ms. Tilton, did you later create a spreadsheet to

    9   reflect a flow of funds for a liquidity event in connection

   10   with Portfolio Company C?

   11   A      Yes because it was part of the overall transaction that

   12   was presented back in the summer of 2019 and then we had a

   13   flow of funds based on the purchase price we were willing to

   14   pay for that company.

   15   Q      And if we turn to PPMG Exhibit 6 which is page 466 of

   16   the PDF.

   17   A      I’m there.

   18   Q      And what is this document, Ms. Tilton?

   19   A      This is the actual flow of funds based on the purchase

   20   price we were offering for that company as part of the

   21   overall transaction back in the summer of 2019.           And this is

   22   based on the liquidity event.

   23   Q      And if we turn to page 468 of the PDF, so just a couple

   24   of pages into the exhibit.

   25   A      Yes.




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                                                                          21


    1   Q      Do you have the flow of funds modeling for Portfolio

    2   Company C in front of you?

    3   A      I do.

    4   Q      And did this flow of funds modeling include a PPMG

    5   transaction fee?

    6   A      Yes, it does.

    7   Q      And why is that?

    8   A      Because it was based on a liquidity event or the sale

    9   of the company and, therefore, it would trigger the

   10   transaction fee.

   11   Q      And in this flow of funds model, including the PPMG

   12   transaction fee, did the transaction that’s modeled here show

   13   the purchase price exceeding the outstanding debt?

   14   A      No, it does not exceed the outstanding debt.

   15   Q      Now, let’s switch gears just a bit here.

   16          Did the Oasis transaction clear the company’s debt, Ms.

   17   Tilton?

   18   A      Yes, it did.

   19                  MS. LOSEMAN:    Mr. Farag, if you could display

   20   Zohar Exhibit 2.

   21   BY MS. LOSEMAN:

   22   Q      And this is the Oasis credit agreement.

   23          Ms. Tilton when was this credit agreement entered into?

   24   A      June 1, 2009.

   25   Q      And who executed the credit agreement on behalf of




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                                                                          22


    1   Zohar’s I, II, and III?

    2   A      I would have as the collateral manager of those funds

    3   at the time.

    4   Q      And who executed the agreement on behalf of Oasis?

    5   A      John Kucharik was the president and CEO at the time.

    6   Q      Turning to Section 2.8(a).       Can you explain how

    7   interest rates were calculated under the credit agreement?

    8   A      For the most part and here, it was a LIBOR rate plus an

    9   applicable margin, so it would be LIBOR plus four, five, six,

   10   seven or whatever the rate might have been based on company’s

   11   ability to pay and risk profile.

   12   Q      And Section 2.8 uses a -- does it use a defined term to

   13   the term loan in capital letters there, do you see that?

   14   A      Yes.

   15   Q      If we turn to page 13 of the agreement.

   16          Can you read the definition of loans there, Ms. Tilton?

   17   A      Yes.    Loans means collectively the revolving credit

   18   loans and term loans.

   19   Q      And if we turn to page 17, do you see the defined term

   20   revolving credit loan, Ms. Tilton?

   21   A      I do.

   22   Q      And what does that define mean?

   23   A      It means a loan made by a revolving lender to any

   24   borrower, but revolving credit agreement usually means that

   25   it can be borrowed, repaid and borrowed again.




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    1   Q        And if we turn to page 20.     Do you see a definition for

    2   the term, term loan?

    3   A        Yes.   Meaning collectively, the Term A loans and Term B

    4   loans.

    5   Q        And if we scroll up just a bit, page 19, are the terms

    6   Term A loan and Term B loan also defined, Ms. Tilton?

    7   A        They are.

    8   Q        Now was the credit agreement the same as Zohar’s and

    9   Oasis ever amended?

   10   A        Yes, it was.

   11   Q        Let’s take a look at Joint Exhibit 2?

   12          And what is this amendment, Ms. Tilton?

   13   A        This amendment which was the eighth amendment was where

   14   we converted certain unpaid and accrued interest

   15   (indiscernible) interest of $20,291,872.92 into term loans

   16   that were equity pickers so that we could basically protect

   17   the lenders in terms of repayment on a liquidity event such

   18   that it was more closely aligned to the loan than the equity

   19   which is not always equivalent to the amount of loans that

   20   the companies -- that the funds have made since the equity is

   21   given out at the beginning based on borrowed money and

   22   certain additional loans are made during the course.           So this

   23   was converted into an equity kicker and provided in the

   24   credit agreement so that it would protect the lender upon a

   25   sale of the company or liquidity event.




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                                                                          24


    1   Q      When was this amendment to the credit agreement

    2   executed?

    3   A      In November of 2015.

    4   Q      And who executed this amendment on behalf of Oasis?

    5   A      John Jacob was the CFO at the time and Sasha Tasganof

    6   (ph) who was the CEO for a short period at that time.

    7   Q      And who executed this document on behalf of the

    8   Zohar’s?

    9   A      I did as the collateral manager.

   10   Q      Was this amount restructured as a loan as you

   11   understand that term to be defined under the credit

   12   agreement?

   13   A      No, it was an equity kicker which is how we document

   14   equity kickers in the loan agreement because that’s the best

   15   place to have them such that on the sale they’re recognized

   16   in the agreement, but it wasn’t a loan under the agreement or

   17   debt because it had no interest rate.         It was income that had

   18   been taken by the taxpayer which was me as interest income,

   19   and then basically an equity contribution back into the

   20   company.

   21   Q      Let’s look at Schedule A to this amendment.

   22          Do you see the first column on Schedule A that reads

   23   type of loan, Ms. Tilton?

   24   A      Yes.

   25   Q      What was your understanding as to whether that column




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                                                                          25


    1   or the labels used there were meant -- meant that these

    2   facilities were considered loans under the credit agreement?

    3                MR. BARRY:    Your Honor, I am going to object.        The

    4   document speaks for itself.

    5                THE COURT:    You can answer.     Please go ahead.

    6                THE WITNESS:    There are equity kickers that are

    7   put into the form of loan often where we were giving like a

    8   second lien loan for zero.       It’s still an equity kicker.

    9   It’s not borrowed money.      And so, you know, this was the best

   10   for us to document and put into the credit agreement, but it

   11   isn’t a term loan under the definition of the term loan in

   12   the credit agreement and it bears no interest.

   13                You know, it bears no interest, interest was never

   14   billed, it was never paid.       It’s an equity kicker in that it

   15   is upside to the lenders and not money that they leant to

   16   them.   It was, basically, an equity contribution back into

   17   the company after income had been taken.

   18   BY MS. LOSEMAN:

   19   Q       And the column titled “Applicable Margin” reflecting

   20   zero percent for each of the facilities, what did that

   21   indicate?

   22   A       That there was no interest rate on this because it was

   23   equity.

   24   Q       And the column next to it titled “Interest Payment

   25   Date” with entries reading NA for each restructured facility,




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    1   what did you understand that to mean?

    2   A       Not applicable because there was no interest being

    3   charged and there was no date by which it had to be paid.

    4   Q       Now the next column over titled “Maturity Date” it

    5   lists April 15th, 2019 for each of the restructured

    6   facilities.      In your experience can equity have a maturity

    7   date?

    8   A       Sure.    Preferred equity has a maturity date all the

    9   time.

   10   Q       Were there any interim payments at all required prior

   11   to that April 15th, 2019 maturity date?

   12   A       No.

   13   Q       And skipping over to the prepayment preference column,

   14   do you see that?

   15   A       Yes.

   16   Q       What did that indicate?

   17   A       That was the structural flow of funds and that

   18   (indiscernible) came out after all the debt.          It was the last

   19   in line in terms of preference payments.

   20                   MS. LOSEMAN:    We can take this document down.

   21   Thank you, Mr. Farag.

   22   BY MS. LOSEMAN:

   23   Q       Ms. Tilton, after executing the eighth amendment did

   24   the Patriarch collateral manager notify US Bank, the

   25   indenture trustee, that the restructuring of Oasis’s unpaid




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    1   fees and interests resulted in Oasis’s debt increasing by $20

    2   million dollars?

    3   A      No, we did not.

    4   Q      Why not?

    5   A      We did not consider it debt and we did not increase the

    6   debt with the (indiscernible) or loan asset.          Actually, it’s

    7   an asset to the trustee.      We did not increase the asset with

    8   the trustee or on the financial statements for the funds.

    9   Q      And why did the collateral manager not report it as

   10   debt to the indenture trustee?

   11   A      Because we considered it an equity kicker and if it

   12   were reported as debt it would have increased the numerator

   13   in the over collateralization ratio which would have been a

   14   benefit.    It also would have increased the assets, but we did

   15   not consider it a loan asset.       We considered it an equity

   16   kicker and, therefore, it would not appear on the trustee

   17   reports.

   18   Q      When you say it would have increased the numerator in

   19   the over collateralization ratio and that would have been a

   20   benefit, what do you mean by that?        A benefit to whom?

   21   A      Well, the OC ration determined how collateral

   22   management fees got paid and whether the subordinated

   23   management fee got paid.      It would have been a benefit -- it

   24   would have been a boom for the collateral manager to call

   25   that debt, but we did not because it was an equity kicker.




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    1                MS. LOSEMAN:    Let’s look at PPMG Exhibit 3, Mr.

    2   Farag, if you would.

    3   BY MS. LOSEMAN:

    4   Q      Ms. Tilton, what is this document?

    5   A      This would have been the interest bill that would have

    6   been sent out by Patriarch Partners Agency Services to LVD.

    7   I believe this one would have been for Zohar II and this

    8   would have been the bill for the current interest as well as

    9   listing the past due interest that would have been owed.

   10   Q      What is the date of this invoice?

   11   A      The date of this invoice is October 1st, 2015.

   12   Q      By the way, what is the difference in the amount, the

   13   past due amount showing approximately 14 million and the

   14   total of the restructured facility, the restructured a month

   15   later, of approximately 20.29 million?

   16   A      The difference is the Zohar I and Zohar III amounts

   17   that were also included in that term loan dollar number.

   18   Q      Now let’s look at PPMG Exhibit 7.        Ms. Tilton, what is

   19   this document?

   20   A      This would be the next bill for Zohar II which would

   21   have been three months later since it was quarterly, January

   22   4th, 2016.    And this shows all the past due interest is no

   23   longer on the bill because it had been converted into the

   24   equity kicker and this is only the current interest due for

   25   that period.




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    1   Q      Now comparing this invoice to the prior October 2015

    2   invoice do they reflect an increase in the principal owed by

    3   Oasis between those dates?

    4   A      No.   Principal is not increased.       This is only interest

    5   is being charged on the term loan as defined under the

    6   agreement.

    7                MS. LOSEMAN:    We can take that document down.

    8   Thank you.

    9   BY MR. LOSEMAN:

   10   Q      Now prior to the close of the Oasis transaction, Ms.

   11   Tilton, to your knowledge did the debtors ever attempt to

   12   collect interest from Oasis on the restructured facility?

   13   A      No, they did not.

   14   Q      Historically or at the time of amendment number eight

   15   to the credit agreement who had asserted beneficial ownership

   16   over the equity in Oasis or what entity?

   17   A      The Octaluna’s.

   18   Q      And how did the Octaluna’s report the 2015

   19   restructuring of Oasis’s fees and interest through amendment

   20   eight to the credit agreement?

   21   A      It was a capital contribution.

   22                MS. LOSEMAN:    Your Honor, if I may have a moment,

   23   I believe I’m at the end. I just want to confirm.           I have no

   24   further questions at this time.        Thank you.

   25                THE COURT:    Thank you, Ms. Loseman.




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    1                  Cross examination?

    2                  MR. BARRY:   Yes, Your Honor.    It would help if I’m

    3   off mute.      For the record Joe Barry of Young Conaway.

    4                               CROSS EXAMINATION

    5   BY MR. BARRY:

    6   Q      Good morning, Ms. Tilton.

    7   A      Good morning.

    8   Q      Ms. Tilton, at the time the MSA was entered into in

    9   September -- can you hear me okay?

   10   A      I’m trying to, yeah.      So far I can hear you.

   11   Q      Okay.    Let me know if you can’t hear me and I’ll work

   12   it out.

   13          At the time the MSA was entered into in September of

   14   2010 you were the manager, the sole manager, of LVD

   15   Acquisition, correct?

   16   A      That is correct.

   17   Q      And what was your role as the sole manager at LVD?

   18   A      It would have been duties, you know, that would be

   19   similar to that of the sole director of a board.           There was

   20   an authority matrix of certain types of issues that needed to

   21   be brought to me for my approval and I would act upon that

   22   under the authority matrix.

   23   Q      Okay.    And at the time the MSA was entered into there

   24   was a management team at Oasis, correct?

   25   A      Yes, there was.




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                                                                          31


    1   Q      And that was the CEO of the company, I think you

    2   testified, who was John Kucharik?

    3   A      That is correct.

    4                MR. BARRY:    So, Your Honor, could we have the co-

    5   hosting capabilities transferred to Mr. Reil so we can put up

    6   some documents?

    7                THE COURT:    Absolutely.    Mr. Lugano, can you give

    8   Mr. Reil co-hosting responsibilities?

    9                MR. LUGANO:    It’s done, Your Honor.

   10                THE COURT:    Great.   Thank you.

   11                MR. BARRY:    Thank you.

   12                Mr. Reil, could we put up Zohar Exhibit 15.

   13   BY MR. BARRY:

   14   Q      Ms. Tilton, do you recognize this document?

   15   A      I see it’s a written consent of the sole manager.

   16                MR. BARRY:    Mr. Reil could you scroll down to the

   17   attachment to the written consent please.

   18   BY MR. BARRY?

   19   Q      Ms. Tilton, is the authority matrix that you just

   20   testified to?

   21   A      Yes, it is as of that time.

   22   Q      And who prepared this?

   23   A      Counsel.

   24   Q      At your direction?

   25   A      At my direction to have an authority matrix, yes.           I




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    1   wanted to have an authority matrix for each of the portfolio

    2   companies where I served as director or sole manager.

    3   Q      And this governed the decision making as between

    4   management and the board, correct?

    5   A      It discerns where they need to come to me to approve

    6   their decisions versus the normal course day to day decisions

    7   that they make on their own.       And there are two columns, one

    8   is for the designated executive which was John Herrington at

    9   the time and the other is for whether it needed board

   10   approval.

   11   Q      And directing your attention to Line 11 it says

   12   “Related Party Transactions.”       Do you see that?

   13   A      Yes.

   14   Q      And that says NA under designated executive which, Mr.

   15   Reil, if you could scroll down to the notes.

   16          It says,

   17          “Certain action items are included in this list for

   18   which the designated executive has no authority indicated by

   19   NA under the designated column.”

   20          Do you see that?

   21   A      Yes.

   22   Q      And so next to that it says full board.         So does that

   23   mean that any related party transactions would have to be

   24   approved by you as the sole manager?

   25   A      That is correct.




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                                                                          33


    1   Q      And was entry into the management services agreement a

    2   related party transaction?

    3   A      Your question?

    4   Q      Was entry into the management services agreement in

    5   September of 2010 a related party transaction?

    6   A      Yes.

    7                  MR. BARRY:   Mr. Reil, if we could, let’s turn to

    8   Joint Exhibit 3.

    9   BY MR. BARRY:

   10   Q      Ms. Tilton, this is the management services agreement

   11   that you previously testified to.        I believe you testified

   12   that Mr. Kucharik discussed this with Mr. Herrington.            Is

   13   that your testimony?

   14   A      I said I believed, based on what I know and what I’ve

   15   seen in emails, that it was discussed with John Herrington.

   16   It was not discussed with me.

   17   Q      But you don’t know for a fact that this was discussed

   18   between Mr. Kucharik and Mr. Herrington, correct?

   19   A      I’ve only seen an email between the two of them

   20   concerning this.     Whether they got on the phone and discussed

   21   it further I do not know.       I was not involved.

   22   Q      Okay.    And you testified that none of the portfolio

   23   companies were required to (indiscernible).          Is that correct?

   24   A      Not unless they -- you know, if they wanted the

   25   services that we provided that they would need to sign it,




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    1   but no one was forced to sign this agreement.

    2   Q      But the ultimate decision to enter into this with you

    3   was at Oasis, correct?

    4   A      No.    My -- I needed to approve what they wanted to

    5   enter into.    I don’t decide what they enter into.         It takes

    6   my approval if they choose to enter into a related party

    7   transaction.    I don’t tell them what to sign or what to do.

    8   It needed my approval to be signed by them.

    9   Q      And I think you testified on direct examination that

   10   some of the portfolio companies negotiated the terms of the

   11   management services agreement.       Is that correct?

   12   A      Yes.

   13   Q      How many?

   14   A      Sitting here right now I can’t tell you how many.           I

   15   know a few who did so.

   16   Q      Do you recall at your deposition that you testified

   17   that you can only recall two of the portfolio companies

   18   negotiated any of the terms?

   19   A      If I said that at the time then I only thought of two

   20   at the time.

   21   Q      Do you recall at your deposition that you testified

   22   that none of the portfolio companies negotiated the terms of

   23   the transaction fee provision?

   24   A      That is correct.

   25   Q      And for clarity there is forty-five portfolio companies




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                                                                          35


    1   that we’re referencing, correct?

    2   A      I’m not sure.     I don’t know how many signed this

    3   agreement.

    4   Q      If I represent to you that there is fourteen portfolio

    5   A companies and thirty-one portfolio B companies on the

    6   settlement would that sound about right to you?

    7   A      I will take what you say.

    8   Q      And as to Oasis specifically are you aware that Oasis

    9   management requested any changes to the form of management

   10   services agreement that was proposed by PPMG?

   11   A      I am not aware.     As I told you, I was not involved in

   12   the negotiations.

   13                MR. BARRY:    Mr. Reil, could we scroll down to

   14   3(c), 2(b) of the management services agreement.

   15   BY MR. BARRY:

   16   Q       Ms. Tilton, you testified, I think, on direct

   17   examination that one of the reasons for the transaction fee

   18   was to you needed to ensure that you were creating value.”

   19   Is that correct?

   20   A      The transaction fee was to be based on the value

   21   creation.    So the more the companies sold for the more we

   22   would get paid as the transaction (indiscernible).           So, it

   23   was aligned with the interest of all parties.

   24   Q      What if there was no creation of value?

   25   A      If the company to be sold, and it was an ongoing




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                                                                          36


    1   entity, especially since everything was brought --

    2            (Inaudible audio)

    3                 THE COURT:     Ms. Tilton, could you --

    4            (Inaudible audio)

    5                 THE COURT:     Excuse me, Ms. Barry and Ms. Tilton,

    6   please stop for a moment.          I am getting a lot of feedback and

    7   I actually cannot hear the witness.

    8                 Mr. Lugano, is there an issue on our end.        Do you

    9   know?

   10                 MR. LUGANO:     None that I know of, Your Honor.

   11                 THE COURT:     Okay.    Were you hearing the feedback?

   12                 MR. LUGANO:     A little.

   13                 MR. BARRY:     I was as well, Your Honor.

   14                 THE COURT:     Okay.

   15                 THE WITNESS:     Is it possible to speak through Zoom

   16   or no?

   17                 THE COURT:     No.    We can’t speak through Zoom, but

   18   there is a little bit of reverberation happening, I think.

   19                 So, if you remember, Ms. Tilton, what your

   20   testimony was to Mr. Barry’s last question could you please

   21   repeat it or if you can’t recall then I would ask Mr. Barry

   22   to repeat his last question.         Then we will try it again.

   23                 THE WITNESS:     I believe that getting the company

   24   to a point where it could be sold to another party based on

   25   the fact these companies were purchased when they were left




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    1   for dead that that would be value creation.

    2                  THE COURT:   Okay.    Thank you.

    3   BY MR. BARRY:

    4   Q      Under PPMG’s reading of the agreement, though, whether

    5   there’s the creation of value or not PPMG is entitled to earn

    6   a fee, is it not?

    7   A      It is a fee based on the sale price which gets larger

    8   with the additional value creation, but, yes, it is based on

    9   a sale of the company. It is entitled to a transaction fee.

   10   Q      Okay.    If the fee, though, was to ensure the creation

   11   of value and PPMG earns a fee if the company loses value then

   12   can you explain that?

   13   A      PPMG is entitled to a fee on the sale of the company

   14   and creation of liquidity for the lenders.          I mean it is

   15   based on transaction value.         The goal was to sell these

   16   companies when we had created as much value as we believed we

   17   were able to do.     That is when these things were being sold.

   18   It doesn’t -- it isn’t based on value appreciation, but the

   19   goal was to bill value and sell the companies to monetize.

   20   That is when companies were sold, when the value was built

   21   and we believed we could no longer create additional value.

   22   Q      Okay.     You testified, Ms. Tilton, that the -- Mr. Reil,

   23   could you do me a favor and scroll down to the proviso at the

   24   end of (b).     Thanks.

   25          Ms. Tilton, you testified that the phrase change of




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    1   control that’s used in the proviso, that starts on the third

    2   line from the bottom of this, has to do with the

    3   indemnification provisions of annex A.         Is that correct?

    4   A      Yes.

    5   Q      Okay.    Can you explain that?

    6   A      Can I explain how it -- well, if you move to annex A

    7   you can see that --

    8   Q      Let’s do that.

    9   A      -- annex A is where the change of control comes in and

   10   you can see that the change of control carves out certain

   11   liquidity events like a sale of the assets which does not

   12   trigger the indemnification and then this speaks to standard

   13   of care or conduct on who makes the decision under certain

   14   circumstances, but this is where the change of control comes

   15   in.

   16                  MR. BARRY:   Let’s scroll down if we could, Mr.

   17   Reil, to the defined term change of control.

   18   BY MR. BARRY:

   19   Q      So, this is Paragraph 9, Ms. Tilton. Do you see this

   20   provision?

   21   A      Yes.

   22   Q      It’s titled “Change in Control.”

   23   A      Mm-hmm.

   24   Q      And you would agree that that’s different from the term

   25   change of control in the proviso in Paragraph 3 of the




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    1   agreement, correct?

    2   A        Well, I can see its change in versus change of, but I

    3   believe it’s a typo and think it relates back to liquidity

    4   event.    I believe that it was meant to refer to the change of

    5   control in that paragraph at the end.

    6   Q        Okay.    So, Paragraph 9 starts out “For purposes of this

    7   annex A…” do you see that?

    8   A        Yes.

    9   Q        Do you have any understanding as to what that means?

   10   A        For purposes of this annex A?

   11   Q        Sure, yeah.

   12   A        I think that’s what it means.

   13   Q        It means its limited to the annex A, correct?

   14   A        Yes.

   15   Q        Okay.    So, let’s follow the defined term change in

   16   control.    It says,

   17            “Means, (A) the occurrence after the date hereof of any

   18   transaction described in Clauses (y) or (d) of the definition

   19   of liquidity event.”

   20            Do you see that?

   21   A        Yes.

   22                    MR. BARRY:   Mr. Reil, if we could scroll up to

   23   Paragraph 2.       I wanted to stay in annex A if you don’t mind.

   24   Okay.

   25   BY MR. BARRY:




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    1   Q      So, are you familiar with Paragraph 2 of annex A?

    2   A      I mean this is very legal.       I have read through it, but

    3   I mean if you’re asking me to argue the legal part of this

    4   document I don’t think that’s appropriate.

    5   Q      I’m just trying to understand your direct testimony

    6   that change of control is the same of change in control and

    7   relates to the annex.      I am just trying to understand how the

    8   two relate to one another.

    9   A      Well if you go back to the section where you were you

   10   will see that it’s carving out the asset sale from the

   11   liquidity event because that’s not a transfer of the equity

   12   and adding in an insolvency. Those are the parts of liquidity

   13   event that relate to this indemnification.          The asset sale

   14   does not trigger the indemnification.         Part of that is the

   15   equity risk is not transferring and it adds insolvency here

   16   because those are conditions under which the indemnification

   17   would need to kick in.

   18          So, if we go back to the section where you were you

   19   will see that it’s now bringing liquidity event and those

   20   sections under liquidity even not which trigger the

   21   transaction fee, which is triggered by liquidity event, but

   22   which the change of control, which defined in certain

   23   liquidity events triggers indemnification and standard of

   24   conduct decision making.

   25   Q      So in order to trigger the indemnification provisions




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    1   of annex A, a change in control would have to clear the debt.

    2   Is that your testimony?

    3   A      No.     It’s just that the change of control that triggers

    4   indemnification is the transfer of the equity risk, not where

    5   the entity is still existing.

    6   Q      Okay.    Let’s move on.

    7          In your deposition you testified -- you described how a

    8   proviso of 3(c)2(d) also had to do with management proceeds.

    9   Could you explain that?

   10   A      Well, the definition of eligible equity -- well if you

   11   go back, I may not -- basically, the transaction fee is 5

   12   percent of -- can you go up more?

   13          So, the total equity value, eligible equity value its

   14   total equity value minus management proceeds.          So, any

   15   management proceeds that would have been paid based on equity

   16   owned by management team would have been subtracted from

   17   total equity value before the 5 percent of the fee is

   18   calculated.

   19   Q      And what does that have to do with the proviso at the

   20   end of 3(c)2(d) satisfaction of the company’s indebtedness?

   21   A      Nothing.    That is not what it says, company’s

   22   indebtedness.

   23          Can you show me what you are referring to?

   24   Q      Sure.     It’s the proviso that we have been discussing at

   25   the end of Paragraph 3(c)2(d).




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    1   A      I know, but that doesn’t say indebtedness.

    2   Q      I’m sorry.    It says outstanding debt.

    3   A      I know, but that’s the thing.       You keep conflating debt

    4   loan and indebtedness which are very different.           So, this has

    5   nothing to do with the transaction fee.         It’s based on equity

    6   owned by management and that pay-out gets subtracted from our

    7   fee.

    8   Q      Okay.   And what does that have to do with the company’s

    9   satisfaction of its outstanding debt?

   10   A      What does what have to do with the satisfaction of the

   11   company’s outstanding debt?

   12   Q      Management proceeds.

   13   A      Management proceeds, they’re calculated under the

   14   (indiscernible) agreement in a completely different way and

   15   it’s not even the outstanding debt.        That has to be a related

   16   party to indebtedness.      So, that includes anything owed to

   17   Patriarch, anything owed to the funds, that needs to be

   18   satisfied in a management incentive agreement, but other debt

   19   doesn’t need to be paid off.

   20          So, as I said you’re mixing definitions and conflating

   21   debt with indebtedness with loans.        I mean they’re very

   22   different.

   23   Q      Okay.

   24   A      This is a separate agreement that (indiscernible) based

   25   on a liquidity event, which is either an asset sale without




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    1   regard to any liabilities or transfer of more than 50 percent

    2   of the equity or control.       That is what triggers that.

    3   Management proceeds are based on either the ownership of

    4   outright equity, as it was in Denali or management incentive

    5   plan which requires the payment of related party indebtedness

    6   which includes even management fees owed to Patriarch, but

    7   doesn’t include bank debt or other things.          So, you are

    8   mixing agreements and conflating definitions.

    9                  MR. BARRY:   Mr. Reil, can we put up the amendment,

   10   the eighth amendment to the credit agreement which is, I

   11   think, Joint Exhibit 2.

   12   BY MR. BARRY:

   13   Q      Ms. Tilton, while that document is coming I think you

   14   testified that the Octaluna’s recorded the eighth amendment

   15   as a capital contribution.       Is that correct?

   16   A      That is correct.

   17   Q      Okay.    PPMG or Octaluna didn’t submit any documentation

   18   to support that contention, did they?

   19   A      Submit information to whom and when? I don’t understand

   20   the question.

   21   Q      There’s no trial exhibit that was submitted that would

   22   demonstrate what you just said?

   23   A      I don’t believe so, no.

   24   Q      So, this is amendment number eight.        You talked about

   25   an equity kicker.




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    1   A        That’s correct.

    2   Q        Can you show the court where equity kicker is discussed

    3   in this document?

    4   A        It’s not discussed in this document.       Part of the

    5   indenture and how things are treated if they are not loans

    6   and borrowed money from the funds as upside (indiscernible).

    7   The definition of equity kicker in the indenture.

    8   Q        Okay.    So, equity kicker is not a concept that’s in

    9   this agreement.       Is it in the credit agreement with LVD and

   10   Zohar?

   11   A        The word equity kicker, no.

   12   Q        Yes.    Okay.

   13            What about you testified on direct about the OC ration.

   14   Can you point us to where in this document the OC ratio is

   15   discussed?

   16   A        It’s not.       It’s part of the indenture for the Zohar

   17   funds, but its --

   18   Q        Is LVD a party to that indenture?

   19   A        (Indiscernible) was not recorded as loans or debt.

   20   Q        Is LVD a party to that indenture?

   21   A        No, it’s not.

   22                    MR. BARRY:   Mr. Reil, can we put up -- let me ask

   23   one more question relative to the amendment eight.

   24   BY MR. BARRY:

   25   Q        Were the liabilities referenced in amendment eight




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    1   secured by collateral?

    2   A      I don’t really understand your question.

    3   Q      I will ask it the same way.       Were the liabilities

    4   referenced in amendment eight secured by collateral?

    5   A      Are you asking me if the accrued interest tranches are

    6   secured by collateral?      I am --

    7   Q      I’m asking you --

    8   A      I’m going to have to read amendment eight to go through

    9   and understand what liabilities you are speaking to.           If you

   10   want me to read the whole thing I will.         If you want to point

   11   me to what you are asking me to then I can reply; otherwise,

   12   I am going to have to read the entire agreement to understand

   13   what liabilities it points to.

   14   Q      Okay.   And, again, the liabilities that were

   15   restructured in amendment eight what liabilities were those?

   16   A      Those were accrued interest tranches.         It was accrued

   17   interest that could have either been forgiven by the

   18   collateral manager, continued owing or could have been

   19   converted into these loans that were accrued interest

   20   tranches and, basically, the equity kickers or upside when

   21   and if the company had the money to pay when it was sold.

   22   Q      And that interest was due from LVD to the Zohar’s,

   23   correct?

   24   A      That is correct, but it was also something that could

   25   have been forgiven by the collateral manager. And in




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    1   instances where we didn’t believe the company would have the

    2   wherewithal to pay.      It was forgiven.     And where we thought

    3   that the company’s increased value would maybe be able to

    4   allow it to be paid, and because it closer aligned to the

    5   loans then to the equity we added these as equity kickers.

    6           Interest income has to be paid by the funds whether or

    7   not this (indiscernible).         Therefore, when that interest

    8   income is due and owing it has already been asked and when

    9   it’s put back into the company its put back in as an equity

   10   contribution.

   11                   MR. BARRY:   Mr. Reil, can we put up Zohar 6.

   12   Okay.   Can we go to Paragraph 5(d) please.

   13   BY MR. BARRY:

   14   Q       And, Ms. Tilton, you read this provision in your direct

   15   examination, correct?        Do you recall that?

   16   A       Out of the phantom equity agreement, I don’t recall

   17   reading this in my direct.

   18   Q       Would you take a moment and read this.        Let me know

   19   when you’re finished?

   20   A       Okay.     I’ve read it.

   21   Q       Thank you.

   22           Do you see, on the second line, there’s a parenthetical

   23   that says without regard to liabilities in the context of an

   24   asset sale.      Do you see that?

   25   A       Yes.




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    1   Q      Do you have an understanding as to what that means?

    2   A      Well, it means that if 80 percent of the company assets

    3   are sold without regard to whether the liabilities are picked

    4   up or taken its considered a change of control.

    5   Q      Okay.

    6   A      And then, of course, it goes onto add a parenthetical

    7   other than to sale of persons who already own 50 percent of

    8   the limited liability company interest.

    9                  MR. BARRY:   Okay.   And, Mr. Reil, could we please

   10   put up PPMG Exhibit 6.      Oh, take this down.      Take this down,

   11   please.

   12   BY MR. BARRY:

   13   Q      My apologies.     Let’s refer to --

   14   A      I have the exhibits next to me if you want me to pull

   15   something up.

   16   Q      I wrote down, I think, your pint point sites, Ms.

   17   Tilton.   I think it’s 468 of the PDF’s that you have.           Let me

   18   know when you’re there?

   19   A      I’m there.

   20   Q      Okay.    In the top, just so we’re on the same page.

   21   Literally, the top should say net proceeds and then portfolio

   22   company see sale distributions.        Is that what you are looking

   23   at?

   24   A      Yes.

   25   Q      Okay.    And when was this document prepared?




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    1   A        I believe it was prepared in accordance with the

    2   overall plan of reorganization back in -- it would have been,

    3   you know, June, July, August timeframe of 2019.

    4   Q        Okay.   And who prepared it, if you recall?

    5   A        It would have been Carlos Mercado -- wait a second,

    6   this is a different one I think.        One second, let me just

    7   check.    Yeah, I think this one was in the summer of 2019 at

    8   the time of plan of reorganization.        This would have been

    9   prepared by Carlos Mercado who works for me.

   10   Q        And in PPMG’s brief it says,

   11            “Ms. Tilton reviewed in detail with the debtor’s

   12   representative flow of funds model for both portfolio company

   13   B and C in July of 2019.”

   14            Is this that model?

   15   A        Yes.

   16   Q        And who did you review this in detail with?

   17   A        It was in your offices.    And I sat with Mike

   18   Katzenstein, Joe Farnan, Anthony McKiernan, John Greene,

   19   Randy Jones was with me.       So, we went through each one of the

   20   Class A companies, flow model and went through it line item

   21   by line item.     It was put up on the screen in the conference

   22   room when you first enter your offices.         We went through

   23   every one of them line item by line item to explain how we

   24   got to our plan of reorganization through the sale of this as

   25   well as three other portfolio companies to Jefferies with me




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    1   rolling over all my interests.

    2                    MR. BARRY:   Your Honor, if I could just have one

    3   moment.    Okay.     Just a couple more questions.

    4                  Mr. Reil, could we put up Zohar -- excuse me, PPAS

    5   3.

    6   BY MR. BARRY:

    7   Q        Ms. Tilton, who is Patriarch Partners Agency Services

    8   again?

    9   A        It’s the administrative agent for the or it was for the

   10   Zohar funds that are owned by me.        Right now the agent for my

   11   personal investment funds.

   12   Q        And this purports to be an invoice from Patriarch

   13   Partners Agency Services to Oasis that does not charge

   14   interest on the amendment eight.        Is that correct?

   15   A        No.   This was prior to amendment eight.      This is the 14

   16   million past due interest that was converted into one of the

   17   term loan equity kickers.        This is Zohar II’s portion of 14

   18   million.

   19                    MR. BARRY:   Mr. Reil, let’s go to PPMG 4.

   20   BY MR. BARRY:

   21   Q        Okay.    Again, what is this purporting to demonstrate,

   22   Ms. Tilton?

   23   A        Well this one is for a different fund.       I believe this

   24   is for Zohar I.       This would just be the current interest due

   25   on the revolver and the term loans, you know, after the




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    1   amendment was done the past due is gone, but there is no

    2   interest charged on the restructured facilities which I think

    3   were D&F or I don’t recall sitting here right now.

    4          What you see is that the past due is gone and there is

    5   no interest charged on those newly created term loan equity

    6   kickers.

    7   Q      And what is term loan C, what is that?

    8   A      I am not sure sitting here right now.         That is

    9   certainly not amendment eight, but it must have been an

   10   additional loan provided.

   11   Q      You don’t know what it is?

   12   A      No, not sitting here right now.

   13   Q      And you find that Patriarch Partners Agency Services

   14   records are typically correct and accurate?

   15   A      Yes.

   16                 MR. BARRY:   Your Honor, I don’t think I have any

   17   other further questions on cross.

   18                 THE COURT:   Thank you.

   19                 Before we go back to -- let me ask for the record

   20   is there any other party that wishes to cross-examine Ms.

   21   Tilton?

   22          (No verbal response)

   23                 THE COURT:   Okay.   Before I give Ms. Loseman the

   24   opportunity to have redirect I have one point of

   25   clarification, Ms. Tilton, and you can correct me if I’m




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    1   wrong.   I think your testimony was with respect to the MSA

    2   that you did not negotiate the agreement or currently, as you

    3   sit here today, know of any discussions that occurred between

    4   the company and Patriarch regarding the management services

    5   agreement.    Is that correct?

    6                THE WITNESS:    I said that I’ve seen an email of

    7   John Herrington who was the executive director and John

    8   Kuckerik talking about the terms, but I don’t know of any

    9   negotiation between the two of them or nor was I involved in

   10   any negotiation on the term.

   11                THE COURT:    Okay.    So, then for my information how

   12   did you come to form the basis of your understanding

   13   regarding the MSA?

   14                THE WITNESS:    Well, I was involved when the

   15   lawyers put together the form of the MSA and it involved in

   16   the fee schedule charge, both the transaction fee and the

   17   monthly fee based on whether or not revenues were a certain

   18   amount or whether they were positive EBITDA.

   19                So, in the form I was involved with Jennifer

   20   Gaines [phonetic] and Jones Day in putting the form together.

   21   I just didn’t negotiate any of the terms of this agreement

   22   with Oasis, but I was very involved in the putting together

   23   of the form document as well as understanding what other

   24   private equity funds charged versus what we’re charging for

   25   the services we’re providing and whether it was market or




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    1   below market.

    2                So, in the form I was very involved.         In the

    3   negotiations between the company that was done by other

    4   Patriarch and PPMG people, whether it was the lawyers or the

    5   executive directors, the platform leaders, I didn’t negotiate

    6   directly on their fee schedule, but I was very involved in

    7   the form document and the initial charges, the fees and the

    8   monthly fees that would be charged.

    9                THE COURT:    Okay.    So just to close the loop, so

   10   in the form document that you helped put together was the

   11   provision that is the subject provisions, I guess, the

   12   definition of liquidity event and the proviso paragraph that

   13   we’re focused on as well as annex A, was that all part of the

   14   form?

   15                THE WITNESS:    Yes, it was.

   16                THE COURT:     Okay.   Thank you very much.

   17                Ms. Loseman?

   18                MS. LOSEMAN:    Yes.    Just briefly.    Thank you, Your

   19   Honor.

   20                           REDIRECT EXAMINATION

   21   BY MS. LOSEMAN:

   22   Q        Ms. Tilton, you were asked on cross examination several

   23   questions about value creation and the relation of PPMG’s

   24   transaction fee to value creation.        Do you recall those

   25   questions generally?




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                                                                          53


    1   A        Yes.

    2   Q        Now in those cases where a portfolio company became

    3   (indiscernible), it wound down, or ceased to operate, or

    4   filed for bankruptcy has PPMG received a transaction fee in

    5   those cases?

    6   A        No.    They have never taken a fee in those cases.

    7   Q        And in those cases or those circumstances has PPMG

    8   recouped any past due or accrued management fees?

    9   A        No, we have not.

   10                   MS. LOSEMAN:     I have no further questions, Your

   11   Honor.

   12                   THE COURT:     Okay.   Thank you.

   13                   Mr. Barry?

   14                   MR. BARRY:     I’m sorry, Your Honor.   I do have one

   15   -- literally one question on redirect.

   16                   THE COURT:     That’s fine.   Please go ahead.

   17                   MR. BARRY:     Thank you.

   18                                RECROSS EXAMINATION

   19   BY MR. BARRY:

   20   Q        Ms. Tilton, isn’t it the case that in the Dura

   21   bankruptcy you filed a claim for your 5 percent transaction

   22   fee?

   23   A        I don’t believe that’s the case, no.

   24   Q        You didn’t file a proof of claim asking the court to

   25   allow a transaction fee or, at least, reserving your right to




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    1   seek a transaction fee?

    2   A      No.   Not that I am aware of, no.

    3                MR. BARRY:     Nothing further, Your Honor.

    4                THE COURT:     Okay.     Ms. Tilton, thank you so much

    5   for your time and energy today.          I appreciate you taking the

    6   time out of your schedule to testify today.          It was very

    7   helpful.     You can consider yourself released from our virtual

    8   witness box.

    9                Thank you.

   10                THE WITNESS:    Thank you very much.      I appreciate

   11   you listening to me.       Bye-bye.

   12                THE COURT:     Bye.

   13          (Witness excused)

   14                THE COURT:     Okay.     Before we go into oral argument

   15   could we please take a ten minute break?          Is that okay with

   16   the parties?

   17                Okay.    So, we will be back at twenty of twelve.

   18   Thank you.

   19                COUNSEL:     Thank you, Your Honor.

   20          (Recess taken at 11:31 a.m.)

   21          (Proceedings resumed at 11:40 a.m.)

   22                 THE COURT:    Okay, everyone, this is Judge Owens.

   23   If you're all available, we're back on the record and it

   24   looks like everybody is on that needs to be on.

   25                 Okay.   So, why don't we go into closings.




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    1                Mr. Barry?     Or did you make a decision on who was

    2   going first since it was cross-motions?

    3                MR. BARRY:    Do you mind, Monica?

    4                MS. LOSEMAN:     No, not at all.     Go ahead.

    5                MR. BARRY:    Thank you.    I guess that's the one

    6   thing we didn't talk about before now, but thank you,

    7   Ms. Loseman.

    8                Your Honor, we think that the Court's analysis

    9   here involves three steps and, again, at the crux of this is

   10   the Court's interpretation of 3(c)(2)(d) of the management

   11   services agreement and I think there's three steps here for

   12   the Court.

   13                First, both parties argue that there's only one

   14   reasonable reading of the agreement; of course, each side is

   15   advocating that their reading is the only reasonable reading.

   16   And if the Court determines that one of the party is correct

   17   as to the reasonableness of their reading versus the

   18   unreasonableness of the other's, the Court's inquiry ends

   19   there.

   20                If, however, the Court decides that the provision

   21   is susceptible to more than one reading, then the Court can

   22   consider parol evidence and, again, we submit that the

   23   evidence that we've adduced, on balance, supports our

   24   reading.

   25                But I think importantly, Your Honor, if the Court




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    1   is still not convinced by the extraneous evidence that's

    2   submitted, the Court has to resort to the doctrine of contra

    3   proferentem.    Under that doctrine where one party drafts the

    4   agreement, it would be construed against that party, and I

    5   think here, there's no debate as to who drafted the

    6   particular agreement in question, and that's PPMG.

    7                So, Your Honor, we think those are the three steps

    8   the Court must take to analyze this.         Again, reviewing the

    9   plain language and determining if one party has a superior

   10   reading of the language, determining whether or not the parol

   11   evidence resolves any ambiguities, and if not, the Court

   12   must, under New York law, construe the agreement against the

   13   drafting party.

   14                And I will note, Your Honor, that PPMG actually

   15   cites to the Italian Designers case, which stands for the

   16   proposition that we cite in our papers on contra proferentem.

   17   It actually has a quote that says in instances where there's

   18   an ambiguity, not that the Court may, but that it's a matter

   19   of law and the Court must construe the agreement against the

   20   drafting party.

   21                So, here, Your Honor, the parties agree that the

   22   term "change of control" as stated in the agreement is not

   23   defined anywhere in the MSA or in the annex thereto, but

   24   notwithstanding, we would submit that the agreement is

   25   nonetheless clear on its face.




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    1                We think that it's fairly clear that change of

    2   control, as used in the agreement must be read to mean

    3   liquidity event and it must be a qualifying liquidity event

    4   and the qualification being, that it must have paid off all

    5   of Oasis' debt, which here, as all parties agree, the

    6   Culligan deal did not, subject to Ms. Tilton's argument that

    7   the Tranche 8 was equity.

    8                And we think it's clear for a few reasons.          First,

    9   the term change in control, change of control is used in the

   10   definition of liquidity event, itself.         It's reasonable, Your

   11   Honor, to conclude that provisions in the definition are

   12   intended to refer to the term being defined, rather than as

   13   PPMG urges, an unrelated provision in an annex, that's

   14   actually not the same provision.

   15                Second, the provision seeks to place a further

   16   limitation on which of the three enumerated events under

   17   liquidity event will "qualify as something."

   18                So, the usage of the phrase in each case, Your

   19   Honor, in 3(c)(2)(d), we think that that suggests that the

   20   thing being qualified for here is the "liquidity event."

   21   It's been defined by reference to the three events, X, Y, and

   22   Z, in the first sentence of 3(c).

   23                The definition of liquidity event, itself, is used

   24   only for one purpose in the MSA and that's to define whether

   25   PPMG is entitled to the management agreement.




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    1                 And the term "qualifying," we think, Your Honor,

    2   is key to that purpose.      It plainly establishes what type of

    3   liquidity event qualified for the payment.          And I don't think

    4   PPMG in its papers has addressed the word "qualifying" in

    5   3(c)(2)(d).

    6                 Next, Your Honor, we think that 3(c) defines when

    7   the transaction fee would be payable, so it would be logical

    8   that 3(c)(2)(d) would put a further limitation on when it

    9   becomes payable, rather than it has anything to do with Annex

   10   A, which discuss when and how the standard of conduct is

   11   applied and who gets indemnification and when.

   12                 Finally, Your Honor, we think that under our

   13   reading, that the use of the term "change in control" under

   14   Annex A is not disturbed.       You don't have to reconcile change

   15   in control with change of control, and so, that, again,

   16   supports the debtors' reading that the Court can and should,

   17   on the face of it, conclude that change of control in

   18   3(c)(2)(d) means liquidity event.

   19                 Your Honor, turning to PPMG's arguments, their

   20   first argument is, and I think Ms. Tilton's testimony bore

   21   this out a little bit, they argued that:

   22                 "The transaction fee is based on a transactionally

   23   defined eligible equity value, that it's fundamentally tied

   24   to the company's sale price."

   25                 So, they focused on the fact that the transaction




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    1   fee should be tied to its equity value.

    2                Absent the transaction clearing the debt, there is

    3   no equity value, so why use the term equity value if the

    4   transaction fee is triggered whether there's equity value or

    5   not?   I think Ms. Tilton's testimony today supports that.

    6   She, I think, testified that the transaction fee was due, in

    7   part, to reward PPMG for enhancing value.

    8                Second, Your Honor, PPMG argues that the term

    9   "change of control" at the end of 3(c)(2)(d) "must be

   10   honored."     Your Honor, we don't understand that because the

   11   parties have agreed that that's actually not a defined term,

   12   so there's nothing really to honor there since it's not

   13   really defined.

   14                And I think PPMG goes on to posit that the use of

   15   the phrase "without regard to liabilities" in an inapplicable

   16   provision, the definition of liquidity event somehow negates

   17   the debtors' argument there.

   18                I think I understand the argument, Your Honor.            I

   19   think it's how can it be a requirement that a transaction

   20   fee -- how could it be a requirement to earn the transaction

   21   fee to pay off Oasis' debt if a liquidity event is "without

   22   regard to liabilities."      I think that's the argument they're

   23   making and this argument, I think, actually supports the

   24   debtors.

   25                So, the "without regard to liability" language is




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    1   only in subsection X of the definition of liquidity event,

    2   which is an asset sale -- that's one of the three liquidity

    3   events, but it's only an asset sale.         So, if that language,

    4   if we disregard liabilities for purposes of a liquidity

    5   event, it's only a sale event, we only disregard it as to an

    6   asset sale, because that's the only place that that language

    7   appears.

    8                So, the absence of that language in connection

    9   with a stock sale, which the Culligan deal was, suggests that

   10   we can and should consider liabilities.

   11                I also think and, again, I think Ms. Tilton's

   12   testimony relating to the phantom equity agreement, puts a

   13   real fine point on this next point, Your Honor, which is the

   14   "without regard to liabilities" phrase has nothing to do with

   15   the proviso at the end of 3(c)(2)(d).         It's really clarifying

   16   an asset sale.

   17                When an asset sale constitutes a liquidity event,

   18   it has to be 80 percent of the sale, without regard to

   19   whether the buyer is assuming or leaving behind liabilities.

   20   That's exactly how Ms. Tilton interpreted that provision in

   21   the phantom equity agreement.

   22                Candidly, that's exactly how I wrote it in my

   23   notes in preparing for this hearing and I think that's what

   24   it means.    It doesn't having anything to do with a

   25   "qualifying liquidity event" for purposes of triggering the




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    1   fee.

    2                And, finally, Your Honor, I think we asked

    3   Ms. Tilton on cross how to reconcile the "without regard to

    4   liabilities" phrase.      It's irreconcilable with the latter

    5   portion of the phantom equity agreement which says you have

    6   to clear the debt in order to have a qualifying change of

    7   control.

    8                It's virtually the same language that's in

    9   3(c)(2)(d) of the MSA and the two can't really coexist.            So,

   10   the argument that without regard to liabilities means you

   11   disregard whether the company had liabilities for all

   12   transactions just simply doesn't hold water.

   13                Lastly, Your Honor, the PPMG hasn't, I don't think

   14   they've explained how 3(c)(2)(d) relates to the

   15   indemnification provisions.       Ms. Tilton was asked on cross-

   16   examination to kind of connect the dots on that.           I think she

   17   failed to do so.

   18                Once more, Your Honor, why put that provision in

   19   Section 3 relating to a liquidity event and a transaction fee

   20   when there's an entire section entitled, "Indemnification,"

   21   that that could have been put into.

   22                And then Ms. Tilton, I think, testified that under

   23   her view, change in control should be read as change of

   24   control; the two are interchangeable with respect to the

   25   annex.   But we think that that's not possibly the case and




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    1   here's why, first, again, they're not the same phrase.

    2   Change of control says change of control.         Change in control

    3   says change in control.      They're not the same.

    4                Second, Annex A of paragraph 9 which defines

    5   change in control expressly says it's only so defined "for

    6   purposes of this annex."      Even Ms. Tilton testified her

    7   understanding of that was that that only meant as to Annex A,

    8   not to the MSA, itself.

    9                So, lastly, what does Annex A do?        Annex A relates

   10   to the determination of whether a covered person is entitled

   11   to indemnification.      So, Section 2 says that there has to be

   12   a determination by either the Board or independent counsel as

   13   to whether the standard of conduct to receive indemnification

   14   has been met and then it says three things.

   15                It says, one, if there's not been a change in

   16   control on the Board's side; two if there's been a change in

   17   control, the independent counsel decides unless; three,

   18   there's not been a change in control and the covered person

   19   wants the Board to decide.       That has absolutely nothing to do

   20   with whether and how the debtor is cleared, whether and how

   21   there's a liquidity event, and whether and how PPMG gets paid

   22   its fee.

   23                So, Your Honor, for all those reasons, we think

   24   the Court can and should read on the face of it that change

   25   of control is actually meant to be a liquidity event in




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    1   3(c)(2)(d), and before I move on, Your Honor to, the next

    2   argument, which relates to parol evidence, I wanted to pause

    3   and see if Your Honor had any questions.

    4                 THE COURT:   I do not.    Thank you, though.

    5                 MR. BARRY:   Okay.   Thank you.

    6                 So, as I said, Your Honor, if the Court determines

    7   that there's more than one -- that the agreement is

    8   susceptible to more than one reading, the Court can consider

    9   extraneous evidence to resolve that difference.           The evidence

   10   that's been adduced thus far is as follows:          first, there's

   11   the Company C flow-of-funds model.        This was an illustrative

   12   portfolio company transaction where the Zohar Funds were not

   13   getting paid in full, despite what PPMG says in its brief.

   14   The flow-of-funds model clearly shows PPMG not getting paid

   15   at closing.    It's listed below the proceeds deficit line,

   16   which means it wasn't getting paid.        And I think as

   17   Ms. Tilton testified, this was a model that PPMG just kind of

   18   had laying around, and as such, it was the default model, so

   19   we think that that militate in favor of the debtors' reading.

   20                 Ms. Tilton asked the Court to consider

   21   Ms. Tilton's later July 2019 model as more demonstrative as

   22   to how a transaction might work.        Your Honor, as Ms. Tilton

   23   testified, that model was drafted and prepared in relation to

   24   her attempt to acquire the company that's the subject of the

   25   model in the summer of 2019.       So, it would behoove her to




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    1   increase the amount that she is owed as part of that model,

    2   because it would be an offset or a deduct on her purchase

    3   price.

    4                So, if she's making a play for that company, it

    5   would behoove her to go into the company and slant the model

    6   and say, You owe me X millions of dollars and as a part of

    7   the consideration, I'm going to give you, as a part of that

    8   deal, I'm going to forgive or offset what you owe me.

    9                So, we think, Your Honor, if we're doing the sort

   10   of battle of the flow of funds, it would seem the flow-of-

   11   funds model sitting around in February 2019, as Ms. Tilton

   12   was sort of on her way to the airport and just thrown it

   13   together, that seems to be, to me, to be more objective than

   14   something that she put together in the context of making a

   15   play to acquire the company.

   16                There's the phantom equity agreements, Your Honor.

   17   We think that Ms. Tilton's testimony, particularly as it

   18   relates to the use of the phrase "without regard to

   19   liabilities," she testified precisely as to the meaning of

   20   that.    We think that that virtually eliminates their argument

   21   as to the meaning of the term "without regard to liabilities"

   22   and we don't think there was a fair reconciliation of that

   23   argument that they make in their papers with the proviso at

   24   the end of Paragraph 5(b) of the phantom equity agreements

   25   which says the change of control has to clear the debt;




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    1   again, they're not identical, but they're virtually the same.

    2                So, we think on balance, Your Honor, if that's the

    3   parol evidence that the Court is considering, we think it

    4   overwhelmingly weighs in favor of the debtors.

    5                Lastly, Your Honor, is -- again, if Your Honor is

    6   not convinced by the parol evidence, we get to the doctrine

    7   of contra proferentem, which, again, both parties have cited

    8   to jurisprudential law in New York on this concept.           If the

    9   Court decides that both parties have a reading of the

   10   agreement that, to which it's acceptable, the Court must

   11   construe the agreement against PPMG.

   12                And I think here, Your Honor, the evidence is

   13   not -- it's uncontroverted.       PPMG and its lawyers at Jones

   14   Day prepared the agreement.       Ms. Tilton was the stole

   15   director -- excuse me -- sole manager of Oasis.           Counsel to

   16   PPMG characterized the agreement as a "fairly standard

   17   agreements used across all PCs."

   18                We think, Your Honor, that alone is sufficient to

   19   construe the document against PPMG and, in fact, the fact

   20   that they drafted it alone is sufficient to construe it

   21   against them.    In addition to that, we think the evidence

   22   demonstrated that the management of Oasis could not have

   23   negotiated this.

   24                The authority matrix that Ms. Tilton testified to,

   25   only she could have approved a transaction of this variety




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    1   and of this type, and as the manager, only she could approve

    2   this agreement.     So, that, again, we think that the disparity

    3   and the ability to negotiate that agreement should be weighed

    4   against PPMG and we think, Your Honor, under the doctrine of

    5   contra proferentem, the Court and should construe that

    6   agreement against PPMG.

    7                So, Your Honor, let me pause there.         I'm going to

    8   get into the argument relating to whether the debt is equity

    9   or the equity is debt, but I wanted to pause to see if Your

   10   Honor had any questions.

   11                THE COURT:    I do not.

   12                MR. BARRY:    Okay.   So, Your Honor, the next

   13   argument relates to the Tranche 8 debt.         The argument is that

   14   even though the Zohars were owed some $81 million, over $20

   15   million of that was what is being called an "equity kicker"

   16   and because the Oasis deal with Culligan returned more than

   17   $61 million, even if you agree with the Zohar's reading of

   18   the MSA, the debt was cleared.

   19                So, their arguments start with the following:

   20                "The debtors failed to cite any probative

   21   evidence, nor any legal authority whatsoever regarding

   22   whether the parties intended the eighth amendment to create

   23   debt or equity, which is the relevant legal question."

   24                So, Your Honor, the reason that I think they start

   25   with the "no probative evidence of intent" is because the




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    1   parties' intent is unambiguously manifested and the only two

    2   documents the Court really needed to look at, which is the

    3   credit agreement and Amendment 8 to the credit agreement,

    4   both of which repeatedly and unambiguously characterized what

    5   Amendment 8 was, was debt.

    6                Even Ms. Tilton's own testimony, although she

    7   called it an equity kicker, she conceded, Your Honor, what

    8   that was, was accrued interest that was owed by Oasis to the

    9   Zohars.   That's debt.     The fact that it was put into a new

   10   amendment and recycled into that credit facility doesn't make

   11   it anything but debt and Ms. Tilton couldn't testify as to

   12   what an equity kicker was, where it could be found in the

   13   documents, where the OCI (indiscernible); those are all

   14   concepts that relate to the indenture, to which, again,

   15   Ms. Tilton testified, Oasis is not a party.

   16                So, Your Honor, setting aside what we think is a

   17   pretty clear and unambiguous decision for the judge, I'll,

   18   nonetheless, indulge in the SubMicron factors to, you know,

   19   sort of cover that up.      And PPMG's argument relating to

   20   SubMicron, the entirety of that is as follows:

   21                "As made clear from the available evidence and the

   22   economic reality of the surrounding circumstances, which are

   23   laid out in detail in PPMG's opening brief, that $20 million

   24   was, in fact, a capital contribution, resulting from a

   25   restructuring."




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    1                 That's the entirety of their argument on

    2   SubMicron, and rather than address all of the SubMicron

    3   factors, they take on two of them.        The Tranche 8 didn't

    4   carry interest and they, "absence of meaningful security for

    5   Tranche 8."

    6                 So, let me address those and then I'll move on to

    7   the rest of the SubMicron factors.        First, they're wrong.

    8   The Tranche 8 did carry interest.        Schedule A to the

    9   Amendment 8 lists an applicable margin of zero percent.

   10                 In Section 2.8 of the credit agreement, titled

   11   "Interest on Loans" provides that:

   12                 "Each loan that has bear interest on the unpaid

   13   principal amount thereof from the date made through repayment

   14   at a rate per annum, equal to LIBOR plus the applicable

   15   margin."

   16                 That's what the credit agreement says and

   17   Section 2.8(c) of the credit agreement says:

   18                 "Interest on loans shall be payable in arrears on

   19   the first day of each calendar month of, one, the first day

   20   of each calendar month; two, the date of any prepayment of

   21   the loans, whether voluntary or mandatory, to the extent

   22   accrued on the amount being repaid; and, three, the maturity

   23   date."

   24                 So, Your Honor, we think that the document,

   25   despite Ms. Tilton's testimony, the documents clearly and you




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    1   equivocally demonstrate that Amendment 8 accrued interest at

    2   LIBOR and there were -- it was payable under the agreement.

    3                 Now, she testified that they never paid it.         I

    4   don't -- I can't test that testimony, to be honest with you,

    5   but just because they didn't pay it doesn't mean it wasn't

    6   payable, and we think the documents are clear on their face

    7   that it was clearly payable.

    8                 Second, Your Honor, with respect to this concept

    9   that there was an absence of meaningful security, I asked

   10   Ms. Tilton in cross-examination if she believed the

   11   liabilities under Tranche 8 were secured by collateral, used

   12   for secured credit facilities, and she couldn't answer the

   13   question.    I think her response was, I can't say so sitting

   14   here today.

   15                 And under their -- their argument is a lack of

   16   meaningful security is a "strong indication that the advances

   17   were capital contributions."

   18                 Your Honor, there's been no argument thus far that

   19   these were not secured obligations.        2.1(c) of the credit

   20   agreement clearly says that these are secured obligations and

   21   not only was Tranche 8 secure, Your Honor, it was actually

   22   partially paid as secured indebtedness under the Oasis-

   23   Culligan transaction that Ms. Tilton, herself, negotiated.

   24   They were paid -- they were partially satisfied as secured

   25   indebtedness.




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    1                 So, we think, Your Honor, that the two SubMicron

    2   point that they make in their papers, we think that the

    3   overwhelming evidence demonstrates that those are not

    4   (indiscernible), but just so there's no lack of clarity, I'll

    5   run very quickly through the other SubMicron factors if I

    6   can.

    7                 Number one, the name given to the instrument,

    8   Amendment 8 clearly and repeatedly identifies as debt.

    9   Various other documents identified as debt.          Oasis in its own

   10   financial records identified as debt, which the SubMicron

   11   Court found to be very persuasive as to how a borrower

   12   carries a liability on its books as being very persuasive as

   13   to whether it's debt or equity.

   14                 Other documents, Your Honor --

   15                 THE COURT:   Mr. Barry, let me interrupt you.

   16                 Where in the evidence is the evidence that Oasis

   17   treated it as debt?      Is that part of the evidentiary record?

   18                 MR. BARRY:   It is, Your Honor.      It's the

   19   disclosure schedules to the equity purchase agreement

   20   contains the consolidated balance sheet and other financial

   21   statements.    I can give you pinpoint cites to those

   22   particular references.      They're also in our papers, but Oasis

   23   carried approximately $81 million of long-term debt which

   24   would have included, and did include the twenty-million-

   25   dollar Tranche 8.




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    1                THE COURT:    Okay.   Thank you.

    2                MR. BARRY:    You're welcome.

    3                And, again, the payoff letter that is also in

    4   evidence, Your Honor, and Ms. Tilton herself signed, includes

    5   the $20 million of debt as indebtedness being repaid.

    6                Two, Your Honor, under SubMicron, the intent of

    7   the parties, we think it's clearly manifested in the

    8   documents and the actions of the parties.         It's called debt.

    9   It's treated as debt.      And, again, it was paid as debt in the

   10   Culligan transaction, at least in part, that Ms. Tilton

   11   negotiated herself.

   12                Third, Your Honor, the presence of a fixed

   13   maturity, I don't think the parties disagree this had a fixed

   14   maturity.    I think Ms. Loseman asked Ms. Tilton the question

   15   on direct examination, Does equity have a fixed maturity?

   16                And she said, Sure, preferred equity often has a

   17   maturity date.

   18                But she didn't testify that this was preferred

   19   equity; she testified that this was something called an

   20   equity kicker.     I don't -- frankly, I'm not going to try to

   21   explain what I think an equity kicker is -- but Ms. Tilton

   22   didn't testify that an equity kicker does or doesn't have a

   23   maturity date.

   24                Fourth, Your Honor, the right to enforce a payment

   25   of principal and interest.       I won't go through it again, Your




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    1   Honor, but I just mentioned Section 2.8(a) and 2.8(c) of the

    2   credit agreement, along with 2.1(c) of the credit agreement,

    3   addressed interest in the apportionment of payment.

    4                Five, presence or absence of voting rights.          I

    5   don't think there's any dispute that there were none granted

    6   in the eighth amendment.

    7                Six, the status of contribution in relation to

    8   regular corporate contributors.        Tranche 8 was a secured

    9   obligation and it was paid as such.        As such, it was senior

   10   to all the way through these other "corporate contributors."

   11                And, finally, a certainty of repayment in the

   12   event of an insolvency or liquidation.         Again, we were a

   13   secured creditor, including as to Tranche 8, which doesn't

   14   tie us to the fortunes of the equity of Oasis.

   15                So, Your Honor, on balance -- not even on

   16   balance -- in total, the SubMicron factors weigh heavily in

   17   favor of a conclusion that this was debt and not equity.

   18                And, Your Honor, with that, let me pause and see

   19   if Your Honor has any questions.

   20                THE COURT:     No, I don't have any questions.       Thank

   21   you.

   22                MR. BARRY:     Okay.   Thank you, Your Honor.

   23                THE COURT:     Go ahead, Ms. Loseman.

   24                MS. LOSEMAN:     Your Honor, can you hear me?

   25                THE COURT:    I can.




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    1                MS. LOSEMAN:     Great.   Thank you.

    2                For two reasons Your Honor should deny the

    3   debtors' motion and grant PPMG's motion and rule that the

    4   transaction fee was properly paid to PPMG.          First, the

    5   management services agreement makes clear that PPMG is owed a

    6   transaction fee based upon the occurrence of a liquidity

    7   event and the definition of a liquidity event is not

    8   dependent on satisfaction Oasis' outstanding debt.

    9                I'll walk through and address the contract's

   10   language and the debtors', frankly, attempt to rewrite the

   11   contract here.     I will also address the parol evidence that

   12   debtors rely on, in effect, to amend an agreement that they

   13   are not even a party to.      Lastly, I address the hypothetical

   14   scenario where debtors' interpretation of the agreement

   15   prevails.    The transaction here, in any event, covered Oasis'

   16   outstanding debt because the restructured facility under

   17   Amendment 8, is not debt under the applicable case law.

   18                So -- and, Your Honor, I am going to use

   19   demonstrative slides just to aid in the argument.           If it

   20   becomes distracting, just let me know.         The demonstratives

   21   are merely cut-and-paste language from the MSA itself.

   22                And, Mr. Faraj, if you'd share your screen, let's

   23   go to Slide 2 of the demonstrative.        Thank you.

   24                Now, Your Honor, this is the definition of

   25   "transaction fee" from Section 3(c)(i) of the management




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    1   services agreement and it sets forth the framework for

    2   determining PPMG's transaction fee and it involves two fairly

    3   straightforward steps.      First, do we have a liquidity event

    4   and, second, if we do, what is the amount of the transaction

    5   fee?

    6                 Let's turn to the next slide.

    7                 So, as to step one, under Section 3(c)(2)(d),

    8   liquidity event means one of three things:          a sale of Oasis'

    9   assets, a sale of the company's equity, or a merger of the

   10   company with a subsidiary or another company.

   11                 The Oasis transaction here involved the sale of

   12   all of the company's stock, qualifying as a liquidity event

   13   under Paragraph Y of the definition of liquidity event.

   14                 So, then we go to step two, and let's move to the

   15   next slide.    So, how is the transaction fee calculated?

   16                 The transaction fee is calculated as a percentage,

   17   a defined term, eligible equity value.         Now, eligible equity

   18   value is total equity value, another defined term, which is

   19   defined essentially to include consideration for the

   20   transaction.    So, cash plus the fair value of any other

   21   consideration provided, and in the case of an asset sale,

   22   also minus any debt assumed by the purchaser.

   23                 And then that total equity value, from that, we

   24   deduct any management proceeds, which are proceeds that would

   25   flow to management on account of any equity security interest




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    1   held by those members of management.

    2                And the transaction fee for the Oasis' transaction

    3   was calculated in accordance with this definition of the

    4   amount paid, in connection with the closing of the

    5   transaction.    This is the result of a plain reading of the

    6   management services agreement.

    7                And debtors essentially seek to amend or rewrite

    8   the agreement, itself, as non-parties, and this is an

    9   important point to keep in mind, Your Honor:          Debtors are not

   10   a party to this agreement.       Only PPMG and Oasis, the company,

   11   are parties to this agreement.       Debtors, as non-parties, seek

   12   to change the contract terms by asking the Court to

   13   substitute the terms in the contract.

   14                And if we go back to Slide 3, the debtors'

   15   argument is, essentially, that the last clause in this

   16   paragraph defining liquidity event was meant to change the

   17   entire structure and meaning of transaction fee under the

   18   agreement.

   19                Debtors suggest that that last dangling sort of

   20   clause of the definition of liquidity event was meant to

   21   exclude the (c) entirely where the event, the qualifying

   22   event is not clear, all outstanding debt.

   23                Now, in order to get there, debtor asked this

   24   Court to essentially strike the term "change of control" and

   25   essentially replace it with a very different term, the term




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    1   "liquidity event."     But the plain meaning of Section

    2   3(c)(2)(d) will not bear a reading of two distinct terms:

    3   liquidity event and change of control as synonyms,

    4   particularly where those two distinct terms are used within

    5   the very same clause.

    6                 Now, had that been the parties' intent, Oasis and

    7   PPMG's intent, they could have simply accomplished it by

    8   using the term liquidity event, where instead, they used the

    9   term -- a very different term -- change of control.

   10                 The management services agreement's extensive use

   11   of defined terms -- and I'm quoting here from Somterra

   12   (phonetic), a Southern District of New York case from August

   13   2019:

   14                 The extensive use of defined terms demonstrates

   15   that its drafters were perfectly capable of using such terms

   16   when they wished to do so.

   17                 Their decision here, PPMG and Oasis' decision not

   18   to use the term liquidity event in that final clause cannot

   19   be ignored.    Reading the clause, as the debtors urge, also

   20   renders other portions of the contract, essentially, a

   21   contradiction.

   22                 For example, in the case of an asset sale under

   23   the definition of transaction fee within the MSA, the

   24   transaction fee is a certain percentage of the eligible

   25   equity value.    If the purchaser assumes any funded




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    1   indebtedness or long-term liabilities as part of the

    2   transaction, the face amount of those liabilities are

    3   deducted from the consideration in calculating PPMG's

    4   transaction fee.

    5                If liquidity event, though, was designed to

    6   exclude any transaction where the price did not clear the

    7   debt, the carve-out for assumed debt in an asset sale, that

    8   carve-out in the definition of eligible equity value would be

    9   rendered superfluous.

   10                The debtors' proposed reading also results in an

   11   irreconcilable conflict within the definition.          If a

   12   transaction -- if a liquidity event is defined to include

   13   transactions, or in the case of asset sales, must clear

   14   outstanding debts qualifies as a liquidity event, it would

   15   render the earlier language about an asset sale completely

   16   contradictory where it says that it qualifies as an asset

   17   sale under Paragraph X there without regard to liabilities.

   18                Now, as a rule of contract construction under New

   19   York law, the MSA must be enforced according to its terms and

   20   construed so as to give full meaning and effect to all of its

   21   provisions, and that's a quote from the Mets (phonetic) case,

   22   Eastern District of New York, 1999.

   23                That -- debtors' interpretation here would render

   24   the very definition of transaction fee internally

   25   inconsistent and in conflict.




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    1                 So, let me address the change of control language.

    2   What is that change of control term about?

    3                 And let's move to demonstrative Slide 5.

    4                 The management services agreement includes various

    5   broad indemnification provisions in Section 7 of the

    6   agreement, including indemnification for PPMG, for other

    7   Patriarch entities, and certain covered persons.

    8                 Now, Section 7 expressly incorporated MSA into the

    9   management services agreement, itself, and it sets forth a

   10   process where a covered person, as that term is defined in

   11   that agreement in Section 7, to seek a determination

   12   regarding the standard of conduct in particular

   13   circumstances.     Now, whether that standard of conduct review

   14   is conducted by the company's Board or is, instead, conducted

   15   by independent counsel, largely depends on whether a

   16   qualifying change of control has occurred.

   17                 And that term, "change of control," is defined in

   18   Annex A to include a stock sale, consolidation, or

   19   insolvency.

   20                 The effect of the term "change in control" -- I'm

   21   sorry -- "change of control" is essentially given certain

   22   conditions, a conduct or coverage determination to

   23   independent counsel.      But where a change in control has not

   24   occurred, the coverage determination stays with the company's

   25   Board.




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    1                Now, while Section 3(c) -- that's the section on

    2   the transaction fee -- uses the term "change of control" very

    3   closely -- nearly the same as "change in control" -- a

    4   reading of the use of that term to further define change of

    5   control for purposes of Annex A or purposes of the

    6   indemnification determination process, it leads to an

    7   entirely more rational result than the contrary reading

    8   proposed to the Court by debtors.

    9                The use of the term there in Section 3 to further

   10   distinguish a liquidity event from a change of or in control

   11   event makes clear that only certain liquidity events are

   12   considered change of control events.         If anything, the change

   13   of control language in Section 3 can be more thoroughly read

   14   to further limit those liquidity events that qualify as

   15   change of control events to only those events where the

   16   transaction clears all of the company's outstanding debts.

   17                Under that internally consistent reading, the

   18   decision regarding standard of conduct or coverage issues

   19   related to the indemnification coverage will, in more cases,

   20   rest with the Board than be committed to independent counsel.

   21                Now, the choice of the parties to the management

   22   services agreement to use the term change of control at the

   23   end of Section 3(c)(2)(d), rather than the term liquidity

   24   event, must be honored, and this much more straightforward

   25   interpretation of the agreement does just that.




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    1                And we can take that document down now.         Thank

    2   you, Mr. Faraj.

    3                Let me turn next to the debtors' argument that the

    4   management services agreement must be construed against PPMG

    5   as the drafter of the document.        There's no --

    6                THE COURT:    Before you move on to that topic, let

    7   me -- let's revisit -- I think you had said that the debtors'

    8   interpretation affects or creates an absurdity in the reading

    9   with respect to items.      The first was the language without

   10   regard -- this is the second one -- "without regard to

   11   liabilities" as detailed in (c)(2)(d)(x).

   12                What was the first one?      Something to do with the

   13   total equity value calculation, I believe.

   14                MS. LOSEMAN:     So, it's both, in terms of whether

   15   an event qualifies as a liquidity event under the definition

   16   of an asset sale under that section, so under Paragraph X.

   17                If the change of control language was really meant

   18   to read liquidity event at the end of Paragraph D, it would

   19   render that "without regard to liabilities" parenthetical

   20   meaningless.    It would have no meaning in terms of defining a

   21   liquidity event.

   22                But if it's also -- if change of control is also

   23   really meant to be liquidity event at the end of Paragraph B,

   24   it would also render meaningless the calculation of the

   25   transaction fee in the case of an asset sale, where in the




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    1   case of an asset sale, where the purchaser assumes some

    2   liability, the face amount of that liability or that debt is

    3   to be deducted from the total equity value in calculating the

    4   transaction fee.

    5                So, those are the two instances in which, you

    6   know, re-reading "change of control" to mean liquidity event,

    7   renders the transaction fee, itself, internally inconsistent.

    8                THE COURT:    Okay.    I'll have to take a look at

    9   that definition again, then.        Thank you.

   10                MS. LOSEMAN:     Sure.

   11                THE COURT:    And then let me ask you one more

   12   question before we move on to another topic, which is -- I

   13   don't think this was addressed by the parties, but you can

   14   address it and then Mr. Barry can address it -- but what do

   15   we mean or what do we take from the provision that starts --

   16   it's C(2) and it starts with, "For purposes of this

   17   Section 3(c) ..."

   18                So, isn't that section limited to just that part

   19   of the management services agreement by its own terms?            It

   20   says for purposes of this Section 3(c), so by definition,

   21   would it mean that we wouldn't look to this section and apply

   22   it to any other section, including Annex A?

   23                MS. LOSEMAN:     Sure.   But that doesn't preclude a

   24   reading, an internally consistent reading of the entire

   25   document to read change of control to be consistent with how




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    1   it is defined in Annex A.

    2                So, the mere fact that we're saying for purposes

    3   of this Section 3(c), for purposes of calculating the

    4   transaction fee, we're using terms that are defined elsewhere

    5   in the agreement.     It doesn't mean that the parties meant to

    6   redefine liquidity event by using the words change of control

    7   there.

    8                THE COURT:    But I believe, if I'm understanding

    9   your argument correctly -- and I want to make sure that I

   10   am -- aren't you arguing that the proviso, provided however,

   11   does not apply to anything in this Section 3(c); it goes to

   12   Annex A.

   13                MS. LOSEMAN:     I'm sorry, the "provided however" at

   14   the end of --

   15                THE COURT:    Right.     So, the proviso, is it your

   16   position that that proviso -- I guess I would ask you, how

   17   does that proviso affect or how is it incorporated or how

   18   does it address anything in 3(c)?

   19                MS. LOSEMAN:     It doesn't, Your Honor.

   20                THE COURT:    Okay.

   21                MS. LOSEMAN:     I mean, your internally consistent

   22   reading -- I think I understand your question, so thank you

   23   for asking that --

   24                THE COURT:    Okay.

   25                MS. LOSEMAN:     Yeah.   It doesn't.    It doesn't




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    1   define.   It doesn't rewrite the term liquidity event and it

    2   doesn't impact how the transaction fee is calculated.

    3                Now, how that can be reconciled with, you know,

    4   for purposes of this Section 3(c), I don't know, frankly,

    5   Your Honor, but I can tell you that re-reading change of

    6   control to mean liquidity event renders Section 3(c)

    7   internally inconsistent.

    8                So, that's the issue and that's why the preferred

    9   reading would be that change of control, as you

   10   (indiscernible) there, is meant to further define or inform

   11   the scope of coverage determinations under Annex A.

   12                THE COURT:    Okay.   Thank you.

   13                It sounds like there were -- I mean, listen, the

   14   parties agree, and in Ms. Tilton's testimony, she agreed

   15   there was a mistake.      There's a scrivener's error of some

   16   sort in this document and it sounds to me that the

   17   scrivener's error, from your perspective, there's a couple

   18   scrivener's errors.

   19                And because change in control -- your reading, I

   20   just want to be clear that I understand your position, which

   21   is change of control in the proviso, should mean change in

   22   control, but I would also have to rewrite Annex A, because it

   23   uses the phrase "change of control" consistently through

   24   Annex A and that is not defined either.

   25                So, it really is I have to correct the errors of




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    1   the use of the word "change of control" throughout the entire

    2   document, is that your position --

    3                 MS. LOSEMAN:    Yeah, and --

    4                 THE COURT:     -- to "change in control."

    5                 MS. LOSEMAN:    That is correct.

    6                 And our position, Your Honor, is that that is

    7   much, much less of a stretch than debtors' interpretation.

    8   We're changing essentially one word and in changing that one

    9   word, you're rendering the entire agreement internally

   10   consistent.    The pieces, then, all work together.

   11                 THE COURT:   Okay.     Thank you.   I just want to

   12   connect the dots.     Okay.    Thank you so much.     I didn't mean

   13   to interrupt your presentation, but I think that's everything

   14   on that point.

   15                 MS. LOSEMAN:    Okay.    Great.

   16                 So, I'll move on the next point, Your Honor, which

   17   is debtors' contention that the agreement, the interpretation

   18   of the agreement should be construed against PPMG as the

   19   drafter here.    There is no cannon and the cited case law

   20   certainly does not support that construction of a contract

   21   against the drafter merely at the insistence of a non-party

   22   to the contract.

   23                 Now, the three cases cited by debtors for the

   24   proposition that the MSA should be construed against PPMG

   25   here are actually all insurance-contract disputes.           And the




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    1   case that Mr. Barry referred to in his argument, the Italian

    2   Designers case, is also an insurance-contract dispute.

    3                Debtors cite no case law outside the insurance

    4   context and those cases were also subject to the general

    5   rule -- each of those cases, including the Italian Designers

    6   case -- that ambiguities in an insurance policy are to be

    7   construed strictly against the insurer drafter.

    8                That really has no bearing here, and unlike here,

    9   the parties in those disputes were, of course, also parties

   10   to the insurance policy at issue.

   11                Now, debtors' last citation in their brief is

   12   actually to a dissenting opinion, which suggests that

   13   insurance policies are interpreted against the drafter

   14   because there is a disparity in the bargaining power between

   15   the insurance company and the insured or covered person.

   16                The debtors have presented no evidence as to the

   17   history of negotiations here or even the parties' relative

   18   bargaining power.     If anything, the only evidence on record,

   19   Your Honor, is Ms. Tilton's testimony and it shows that the

   20   portfolio companies and PPMG were on equal footing.           They

   21   were capable of negotiating the terms where they determined

   22   it was in their respective interests.

   23                The debtors urged the Court to infer from

   24   essentially a lack of evidence that there was no negotiation.

   25   Oasis' did not have counsel, but it is telling here, that




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    1   debtors did endeavor to present any rebuttal witnesses.            I

    2   think they mentioned at the last omnibus hearing that they

    3   may call rebuttal witnesses and they presented no such

    4   testimony here today, Your Honor.

    5                The absence of evidence is not the absence of

    6   negotiation or counsel's involvement by the company in

    7   negotiating the MSA.      Even so, debtors have not pointed to

    8   one case where a Court interpreted the contracts against the

    9   drafter in such a way as to render essential defined terms

   10   internally inconsistent and meaningless.

   11                Before I move on to that point, Your Honor, let me

   12   pause and see if you have any questions.

   13                THE COURT:    No, not yet.     Thank you.

   14                MS. LOSEMAN:     Thank you.

   15                Let me next address, then, the parol evidence.

   16   While it is our position that any ambiguity can be resolved

   17   within the four corners of the agreement, itself, even the

   18   parol evidence that debtors offer, supports PPMG's read of

   19   the contract terms here.      So, let me address all of the parol

   20   evidence.

   21                First, we have, of course, Ms. Tilton's testimony.

   22   The Court has heard from only one witness involved in the

   23   management services agreement or its execution, and that

   24   witness is Ms. Tilton.      Her unrebutted testimony makes clear

   25   she understood when signing the management services agreement




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    1   that a liquidity event was an asset sale, a stock sale, or a

    2   merger transaction, full stop; not contingent on satisfaction

    3   of all the company's debt or any of the company's debt.

    4                Let me turn now to the phantom equity agreement.

    5   The debtors rely on this agreement, an agreement between the

    6   company and its executives to suggest the definition of

    7   change of control should essentially be supplanted into the

    8   management services agreement despite the fact that, one,

    9   it's an entirely different agreement to which the debtors,

   10   again, are not a party; moreover, PPMG is not even a party to

   11   the phantom equity agreement.

   12                And even so, if it were appropriate to consider

   13   the use of the term in a phantom equity agreement or any

   14   other supposed contract using the term "change of" or "change

   15   in control," those contracts only support PPMG's point, that

   16   liquidity event means something entirely different.

   17                And I want to note here Ms. Tilton's testimony on

   18   that change of control definition in the phantom equity

   19   agreement.    I think Mr. Barry raised this in his argument and

   20   suggested that the change of control definition in the

   21   phantom equity agreement was also written in a way to require

   22   the transaction to clear all of the company's debt.

   23                That's simply not the case.       The definition of

   24   change in control in the phantom equity agreement is very

   25   different.    It is written in a way to make clear the phantom




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    1   equity payment is triggered only where the purchase price

    2   exceeds the Zohar debt or the Patriarch's debt -- not all of

    3   the company's debt.      It's written in a very different way and

    4   I believe Ms. Tilton explained that quite clearly on cross-

    5   examination.

    6                But even so, let me return to the case law, as the

    7   New York Court of Appeals held in the Quadrant Structured

    8   Products case.     If parties to a contract omit terms,

    9   particularly terms that are readily found in other similar

   10   contracts, the inescapable conclusion is that the parties

   11   intended the omission.      And that was a quote from the

   12   Quadrant case.

   13                And that is the reasonable conclusion here, that

   14   Oasis' and PPMG used liquidity event in Section 3 of the MSA

   15   because they meant something different.         They meant something

   16   other than change of control, as that term is defined

   17   elsewhere in the MSA and in other documents, including the

   18   phantom equity agreement.

   19                Let me address the flow-of-funds document.          The

   20   debtors next rely on a draft flow-of-funds model for the

   21   proposition that that Excel model shows what the parties

   22   really thought of the term liquidity event under the MSA.

   23                Not so.

   24                As you heard from Ms. Tilton, again, the only

   25   witness here today, the draft flow of funds, at Debtors'




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    1   Exhibit 13, attached to the February 14th, 2019, email, was

    2   not only an early rough cut at a flow of funds sent by

    3   Ms. Tilton in the midst of catching a plane, it was a flow-

    4   of-funds modeling cash flow, assuming a restructuring of a

    5   portfolio company's debt, not the sale of that portfolio

    6   company, not a sale of its assets, and not a merger.           So, in

    7   other words, that flow of funds did not model a liquidity

    8   event.   So, it's not surprising, perhaps, that it showed in

    9   the transaction fee.

   10                As Ms. Tilton explained in later flow-of-funds

   11   models that she provided to the debtors, flow of funds that

   12   actually modeled a qualifying liquidity event, the PPMG

   13   transaction fee was included in the model, and, again, as

   14   Ms. Tilton testified yearly today, the Oasis' flow-of-funds

   15   model did include the PPMG transaction fee.

   16                Your Honor, I'm going to move on to the equity

   17   versus debt argument, unless you have any questions on the

   18   contract interpretation?

   19                THE COURT:    No, I think you answered all of my

   20   questions.    Thank you.

   21                MS. LOSEMAN:     Thank you.

   22                All right.    So, let me, then turn Your Honor to

   23   the second point.     Even were it an agreement as debtors urge

   24   it to be read, PPMG is still entitled to the transaction fee

   25   because the Oasis equity sale covered the debt in full.            And




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    1   that is so because the twenty-million-dollar restructured

    2   facility is equity; it's not debt.

    3                 The MSA does not define the term "outstanding

    4   debt" for purposes of calculating the PPMG transaction fee,

    5   so this Court must, therefore, resolve the proper

    6   characterization of the instrument itself.          And what's

    7   important here, as the SubMicron factors, I think, show, is

    8   how the parties treated the investment, the facility.

    9   Labels, for example, are not so telling in terms of what the

   10   instrument actually is.

   11                 So, I do want to address, briefly, a procedural

   12   argument the debtors raised in their reply brief before I go

   13   into the substance of the argument.        They raised for the from

   14   time to time in their opposition that PPMG should have sought

   15   equitable relief in the form of an adversary proceeding to

   16   essentially recharacterize this debt.

   17                 Well, it was never debt to begin with.        It wasn't

   18   raised today by Mr. Barry, so I'll leave it at this.           It's

   19   simply, we believe Rule 7001 does not apply here.           We're not

   20   seeking equitable relief; we're simply seeking enforcement of

   21   a contract.

   22                 As to the merits, this Court must consider, of

   23   course, the nature of the restructured facility and whether

   24   its characteristics are more akin to equity, and, Your Honor,

   25   here, they are.     A key consideration -- and I think Mr. Barry




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    1   agrees with this point -- in determining the nature of the

    2   restructured facility is whether the holder expects to be

    3   repaid with interest, no matter what happens to the borrower,

    4   and that is simply not the case here.

    5                The restructured equity provided -- also provided

    6   for no interest and unsurprisingly, no applicable recurring

    7   interest payment date as we saw earlier in Ms. Tilton

    8   testimony, with reference to the schedule to Amendment 8

    9   there.

   10                Per the terms of the credit agreement, anything

   11   that meets the defined term "loan" bears interest, but here,

   12   the restructured facility never bore interest.          The express

   13   purpose of the eighth amendment was to restructure unpaid

   14   interest and commitment fees.

   15                And the uncontroverted evidence before the Court

   16   is that interest on these tranches was never paid and it was

   17   never accrued and that's reflected by the disclosure

   18   schedules to the sale agreement, itself.         The total

   19   receivable for the restructured facility was still 20.29

   20   million.    It's the same balance as when Amendment 8 was

   21   executed.    So, no interest accrued on that facility.

   22                Indeed, there's no evidence that debtors' own

   23   financial advisors ever made any attempt to collect any

   24   interest supposedly due on this restructured facility or

   25   otherwise treat it as debt.




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    1                The absence of a fixed-rate of interest and

    2   interest payments is a very strong indication that the

    3   investment was a capital contribution, rather than a loan,

    4   and that proposition can be found in the Friedman (phonetic)

    5   case, a decision from 2011 from this Court, as well as from

    6   the Sixth Circuit 2001 decision, cited in our papers, the

    7   VeriCore (phonetic) decision.

    8                And keep in mind, Your Honor, that's the same as

    9   how it was reported by the historical beneficial owner of the

   10   equity.   This restructured 20.2-million-dollar facility was

   11   reported by the (indiscernible), as you heard Ms. Tilton

   12   testify, as a capital contribution and not as debt.

   13                Moreover, the invoices that we displayed during

   14   Ms. Tilton's testimony made clear that interest was not

   15   billed to Oasis, following the restructuring and execution of

   16   Amendment 8.

   17                And, of course, as Ms. Tilton testified, it's not

   18   reported to the indenture trustee at debtor, either, and it

   19   was reflected in the trustee reports as debt.          She didn't --

   20   the collateral manager didn't report it in debt, in part,

   21   because it would have been wrong; it would have been a

   22   benefit to the collateral manager in determining the

   23   overcollateralization ratio or "OC" ratio, which determines

   24   what fees are paid to the collateral manager.          So, she didn't

   25   report it as debt because she didn't consider it as debt in




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    1   her position as the collateral manager, either.

    2                 And Oasis' accrued, unpaid interest was

    3   restructured so it would be subordinate to, and not mature

    4   before any of the funded debt by the Zohars or other lenders.

    5   The mere lifting of a maturity date does not change the fact

    6   that interest was not paid and that there was risk, given the

    7   repayment position of this particular facility coming at the

    8   end, essentially, of the lender waterfall if there was a

    9   transaction that occurred that did not reach down to that

   10   seventh level of repayment or it goes all the way down to

   11   this facility, there was risk that this $22 million would not

   12   be repaid and that characterization, that fact is more

   13   consistent with an equity interest instrument than a debt

   14   instrument.

   15                 Let me address, just briefly, the labels that have

   16   been affixed to this particular item.         Mr. Barry raised, for

   17   example, in his argument that in the disclosure schedules to

   18   the purchase and sale agreement, it was defined or included

   19   as indebtedness, but, of course, there was also an express

   20   reservation of rights and a reference to the dispute that is

   21   now before Your Honor in terms of how it should be

   22   characterized in interpreting the management services

   23   agreement and the PPMG transaction fee.

   24                 So, we posit that the way in which it was

   25   characterized is nullified by the reservation of rights in




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    1   the very same document, itself.

    2                 And, finally, let me just note for a moment,

    3   although I didn't hear Mr. Barry at least focus on it

    4   substantially during his argument, but it is addressed in the

    5   papers, the fact that this restructured facility is included

    6   in a category called "long-term debt, counter-related party"

    7   on the company's financial statements.

    8                 First, I'd note that that includes related party

    9   liabilities and does not necessarily purport to represent all

   10   instruments that are included that has category as debt.            But

   11   even if it did, you know, that (indiscernible) instrument is

   12   reported in accordance with generally accepted accounting

   13   principles, does not answer the legal question that this

   14   Court must answer, and we cite cases to this, in fact, in our

   15   briefing, that GAAP is not the definer of what is debt or

   16   what is equity; that is a determination for this Court to

   17   make.

   18                 And respectfully, we submit that all of the facts,

   19   all of the evidence that Your Honor has heard today in

   20   consideration of the SubMicron factors, all point to

   21   characterizing this restructured facility as equity and not

   22   debt.

   23                 I have nothing further unless you have questions,

   24   Your Honor.

   25                 THE COURT:   I do not have any questions.        Thank




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    1   you.

    2                 MS. LOSEMAN:    Thank you.

    3                 THE COURT:    Mr. Barry, they were cross-motions, so

    4   I don't know if I should give you the last word.           Did you

    5   have anything that you wanted to say?

    6                 MR. BARRY:     A couple of points, and, again, as we

    7   all say, I'll be brief.

    8                 But just to clarify, the don't believe that the

    9   reservation that was referred to a moment ago is actually in

   10   the consolidated financial agreements.         I think what

   11   Ms. Loseman was referring to, Your Honor, is the provision in

   12   the equity purchase agreement that says this will be dealt

   13   with later.    I don't think that it was reflected in the

   14   consolidated financial statements as something that's subject

   15   to a pending dispute.      I think what she's referring to is the

   16   actual equity purchase agreement.

   17                 A couple of points, Your Honor.       First, with

   18   respect to the doctrine of contra proferentem, the PPMG's

   19   papers cite to the Italian Designers case for general

   20   contract principles.       They don't distinguish it as an

   21   insurance or a non-insurance case.         They cite it for the

   22   principle that in order to find, quote, in order to find the

   23   term ambiguous under New York law, however, it must be viewed

   24   objectively from the perspective of a reasonably intelligent

   25   person, who's examined the context of the entire integrated




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    1   agreement, which necessarily includes the agreement's

    2   (indiscernible).

    3                Now, I'm sure they weren't intending to call me an

    4   unintelligent person by quoting that, but, Your Honor, that

    5   very case goes on to say, quote, When the insurer fails to

    6   submit extrinsic evidence that resolved the ambiguity, the

    7   proper interpretation is an issue of law for the Court and

    8   the ambiguity must be resolved against the drafter of the

    9   contract.

   10                So, I'm a little surprised to hear PPMG having

   11   cited that for general contract principles to now sort of

   12   walk back that it's somehow only applicable to insurance

   13   contracts.

   14                A second point, Your Honor, the repeated

   15   characterization of Zohar as a non-party to the PPMG

   16   agreement and that somehow bearing some weight on Your

   17   Honor's determination of this seems a little hollow.           PPMG is

   18   not a party to the credit agreement between Oasis and Zohar;

   19   it's nonetheless arguing that that should be recharacterized

   20   and arguing as to the intent of the parties entering into it.

   21                So, I'm not sure -- they're not a party to that

   22   agreement, so I'm not sure why that's any different.

   23                Your Honor, with respect to the argument that you

   24   just heard regarding the phrase "without regard to

   25   liabilities," the entire argument you just heard was




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    1   completely belied by Ms. Tilton's testimony, who testified as

    2   to what she understands the meaning of that parenthetical to

    3   be, which is for purposes of an asset sale.          Without regard

    4   to liability means you don't factor in whether the buyer is

    5   picking up liabilities or not picking up liabilities.

    6                Next, Your Honor, you won't be surprised to hear

    7   that we read, for purposes of Section C, similar to the way

    8   that you suggested and then, Your Honor, I would submit it no

    9   different than the provision in Annex A that says for

   10   purposes of this Annex A.       They're trying to self-contain the

   11   provisions to the provisions and they can't be shared amongst

   12   the provisions where they're limited as such.

   13                Your Honor, with respect to our failure to call

   14   rebuttal witnesses, I deposed Ms. Tilton three weeks ago and,

   15   frankly, I think that she afforded the Court all of the

   16   evidence the Court needs to rule on this and I don't think

   17   that we needed to bring in extra witnesses to prove our case.

   18                And, you know, finally, Your Honor, just to

   19   complete the record on this, we checked, and, in fact,

   20   Ms. Tilton did file a proof of claim in the Dura bankruptcy

   21   case relative to a transaction fee in those bankruptcy cases.

   22   I think the testimony was that she hadn't or she wasn't aware

   23   that she had, but, in fact, she had.         It's proof of claim 706

   24   in the Dura bankruptcy case.

   25                So, unless Your Honor has any follow-up questions




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    1   for me, I'd like to rest.

    2                THE COURT:    And, I'm sorry, what's the import of

    3   the fact that that proof of claim was filed?

    4                MR. BARRY:    Ms. Tilton testified that -- I think

    5   on redirect, Ms. Tilton testified that she had never sought a

    6   transaction fee in connection with any company that had gone

    7   into liquidation or bankruptcy.        It's a fine point, Your

    8   Honor, but that was the conclusion of her testimony, that she

    9   had never sought such a claim and I think that that's belied

   10   by the Dura proof of claim.

   11                THE COURT:    Okay.    Thank you.

   12                MS. LOSEMAN:     Your Honor, if I may just -- I'm

   13   sorry, can you hear me, Your Honor?

   14                THE COURT:    I can, yes.

   15                MS. LOSEMAN:     If I may just have two minutes?

   16   I'll be very brief.      Thank you.

   17                First, on the Italian Designers case, and I

   18   certainly meant to cast -- did not mean to cast any

   19   aspersions on Mr. Barry, but I believe if you read that case

   20   closely, the proposition for which we had cited it is a

   21   general contract construction proposition.

   22                But with respect to construing the agreement

   23   against the drafter, that particular part of the decision

   24   focuses in on insurance policies and insurance contracts and

   25   how insurance policies, as the other cases the debtors cite




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    1   in their papers, should be construed against the insurer

    2   drafter in those cases.

    3                On Ms. Tilton's testimony, with respect to

    4   interpreting the definition of liquidity event and the asset

    5   sale and how it excludes or says without consideration of

    6   liabilities, she did testify as to that, but I think the

    7   point that Mr. Barry perhaps missed or I didn't articulate

    8   well enough in my argument is simply that if liquidity event

    9   is defined only as events where any of the transactions clear

   10   the debt, the renders the calculation of the fee in the case

   11   of an asset sale, how that fee is to be calculated, it

   12   renders that definition internally inconsistent and

   13   essentially superfluous.

   14                Because in calculating the fee -- so, an asset

   15   sale, without regard to any liabilities, qualifies as an

   16   liquidity event.     But when we're calculating the fee, what

   17   the 5 percent is multiplied by, we deduct in an asset sale,

   18   the face amount of any assumed liabilities, any liabilities

   19   assumed by the purchaser.

   20                If the liquidity event is defined to exclude

   21   events where transactions don't clear the debt, it's

   22   internally inconsistent with that definition of how the fee

   23   is calculated.     So, that was the point.

   24                And then just lastly on the Dura point, Ms. Tilton

   25   testified that she had never received a transaction fee in




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    1   connection with a company that had wound-down or had filed

    2   for bankruptcy.     And the point that's important there, Your

    3   Honor, is that it's consistent with the way in which

    4   transaction fee is defined, not to apply only to those

    5   transactions where the purchase price exceeds the debt, it is

    6   a flat fee; it's akin to an investment banker fee, regardless

    7   of what happens.

    8                So, the point there is that PPMG also loses out

    9   and takes risks on portfolio companies where they come in and

   10   attempt to turnaround those portfolio companies and the

   11   companies don't make it all the way through that turnaround.

   12   In those cases, PPMG isn't compensated.

   13                That's it, Your Honor.

   14                THE COURT:    Okay.   Well, listen, thank you all

   15   very much.

   16                I'm not going to rule today.       I haven't had the

   17   opportunity to give this as much thought as I would like to.

   18   So, my goal is to have a ruling for you at our next omnibus

   19   hearing, which is October 14th.        So, I will endeavor to do

   20   that, and if I'm unable to devote enough time to be able to

   21   come up with my conclusions, I will have my courtroom deputy

   22   reach out to all of the parties so that you don't appear at

   23   the hearing unnecessarily on that matter.         But for now, let's

   24   plan on October 14th, okay, for that.

   25                So, is there anything else, then, before we part




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    1   ways that we should discuss?

    2                I see Ms. Sarkessian has been on the line.          I just

    3   wanted to make sure that you weren't appearing today to

    4   address anything specific before we sign off.

    5                MS. SARKESSIAN:     Good afternoon, Your Honor.

    6   Juliet Sarkessian for the U.S. Trustee.

    7                No, I was just listening in and the one thing that

    8   I think that was open, the seal motion, I have no issue with.

    9   That's been taken care of, so thank you, Your Honor.

   10                THE COURT:    Okay.    Perfect.   Thank you.

   11                Okay.   Well, then, Mr. Barry and Ms. Loseman, is

   12   there anything else that we should discuss before we part

   13   ways?

   14                MR. BARRY:    No, Your Honor.     I think we have taken

   15   up enough of your time today.

   16                MS. LOSEMAN:     Nope, all done.

   17                THE COURT:    Okay.    Great.

   18                Well, it was a pleasure seeing you all and, again,

   19   I extend my thanks to Ms. Tilton for taking the time today to

   20   testify and we will adjourn and I will see you all on

   21   October 14th, okay.

   22                Thank you all very much.

   23                COUNSEL:    Thank you, Your Honor.

   24           (Proceedings concluded at 12:48 p.m.)

   25




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                                                                          102


    1                                 CERTIFICATE

    2

    3          We, MARY ZAJACZKOWSKI and WILLIAM GARLING, certify that
    4   the foregoing is a correct transcript from the electronic
    5
        sound recording of the proceedings in the above-entitled
    6
        matter.
    7
        /s/Mary Zajaczkowski                     September 14, 2020
    8   Mary Zajaczkowski, CET**D-531
    9

   10   /s/William J. Garling                    September 14, 2020
        William J. Garling, CE/T 543
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    1                      UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE
    2
                                        .        Chapter 11
    3   IN RE:                          .
                                        .        Case No. 18-10512 (KBO)
    4
        ZOHAR III CORP., et al.,        .
    5                                   .        Courtroom No. 1
                                        .        824 North Market Street
    6                                   .        Wilmington, Delaware 19801
                                        .
    7                     Debtors.      .        October 14, 2020
        . . . . . . . . . . . . . . . . .        9:30 A.M.
    8
                               TRANSCRIPT OF HEARING
    9                   BEFORE THE HONORABLE KAREN B. OWENS
                           UNITED STATES BANKRUPTCY JUDGE
   10

   11
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   25




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                                                                          2


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    1   MATTERS GOING FORWARD:

    2   #10. Debtors’ Motion for an Order Determining Dispute Between the
        Debtors and Patriarch Partners Management Services, LLC Related to
    3   Pending Oasis Transaction [(SEALED) D.I. 911; 9/6/19; (REDACTED)
        D.I. 1130; 9/6/19]
    4
        Ruling:    8
    5
        #14. Emergency Motion of the Debtors for Hearing to Consider
    6   Debtors' Request for Supplemental Order under Bankruptcy Rule 2004
        Directing Production of Form 906 Closing Agreement [D.I. 1991;
    7   10/9/20]

    8   Ruling:    43

    9   #13. Notice of Binding Portfolio Company (Rand) Transaction
        Pursuant to Portfolio Company Transaction Procedures [D.I. 1965;
   10   9/25/20]

   11

   12   DEBTORS’ WITNESS(s):

   13   JASON RUSSELL

   14          Direct Examination by Mr. Hotz                49

   15          Cross Examination by Mr. Dean                 94

   16   FREDERICK VESCIO

   17          Direct Examination by Mr. Neiburg             168

   18          Cross Examination by Ms. Loseman              177

   19          Redirect Examination by Mr. Neiburg           194

   20

   21
        EXHIBITS                                 I.D.     REC’D
   22   Declaration of Jason Russell                         49
   23   Joint Exhibit 10 - Email Communications              55
   24   Debtors’ Exhbiit 9 - Email from Intralinks           61
   25   Debtors’ Exhibit 12 - Report Prepared by PJS         61




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    1   Debtors’ Exhibit 3 - Email Communications            69

    2   Joint Exhibit 12 - Email Communications              76

    3   Joint Exhibit 11 - Email Communications              78

    4   Patriarch Exhibit 9 - PJ Solomon Report              83

    5   Joint Exhibit 4 - Emails                             100

    6   Joint Exhibit 5 - Project Optimus                    118

    7   Joint Exhibit 7 - Sealed Document                    119

    8   Patriarch Exhibit 10 - Emails                        119

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                                                                          5


    1          (Proceedings commence at 9:33 a.m.)

    2                THE COURT:    Good morning, parties.      This is Judge

    3   Owens. We’re gathered today on the phone and via Zoom for the

    4   omnibus hearing in the Zohar cases.

    5                We have quite a few matters to deal with today and

    6   on the 19th and, perhaps, following the 19th, so why don’t I

    7   turn the podium over to counsel for the debtors and you can

    8   walk us through the beginning of today’s agenda.

    9                MR. NESTOR: Thank you, Your Honor.        Can you hear

   10   me okay?    It’s Mike Nestor, for the record.

   11                THE COURT:    Yes, I can hear you.

   12                MR. NESTOR:    Thank you, Your Honor.      I want to

   13   thank Your Honor and Your Honor’s chambers.          We tried over

   14   the course of the last week to keep Your Honor and chambers

   15   up to speed on the twist and turns of the agreements of the

   16   parties and expectations and those sorts of things, so really

   17   apologizing to Mr. Lopez.       But our goal was really to ensure

   18   that Your Honor was in the loop on how we intended to proceed

   19   today and so we wanted to make sure that you understood the

   20   agreement and expectations of the parties.

   21                Consistent with those communications, obviously

   22   subject to Your Honor’s consent, what we’d like to do is

   23   proceed as follows, which is to the extent Your Honor is

   24   prepared to do so, have you rule on the Oasis dispute from

   25   September.




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    1                Second, would be to address the emergency 2004

    2   motions that the debtors filed last Friday.          We would then

    3   turn to the Rand transaction.       And what we had proposed, what

    4   we had agreed upon between the parties and propose to Your

    5   Honor is that we would go right to evidence, no opening.              We

    6   would have two witnesses testify today -- Mr. Russel who is

    7   from PJ Solomon who is the investment banker for Rand, and

    8   Mr. Vescio who is from Houlihan Lokey who is the advisor for

    9   the debtors.

   10                The goal would be not to duplicate their

   11   declarations that they filed in support, but only put on

   12   supplemental direct, have them be subject to cross, and then

   13   redirect, if necessary.

   14                Our plan then, again subject to Your Honor’s

   15   agreement, is to break for the day with respect to Rand.              We

   16   did not want to risk the impairment of the party’s ability to

   17   communicate with their clients if either Ms. Tilton or Mr.

   18   Katzenstein were not able to finish their testimony today.

   19                  And for different reasons, counsel believes we

   20   need to be able to communicate with them, and we just didn’t

   21   want to impair or create the perception of any impropriety if

   22   we spoke with them prior to resuming that testimony next

   23   Friday.

   24                What we then like to do is reconvene on Monday,

   25   proceed then with the testimony of Ms. Tilton and Mr.




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                                                                          7


    1   Katzenstein, again only with respect to incremental testimony

    2   and then cross and redirect.        Then have closings and then if

    3   Your Honor is prepared to do so obtain a ruling from the

    4   court.

    5                 We had, as Your Honor noted, other matters that

    6   were scheduled for a hearing.       And if we’re able to finish

    7   those on Monday, then that would be great. If we’re not, then

    8   we would, at that time, ask if Your Honor has available time

    9   in the short term to hear those, at Your Honor’s convenience.

   10                 And so, from the debtors’ perspective, I think,

   11   and the party’s perspective, that is how we had proposed to

   12   proceed today.     But, again, it’s obviously subject to Your

   13   Honor’s input and consent.

   14                 THE COURT:    That sounds fine.    We’ll just plow

   15   through as you suggest and see where we finish up, where we

   16   land on Monday.

   17                 MR. NESTOR:    Thank you very much, Your Honor.

   18                 I guess I would cede the podium to you, Your

   19   Honor, if you’re prepared on Oasis; otherwise, we

   20   (indiscernible) to 2004.

   21                 THE COURT:    Okay.   That’s fine.    I am prepared to

   22   go forward.    I saw what you wanted to do and it pushed me to

   23   do my homework.

   24                 Okay.   So let me just look to see what item on the

   25   agenda it is, just for recordkeeping purposes.




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                                                                          8


    1                MR. NESTOR:    I left my (indiscernible), same

    2   thing.   I apologize.

    3                THE COURT:    Okay.   It looks like it’s matter

    4   number 10, which as I promised the parties, I would deliver a

    5   ruling on their cross motions with respect to the transaction

    6   fee and the Oasis transaction.

    7                So, the parties have cross moved for a

    8   determination of PPMG’s rights to a payment of a transaction

    9   fee as a result of the previously approved LVD Acquisition,

   10   LLC transaction.

   11                Section 3(c) of the MSA, which is the relevant

   12   governing document giving rising to the transaction fee,

   13   provides that in connection with each liquidity event, PPMG

   14   will be entitled to receive a cash fee, the “transaction fee”

   15   equal to 5 percent of the eligible equitable value.

   16                The dispute here centers on whether the LVD

   17   transaction was a “liquidity event.”         The answer to this

   18   question will be determined by my interpretation of Section

   19   3(c)(2)(d) of the MSA which defines liquidity event.

   20                Section 3(c)(2)(d) delineates three events that

   21   could give rise to a liquidity event.         One or (x) as its used

   22   in the subsection of sale of assets; two or (y) the sale of

   23   equity or; three or (z) a merger of a company.          And, again,

   24   that’s just a generalization of what that section provides.

   25                Here, the debtors and PPMG agree that the LVD




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                                                                          9


    1   transaction satisfies number two as it involved the sale of

    2   all LVD’s stock.     Therefore, one would simply think that the

    3   matter is settled and a transaction fee is payable to PPMG

    4   under Section 3(c) of the MSA.

    5                However, after delineating the three just

    6   described events, as the parties know, Section 3(c)(2)(d)

    7   continues on to conclude with the following proviso.

    8                “Provided, however, that in each case in order to

    9   constitute a qualifying change of control, the event must

   10   permit the company or the respected subsidiary to pay all of

   11   its or their as appropriate outstanding debt.”

   12                The problem with this proviso and what gives rise

   13   to the dispute before the court is that the parties made a

   14   mistake when drafting it.       Change of control is undefined in

   15   the document and only used once.

   16                So the question before the court is whether the

   17   parties meant change of control to mean liquidity event, as

   18   the debtors urge, which would require the LVD transaction to

   19   result in payment in full of LVD’s indebtedness to constitute

   20   a “liquidity event,” and, thus, trigger payment of PPMG’s

   21   transaction fee or did the parties mean change in control as

   22   PPMG argues, which would eliminate the need for satisfaction

   23   of indebtedness for a liquidity event to occur.

   24                Here, the answer to this question is critical

   25   because, as I will discuss, the LVD transaction did not




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                                                                          10


    1   result in the payment in full of LVD’s indebtedness.

    2                Following review of the MSA in consideration of

    3   the party’s agreements, it’s clear to me from the four

    4   corners of the MSA that the defined term, change of control,

    5   means liquidity event, because any other reading of the

    6   contract terms would be unreasonable for the reasons outlined

    7   in the debtor’s responsive brief.

    8                More specifically, it is reasonable to conclude

    9   that in this instance, the use of a proviso clause was meant

   10   to create an exception for or condition in some way the topic

   11   immediately preceding it.

   12                In this instance, the top immediately preceding

   13   the proviso is the party’s agreement as to the three events

   14   that would give rise to a “liquidity event.”          And by

   15   substituting the word liquidity event for change of control

   16   in the proviso, the proviso then acts as it should to

   17   condition the circumstances in which the three events give

   18   rise to a liquidity event.       This was logical and it’s

   19   supported by the party’s use of the words “in each case” and

   20   “qualifying” in the proviso.

   21                This interpretation is supported by the beginning

   22   of Section 3(c)(2) which makes it clear that the parties only

   23   intended the definition of liquidity event to apply for

   24   purposes of Section 3(c) which discusses when a transaction

   25   fee becomes due.




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                                                                          11


    1                If we were to substitute the term change in

    2   control for change of control in Subsection (c)(2)(d) then we

    3   would be, in effect, defining a phrase in Section 3(c) for

    4   purposes outside that section because change in control is

    5   exclusively used and defined in Annex A and it discusses

    6   rights to indemnification.       This is contradictory to the

    7   plain language of Section 3(c).

    8                Finally, inserting change in control for change of

    9   control would not make sense for purposes of the definition

   10   of change in control which is found at the end of Annex A.

   11   That paragraph provides generally that “for purposes of this

   12   Annex A, a change of control means the occurrence after the

   13   date hereof of any transaction described in clauses (y) or

   14   (z) of the definition of liquidity event or (b) the

   15   insolvency of any of the companies, the filing of a voluntary

   16   petition in bankruptcy by any of the companies, the filing of

   17   an involuntary petition to have any of the companies declared

   18   bankrupt, the appointment of a receiver trustee for any of

   19   the company or the execution by any of the company’s of an

   20   assignment for the benefit of creditors.”

   21                The definition of change in control incorporates

   22   only two of the three events described in Section

   23   3(c)(2)(d)(y) and (z) but the proviso specifically addresses

   24   and modifies all three of the events described in Section

   25   3(c)(2)(d)(x)(z) and (z).       Accordingly, there would have been




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                                                                          12


    1   no need for the parties to apply the proviso to each of the

    2   three events under Patriarch’s interpretation.

    3                 To the extent that Patriarch believes my

    4   interpretation would contradict or render superfluous other

    5   language in Section 3(c)(2)(d), I do not understand how and,

    6   therefore, I cannot agree.

    7                 So having found that the proviso of Section

    8   3(c)(2)(d) should read,

    9                 “Provided, however, that in each case in order to

   10   constitute a qualifying liquidity event, the event must

   11   permit the company or the respective subsidiaries to pay all

   12   of its or their as appropriate outstanding debt.”

   13                 I must now address the next point of contention

   14   between the parties to determine whether the transaction fee

   15   is due to PPMG as a result of the LVD transaction, namely dd

   16   the transaction permit the company to pay off its outstanding

   17   debt.

   18                 The answer to this question depends upon whether

   19   approximately $20 million of unpaid accrued interest and

   20   commitment fees owed by LVD under its existing credit

   21   facility -- excuse me; under it’s existing credit agreement

   22   and restructured in a 2015 amendment called Amendment Number

   23   Eight Qualified as Debt, as the debtors urge or equity as

   24   PPMG urges.

   25                 I find that the $20 million provided for in




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                                                                          13


    1   Amendment Number Eight is debt and not equity. This issue,

    2   like the one before it, was not a close call, based on the

    3   unambiguous language of Amendment Number Eight.

    4                Sophisticated parties negotiated that amendment

    5   and used various terms therein that restructured the amounts

    6   at issue into debt and, more specifically, tranches the term

    7   loan obligations.

    8                For instance, in Amendment Number Eight, styled as

    9   an amendment to the credit agreement and characterized as a

   10   credit document, the parties referred to as borrower,

   11   lenders, and administrative agent use the words loans and set

   12   forth in Section A, among other things, the type of loans,

   13   the specific tranches, the commitments, the outstanding

   14   obligations, the particular lender, the applicable margin

   15   used to calculate interest under the credit agreement, the

   16   maturity debt and the prepayment preference.

   17                Moreover, the parties specifically provided that

   18   the amendment constituted legal obligations of the borrower

   19   and enforceable, pursuant to the terms of the amendment and

   20   the credit agreement.      These are not words or terms

   21   associated with the creation of equity and I could find

   22   nothing else in Amendment Number Eight to support PPMG’s

   23   position.

   24                I, and courts, in general, for that matter, assume

   25   that bargaining parties of the caliber of those who




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    1   negotiated and signed Amendment Number Eight know what they

    2   intended in their dealings and that the draft documents

    3   reflect that intention.

    4                That the restructured debt has no periodic payment

    5   date and is subordinated are not per se characteristics of

    6   equity, and those terms which are undeniably favorable to LVD

    7   are not surprising to me because it has been in the

    8   Patriarch’s stakeholder’s consistent position, throughout

    9   these proceedings, that they act and continue to act in the

   10   best interest of the portfolio companies.

   11                Moreover, to the extent that there is any

   12   ambiguity arising from Amendment Number Eight, regarding the

   13   nature of the disputed amounts, or that the necessary

   14   analysis requires me to look outside the four corners of the

   15   document, the evidence presented by the parties did not

   16   sufficiently convince me that the amount should be treated as

   17   equity, as opposed to debt.

   18                So, accordingly, for the reasons that I just set

   19   forth, I will approve the revised proposed order, attached to

   20   the debtors’ response brief, requiring PPMG to refund to the

   21   debtors the transaction fee paid to it in connection with the

   22   LVD transaction.

   23                So that concludes my ruling on matter number 10.

   24   And when the parties are ready, let’s just go forward with

   25   this 2004 motion.




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


  In re:                                                          Chapter 11

  Zohar III, Corp., et al.,1                                      Case No. 18-10512 (KBO)

                                       Debtors.                   Jointly Administered

                                                                  Hearing Date: To be Determined
                                                                  Obj. Deadline: To be Determined


              PPMG’S MOTION FOR STAY PENDING APPEAL
  OF THE TRANSACTION FEE ORDER AND FOR THE ESCROWING OF CERTAIN
                         TRANSACTION FEES

           Patriarch Partners Management Group, LLC (“PPMG”),2 by and through its counsel,

 hereby submits this motion (the “Motion”), pursuant to Rule 8007 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an order substantially in the form

 attached hereto as Exhibit A (the “Proposed Order”), granting a stay pending appeal of certain

 portions of the Order Determining Dispute Between the Debtors and Patriarch Partners

 Management Services LLC Related to Pending Oasis Transaction (the “Transaction Fee Order”),

 and ordering the escrow of certain transaction fees. In support of the Motion, PPMG respectfully

 represents as follows:




  1
      The “Debtors,” and, where applicable, the last four digits of their taxpayer identification number are as follows:
      Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
      (“Zohar III”) (9261), Zohar II 2005-1, Limited (“Zohar II”) (8297), and Zohar CDO 2003-1, Limited (together
      with Zohar II and Zohar III, the “Zohar Funds”) (5119). The Debtors’ address is 3 Times Square, c/o FTI
      Consulting, Inc., New York, NY 10036.
  2
      Capitalized terms not otherwise defined herein shall have the meanings set forth in the Transaction Fee Order,
      the Objection (as defined below), the Order Approving and Authorizing the Settlement Agreement By and Between
      the Debtors, Lynn Tilton, the Patriarch Stakeholders, MBIA Insurance Corp., and the Zohar III Controlling Class
      (the “Settlement Order”) [D.I. 266], or the Settlement Agreement (as defined in the Settlement Order) [D.I. 266,
      Ex. C], as applicable.




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                                   PRELIMINARY STATEMENT

         1.      By this Motion, PPMG seeks to place the Transaction Fee into escrow pending a

 final resolution of its appeal.

         2.      On October 15, 2020 the Court issued the Transaction Fee Order, requiring, among

 other things, that PPMG return the $3,798,240.92 Transaction Fee arising from the Oasis

 Transaction to Debtors within two business days. PPMG plans to appeal the Transaction Fee

 Order, and is working diligently to expedite its appeal in order to have a final resolution as quickly

 as possible. However, until such a final resolution is obtained, circumstances render a stay pending

 appeal by the placement of the Transaction Fee into escrow necessary. Each of the relevant factors

 favors granting such a stay until PPMG’s appeal is resolved.

         3.      PPMG is likely to succeed on the merits of its appeal because the PPMG MSA is

 clear on its face: the Oasis Transaction constitutes a Liquidity Event triggering payment of the

 Transaction Fee; the Debtors’ interpretation requiring payment of all debt for such a Transaction

 Fee to become due is contrary to the plain language of the MSA; and, even if the Debtors were

 correct, the Oasis Transaction resulted in the satisfaction of all Oasis debt.

         4.      Moreover, there is no harm to the Debtors in temporarily staying return or

 temporarily placing into escrow the Transaction Fee pending final resolution of this dispute. And,

 if the Transaction Fee is consumed by the payment of administrative expenses or distributed to

 other stakeholders, PPMG has no clear remedy. Should the Transaction Fee be dissipated in this

 fashion, PPMG will be deprived of the entire rationale for its appeal. PPMG will work with all

 diligence to expedite its appeal so that the final ownership of the Transaction Fee may be

 determined as soon as possible. Accordingly, the balance of harms favors granting the stay.

         5.      Further, granting a stay is in the public interest because the public has an interest in

 clarity on and correct application of the law and in the correct interpretation of contracts.


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          6.       Thus, PPMG submits that the Court should grant a stay of the return of the

 Transaction Fee under the Transaction Order. To best protect the interests of all parties, PPMG

 requests that the Court order that the Transaction Fee be placed into an escrow account pending

 final resolution of this matter.

                                                  JURISDICTION

          7.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334(b) and the Amended Standing Order of Reference from the United States District Court for

 the District of Delaware dated as of February 29, 2012. This is a core proceeding under 28 U.S.C.

 § 157(b). Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of

 the United States Bankruptcy Court for the District of Delaware, PPMG consents to the entry of a

 final order by the Court in connection with this Motion3 to the extent that it is later determined that

 the Court, absent consent of the parties, cannot enter final orders or judgments in connection

 herewith consistent with Article III of the United States Constitution.

          8.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 BACKGROUND

          9.       On March 11, 2018 (the “Petition Date”), Ms. Tilton, then as sole director for the

 Debtors, caused the Debtors to file voluntary petitions for relief under Chapter 11 of the

 Bankruptcy Code. General information about the Debtors and the events leading up to the Petition

 Date can be found in the Declaration of Marc S. Kirschner in Support of Chapter 11 Petitions

 [D.I. 6] and the Declaration of Lynn Tilton in Support of Chapter 11 Petitions [D.I. 5].

          10.      On May 21, 2018, the Court entered its Settlement Order, pursuant to which this

 Court approved the Settlement Agreement. The Settlement Agreement establishes a procedure for


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      PPMG does not consent to the jurisdiction of this Court or to entry of a final order for any purpose other than the
      resolution of this Motion.



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 resolving certain PPMG claims, including the Transaction Fee. See Settlement Agreement ¶ 18.

 Pursuant to Paragraph 18 of the Settlement Agreement, any claim that is supported by “written

 documentation” is “deemed due and payable through the closing of any monetization event on a

 pari passu basis with other similarly situated claims and equity . . . .” Settlement Agreement ¶ 18.

 This Court has characterized this as a “pay first, fight later” process. Aug. 4, 2020 Hr’g Tr. at

 86:11-12.

        11.        Oasis and PPMG had long operated under the MSA, under which PPMG provided

 substantial, valuable services to Oasis. These services are “of a type customarily provided by

 sponsors of private equity firms . . . to companies in which they have a substantial investment.”

 See MSA § 1. In exchange for these services, PPMG received (i) a small monthly fee and (ii)

 became entitled to the Transaction Fee upon the close of any Liquidity Event. MSA §§ 3(c)(i) &

 3(c)(ii)(D)(y).

        12.        Despite the “pay first, fight later” language of the Settlement Agreement, the

 Debtors began to contest the Transaction Fee in advance of the closing of the Oasis Transaction.

 This dispute was submitted to mediation before the Honorable Kevin Gross on July 31, 2019 to no

 success. Ultimately, and in order to avoid derailing the Oasis Transaction, the Debtors agreed to

 pay the Transaction Fee upon closing.

        13.        On September 6, 2019 the Debtors filed the Debtors’ Motion for an Order

 Determining Dispute Between the Debtors and Patriarch Partners Management Services LLC

 Related to Pending Oasis Transaction [D.I. 911]. In response, PPMG filed PPMG’s Opening

 Brief Regarding PPMG’s Right to Payment of Transaction Fees in Connection With the Oasis

 Transaction [D.I. 914], and PPMG’s Opposition to the Debtors’ Motion for an Order Determining

 Dispute Between the Debtors and PPMG Related to the Pending Oasis Transaction [D.I. 1915]




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 (the “Objection”). The Court conducted a hearing on the Motion on October 14, 2020 and entered

 the Transaction Fee Order on October 15, 2020.

                                         RELIEF REQUESTED

        14.     By this Motion, PPMG seeks a stay of enforcement of Section 2 of the Transaction

 Fee Order requiring return of the Transaction Fee to Debtors, and that the Court order the

 Transaction Fee be deposited into an escrow account mutually agreeable to PPMG and the Debtors,

 pending resolution of PPMG’s appeal from the Transaction Fee Order.

                                         BASIS FOR RELIEF

        A.      The Court Should Stay the Challenged Portions of the Transaction
                Fee Order Pending Appeal.

        15.     Bankruptcy Rule 8007 provides that “[o]rdinarily, a party must move first in the

 bankruptcy court for . . . a stay of a judgment, order, or decree of the bankruptcy court pending

 appeal . . . .” Bankruptcy Rule 8007(a)(1)(A). In determining whether to grant a stay pending

 appeal, courts consider four factors:

                (1) whether the stay applicant has made a strong showing that it is
                likely to succeed on the merits; (2) whether the applicant will be
                irreparably injured absent a stay; (3) whether issuance of the stay
                will substantially injure the other parties interested in the
                proceeding; and (4) where the public interest lies.

 In re Revel AC, Inc., 802 F.3d 558, 568 (3d Cir. 2015) (quotation marks omitted). The Third

 Circuit has endorsed a “‘sliding-scale’ approach” to determine “how strong a case a stay movant

 must show,” under which “the necessary level or degree of possibility of success will vary

 according to the court’s assessment of the other stay factors.” Id. at 569 (quotation marks and

 alterations omitted). “[I]f a movant demonstrates irreparable harm that decidedly outweighs any




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 potential harm to the stay opponent if a stay is granted,” it need only show “serious questions going

 to the merits.” Id. at 570 (quotation marks and alterations omitted).4

          16.      Here, each factor weighs in favor of a stay.

                   1.        PPMG Is Likely to Succeed on the Merits.

          17.      PPMG need not demonstrate that success is a certainty, only that “it can win on the

 merits”—not that it will win—and that its chances are “significantly better than negligible but not

 greater than 50%.” Revel, 802 F.3d at 571. “When considering the appeal’s likelihood of success

 on the merits,” a court should ask “whether the case presents a fair ground for litigation and more

 deliberative investigation.” Wynnefield Partners Small Cap Value L.P. v. Niagara Corp., 2006

 WL 2521434, at *1 (Del. Ch. Aug. 9, 2006) (quotation marks omitted). As more fully set forth in

 the Objection, PPMG easily meets this standard.

          18.      Under the MSA, the Oasis Transaction is a Liquidity Event triggering payment of

 the Transaction Fee. In asserting otherwise, the Debtors rely on a contrary reading that would

 render “Change of Control” and “Liquidity Event” synonyms in the MSA, in stark contrast to

 ordinary rules of contract interpretation. See Ethicon Endo-Surgery, Inc. v. U.S. Surgical Corp.,

 93 F.3d 1572, 1579 (Fed. Cir. 1996); Sonterra Capital Master Fund, Ltd. v. Barclays Banks PLC,

 No. 15 Civ. 3538, 2019 WL 3858620, at *5 (S.D.N.Y. Aug. 16, 2019) (“The APA’s extensive use

 of defined terms demonstrates that its drafters were perfectly capable of using such terms when

 they wished to do so” such that a decision not to use a particular defined term “should not be

 ignored”). Undoubtedly, the use of the phrase “Change of Control” in Section 3(c)(ii)(D) of the


  4
      Under this approach, “when the movant is more likely to succeed, the harm required to be shown is less; if success
      is less likely, then the harm needed must weigh more heavily in the movant’s favor.” Honeywell Int’l, Inc. v.
      Universal Avionics Sys. Corp., 397 F. Supp. 2d 537, 548 (D. Del. 2005); see also In re Cujas, 376 B.R. 480, 485-
      86 (Bankr. E.D. Pa. 2007) (describing the Third Circuit’s standard as the majority view that is “more consonant
      with the court’s role in making decisions based on the equities and provides the court with the flexibility required
      to reach a fair result”).



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 MSA is an unfortunate scrivener’s error: the question for resolution will be whether that error was

 replacing the word “in” with the word “of” or whether it was replacing the defined term “Liquidity

 Event” with an entirely distinct phrase. PPMG respectfully submits that the latter is more likely.

          19.      Moreover, even if the Debtors’ argument with regard to Section 3(c)(ii)(D) is

 accepted, the Transaction Fee remains due to PPMG because, properly construed, the Oasis

 Transaction resulted in the payment of all Oasis debt. As the Court noted, this issue turns entirely

 on whether a $20 million contribution set forth in Amendment No. 8 is best characterized as debt

 or as equity. If the $20 million contribution is debt, then the Oasis Transaction did not exceed

 Oasis’s indebtedness and (assuming arguendo that the Debtors reading of the MSA is correct)

 PPMG maintains that, viewed in light of the “overarching enquiry” needed to assess the parties’

 intent, the $20 million contribution is best understood as an equity kicker, not as “indebtedness.”

 See Cohen v. KB Mezzanine Fund II, LP (In re SubMicron Sys. Corp.), 432 F.3d 448, 456 (3d Cir.

 2006). This reality is supported not only by Ms. Tilton’s uncontroverted testimony but also by the

 parties’ course of conduct and the relevant documentation.5 Accordingly, the Oasis Transaction

 resulted in the repayment of all Oasis indebtedness, triggering the Transaction Fee even under the

 Debtors’ (erroneous) interpretation of the MSA. Thus, PPMG is likely to succeed on the merits.

                   2.       PPMG Will be Irreparably Injured Absent a Stay.

          20.      Without a stay pending appeal, PPMG will suffer irreparable harm that is far “more

 apt to occur than not.” Revel, 802 F.3d at 569. These chapter 11 cases have been marked by

 consistent and ongoing litigation disputes—disputes which continue to drain Debtors’ available

 liquidity. Without a stay pending appeal, PPMG fears that the Transaction Fee will be spent in




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      Excerpts from the transcript of Lynn Tilton’s July 13, 2020 deposition relating to the instant dispute (“Tilton
      Dep.”) are annexed to the Objection as Exhibit 1.



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 such litigation, or otherwise dissipated by administrative expense claims, potentially

 compromising the Debtors’ ability to make repayment post-distribution of proceeds of the Oasis

 Transaction to PPMG should PPMG be successful in its appeal. Thus, PPMG risks irreparable

 harm if the stay is not granted.

                3.      The Balance of Harms Favors Granting the Stay Pending Appeal.

        21.     The balance of harms also favors a stay. Without a stay, PPMG will suffer

 immediate, irreparable harm for the reasons explained above. Moreover, a stay would only last

 for the brief duration of the appeal, preventing the stay from burdening other parties. See Fox

 Sports Net West 2, LLC v. Los Angeles Dodgers LLC (In re Los Angeles Dodgers LLC), 465 B.R.

 18, 34 (D. Del. 2011) (brief stay would not unduly burden nonmoving parties); In re Finova Grp.,

 Inc., 2007 WL 3238764, at *2 (D. Del. Oct. 31, 2007) (90-day delay would not harm nonmoving

 parties); St. John v. Affinia Grp., Inc., No. 09-2501 (WJM), 2009 U.S. Dist. LEXIS 47787, at *7

 (D.N.J. June 8, 2009) (finding this factor weighed in favor of granting a motion for stay pending

 appeal where “the only harm to [the non-moving party] will be a short although not inconsequential

 delay”). Placement of the Transaction Fee into escrow will protect both PPMG and the Debtors

 from any potential dissipation of funds. Thus, the balance of harms favors granting the stay.

                4.      The Public Interest Favors Granting the Stay Pending Appeal.

        22.     Granting a stay is in the public interest because the public has an interest in clarity

 on and correct application of the law. See Nw. Mo. Holdings, Inc. v. Townes Mo., Inc. (In re Nw.

 Mo. Holdings), No. 15-470-LPS, 2015 U.S. Dist. LEXIS 75407, at *7 (D. Del. June 11, 2015)

 (“the public has an interest in correct application of the law”). At the same time, there is no public

 interest in the immediate payment of the Transaction Fee.

        23.     Additionally, where the likelihood of success on the merits factor and the

 irreparable harm factor are met, courts almost always find that the public interest factor is also


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 met. AT&T v. Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 n.8 (3d Cir. 1994) (“As a

 practical matter, if a plaintiff demonstrates both a likelihood of success on the merits and

 irreparable injury, it almost always will be the case that the public interest will favor the plaintiff.”).

 As detailed above, both such factors favor granting the stay. As such, granting a stay pending

 appeal is consistent with the public interest of preserving the ability of a party to effectively

 exercise its right to a meaningful review through a full and fair appeal process.

         B.      The Court Should Order That the Transaction Fee Be Deposited Into Escrow
                 Pending Resolution of PPMG’s Appeal.

         24.     PPMG respectfully submits that an escrow of the Transaction Fee is the appropriate

 means of protecting all parties until a final resolution of PPMG appeal may be obtained. Such

 escrow procedures are regularly used to protect funds pending final resolutions regarding

 ownership and it is well settled that the Court may order such an escrow. See, e.g., In re Trico

 Marine Services, Inc., 450 B.R. 474, 478 (Bankr. D. Del. 2011); In re Trico Steel Co., LLC, 282

 B.R. 318, 322 (Bankr. D. Del. 2002); In re Am. Tissue, Inc., 2006 WL 3498065, at *5 (Bankr. D.

 Del. 2006).

         25.     PPMG is willing to deposit the Transaction Fee into an escrow account, to be

 mutually agreed upon with the Debtors. The Transaction Fee, and any future transaction fees

 arising from Management Services Agreements between PPMG and the Portfolio Companies in

 the interim, would remain in escrow pending a final resolution of PPMG’s appeal. In this way, all

 parties are protected from any potential diminution of funds and the transaction fees may be

 properly allocated upon a final resolution.

         C.      No Supersedeas Bond Is Warranted to Accompany a Stay.

         26.     The Court, in its discretion, may condition a stay on the posting of a bond. See Fed.

 R. Bankr. P. 8007. However, a bond is unnecessary where, as in the present case, a stay pending



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 appeal will not cause any harm. See In re United Merchants & Manufacturers, Inc., 138 B.R. 426,

 427 (D. Del. 1992) (a bond for a stay is discretionary and unnecessary when the stay does not

 cause any harm); In re Los Angeles Dodgers LLC, 465 B.R. at 38 (D. Del. 2011) (same).

        27.     Here, no bond is necessary because Debtors will sustain no monetary loss during

 the pendency of the stay should PPMG ultimately not prevail. As set forth above, no harm will

 result if the Court grants a stay of Section 2 of the Transaction Fee Order because the Transaction

 Fee will be placed into escrow, such a stay will be brief, and will last only during the pendency of

 the appeal. Accordingly, the Court should not require PPMG to post a bond in connection with

 any stay.

                                             NOTICE

        28.     Notice of this Motion has been provided to: (i) the U.S. Trustee; (ii) counsel to the

 Debtors; (iii) counsel to U.S. Bank, as indenture trustee; (iv) counsel to MBIA; (v) counsel to the

 Zohar III Controlling Class; and (vi) all parties that have filed a notice of appearance in these

 chapter 11 cases pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested

 herein, PPMG submits that no other or further notice is necessary.




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                                          CONCLUSION

        WHEREFORE, PPMG respectfully requests that this Court (i) enter the proposed order

 attached hereto as Exhibit A staying certain portions of the Transaction Fee Order and (ii) grant

 such other relief as may be just and proper.

 Dated: October 16, 2020
 Wilmington, Delaware
                                                COLE SCHOTZ P.C.


                                                By: /s/ Patrick J. Reilley
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                                                Patrick J. Reilley (No. 4451)
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                                                Wilmington, DE 19801
                                                Telephone: (302) 652-3131
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                                                       – and –

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                                                Counsel to Patriarch Partners Management Group,
                                                LLC




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                                    Exhibit A

                                 Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


     In re:                                                           Chapter 11

     Zohar III, Corp., et al.,1                                       Case No. 18-10512 (KBO)

                                       Debtors.                       Jointly Administered




          ORDER GRANTING PPMG’S MOTION FOR STAY PENDING APPEAL OF
            THE TRANSACTION FEE ORDER OR ALTERNATIVELY FOR THE
                  ESCROWING OF CERTAIN TRANSACTION FEES

              Upon consideration of PPMG’s Motion for Stay Pending Appeal of the Transaction Fee

 Order And For the Escrowing of Certain Transaction Fees [D.I. __] (the “Motion”);2 and the Court

 having found that it has jurisdiction to consider the Motion and the relief requested therein under

 28 U.S.C. §§ 157 and 1334; and the Court having found that consideration of the Motion and the

 relief requested therein is a core proceeding under 28 U.S.C. § 157(b); and the Court having found

 that venue is proper before this Court under 28 U.S.C. §§ 1408 and 1409; and the Court having

 found that due and proper notice of the Motion was provided and that such notice was adequate

 and appropriate under the particular circumstances; and the Court having determined that the legal

 and factual bases establish just cause for the relief granted herein; and any objections to the Motion

 having been withdrawn or overruled on the merits; and after due deliberation and sufficient cause

 appearing,




 1
       The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
       Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
       (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3
       Times Square, c/o FTI Consulting, Inc., New York, NY 10036.
 2
     Capitalized terms not otherwise defined herein shall have the meanings afforded to them in the Motion.



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          IT IS HEREBY ORDERED THAT:

          1.       The Motion is GRANTED.

          2.       Section 2 of the Transaction Fee Order is hereby stayed pending resolution of

 PPMG’s appeal therefrom.

          3.       PPMG and the Debtors shall, as soon as reasonably practical, determine a

 mutually-agreeable escrow account (the “Transaction Fee Escrow Account”). PPMG shall

 deposit the Transaction Fee into the Transaction Fee Escrow Account and the Transaction Fee

 shall remain in escrow pending resolution of PPMG’s appeal. Should any further transaction

 fees become due and payable under a Management Service Agreement between PPMG and a

 Portfolio Company prior to resolution of PPMG’s appeal, those transaction fees shall be

 deposited into the Transaction Fee Escrow Account, subject to the same terms.

          4.       This Order shall be effective and enforceable immediately upon entry.

          5.       The Court shall retain jurisdiction with respect to all matters arising from or

 related to the implementation and/or enforcement of this Order.




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    1                      UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE
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                                        .        Chapter 11
    3   IN RE:                          .
                                        .        Case No. 18-10512 (KBO)
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        ZOHAR III CORP., et al.,        .
    5                                   .        Courtroom No. 1
                                        .        824 North Market Street
    6                                   .        Wilmington, Delaware 19801
                                        .
    7                     Debtors.      .        October 19, 2020
        . . . . . . . . . . . . . . . . .        10:00 A.M.
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                               TRANSCRIPT OF HEARING
    9                   BEFORE THE HONORABLE KAREN B. OWENS
                           UNITED STATES BANKRUPTCY JUDGE
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   11
        APPEARANCES:
   12
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    1            (Proceedings commence at 10:02 a.m.)

    2                THE COURT:    Good morning, parties.      This is Judge

    3   Owens.    We’re gathered today in the Zohar hearings.

    4                We have a lot to accomplish today.        So, let me

    5   turn the podium over to debtors’ counsel and we can get

    6   started.

    7                MR. BARRY:    Good morning, Your Honor.       For the

    8   record, Joe Barry of Young Conaway for the Zohar Funds.

    9   Happy Monday morning, Your Honor.

   10                We have a quick, sort of, procedural or

   11   housekeeping question for the court if we may.          On Friday

   12   PPMG filed a motion for stay pending appeal of Your Honor’s

   13   ruling from the 14th and we filed a short response this

   14   morning and sent it to Chambers.        The question for Your Honor

   15   is would you prefer to roll right into the evidence or did

   16   you want to hear that first?       I ask because the order that

   17   was entered, I think, this morning said that that matter was

   18   going forward at ten o’clock.

   19                So, we just wanted to understand the court’s

   20   preference on that.      Happy to defer to Your Honor however you

   21   prefer to proceed.

   22                THE COURT:    Let’s have that heard and get it out

   23   of the way, then we go right into Rand.

   24                MR. BARRY:    I’m sorry, Your Honor.      I couldn’t

   25   hear the first few words.




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    1                THE COURT:    I apologize.    I’m fine with having

    2   that heard right now, and then we will get that out of the

    3   way, and then we can get started with Rand.

    4                MR. BARRY:    Very well, Your Honor.      With that I

    5   will cede the virtual podium to the movant.

    6                THE COURT:    Okay.    Ms. Loseman, good morning.

    7                MS. LOSEMAN:    Yes.    Good morning, Your Honor.

    8   Monica Loseman on behalf of PPMG and Ms. Tilton.

    9                I will be brief.      As Your Honor mentioned, we do

   10   have a very full plate today.

   11                Your Honor, let me start by responding to the

   12   opposition that debtors filed this morning.          I want to be

   13   clear about the standard that applies to the motion that we

   14   filed, Your Honor.     In this circuit the factors considered on

   15   a request for stay pending appeal are evaluated on a sliding

   16   scale.   That is the Revel AC, Inc. case, Third Circuit 2015.

   17                So, this court should consider all of the factors,

   18   weigh them accordingly.      Even if the chances of success do

   19   not meet the standards that the debtors set forth in their

   20   objection, and that’s the wrong standard which I will get to

   21   in a moment, the court should balance the likelihood of

   22   success against the harm that will befall PPMG absent a stay.

   23                Now on the likelihood of success prong the

   24   standard is not what debtors suggest. In fact, they cite no

   25   controlling precedent, no Third Circuit case law in the




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    1   opposition that they filed this morning.         Revel is the

    2   controlling case here.      And it says the standard for

    3   likelihood of success on the merits is a sufficient degree of

    4   success for a strong showing exists if there is a reasonable

    5   chance, a reasonable chance or probability of winning.

    6                The issue here, respectfully, Your Honor, involves

    7   matters of contract interpretation and application of facts

    8   to a particular standard in terms of determining what is debt

    9   and what is equity.      We believe reasonable minds, at least,

   10   can differ on these points, Your Honor, respectfully.            And we

   11   think that this was a close call.        And the fact that it was a

   12   close call was evidenced by the remarks that you shared with

   13   the parties at the close of argument in the evidentiary

   14   presentation.

   15                So, we believe the standard here, the appropriate

   16   Third Circuit standard here is satisfied and should next be

   17   weighed against the harms that will befall PPMG absent a stay

   18   of the order.

   19                The debtors, by the way, Your Honor, essentially,

   20   concede that the debtors’ estate will suffer no harm from an

   21   escrow of these proceeds, but PPMG will suffer harm.           There

   22   seems to be, frankly, Your Honor, an unspoken assumption that

   23   when Ms. Tilton or a Patriarch stakeholder receives a fee it

   24   somehow just goes into her pocket.

   25                Little attention is paid to the fact that the




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    1   Patriarch stakeholders, including PPMG have expenses

    2   associated with the running of these companies the running of

    3   the Patriarch stakeholders’ operations, participating in the

    4   monetization process, providing services to these companies

    5   for years and years, and paying the taxes associated with

    6   ownership of the companies through March 30th of this year;

    7   not to mention the legal expenses, of course.          Those fees and

    8   expenses are substantial, Your Honor, and all the while she

    9   was continuing to accrue and pay for the expenses associated

   10   with running the Patriarch stakeholders and providing these

   11   services to the companies.       Ms. Tilton always put herself

   12   last.

   13                So, the PPMG fees, the PPAS fees, the interest

   14   payments that were due even the Ark entities Ms. Tilton

   15   allowed the companies, when the cash-flow necessitated, to

   16   accrue those fees rather than pay-out to the Patriarch

   17   stakeholder as appropriate.       That is why Ms. Tilton insisted

   18   on the “pay first, fight later” structure that the parties

   19   agreed to in the settlement.       Ms. Tilton needed that cash,

   20   the cash that she was long due, to pay expenses associated

   21   with running these Patriarch stakeholder operations.

   22                Allowing the debtors to receive the cash and her

   23   expenses become -- her fees become lower and administrative

   24   priority is the problem here.       There was already a history of

   25   the debtors not paying Ms. Tilton fees that are even




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    1   contractually owed, owed under the terms of the settlement

    2   agreement. And while that matter is for another day, and I

    3   believe the November omnibus hearing, that is the concern

    4   that fees, monies that are owed to Patriarch stakeholders and

    5   Ms. Tilton by the debtors’ estate continue to degrade in

    6   terms of administrative priority and there is risk that Ms.

    7   Tilton will, in fact, not receive the fees that she is owed

    8   and, essentially, render her appeal or attempt to appeal moot

    9   at the get go.

   10                With that, Your Honor, I am happy to answer any

   11   questions you may have.

   12                THE COURT:    I don’t have any questions pertaining

   13   to this; however, I do think it reveals a problem with the

   14   arrangement that the parties have agreed to here.           And I

   15   think the parties need to think about the escrow arrangement

   16   that both parties seem to want right now.         Okay.

   17                So, why don’t I hear on the substance -- hear from

   18   the debtors on the substance of the stay pending appeal.

   19                MR. BARRY:    Thank you, Your Honor.      Again, for the

   20   record, Joe Barry of Young Conaway for the debtors.

   21                Your Honor, I would just note that much of what

   22   Ms. Loseman recited to the court is not actually before the

   23   court and not in evidence.       With respect to her argument that

   24   this was a close call -- excuse me, that this was, in fact, a

   25   close call based on some comments from Your Honor at the last




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    1   hearing I would just note that Your Honor actually said in

    2   ruling on this particular issue that it was not, in fact, a

    3   close call.    So, I would rely on Your Honor’s actual comment

    4   saying it wasn’t a close call in evaluating whether it was or

    5   was not.

    6                 Your Honor, you’re right, we had approached the

    7   Patriarch stakeholders, as set forth in our papers, on two

    8   occasions to consensually agree to the concept of an escrow

    9   pending the adjudication of the claims at issue including the

   10   success fee at Rand, the transaction that Your Honor is going

   11   to consider today. And it was only after a year’s long

   12   litigation and the court’s ruling that they are now asking

   13   for the concept of an escrow having not prevailed in its

   14   argument relating to the management services agreement.

   15                 So, Your Honor, we think that Your Honor should

   16   factor that into consideration of the motion for stay pending

   17   appeal, but getting to the merits of with respect to the four

   18   factors, Your Honor, a likelihood of success on merits.            Your

   19   Honor, I think the case law is legion that a party can’t

   20   simply rehash the arguments that the Trial Court rejected in

   21   its request for a motion for stay pending appeal.           It

   22   actually has to make an argument as to how or why it may

   23   prevail on appeal.     I think that Your Honor’s ruling was

   24   pretty clear, but, again, this one wasn’t really a close

   25   call.




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    1                With respect to the harm, Your Honor, this refers

    2   to “harm that can’t be prevented or fully rectified by a

    3   successful appeal,” which is what the Revel court says.            That

    4   is the case that Ms. Loseman cited and this comes down to

    5   money.    Money can be repaid, money can be used to satisfy the

    6   claim if it’s reversed on appeal.        So, this isn’t something

    7   that can’t be rectified.      It’s just simply, in essence, a

    8   money judgment.

    9                Conversely, Your Honor, this infusion of $3.8

   10   million will assist the debtors in its ongoing monetization

   11   process which, as the court knows, is the reason for these

   12   cases to exist.     We have sales in the near and midterm in the

   13   offing that we think will bring additional funds into the

   14   case.    As such we don’t think that Ms. Tilton, if she were to

   15   succeed on appeal, we don’t think that there is much, if any,

   16   risk that the cash won’t be there to be repaid.

   17                Finally, Your Honor, with respect to public

   18   interest we think that there is, as we set forth in our

   19   papers, a strong public interest in having sophisticated

   20   parties, as Your Honor said, live up to the benefit of their

   21   bargain, as Your Honor has ruled, and with the expeditious

   22   resolution of bankruptcy cases as was cited by the Revel

   23   case.

   24                So, with that, Your Honor, unless you have any

   25   questions we will rest on that.




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    1                 THE COURT:   No questions.

    2                 Ms. Sarkessian, I see that you are on our video

    3   stream.   Did you want to address the court regarding the

    4   matter that is before it?

    5                 MS. SARKESSIAN:      No, Your Honor.   I do not have

    6   any comments regarding that motion.

    7                 THE COURT:   Okay.     Thank you.

    8                 All right.   Ms. Loseman, did you want a brief

    9   reply?

   10                 MS. LOSEMAN:    Yes.    If I may, just briefly I would

   11   like to address the escrow requests that were made.           The most

   12   recent, I suppose, pitch by debtors’ counsel was to escrow

   13   all proceeds due to Patriarch stakeholders which, of course,

   14   would, essentially, be evading Paragraph 18 of the settlement

   15   agreement.    That was our objection to it.       I think debtors

   16   had found a way to object to nearly every claim Ms. Tilton

   17   and the Patriarch Stakeholders have set forth.          So, that was

   18   our concern about the escrow proposal most recently forwarded

   19   by debtors.

   20                 THE COURT:   I’m going to deny the (indiscernible)

   21   stay pending appeal. I don’t think that PPMG has satisfied

   22   the burden.    I won’t take up too much time here, but I agree

   23   with the debtors that there is just simply a rehash -- sorry,

   24   I’m getting some feedback here on the line.          Give it one

   25   second please.




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    1          (Pause in record)

    2                THE COURT:    Okay.   As I was saying, I agree with

    3   the debtors that I just think that PPMG has rehashed its

    4   arguments.    I don’t think it’s sufficient enough under the

    5   standard.    I also think that there is no evidence of concrete

    6   harm -- excuse me, no concrete evidence of harm to befall

    7   PPMG with respect to the repayment of the funds.

    8                I am not going to say anything more about the

    9   request for the escrow.      At this point I think that is

   10   something the parties are going to have to come to an

   11   agreement on.    Do I think it makes abundant sense in some

   12   circumstances to put money into an escrow, yes.           I see -- I

   13   think the parties now understand why it probably makes

   14   abundant sense to put some of the money into an escrow.

   15                My hands are tied on a limited basis when it comes

   16   to the “pay first, fight later” contractual provision that

   17   they agreed to in the settlement agreement.          Perhaps the

   18   parties need to put their heads together and determine

   19   whether it makes sense that in certain tranches of disputed

   20   claims here that they agree to an escrow, but I will leave it

   21   to the parties to hash that out or if it gets presented again

   22   that there be some sort of basis in law or the settlement

   23   agreement as to why that I could issue -- why I could issue

   24   those funds going into an escrow.

   25                Right now under the stay pending appeal motion I




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    1   don’t think that PPMG has met its burden and I am going to

    2   deny that request.

    3                 MR. BARRY:   Thank you, Your Honor.      Again for the

    4   record, Joe Barry of Young Conaway.

    5                 I think at this point we’re prepared to continue

    6   into the evidentiary record on the Rand transaction.           So with

    7   that I will cede the virtual podium to either Mr. Clark or

    8   Mr. Nestor.    I’m not quite sure who at this point.

    9                 THE COURT:   Okay.   Before we go forward on that we

   10   have, I think, at least two other items that need to be

   11   addressed by the court today.       We have a stopping time, and

   12   I’m not sure if it was relayed to the parties, but no later

   13   than 4:30.

   14                 So, what is the estimate timeframe for what is

   15   left on the Rand transaction today?        What do we think for Mr.

   16   Katzenstein, I think that is the next witness?          So, what is

   17   the estimate for Mr. Katzenstein and what is the estimate for

   18   Ms. Tilton?

   19                 MR. CLARK:   Your Honor, it’s the Rand party’s

   20   intention to call Ms. Tilton next and we would expect that

   21   her testimony would go around an hour on direct/cross and no

   22   more than an hour and a half.

   23                 THE COURT:   Okay. And then what about Mr.

   24   Katzenstein?

   25                 Ms. Loseman, do you have an estimate for your




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